     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                                    Main Document     Page 1 of 262


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 7
                                    UNITED STATES BANKRUPTCY COURT
 8
                                     CENTRAL DISTRICT OF CALIFORNIA
 9
                                             NORTHERN DIVISION
10

11   In re
                                                        CASE NO. 9:16-bk-11912-DS
12   CHANNEL TECHNOLOGIES GROUP, LLC,
                                                        Chapter 11
13         Debtor,
     _____________________________________              Adv. No. 9:18-ap-01058-DS
14
     CORPORATE RECOVERY ASSOCIATES,                     NOTICE OF MOTION AND MOTION BY
15   LLC, as Trustee for the Liquidating Trust of       DEFENDANTS BLUE WOLF CAPITAL
     Channel Technologies Group, LLC,                   PARTNERS, LLC, BLUE WOLF CAPITAL
16                                                      FUND II, L.P., AND BLUE WOLF CAPITAL
              Plaintiffs.                               ADVISORS, L.P. TO COMPEL FURTHER
17   v.                                                 RESPONSES FROM PLAINTIFF TRUSTEE
                                                        TO REQUESTS FOR PRODUCTION OF
18   BLUE WOLF CAPITAL PARTNERS, LLC,                   DOCUMENTS; INTERROGATORIES; AND
     BLUE WOLF CAPITAL FUND II, L.P.,                   REQUESTS FOR ADMISSIONS
19   GLADSTONE INVESTMENT
     CORPORATION, BLUE WOLF CAPITAL                     DATE:        April 27, 2021
20   ADVISORS, L.P., FIDUS INVESTMENT                   TIME:        11:30 a.m.
     CORPORATION, FIDUS MEZZANINE                       PLACE:       Courtroom 201
21   CAPITAL, II, L.P., AVANTE MEZZANINE
     PARTNERS SBIC, LP, AVANTE
22   MEZZANINE II, INC., PENGDI HAN,
     DHAN, LLC, GRANT THORNTON, LLP,
23   CTG ADVANCED MATERIALS, LLC, CTS
     CORPORATION, ELECTRO OPTICAL
24   INDUSTRIES, DUFF & PHELPS, and CIT
     BANK, N.A,
25
             Defendants.
26

27

28
                                                      1                       CASE NO. 9:16-bk-11912-DS
                            NOTICE OF MOTION AND MOTION TO COMPEL FURTHER RESPONSES
     ACTIVE 55643281v3
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                    Main Document     Page 2 of 262


 1            TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY

 2   JUDGE AND TO THE PLAINTIFF AND ITS COUNSEL:

 3            PLEASE TAKE NOTICE that on April 27, 2021 at 11:30 a.m., or as soon thereafter as the matter

 4   may be heard, a hearing will be conducted before the Honorable Deborah J. Saltzman, United States

 5   Bankruptcy Judge, in Courtroom 201 of the United States Bankruptcy Court located at 1415 State Street,

 6   Santa Barbara, California, 93101, to consider the Motion of Defendants Blue Wolf Capital Partners,

 7   LLC, Blue Wolf Capital Fund II, L.P., and Blue Wolf Capital Advisors L.P., (collectively, the “Blue

 8   Wolf Entities”) (the “Motion”) to compel Plaintiff Corporate Recovery Associates, LLC, as Trustee for

 9   the Liquidating Trust of Channel Technologies Group, LLC (“Trustee”), to provide further responses to

10   Requests for Production of Documents, Interrogatories, and Requests for Admissions (collectively, the

11   “Discovery Requests”). As further set forth in the Motion, Trustee’s responses to the discovery are

12   wholly inadequate and do not even remotely satisfy the requirements of the underlying Bankruptcy

13   Rules.

14            The parties have met and conferred in an effort to resolve their dispute concerning the sufficiency

15   of Trustee’s responses to the Discovery Requests. They were unable to reach an agreement and have

16   entered into a Stipulation, which is attached to this Motion, which sets forth the dispute and the parties’

17   positions with respect to the adequacy of the responses to the Discovery Requests.

18            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f), anyone

19   who wishes to oppose this Motion must do so in a writing that complies with the rules of practice and

20   procedure before the United States Bankruptcy Court for the Central District of California, and must

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///
                                                   2                       CASE NO. 9:16-bk-11912-DS
                         NOTICE OF MOTION AND MOTION TO COMPEL FURTHER RESPONSES
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                        Main Document     Page 3 of 262
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                    Desc
                                    Main Document     Page 4 of 262


 1                                   STIPULATION RE: DISPUTED ISSUES

 2           Per Local Bankruptcy Rule 7026-1(c)(3), the disputed issues involve the sufficiency of Trustee’s

 3   responses to the Discovery Requests. The Trustee is seeking approximately $60 million and seeks to

 4   avoid hundreds of transfers but has done little to provide information which serves as the basis for its

 5   claims. The Trustee has not identified a single document from the electronically stored information

 6   responsive to the document requests and instead points the defendants to a repository containing over 10

 7   million pages of documents and attempts to place the burden on the defendants to determine what

 8   documents the Trustee will rely upon to support its claims. This was done notwithstanding the Court’s

 9   clear ruling at the hearing to compel further responses to the Trustee’s Rule 26 document disclosures that

10   it was improper for the Trustee to make a blanket reference to all of its electronically stored information

11   when describing the documents that support the Trustee’s claims.        Contention interrogatories are

12   answered with conclusory statements such as the debtor and others “operated as alter egos”, that “entities

13   commingled funds”, that the debtor was “forced” to take actions”, with little to no details. Requests for

14   admissions were not admitted even where the Trustee has acknowledged that it has no information on

15   which to deny the underlying facts; others are not admitted as a consequence of the Trustee engaging in

16   wordsmithing games as what words in the request mean.

17              By virtue of its status as a trustee, a party is not afforded the right to skirt discovery

18   obligations. This is precisely what is occurring here. See, e.g., In re M & L Bus. Mach. Co., Inc., 167

19   B.R. 631, 634–35 (D. Colo. 1994), 167 B.R. 631, 634–35 (D. Colo. 1994) (granting motion to compel

20   supplementation of interrogatories and sanctions against a Bankruptcy Trustee where “despite [the

21   defendant’s] repeated requests for an identification of the allegedly avoidable transactions and a

22   description of the legal basis underlying certain of the Trustee’s claims, the Trustee continue[d] to

23   provide evasive answers to the interrogatories which were the subject of its motion to compel”; adding

24   that “[u]nder Rule 37(a)(3), an evasive or incomplete answer is ‘treated as a failure to disclose, answer,

25   or respond”; and, ordering that Trustee was obligated to state in detail in its interrogatory responses the

26   specifics concerning transactions Trustee sought to avoid.); In re Cont'l Cap. Inv. Servs., Inc., 2009 WL

27   1661918, at *5 (Bankr. N.D. Ohio Mar. 6, 2009) (Holding that Trustee must answer with a detailed

28   narrative response interrogatories seeking “all facts” detailing alleged avoidable transfers even if so doing
                                                   1                       CASE NO. 9:16-bk-11912-DS
                         NOTICE OF MOTION AND MOTION TO COMPEL FURTHER RESPONSES
     ACTIVE 55643281v3
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document     Page 5 of 262
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document     Page 6 of 262


 1   imposes a “substantial burden” on Trustee and ordering Trustee “to identify the factual basis for his claim

 2   with respect to each transfer he claims is recoverable [from defendant] as a fraudulent transfer.”).

 3           While neither the Court nor the defendants are fond of discovery disputes, the defendants find

 4   themselves knowing virtually no more about the Trustee’s claims than they did 5 months ago when they

 5   served the extensive discovery requests. Defendants do not want to be blindsided as they proceed in

 6   preparing their defense and merely ask the Court to insure that they be apprised of the facts which

 7   support the Trustee’s claims. Such stonewalling should not be countenanced and has made it impossible

 8   for the defendants to prepare their defense of the claims asserted in the Complaint.

 9   I.      STIPULATED FACTS AND LAW PERTAINING TO RULE 26 DISPUTE

10           Attached as Exhibit “A” hereto is a submission by the parties setting forth the factual and legal

11   basis of their positions with respect to the sufficiency of the Trustee’s responses to the Discovery

12   Requests.

13   II.     CONCLUSION

14           For the foregoing reasons, the Blue Wolf Entities respectfully request that the Court order Trustee

15   to provide further responses to the Discovery Requests.

16

17   DATED: April 22, 2021                         GREENBERG TRAURIG, LLP

18

19                                             By /s/ Howard J. Steinberg
                                                  Howard J. Steinberg
20                                                Attorneys for Defendants
                                                  BLUE WOLF CAPITAL PARTNERS, LLC
21                                                BLUE WOLF CAPITAL FUND II, L.P.
                                                  BLUE WOLF CAPITAL ADVISORS L.P.
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                                                   2                       CASE NO. 9:16-bk-11912-DS
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     ACTIVE 55643281v3
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document     Page 7 of 262




                              EXHIBIT A
     Case 9:18-ap-01058-DS       Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                                 Main Document     Page 8 of 262


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 6   BLUE WOLF CAPITAL ADVISORS L.P.

 7

 8                               UNITED STATES BANKRUPTCY COURT

 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                         NORTHERN DIVISION

11
     In re
12                                                  CASE NO. 9:16-bk-11912-DS
     CHANNEL TECHNOLOGIES GROUP, LLC,
13                                                  Chapter 11
           Debtor.
14   ___________________________________            Adv. No. 9:18-ap-01058-DS

15   CORPORATE RECOVERY ASSOCIATES,
     LLC, as Trustee for the Liquidating Trust of   STIPULATION OF DISPUTED ISSUES
16   Channel Technologies Group, LLC,

17           Plaintiffs.                            DATE:        April 27, 2021
                                                    TIME:        11:30 a.m.
18   v.                                             PLACE:       Courtroom 201

19   BLUE WOLF CAPITAL PARTNERS, LLC,
     BLUE WOLF CAPITAL FUND II, L.P.,
20   GLADSTONE INVESTMENT
     CORPORATION, BLUE WOLF CAPITAL
21   ADVISORS, L.P., FIDUS INVESTMENT
     CORPORATION, FIDUS MEZZANINE
22   CAPITAL, II, L.P., AVANTE MEZZANINE
     PARTNERS SBIC, LP, AVANTE
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24   CTG ADVANCED MATERIALS, LLC, CTS
     CORPORATION, ELECTRO OPTICAL
25   INDUSTRIES, DUFF & PHELPS, and CIT
     BANK, N.A.,
26
             Defendants.
27

28
                                                    1                             Adv. No. 9:18-ap-01058-DS

                                       STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document     Page 9 of 262


 1                                   STIPULATION RE DISPUTED ISSUES

 2          Per Local Bankruptcy Rule 7026-1(c)(3), the disputed issue is as to the sufficiency of Trustee’s

 3   Responses to Blue Wolf Capital Partners, LLC, Blue Wolf Capital Fund II, L.P., and Blue Wolf Capital

 4   Advisors, L.P.’s (“The Blue Wolf Entities” or “Defendants”) Requests for Production, Requests for

 5   Admission, and Interrogatories, per Rule 34(b)(2)(B)-(D), Rule 36(a)(6), and Rule 33(a)(1).

 6                    I.      INTRODUCTION: BASIS FOR DEFENDANTS’ MOTION

 7          a.      THE BLUE WOLF ENTITIES’ POSITION

 8          On November 9, 2020, the Blue Wolf Entities served the Trustee with written discovery

 9   consisting of document requests, requests for admissions, and interrogatories. Over 200 requests were

10   served in response to the Trustee’s Second Amended Complaint (“Complaint”) which, exclusive of

11   exhibits, is 116 pages long, and seeks to set aside hundreds of transfers totaling over $60 million. The

12   discovery was served over 5 months ago and Trustee has had ample time to understand which facts

13   support its allegations, particularly those that relate to specific monetary transfers; indeed, Trustee has

14   amended its Complaint in this action three times and this proceedings was filed nearly 2 ½ years ago.

15   The notion that the Trustee has not had sufficient time to review documents and understand the claims it

16   is asserting is nonsense. Thus, Trustee should be ordered to supplement its response to explain its

17   boilerplate objections, provide facts to support the contentions and claims it has asserted, and produce

18   documents responsive to this Request.

19          The Trustee’s actions pertaining to interrogatory responses underscores the improper tactics being

20   deployed. The Trustee responded to the interrogatories on January 28, 2021. The Blue Wolf Entities

21   sent the Trustee an email detailing deficiencies in the interrogatory responses and the parties then met

22   and conferred and were unable to resolve their differences. The Trustee was provided with a Stipulation

23   of Disputed Issues (“Stipulation”) which set forth the Blue Wolf Entities position with respect to the

24   deficiencies with the interrogatory and other discovery responses weeks in advance of the deadline to file

25   the document per a deadline set by the Court. On the day before the Stipulation was due to be filed

26   (March 4), the Trustee sent the Blue Wolf Entities its inserts to the Stipulation and served amended

27   answers to the interrogatories which resulted in the parties moving the date of the hearing since the

28   sufficiency of the amended answers had to be analyzed by the Blue Wolf Entities.
                                                          2                                Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS           Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                     Main Document    Page 10 of 262


 1          The original interrogatory answers set forth virtually no information in response to the

 2   interrogatories and all of them cited to Rule 33(d) of the Federal Rules of Civil Procedure, which allows a

 3   party to specify business records which provide information responsive to the interrogatory. Courts have

 4   held that citation to Rule 33(d) is not proper when answering a contention interrogatory, and even courts

 5   that have allowed this have required the party to reasonably identify the responsive documents.

 6   However, the Trustee did not identify a single document responsive to each interrogatory and instead

 7   directed the Blue Wolf Entities to the many millions of pages of ESI which it provided to the Blue Wolf

 8   Entities. In the amended interrogatory responses, as discussed more fully below, the Trustee no longer

 9   refers to Rule 33(d) and instead largely parrots the conclusory statements in the Complaint and makes

10   reference to the same few documents attached as exhibits to the Complaint.

11          At bottom, the parties’ discovery dispute boils down to a fundamental difference concerning

12   which party bears the burden of identifying the evidence on which the matter is to be tried. If Trustee is

13   correct, a claimant can assert claims in a lawsuit and can then shift to the defense the burden of

14   identifying the evidence that supports those claims simply by directing the defense to a massive

15   compilation of data and saying, in essence, “our evidence is in there somewhere; you figure it out.” The

16   discovery responses constitute little more than the addition of conclusory statements that parrot the

17   allegations of the complaint and do nothing to shed light on the question Defendants have sought in

18   discovery from the outset: namely, what actual fact evidence does Trustee intend to rely on to prove its

19   claims? Trustees responses do not identify specific responsive documents nor state specific facts that can

20   be either confirmed or rebutted. With little more than a recitation of conclusions and the direction to

21   Defendants to search through the ESI themselves, Defendants are no closer to understanding the who,

22   what, when, where and how of Trustee’s allegations than they were when these discovery requests were

23   first served five months ago.

24          The need for specificity in response to written discovery is particularly acute in this case since the

25   Trustee has no personal knowledge of the underlying actions which give rise to its claims. There is no

26   one who the Blue Wolf Entities can depose who can identify the specific acts and transactions that the

27   Trustee is relying upon. As such, there is no way for the Blue Wolf Entities to properly prepare for

28   depositions since it will be unable to ask witnesses about specific acts and transactions that serve as the
                                                          3                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 11 of 262


 1   basis for the claims. As a consequence of receiving incomplete responses bereft of facts, the Blue Wolf

 2   Entities may not learn of the specific evidence upon which the Trustee relies until after discovery has

 3   been completed and a summary judgment motion is filed, or potentially even worse, until such time as

 4   the parties exchange trial exhibits if the Defendants do not prevail in their summary judgment motion.

 5   Trial by ambush is a tactic inimical to the Federal and Bankruptcy Rules, and has long been frowned

 6   upon by courts. Defendants merely ask that the Court require the Trustee to be open and forthright with

 7   respect to the evidence in support of its claims so that they have a fair opportunity to prepare their

 8   defense. There are at least 15-30 depositions that will need to be conducted and before engaging in this

 9   lengthy and costly effort, the Defendants must be apprised of the facts that support the claims.

10          The Trustee has concocted a fictious narrative that the Blue Wolf Entities stripped the debtor of

11   assets which resulted in its becoming insolvent when, in reality, just the opposite occurred. Millions of

12   dollars was funneled into the debtor to sustain its operations which efforts only ceased after the Blue

13   Wolf Entities learned that the debtor entered into a series of contracts which would have had dire

14   economic consequences if performed. The Trustee has distorted the truth by referring only to monies

15   expended by the debtor, as opposed to monies it received. Discovery is vital so that the Defendants can

16   ascertain the universe of facts that the Trustee is relying on to support its alleged claims.

17          Unfortunately, the Trustee’s willingness to obfuscate and mislead is not confined to this adversary

18   proceeding. In an effort to maintain the fiction that there is a large body of creditors who were hurt by

19   the Defendants’ conduct, the Trustee has intentionally failed to object to inflated or unsupportable proofs

20   of claims. In the Liquidating Trustee’s Motion for Order Extending Deadline to Object to Claims

21   (Docket No. 797), after discussing the reduction of the Lockheed Martin claim from $19.5 million to $3.8

22   million and noting that there are $17.4 million in claims, the Trustee acknowledges that “the Liquidating

23   Trustee may potentially deem it worthwhile to file objections to numerous other disputed claims.”(p. 6)

24   The Trustee falsely states that the ability to address these claims is somehow dependent upon the

25   outcome of this litigation. The Trustee is sitting on millions of dollars which can be used to pay creditors

26   but instead chooses to avoid any distributions since reduction and resolution of claims will impact the

27   fiction that there was a plot to leave large numbers of creditors empty handed.

28
                                                          4                                Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 12 of 262


 1          At a prior hearing to compel proper document disclosures with respect to the Trustee’s Initial

 2   Rule 26 disclosures, in granting the motion this Court made clear to Trustee that the law does not allow

 3   the Trustee to make blanket references to millions of documents in lieu of providing specific information

 4   to support claims. The Court’s directive to Trustee fell on deaf ears and the Blue Wolf Entities find

 5   themselves in the exact same position. They renew their request of this Court to direct Trustee to provide

 6   responses that actually answer Defendants’ targeted discovery requests.

 7          b.       TRUSTEE’S POSITION

 8          The Defendants’ motion is long on rhetoric and short on substance. The Trustee is not going to

 9   waste the Court’s time by engaging in a mud-slinging contest and responding Defendants’ over-the-top

10   inflammatory rhetoric and unreasonable requests for relief (such as prohibiting Trustee from amending its

11   interrogatory responses as discovery proceeds , see pg. 58 of this Stipulation, and Defendants’ requests

12   for sanctions). Rather, the Trustee will briefly summarize the procedural posture and status of discovery

13   in this case in order to highlight why the relief Defendants’ seek is unreasonable and inappropriate.

14
                    First, the Trustee has thoroughly investigated the facts alleged in its 616-page Second
15                   Amended Complaint, which contains 291 paragraphs of facts and affixes 29 exhibits
                     supporting its factual contentions.
16
                    Second, at the outset of this lawsuit and the related state-court lawsuit, the Trustee turned
17                   over every piece of evidence in its possession to Defendants, and has fully responded to
                     all discovery requests as the Federal Rules require.
18

19                  Third, the Defendants—not Trustee—have repeatedly delayed discovery in this case. At
                     Defendants’ request, and over the objections of Trustee, the Court agreed to stay all
20                   discovery for over two years while the Defendants’ motions to dismiss were pending and
                     while the parties engaged in mediation and settlement discussions.
21
                    Fourth, though the Trustee has produced every piece of evidence in its possession—
22
                     which is searchable, sortable, and organized, and discussed in further detail below—and
23                   has responded fully to every discovery request it has received, the Defendants have not
                     done the same. The Trustee served discovery requests to Defendants on February 5, 2021.
24                   Defendants have requested multiple extensions totaling 90 days to respond to Trustee’s
                     written requests—which Trustee has readily granted in the spirit of cooperation.
25
                    Fifth, at Defendants’ insistence, the Trustee has not been permitted to take any third-party
26                   depositions or Defendants’ depositions.
27
            In sum, without having produced any documents or responding to any of Trustee’s discovery
28
                                                          5                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 13 of 262


 1   requests, the Defendants are asking Trustee to marshal all of its evidence for trial today, with Trustee
 2   having no benefit of discovery other than its preliminary pre-suit investigations and documents left to it
 3
     by the bankruptcy Chief Restructuring Officer. Trustee is in the position of being one step removed from
 4
     firsthand knowledge about the Debtor; CTG is no longer an operating and ongoing business, it has no
 5
     employees, and the documents in Trustee’s possession have been provided to it through the bankruptcy
 6

 7   procedure. However, the Trustee anticipates it will have more information responsive to Defendants’

 8   discovery requests as discovery proceeds in this litigation in the ordinary course of business. But rather

 9   than participate in the discovery process, the Defendants seek to use discovery as both a shield and a
10   sword: on the one hand, the Defendants contend that the Trustee’s Second Amended Complaint and
11
     discovery responses are deficient and should not be permitted to amend its responses as new facts and
12
     evidence are revealed through discovery; on the other hand, Defendants—whose witnesses likely possess
13
     first-hand knowledge about the Debtor and who direct, managed, and controlled the Debtor through the
14

15   Blue Wolf Entities—seek to prevent Trustee from deposing these witnesses and have yet to respond to

16   Defendants’ discovery requests.

17          The Trustee believes there is only one disputed issue for the Court to resolve: whether Trustee is
18
     required to go above and beyond the ESI obligations set forth in Rule 34(b)(2)(E)(ii) and produce ESI as
19
     if they were hard-copy documents. As to Defendants’ motion relating to its Requests for Admissions and
20
     Interrogatories, the Trustee has provided full and verified answers to each and every interrogatory, and
21
     has responded to each request for admission to the best of his ability given the early stages of discovery
22

23   in this case. That Defendants are simply unhappy or dissatisfied with Trustee’s responses is not a basis to

24   compel, and the Court should deny Defendants’ motion as to the requests for admissions and
25   interrogatories.
26
            As to the parties’ dispute regarding the Trustee’s ESI production, despite having nearly three
27
     months to prepare this motion, the Blue Wolf Entities cannot cite to a single case where a court has
28
                                                         6                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                  Main Document    Page 14 of 262


 1   ordered a party that already produced ESI in searchable, sortable, and an organized format—as the

 2   Trustee has done here—to cull through its ESI and identify specific documents responsive to Defendants’

 3   requests for production. That is because ESI discovery is governed by a different set of rules than the

 4   production of hard-copy documents. Defendants misunderstand or simply ignore that courts “have

 5   concluded that imposition of traditional production requirements on ESI was not intended by the

 6   amendments to Rule 34(b). . .” and that “the drafters of 34(b)(2)(E) contemplated that parties requesting

 7   ESI would be able to organize it themselves—in their own way, to their own satisfactory level of

 8   thoroughness, and at their own expense—through the use of text-searching technologies like filtering,

 9   grouping, and ordering.” SolarCity Corp. v Doria, No.16cv3085-JAH-RBB, 2018 WK 467898, at *7

10   (S.D. Cal. Jan 18, 2018). The Trustee explains its position regarding ESI discovery in the following

11   section.

12          The Defendants’ claim that Trustee has attempted to obfuscate, delay, or otherwise engage in

13   improper discovery tactics is both misleading and a misrepresentation of the status of discovery in this

14   case thus far. Any delay or obfuscation of the discovery process is largely due to the Defendants’ own

15   design. The Defendants suggest that Trustee has had over two and half years to marshal its evidence.

16   However, the Defendants conveniently leave out the fact that at Defendants’ requests, and over

17   Trustee’s objections, the Court stayed all discovery in this matter while the Defendants’ motions to

18   dismiss were pending and while the parties were engaged in mediations and settlement discussions.

19   Discovery in this case effectively became ‘unstayed’ only in October of 2020, when Defendants and

20   Trustee began to exchange initial disclosures. Defendants then mailed hard copy discovery requests to

21   Trustee on November 9, 2020. Due to the holidays, the Trustee obtained an extension to serve its

22   responses by January 28, 2021. Importantly, Trustee has also granted Defendants multiple extensions in

23   responding to the Trustee’s discovery requests, giving Defendants a total of 90 days to respond to

24   Trustee’s Requests for Admissions and Interrogatories.

25          After timely serving its discovery responses, Trustee and Defendants met-and-conferred multiple

26   times to resolve the Defendants’ complaints and come to an agreement regarding ESI discovery. During

27   these conferences, the Trustee informed Defendants’ of the ESI rules, relevant case law, and practices

28   outlined by the Sedona Conference, and informed Defendants that rather than going through the onerous
                                                         7                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                    Main Document    Page 15 of 262


 1   process of negotiating keyword search terms, custodians, and date ranges, the Defendants possess all of

 2   Trustee’s ESI in searchable, sortable, and organized format, and may run whatever search terms

 3   Defendants wish and may run an unlimited number of these searches. Nevertheless, Defendants

 4   continued to insist, in contravention to Trustee’s ESI obligations, that Trustee identify specific documents

 5   in response to Defendants’ requests for production. Though Trustee need not have done so, in a good-

 6   faith effort to narrow the Defendants’ disputes, the Trustee reviewed thousands of electronically saved

 7   hard-copy documents contained in the 166 boxes stored in Iron Mountain storage—which the Defendants

 8   have already had an opportunity to inspect and copy—and produced, on February 13, 2021, a subset of

 9   these documents which had been culled by Trustee and deemed responsive to the Defendants’ discovery

10   requests. This production contained 1.61 gigabytes of data, consisting of 96 files and 27 folders, and

11   approximately 9,500 pages of documents.

12          Despite this production, on the night of February 16, 2021, Defendants provided Trustee with a

13   37-page proposed stipulation outlining each of Defendants’ disputes and expected Trustee to respond to

14   each of these disputes within two weeks (in the middle of an unprecedented snowstorm and state-wide

15   power outage in Texas). Trustee provided Defendants’ with a response on March 4, 2021, 16 days later.

16   In addition to responding to each request, Trustee amended its interrogatory responses in a good-faith

17   effort to potentially eliminate one-third of the disputes in this case.

18          The Defendants, finding Trustee’s amended responses and positions “problematic,” then took an

19   additional six weeks to review and respond to the Trustee’s positions in the joint stipulation, even though

20   the Defendants already had an opportunity to set forth their position fully and even though Rule 7026-

21   1(c) does not require or allow Defendants to amend their already-stipulated positions to respond to

22   Trustee’s case law and positions. Nevertheless, the Trustee did not oppose Defendants’ request for a

23   continuance in order to respond to Trustee’s positions. On April 13, 2021, the Defendants provided

24   Trustee with their revised stipulations, substantially adding 25 pages to the original draft of this

25   stipulation, and expecting Trustee to provide a response within two days.

26          Unsurprisingly, despite having an additional six weeks to respond to the case law Trustee cites in

27   support of its ESI position, the best cases Defendants are able to come up with are instances where the

28   production of hard-copy documents were at issue. Also unsurprising, even though Trustee addressed
                                                           8                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 16 of 262


 1   Defendants’ complaints by removing its reference to Rule 33(d) and providing fulsome responses to each

 2   Interrogatory (though Trustee believes its initial interrogatory answers were sufficiently responsive), the

 3   Defendants now complain that Trustee’s responses restate conclusory facts without identifying any

 4   documents. But the facts Trustee has identified are not conclusory—they are sworn to and verified by the

 5   Trustee and identify the relevant facts responsive to each interrogatory at this time.

 6          That the parties now, after multiple conferences and attempts by the Trustee to narrow this

 7   dispute, submit this 80-page stipulation which consists mostly of Defendants being unhappy with the

 8   content of Trustee’s responses raises the following question: what is the practical solution to

 9   Defendants’ complaints? Trustee submits that it has fully responded to the interrogatories and will

10   supplement them as discovery progresses. Likewise, Trustee has responded to each request for

11   admission fully, and has represented it will amend its responses upon receipt of further discovery. The

12   Trustee anticipates providing further evidence as it receives discovery responses and documents from

13   Defendants and other third parties and has had an opportunity to depose Defendants’ witnesses—

14   witnesses who controlled, managed, and directed CTG and who have first-hand knowledge about the

15   debts, transactions, payments, and operations of CTG.

16          The Court should, therefore, deny Defendants’ motion as to the interrogatories and requests for

17   admissions as being premature, as the parties are in the very early stages of discovery which has been

18   impeded largely due to the unnecessary back-and-forth relating to this stipulation, and deny Defendants’

19   unreasonable requests for sanctions or to prohibit Trustee from further amending its discovery responses

20   as it learns of new facts and evidence from the Blue Wolf Entities’ discovery. Trustee further requests

21   that the Court set a scheduling order in this case, and allow the parties to proceed with written discovery

22   and depositions. The Court should further deny Defendants’ motion as to the requests for production

23   because ESI rules (and not hard-copy production rules) apply in this case, and Trustee has gone above

24   and beyond to comply with its ESI obligations.

25             II.     BLUE WOLF ENTITIES’ POSITION REGARDING ESI DISCOVERY

26          Trustee seeks to abandon its discovery obligations under the Federal Rules and instead place the

27   burden on Defendants to attempt to decipher which few documents contained in a data dump of millions

28   of pages of documents are responsive to this action. This is plainly improper, as the burden of
                                                          9                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                   Main Document    Page 17 of 262


 1   identifying and producing documents responsive to Defendants’ narrowly tailored Requests for

 2   Production lies on no one other than Trustee. Trustee has failed to meet its burden. Trustee posits that

 3   when dealing with ESI, Federal Rule 34 Rule 34(b)(2)(E)(ii) provides a responding party with a blanket

 4   pass, relieving it of any obligation to identify specific documents or the specific discovery demands to

 5   which those documents respond. Trustee is mistaken. As detailed below, there are numerous authorities

 6   that provide that it is not enough to produce every shred of electronic information and then direct the

 7   requesting party to figure out which documents are or are not responsive to its demands. The authorities

 8   below are largely cases about ESI, and they demonstrate that Trustee cannot shift wholesale to

 9   Defendants the burden of finding responsive information within the massive ESI production mostly

10   comprised of irrelevant data solely because it is in electronic form.

11          Trustee has failed to identify a single document within its ESI database in response to

12   Defendants’ Requests for Production, instead simply referring Defendants to its massive ESI database

13   containing millions of documents. In referring Defendants to the entirety of its ESI database, Trustee

14   improperly attempts to shift the burden of identifying responsive documents onto Defendants.

15   “Generally, the purpose of discovery is to remove surprise from trial preparation so the parties can obtain

16   evidence necessary to evaluate and resolve their dispute.” Oakes v. Halvorsen Marine Ltd., 179 F.R.D.

17   281, 283 (C.D. Cal. 1998). Trustee has done nothing to remove this surprise, and instead has doubled

18   down on its clear intention to refuse to provide substantive discovery and blindside Defendants at trial. It

19   is Trustee’s discovery obligation to identify the responsive documents within its database. Indeed, Fed.

20   R. Civ. P. 26 sets out specific rules regarding ESI, and states that the responding party should “provide

21   enough detail to enable the requesting party to evaluate the burdens and costs of providing the discovery

22   and the likelihood of finding responsive information on the identified sources.” Fed. R. Civ. P. 26

23   advisory committee’s note to 2006 amendment; see also Cheng v. Aim Sports, No. CV 10-3814-PSG

24   (PLAx), 2011 U.S. Dist. LEXIS 163153, at *24 (C.D. Cal. Mar. 30, 2011) (“principles of fairness require

25   that the burden of culling through ‘the 108 boxes of invoices, organized by customer, to find the

26   approximately 26,000 invoices relating to the patented items’ [] be placed on plaintiffs, rather than on

27   defendant AIM. While the burden of searching through plaintiffs’ records may be a cumbersome task for

28   plaintiffs, this burden would be much greater for defendant AIM as a stranger to [plaintiff’s] record
                                                         10                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                   Main Document    Page 18 of 262


 1   keeping.”); Williams v. Taser Intern., Inc., No. 1:06-CV-0051-RWS, 2006 U.S. Dist. LEXIS 47255, at

 2   *24 (N.D. Ga. June 30, 2006) (noting that where a party is “’overly generous’ in

 3   identifying responsive documents so as to unduly burden [the party seeking discovery] in their search of

 4   those documents,” a Court may order the producing party to organize and label

 5   those documents specifically responsive to the requests for production); Queensridge Towers, LLC v.

 6   Allianz Global Risks US Ins. Co., No. 2:13-cv-00197-JCM-PAL, 2014 U.S. Dist. LEXIS 14167, at *15,

 7   18 (D. Nev. Feb. 4, 2014) (granting motion to compel and holding that a plaintiff did not meet its burden

 8   where it produced a large volume of documents, and in response to requests for production, stated it “has

 9   produced or will produce all reasonably responsive, relevant and non-privileged documents,” making it

10   “impossible to tell which documents [plaintiff] claims are responsive to which request”; the court further

11   held that defendant was “entitled to know which documents are responsive to which responses.”). Trustee

12   has done nothing to meet its burden, instead directing Defendants to search through millions of

13   documents to identify a single responsive document. As established above, this obligation does not

14   belong to Defendant, but rather belongs to Trustee.

15          Indeed, “a party may not frustrate the spirit of discovery rules — open, forthright, and efficient

16   disclosure of information potentially relevant to the case — by burying relevant documents amid a sea of

17   irrelevant ones.” ReedHycalog v. United Diamond, No. 6:07 CV 251, 2008 U.S. Dist. LEXIS 93177, at

18   *7-8 (E.D. Tex. Oct. 3, 2008) (holding that where the responding party referred to its produced database

19   of 750 gigabytes of information in responding to discovery requests, such tactics were improper as

20   “[e]lectronic discovery does not excuse [parties] from their discovery obligations, specifically to parse

21   out irrelevant information.”); see also Residential Constructors, LLC v. ACE Prop. & Cas. Ins. Co, No.

22   2:05-CV-1318, 2006 U.S. Dist. LEXIS 36943, at *7 (D. Nev. June 5, 2006) (“This Court does not

23   endorse a method of document production that merely gives the requesting party access to a ‘document

24   dump’ with an instruction to ‘go fish.’”); Mancini v. Ins. Corp. of New York, No. 07cv1750-L(NLS),

25   2009 U.S. Dist. LEXIS 51321, at *17 (S.D. Cal. June 18, 2009) (granting motion to compel where the

26   plaintiffs produced computer disks of their entire database of documents, and stating that “[w]hile it may

27   be burdensome for Plaintiffs to review the entire universe of documents to ascertain which documents are

28   responsive to the document requests, it would be even more burdensome for [defendant] to guess which
                                                         11                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 19 of 262


 1   documents are responsive to which requests,” and further ordering that “Plaintiffs must identify the

 2   documents, for example by bates number, such that [defendant] will have no difficulty identifying and

 3   locating the specific responsive documents.”). Ample case law makes it clear that Trustee’s dump of

 4   millions of documents on Defendants in purported “response” to Trustee’s Requests for Production is

 5   improper and contrary to its discovery obligations. It cannot get away with skirting its obligations at the

 6   great expense and undue burden of Defendants.

 7          Trustee cites to In re MyKey Technology Inc. Patent Litigation and similar authorities for the

 8   proposition that its reference to its entire database of ESI is proper under the Rules. No. CV 13-2461-AG

 9   (PLAx), 2016 U.S. Dist. LEXIS 184847 (C.D. Cal. Feb. 25, 2016). However, the Court in Mykey

10   specifically held that such a reference was improper where the database “apparently contain[ed] a

11   significant amount of material that is not responsive to any discovery request.” Id. at *12. This is clearly

12   the case here, where Trustee produced a database of millions of documents, when it has otherwise

13   represented in the Joint Status Report that it only plans to rely on approximately 100 exhibits at trial.

14   Trustee also cites to TetraVue Inc. v. St. Paul Fire & Marine Ins. Co., No. 14cv2021-W (BLM), 2017

15   U.S. Dist. LEXIS 37373, at *18 (S.D. Cal. Mar. 15, 2017) for the contention that its document dump was

16   appropriate; however, the party in TetraVue produced a document set consisting of 10,600 documents far

17   fewer than the millions of documents Trustee has dumped on Defendants. Thus, this case is wholly

18   inapposite to the situation at hand.

19          The Trustee cites to Rule 34(b)(2)(E)(ii) and says that the rule somehow allows for a document

20   dump when electronically stored information is involved. The language of the Rule does not support this

21   interpretation. Rule 34(b)(2)(E) deals with the production of documents and electronically stored

22   information. Rule 34(b)(2)(E)(i) allows a party to produce documents as they are kept in the regular

23   course of business. Likewise, Rule 34(b)(2)E)(ii) allows electronically stored information to be produced

24   in a form in which it is ordinarily maintained. The Trustee does not even attempt to argue that there is

25   compliance with the Rule when documents are produced if millions of pages of irrelevant information is

26   produced, yet says that this is permissible if electronically stored information is involved. Both

27   subsections of the Rule merely provide for production of information in the manner in which they are

28   ordinarily kept or maintained. They do not sanction the production of massive quantities of information
                                                         12                               Adv. No. 9:18-ap-01058-DS

                                            STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS              Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                             Desc
                                        Main Document    Page 20 of 262


 1   that are not responsive to the requests.

 2            Further, Trustee also contends that because Defendants did not, on their own, propose search

 3   terms during the parties’ protracted meet and confer conversations, Defendants somehow are the ones to

 4   blame for Trustee’s failure to undertake any effort to review and identification of responsive documents.

 5   This argument fails. Rule 34(b)(2)(D) does not even require that a party propounding a document request

 6   propose the form in which electronic data is to be produced, let alone provide search terms. As discussed

 7   above, the burden lies on the responding party to produce documents specifically responsive to each

 8   request for production, and if running search terms is a mechanism by which Trustee believes it can

 9   fulfill its obligations and meet its burden, Trustee should have been the one to raise this point and suggest

10   search terms which will disclose documents that support its claims. Indeed, throughout the meet and

11   confer process, Defendants repeatedly informed Trustee that they seek documents specifically responsive

12   to their Requests for Production, but Trustee never proposed search terms, never asked Defendants to

13   propose search terms for its review, and never even mentioned “search terms” during meet and confer

14   discussions. This baseless argument is just another attempt by Trustee to justify its having washed its

15   hands of its obligations by seeking to improperly shift its discovery obligations onto Defendants.

16   Further, it does nothing to excuse the Trustee’s failure to identify, let alone produce, any responsive

17   electronically stored information.

18            In an attempt to deflect attention from its blatant failure to comply with discovery obligations, the

19   Trustee discusses documents it references in its Second Amended Initial Rule 26 Disclosures

20   (“Disclosures”).1 The documents referenced in the Disclosures serve only to identify documents which

21   support the Trustee’s claims and are not in any way tied into the specific document requests served by the

22   Blue Wolf Entities. This said, the reference to ESI documents in the Disclosures reference over a million

23   pages of documents. While better than the reference to all of the ESI documents, which may be more

24   than 10 million pages of documents, it still does not come close to comporting with the requirement of

25   the Federal Rules to identify documents responsive to discovery requests.

26            In sum, Trustee has skirted its discovery obligations, failed to comply with the requirements of

27
     1
       While these Disclosures are likewise deficient, they are not presently before this Court and the Defendants reserve the right
28   to seek relief pertaining to same.
                                                                  13                                     Adv. No. 9:18-ap-01058-DS

                                                STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS             Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                       Main Document    Page 21 of 262


 1   both Rule 26 and Rule 34, and misstated the law concerning ESI obligations.

 2                        III.     TRUSTEE’S POSITION REGARDING ESI DISCOVERY

 3          Defendants repeatedly, and without any factual or legal support, refer to Trustee’s ESI production

 4   as a “data dump” of “millions” of documents. But Trustee’s production is not a data dump and instead

 5   proper ESI production for several reasons: (1) the ESI was produced in an organized manner; (2) the

 6   Trustee has highlighted specific directory and files locations (up to three levels of file paths) that contain

 7   documents relevant to the issues in dispute in this case; (3) the ESI is searchable and sortable, (4) the

 8   documents were kept in the ordinary course of business; and (5) if Defendants’ make a reasonable effort,

 9   they should be able to obtain the documents responsive to their requests. These are the hallmarks of ESI

10   production, which Trustee has established and complied with.

11          The Trustee presents the following overview of the relevant law and arguments relating to ESI

12   discovery, and thereafter responds to each of the Blue Wolf Entities’ complaints regarding its Requests

13   for Production.

14       A. Relevant Law

15          Federal Rule of Civil Procedure 34(b)(2)(E) governs the production of documents or

16   electronically stored information (“ESI”) and states as follows:
             Unless otherwise stipulated or ordered by the court, these procedures apply to producing
17           documents or electronically stored information:
18
                    (i)          A party must produce documents as they are kept in the usual course of business or
19                               must organize and label them to correspond to the categories in the request;

20                  (ii)         If a request does not specify a form for producing electronically stored
                                 information, a party must produce it in a form or forms in which it is ordinarily
21                               maintained or in a reasonably usable form or forms; and
22
                    (iii)        A party need not produce the same electronically stored information in more than
23                               one form.

24       Moore’s Federal Practices, the advisory committee’s notes, and experts on electronic discovery, 2

25   agree that Rule 34(b)(2)(E)(i) applies to the production of hard copy documents, and that the rule makers

26   crafted alternative, mutually exclusive, procedures in (E)(ii) that are designed to apply specifically to

27
     2
       John K. Rabiej, Rabiej on Production of ESI, Emerging Issues 2628, at *2 (July 29, 2008) (second and
28   third alterations in original) (quoting Fed.R.Civ.P. 34 advisory committee's notes)
                                                            14                              Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 22 of 262


 1   ESI.3 California federal district courts have generally accepted this distinction. 4 “Requesting parties are

 2   entitled to the guarantees of (E)(i) or (E)(ii), but not both.” 5 See also, Laub v. Horbaczewski, 331 F.R.D.

 3   516, 527 (C.D. Cal. 2019) (“Rule 34(b)(2)(E)(ii) requires the producing party to produce the material in a

 4   form or forms in which it is ordinarily maintained or in a reasonably usable form or forms.”) (internal

 5   quotations omitted).

 6       B. Status of Trustee’s Production

 7          The Blue Wolf Entities have not specified a form for producing electronically stored information.

 8   See Defs.’ Requests for Production, Set One at 3–5. Thus, CTG is required to produce hard-copy

 9   documents pursuant to Rule 34(b)(2)(E)(i) and ESI pursuant to (E)(ii). The universe of documents in the

10   Trustee’s possession—which the Trustee received upon his appointment—consist of two forms of

11   documents: (1) 166 banker’s boxes (“Storage Documents”) from the Chief Restructuring Officer (“CRO”),

12   David Tiffany, which consist of hard-copies of certain CTG’s physical copies of books and records; and

13   (2) certain electronic data of CTG received from the CRO, which consists of three hard drives and a thumb

14   drive (collectively, the “Electronic Documents”). Importantly, no ESI order is in place in this case, nor

15   have the Blue Wolf Entities attempted to discuss or negotiate keyword search terms.

16                  1.      Production of Hard-copy Storage Documents

17          The Storage Documents are currently located in a storage facility in San Diego. The Storage

18   Documents are organized with an Index, providing a box number, a date range, and a description of the

19   documents. These documents have been kept in the regular course of businesses. The Blue Wolf Entities

20   have previously inspected and copied the Storage Documents in connection with a related state court

21   lawsuit; the Blue Wolf Entities have not requested to inspect the Storage Documents again.

22          Despite this, in compliance with Rule 34(b)(2)(E)(i), on February 13, 2021, the Trustee produced

23   CTG_000209 through CTG_009639, which consists of a subset of the Storage Documents that have been

24   culled by Trustee and deemed responsive to the Blue Wolf Entities’ discovery requests. The production

25   consists of 1.61 gigabytes of data, consisting of 96 files and 27 folders, and approximately 9,500 pages of

26
     3
       Anderson Living Trust v. WPX Energy Prod., LLC, 298 F.R.D. 514, 527 (D.N.M. 2014).
27   4
       SolarCity Corp. v Doria, No.16cv3085-JAH-RBB, 2018 WK 467898, at *7 (S.D. Cal. Jan 18, 2018).
     5
        TetraVue, Inc. v. St. Paul Fire & Marine Ins. Co., Case No.: 14cv2021-W (BLM), 2017 WL 1008788,
28   at *7 (S.D. Cal. Mar. 15, 2017)
                                                         15                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                   Main Document    Page 23 of 262


 1   documents.

 2                  2.      Production of ESI

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            In addition to producing the Storage Data, the Trustee has produced duplicates of the Electronic
23
     Data to the Blue Wolf Entities, including PST files for CTG’s employees. As part of Trustee’s Second
24
     Amended Initial Disclosures, Trustee has highlighted specific directory and files locations that contain
25
     documents relevant to the issues in dispute in this case. For example, for the Data Copy drive produced,
26
     Trustee has identified up to three levels of file paths and then highlighted relevant documents or folders
27
     containing relevant documents.
28
                                                        16                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                   Main Document    Page 24 of 262


 1          See Ex. A Trustee’s Second Am. Initial Disclosures at 50. In this example, Trustee has highlighted

 2   and identified relevant folders such as “BW Citizens,” “BW Equity Docs,” “Employee Lists,” and structure

 3   charts, while excluding as irrelevant folders such as those containing company event photographs, floor

 4   plans, plex data documents, and administrative documents.

 5      C. The Trustee has Complied with the Federal Rules and Relevant Case Law

 6          The Trustee has submitted a Declaration in Support of Trustee’s Position Regarding Stipulation of

 7   Disputed Issues. The Trustee declares that both the ESI and Storage Documents have been kept and

 8   maintained in the regular, usual, and ordinary course of business. See Ex. B, Trustee’s Declaration at ¶ 11.

 9   The ESI was produced to the Blue Wolf Defendants as duplicates of the Electronic Data as it was received

10   from Tiffany. Id. ¶ 12. The duplicates were produced without any alterations. Id. No documents were

11   removed or added to the duplicates or Electronic Data as it was produced to the Blue Wolf Defendants. Id.

12   Moreover, the ESI is organized, sortable, and searchable. Id. ¶ 13. The PST files included with the ESI

13   are also sortable and searchable. Id.

14          The Trustee’s ESI production comports with both Rule 34 as well as the well-established practice

15   in California federal district courts. For example, in TetraVue Inc. v. St. Paul Fire & Marine Ins. Co., the

16   defendant similarly complained of plaintiffs’ production as being a “data dump” which lacked an index for

17   locate responsive documents. Case No.: 14cv2021-W (BLM), 2017 WL 1008788, at *7 (S.D. Cal. Mar.

18   15, 2017). The defendant complained that one subcategory of the ESI comprised of over 10,600 documents

19   and almost 82,000 pages. Id. at 6. The plaintiffs similarly submitted a declaration that the produced

20   documents at issue consisted “almost exclusively of emails and email attachments maintained as [ESI],”

21   that the underlying case file was an electronic file, and that “the responsive production and the format of

22   the responsive production . . .is a production of ESI.” Id. The court found that the plaintiffs’ declaration

23   established that the underlying litigation case file consisted of ESI and, thus, that the production was

24   governed by Rule 34(b)(2)(E)(ii). The court noted that the plaintiff produced ESI in the date order as it

25   was stored in the underlying case, that the defendant could “search, filter, group, index, etc. the produced

26   ESI, and had already started doing so.” Id. The court ultimately held that plaintiffs’ ESI production was

27   adequate and that no further production or labelling was required by the plaintiffs.

28          Similarly, in MyKey Technology Inc. Patent Litigation, MyKey made an electronic production of
                                                        17                                  Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 25 of 262


 1   over 600,000 documents and over 2 million pages in response to hundreds of RFPs. No. CV13-2461-AG,

 2   2016 WL 6662720, at *1–2 (C.D. Cal. Feb. 25, 2016). MyKey admitted it copied and produced everything

 3   on its computers, whether or not responsive to defendants’ request. Id. at *2. One of the defendants, Tefkat,

 4   complained of a “data dump,” and that the documents were not stored in the ordinary course of business.

 5   Id. The court found that the file structure provided to Tefkat demonstrated that MyKey produced the

 6   documents as they were kept in the usual course of business, and that the “production did not simply consist

 7   of a disorganized document dump.” Id. at *2. As to the issue of producing all documents, whether or not

 8   they were responsive to Tefkat’s requests, the court noted that though the production did not consist of a

 9   “mass of undifferentiated documents …to comb through…without organizational structure,” and the

10   documents were searchable, it was concerned that the production contained a significant amount of

11   unresponsive material. Id. To resolve this matter, the court ordered MyKey to provide Tefkat with a list

12   of only those folders that contained documents responsive to Tefkat’s request, by folder path and file

13   name. Id. at *3 (emphasis added). The court did not order MyKey to identify all responsive documents by

14   Bates number, as Defendants request here. Defendants’ contention that the court in MyKey simply found

15   MyKey’s reference to ESI production to be improper is a reductive and incomplete reading of the case.

16   There, the court found that the format of the production was proper, but that additional work needed to be

17   done by MyKey. Here, the Trustee has already done that work. It has already identified by folder path and

18   file name the documents which it contends are responsive to the Blue Wolf Entities’ requests.

19          Likewise, in Kwasniewski v. Sanofi-Aventis U.S., LLC, the plaintiff complained that the defendant

20   failed to organize ESI in a manner that allowed them to reasonably determine which documents were

21   responsive to which requests. No. 2:12-cv-005150 GM NJK, 2013 WL 3297182, at *1 (D.Nev. June 28,

22   2013). The plaintiff requested that the defendant identify by Bates number which documents respond to

23   each of the plaintiff’s request. Id. at *2. The defendant contended that it produced documents as they

24   were kept in the normal course of business, were easy to navigate, and produced in an organized manner,

25   and that, therefore, its production was sufficient under Rule 34. Id. The court ruled overruled plaintiff’s

26   request, noting that defendant provided a table of contents with the documents it produced, which

27   described the types of documents and the volume and page number where those documents may be

28   found. Id. The court further noted that the defendant provided metadata, and all but 33 of the documents
                                                         18                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS           Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                     Main Document    Page 26 of 262


 1   were text searchable. Id. Based on these facts, the court held that, “[t]hus, if the Plaintiffs make a

 2   reasonable effort, they should be able to obtain the documents responsive to their requests.” Id. at *2

 3   (emphasis added). The court still ordered the defendant to indicate whether the documents produced

 4   were responsive, though it was not required to organize and label its responses to plaintiff’s requests for

 5   production to correspond to the categories in the request because defendant had correctly produced

 6   documents as kept in the usual course of business. Here, again, the Trustee has already identified by file

 7   path and folder name the responsive documents.

 8       D. The Case Law Cited by Defendants is Inapposite

 9           The Blue Wolf Entities complaint that the Trustee producing all the documents in its possession

10   runs afoul of its discovery obligations is meritless and unsupported by the law. In support of its facile

11   argument, Defendants cite to three cases. Each of these cases is inapposite to the issues at hand,

12   uninstructive, or irrelevant.

13           First, Defendants cite to ReedHycalog v. United Diamond, a 2008 unpublished case from the

14   Eastern District of Texas. In this case, the producing parties imaged and reviewed the hard drives of

15   relevant custodians, removed privileged documents and designated documents under the protective order

16   as confidential, and produced 750 gigabytes of data including baby pictures and audio folders. The court

17   found that the producing parties had engaged in gamesmanship, as they reviewed their respective

18   productions to remove privileged documents and designate confidential documents, but made no effort to

19   narrow their production to information that may be relevant. Notably, no other court has favorably cited to

20   this case on WestLaw, given the unique factual circumstances of this case. Rather, at least one court has

21   distinguished ReedHycalog. In Radian Asset Assur. Inc. v. College of the Christian Bros. of New Mexico,

22   the court found that the facts before it were not analogous to those in ReedHycalog; specifically, the court

23   found that the defendant was not seeking to dump non-privileged materials on plaintiff after completing a

24   privilege review. No. CIV-09-0885, 2010 WL 4928866, at *7 (D.N.M. Oct. 22, 2010). Instead, the court

25   noted that the defendant was seeking to produce all of its ESI, in part, to avoid the expense of conducting

26   a privilege review. Id. The court found that plaintiff’s complaint of a data dump was unwarranted, because

27   plaintiff was not seeking to use the defendant’s “superior knowledge of the documents to produce a more

28   refined search,” but instead “only [sought] to have the College perform a search that Radian Asset is
                                                         19                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 27 of 262


 1   equally competent to perform.” Id. (emphasis added). The operative facts in Radian, and the base for

 2   distinguishing from ReedHycalog, were thus (1) that the defendant was not engaging in gamesmanship on

 3   seeking to produce a subset of its ESI;, and (2) the plaintiff was equally competent to perform the searches

 4   it was requesting of the defendant.

 5          The same operative facts apply here. Trustee has made every attempt to comply with its discovery

 6   obligations. Though the Trustee has indeed produced all of the electronic data in its possession, it has not

 7   reviewed or culled out privileged or confidential documents, or otherwise engaged in any discovery-related

 8   gamesmanship. Instead, Trustee has identified in its Initial Disclosures by file path and folder names the

 9   relevant documents in this case. Though the parties have not exchanged any keyword search terms, the

10   Blue Wolf Entities are competent to perform searches of any documents as Trustee has produced

11   documents in a searchable format.

12          Mancini v. Ins. Corp. of New York, the only California federal court case cited by the Blue Wolf

13   Entities, is also distinguishable. In that case, the producing party produced the entire underlying litigation

14   file—on 73 computer disks—including deposition transcripts, expert reports, pleadings, etc. The court

15   found that each disk was an amalgam of various documents, and were not kept in the ordinary course of

16   running the business of the depository. On these bases, the court held that producing the entire universe of

17   documents did not comport with the requirement that documents be produced as they are kept in the usual

18   course of business. Here, however, Trustee has produced the electronic drives as they were kept in the

19   ordinary and usual course of business.

20          Finally, the Blue Wolf Entities’ reliance on Residential Constructors, LLC v. ACE Prop. & Cas.

21   Ins. is inapposite to the Defendants’ position. In that case, the plaintiff made available for inspection

22   documents which were contained in 41 large-sized boxes. The documents were digitally imaged and the

23   plaintiff provided defendant with CD discs containing the imaged documents, in the same order in which

24   they were contained in the 41 boxes. The defendant complained that plaintiff did not provide any table of

25   contents or index of the documents on the CD, making it unreasonably difficult to make use of the CDs.

26   The court sided with the defendant, and ordered the plaintiff to create a table of contents or index by which

27   to identify the files it has produced and in which boxes or group of document numbers the filed are located.

28          The Blue Wolf Entities fail to realize that the court’s reference to commentary regarding the
                                                         20                               Adv. No. 9:18-ap-01058-DS

                                           STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS              Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                           Desc
                                        Main Document    Page 28 of 262


 1   “document dump” applies to situation where boxes of documents are produced, without organization or an

 2   index. Id. at *2 (“The Court qualifies its ruling by explicitly stating that in order to satisfy the requirements

 3   of Rule 34(b) any archived documents produced must be thoroughly indexed, the boxes accurately labeled

 4   and the depository kept in good order.”). Residential Constructors is, in fact, supportive authority for the

 5   Trustee—the Trustee has produced the hard copy Storage Documents with a detailed index, and which

 6   were kept in the usual course of business.

 7           Importantly, the Blue Wolf Entities do not cite to a single case where the court required a party that

 8   produced ESI in searchable, sortable, and an organized format, kept in the regular and ordinary course of

 9   business, to cull through its documents and identify—as the Blue Wolf Entities request here—every

10   specific responsive document by Bates number. Such a request is unduly burdensome where Defendants

11   are equally competent and able to search Trustee’s ESI production. Trustee’s production of its entire ESI

12   file obviates the need for the parties to negotiate limited key word search terms; instead the Blue Entities

13   are free to run an unlimited number of searches. 6

14           In sum, the Trustee’s production of the Storage Documents and ESI comports with Rule 34 and the

15   governing practices in federal district courts in California. The Blue Wolf Entities cite to no case law or

16   authority where a court has required a producing party, which has produced searchable and sortable ESI,

17   to identify to each of the requesting party’s requests for production by identifying specific documents by

18   Bates stamps. Instead, the Blue Wolf Entities are in an equal position to conduct an unlimited number of

19   key word searches and organize and sort through the responsive folders as Defendants wish. The Blue

20   Wolf Entities’ complaint that Trustee has produced a massive database containing “millions of documents”

21   rings hollow where the Trustee has already identified by file path and folder names the responsive and

22   relevant documents in this action.

23                              III.     REQUESTS FOR PRODUCTION IN DISPUTE

24   REQUEST FOR PRODUCTION NO. 1:

25           All DOCUMENTS that support your contention that “Blue Wolf Capital Partners ... forced BW

26
             6
                The Defendants also cite to cases where courts dealt with the production of hard-copy documents. See Cheng v. Aim
27
     Sports; Williams v. Taser Intern., Inc.; and Queensridge Towers, LLC v. Allianz Global Risks US Ins. These cases are inapposite
     because they deal with a different set of rules than those that govern ESI.
28
                                                                 21                                    Adv. No. 9:18-ap-01058-DS

                                               STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 29 of 262


 1   Piezo, CTG, and CTG’s subsidiary Electro Optical Industries to enter into a credit facility agreement with

 2   CIT Bank, N.A.,” as alleged in paragraph 27 of the COMPLAINT.

 3   RESPONSE:

 4          Subject to and without waiver of its general objections, Trustee responds that it has or will

 5   produce tangible documents responsive to this Request. Trustee further responds that this Request calls

 6   for the production of ESI. Trustee has produced to Defendants all electronically stored information in its

 7   possession, custody, and control, and the Defendants may search such ESI via their direct access.

 8   THE BLUE WOLF ENTITIES’ POSITION:

 9          Trustee has failed produce any tangible documents that are responsive to this specific request and

10   has failed to identify a single document within its ESI database responsive to this Request for

11   Production. Instead, the Trustee refers Defendants to its massive ESI database containing millions of

12   documents. Even if this is to be construed as a reference to the ESI database in the Disclosures, no

13   attempt is made to identify which of the categories in the index are responsive and the documents

14   referenced in the index number over one million pages. While the Trustee says it has produced 9500

15   pages of documents, those documents were produced in state court litigation in which the Defendants’

16   counsel represented different parties. The Trustee does not identify any of those documents which are

17   responsive to this request. The fact that the Trustee has produced some random books and records in

18   state court litigation involving the same counsel is meaningless and irrelevant. In referring Defendants to

19   the entirety of its ESI database, Trustee improperly attempts to shift the burden of identifying responsive

20   documents onto Defendants. “Generally, the purpose of discovery is to remove surprise from trial

21   preparation so the parties can obtain evidence necessary to evaluate and resolve their dispute.” Oakes v.

22   Halvorsen Marine Ltd., 179 F.R.D. 281, 283 (C.D. Cal. 1998). Trustee has done nothing to remove this

23   surprise, and instead has doubled down on its clear intention to refuse to provide substantive discovery

24   and blindside Defendants at trial. It is Trustee’s discovery obligation to identify the responsive

25   documents within its database. Indeed, Fed. R. Civ. P. 26 sets out specific rules regarding ESI, and states

26   that the responding party should “provide enough detail to enable the requesting party to evaluate the

27   burdens and costs of providing the discovery and the likelihood of finding responsive information on the

28   identified sources.” Fed. R. Civ. P. 26 advisory committee’s note to 2006 amendment. Trustee has done
                                                         22                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 30 of 262


 1   no such thing, instead directing Defendants to search through millions of documents to identify a single

 2   responsive document. This obligation does not belong to Defendant, but rather belongs to Trustee.

 3          Indeed, “a party may not frustrate the spirit of discovery rules — open, forthright, and efficient

 4   disclosure of information potentially relevant to the case — by burying relevant documents amid a sea of

 5   irrelevant ones.” ReedHycalog v. United Diamond, No. 6:07 CV 251, 2008 U.S. Dist. LEXIS 93177, at

 6   *7-8 (E.D. Tex. Oct. 3, 2008) (holding that where the responding party referred to its produced database

 7   of 750 gigabytes of information in responding to discovery requests, such tactics were improper as

 8   “[e]lectronic discovery does not excuse [parties] from their discovery obligations, specifically to parse

 9   out irrelevant information.”); see also Residential Constructors, LLC v. ACE Prop. & Cas. Ins. Co, No.

10   2:05-CV-1318, 2006 U.S. Dist. LEXIS 36943, at *7 (D. Nev. June 5, 2006) (“This Court does not

11   endorse a method of document production that merely gives the requesting party access to a ‘document

12   dump’ with an instruction to ‘go fish.’”); Mancini v. Ins. Corp. of New York, No. 07cv1750-L(NLS),

13   2009 U.S. Dist. LEXIS 51321, at *17 (S.D. Cal. June 18, 2009) (granting motion to compel where the

14   plaintiffs produced computer disks of their entire database of documents, and stating that “[w]hile it may

15   be burdensome for Plaintiffs to review the entire universe of documents to ascertain which documents are

16   responsive to the document requests, it would be even more burdensome for [defendant] to guess which

17   documents are responsive to which requests,” and further ordering that “Plaintiffs must identify the

18   documents, for example by bates number, such that [defendant] will have no difficulty identifying and

19   locating the specific responsive documents.”). Ample case law makes it clear that Trustee’s blanket

20   reference to its produced ESI database of millions of documents is improper and contrary to its discovery

21   obligations. It cannot get away with skirting its obligations at the great expense and undue burden of

22   Defendants.

23          Trustee will likely cite to In re MyKey Technology Inc. Patent Litigation and similar authorities

24   for the proposition that its reference to its entire database of ESI is proper under the Rules. No. CV 13-

25   2461-AG (PLAx), 2016 U.S. Dist. LEXIS 184847 (C.D. Cal. Feb. 25, 2016). However, the Court in

26   Mykey specifically held that such a reference was improper where the database “apparently contain[ed] a

27   significant amount of material that is not responsive to any discovery request.” Id. at *12. This is clearly

28   the case here, where Trustee produced a database of millions of documents, when it has otherwise
                                                         23                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 31 of 262


 1   represented in the Joint Status Report that it only plans to rely on approximately 100 exhibits at trial.

 2          Thus, Trustee should be ordered to supplement its response to comply with its obligations under

 3   Rule 26 and Rule 34.

 4   TRUSTEE’S POSITION:

 5          The Trustee refers the Court to the above arguments and authorities supporting the Trustee’s

 6   position that is has complied with all discovery obligations and properly produced ESI and hard-copy

 7   documents in accordance with Rule 34.

 8          The Trustee has produced ESI in searchable, sortable, and an organized format, and kept in the

 9   regular and ordinary course of business. Defendants’ request is unduly burdensome where Defendants are

10   equally competent and able to search Trustee’s ESI production. Trustee’s production of its entire ESI file

11   obviates the need for the parties to negotiate limited key word search terms; instead the Blue Entities are

12   free to run an unlimited number of searches.

13          The Trustee has complied with its discovery obligations pursuant to Rules 26 and 34. Moreover,

14   the Trustee produced select responsive documents from the Storage Documents on February 13, 2021. The

15   Trustee has also produced ESI in the required format, and has even taken the extra step of highlighting the

16   file path and folders containing relevant documents in the ESI. Defendants’ request should be denied.

17   REQUEST FOR PRODUCTION NO. 2:

18          All DOCUMENTS that support your contention that “Blue Wolf Capital Partners ... forced

19   CTG’s management to obtain financing for these assets,” as alleged in paragraph 31 of the

20   COMPLAINT.

21   RESPONSE:

22          Subject to and without waiver of its general objections, Trustee responds that it has or will

23   produce tangible documents responsive to this Request. Trustee further responds that this Request calls

24   for the production of ESI. Trustee has produced to Defendants all electronically stored information in its

25   possession, custody, and control, and the Defendants may search such ESI via their direct access.

26   THE BLUE WOLF ENTITIES’ POSITION:

27          Defendants incorporate their position as to Request for Production No. 1.

28   TRUSTEE’S POSITION:
                                                         24                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                  Main Document    Page 32 of 262


 1          Trustee incorporates it position as stated in its response relating to Request for Production No. 1

 2   and in the introductory section titled “Trustee’s Position Regarding ESI Discovery.”

 3   REQUEST FOR PRODUCTION NO. 3:78

 4          All DOCUMENTS that support your contention that “Blue Wolf Capital Partners ... forced CTG

 5   and its subsidiary to join BW Piezo and CTG Advanced Materials as borrowers in the Amended and

 6   Restated Credit Agreement with One West Bank,” as alleged in paragraph 32 of the COMPLAINT.

 7   RESPONSE:

 8          Subject to and without waiver of its general objections, Trustee responds that it has or will

 9   produce tangible documents responsive to this Request. Trustee further responds that this Request calls

10   for the production of ESI. Trustee has produced to Defendants all electronically stored information in its

11   possession, custody, and control, and the Defendants may search such ESI via their direct access.

12   THE BLUE WOLF ENTITIES’ POSITION:

13          Defendants incorporate their position as to Request for Production No. 1.

14   TRUSTEE’S POSITION:

15          Trustee incorporates it position as stated in its response relating to Request for Production No. 1

16   and in the introductory section titled “Trustee’s Position Regarding ESI Discovery.”

17   REQUEST FOR PRODUCTION NO. 51:

18          All DOCUMENTS sufficient to support any denial of concurrently propounded Request for

19   Admission No. 17.

20   RESPONSE:

21          Subject to and without waiver of its general objections herein, Trustee is examining its books and

22

23   7
       Because Trustee responded identically to 102 other requests as it did to Request Nos. 1-3 set out in this
     stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
24   also seek to move to compel as to Request Nos. 4-50, 64-94, 101-103, 106-122, and 130-132. Copies of
25   Trustee’s Responses to Defendants’ Requests for Production, which include the Requests themselves, are
     attached hereto for the Court’s reference.
26
     8
      The Trustee objects to a footnote regarding requests that are not included though it has no objection to
27   getting guidance from the Court regarding general positions and working with Defendants to resolve any
     other similar requests. Alternatively, the Trustee argues that its position regarding ESI discovery and its
28   response relating to Request for Production No. 1 apply to these requests.
                                                        25                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 33 of 262


 1   records in response to Request for Admission No. 17, and will supplement its response to this Request.

 2   THE BLUE WOLF ENTITIES’ POSITION:

 3          The concurrently propounded Request for Admission No. 17 specified in this Request for

 4   Production asks whether or not Trustee made a certain payment. Trustee’s response that it will

 5   “examin[e] its books and records” and “will supplement its response” at some future unspecified date is

 6   untenable. Herrera v. PNC Bank, N.A., No. EDCV 18-144-JFW (KKx), 2018 U.S. Dist. LEXIS 227150,

 7   at *7 (C.D. Cal. July 26, 2018) (“[T]he response that ‘discovery is ongoing’ is evasive and incomplete

 8   and, hence, ‘must be treated as a failure to . . . respond.’”). Trustee has had ample time to understand

 9   which facts support its allegations, particularly those that relate to specific monetary transfers; indeed,

10   Trustee has amended its Complaint in this action three times. It is inconceivable that Trustee cannot

11   answer what payments it did and did not make when its entire claim for damages is based on payments it

12   allegedly made. Additionally, even if Trustee needs to examine certain “books and records” to respond to

13   Request for Admission No. 17, it should produce those books and records in response to this Request for

14   Production. Thus, Trustee should be ordered to immediately supplement its response to Request for

15   Production No. 51 and produce documents responsive to the Request.

16   TRUSTEE’S POSITION:

17          The Blue Wolf Entities’ complaint is unwarranted and premature in multiple respects.

18          First, the Trustee did indeed produce, on February 13, 2021, over 9,500 pages of documents culled

19   from the Storage Documents which largely consist of books and records of CTG.

20          Second, the Trustee has not denied Requests for Admissions Nos. 17–29. Rather, the Trustee

21   admits that the payments in question do not appear on bank statements, and that it is re-examining its books

22   and records to confirm the circumstances of these payments and identify the precise supporting documents.

23          Third, discovery has just begun in this case. The Court has not entered a scheduling order nor have

24   the parties agreed upon discovery deadline dates. While the Trustee has identified the payments in Schedule

25   B, the Trustee is in the process of identifying the specific documents supporting these payments. The

26   Trustee further maintains that the Blue Wolf Entities directed, controlled, operated, and managed CTG and

27   that the Blue Wolf Entities are likely to possess the same or more documents which will support these

28   payments. The Blue Wolf Entities have not produced any documents in this litigation or the state court
                                                          26                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 34 of 262


 1   action and the Trustee is still in the process of serving written discovery. In short, the Blue Wolf Entities’

 2   claim that Trustee is evading responding to discovery requests is unwarranted and premature; the Trustee

 3   has made a good-faith effort to respond to discovery and will supplement its responses upon re-examining

 4   the books and records.

 5   REQUEST FOR PRODUCTION NO. 52:

 6          All DOCUMENTS sufficient to support any denial of concurrently propounded Request for

 7   Admission No. 18.

 8   RESPONSE:

 9          Subject to and without waiver of its general objections herein, Trustee is examining its books and

10   records in response to Request for Admission No. 18, and will supplement its response to this Request.

11   THE BLUE WOLF ENTITIES’ POSITION:

12          Defendants incorporate their position as to Request for Production No. 51.

13   TRUSTEE’S POSITION:

14          Trustee incorporates it position as stated in its response relating to Request for Production No. 51

15   REQUEST FOR PRODUCTION NO. 53:9

16          All DOCUMENTS sufficient to support any denial of concurrently propounded Request for

17   Admission No. 19.

18   RESPONSE:

19          Subject to and without waiver of its general objections herein, Trustee is examining its books and

20   records in response to Request for Admission No. 19, and will supplement its response to this Request.

21   THE BLUE WOLF ENTITIES’ POSITION:

22          Defendants incorporate their position as to Request for Production No. 51.

23   TRUSTEE’S POSITION:

24          Trustee incorporates it position as stated in its response relating to Request for Production No. 51

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     9
26     Because Trustee responded identically to 14 other requests as it did to Request Nos. 51-53 set out in this
     stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
27   also seek to move to compel as to Request Nos. 54-63. Copies of Trustee’s Responses to Defendants’
     Requests for Production, which include the Requests themselves, are attached hereto for the Court’s
28   reference.
                                                         27                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                   Main Document    Page 35 of 262


 1   REQUEST FOR PRODUCTION NO. 124:

 2           All DOCUMENTS relating to any settlement agreements executed between YOU and Fidus

 3   Investment Corporation.

 4   RESPONSE:

 5           Trustee objects to this Request to the extent it seeks information that is neither relevant,

 6   reasonably calculated to lead to the discovery of admissible evidence, nor proportional to the needs of the

 7   case.

 8   THE BLUE WOLF ENTITIES’ POSITION:

 9           Trustee asserts pithy boilerplate objections as to relevance and proportionality. Such boilerplate

10   objections are improper. A. Farber & Partners Inc., 234 F.R.D. 186, 188 (C.D. Cal. 2006) (“[G]eneral or

11   boilerplate objections such as ‘overly burdensome and harassing’ are improper – especially when a party

12   fails to submit any evidentiary declarations supporting such objections.”); Herrera, 2018 U.S. Dist.

13   LEXIS 227150, at *7 (“Plaintiff’s boilerplate objections are improper and, therefore, overruled.”); Menell

14   v. Rialto Unified School District, et al., No. EDCV 15-2124-VAP (KKx), 2016 U.S. Dist. LEXIS 80107,

15   at *10 (C.D. Cal. June 20, 2016) (finding “boilerplate relevance and vagueness objections to each

16   interrogatory are improper and not well taken” and granting motion to compel); Reisdorf v. Skechers

17   U.S.A., Inc., No. CV 10-7181 DDP (SSx), 2013 U.S. Dist. LEXIS 200627, at *31-32 (C.D. Cal. Sept. 9,

18   2013) (“Courts have found that the assertion of boilerplate objections […] is tantamount to interposing no

19   objections at all.”); Duran v. Cisco Sys., Inc., 258 F.R.D. 375, 379 (C.D. Cal. 2009) (“[U]nexplained and

20   unsupported boilerplate objections are improper.”).

21           Further, Trustee’s relevance objections are without merit. Fed. R. Civ. P. 26(b)(1) provides for

22   broad discovery “regarding any nonprivileged matter that is relevant to any party’s claim or defense and

23   proportional to the needs of the case . . .” Rule 26(b) “is liberally interpreted to permit wide-ranging

24   discovery of all information reasonably calculated to lead to discovery of admissible evidence; but the

25   discoverable information need not be admissible at the trial.” Oakes, 179 F.R.D. at 283. “A request for

26   discovery should be considered relevant if there is any possibility that the information sought may be

27   relevant to the subject matter of this action” and “[d]iscovery should ordinarily be allowed under the

28   concept of relevancy unless it is clear that the information sought can have no possible bearing upon the
                                                          28                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                    Main Document    Page 36 of 262


 1   subject matter of this action.” Id.; see also Phoenix Solutions Inc. v. Wells Fargo Bank, N.A., 254 F.R.D.

 2   568, 575 (N.D. Cal. 2008) (“The scope of discovery permissible under Rule 26 should be liberally

 3   construed; the rule contemplates discovery into any matter that bears on or that reasonably could lead to

 4   other matter that could bear on any issue that is or may be raised in a case.”) “The party who resists

 5   discovery has the burden to show that discovery should not be allowed, and has the burden of clarifying,

 6   explaining, and supporting its objections.” Id.; Sullivan v. Prudential Ins. Co. of Am., 233 F.R.D. 573,

 7   575 (C.D. Cal. 2005). Here, Trustee has not clarified, explained, or otherwise supported its objections

 8   with any specificity or even generality. It simply asserts that the Request is not relevant, when in reality,

 9   a settlement agreement between any of the named defendants or parties in the case and Trustee, and the

10   terms contained therein, will surely have the “possibility” of providing information that “may be relevant

11   to the subject matter of this action.” Indeed, it is possible that the settlement agreement that is the subject

12   of this Request could relieve the Blue Wolf Entities of liability with respect to the underlying transfers

13   that served as the basis for Trustee’s claims, as section 550(d) of the Bankruptcy Code limits a trustee to

14   a single satisfaction with respect to a transfer. Thus, Trustee should be ordered to supplement its response

15   to explain its boilerplate objections and produce documents responsive to this Request.

16          The Trustee says in the Stipulation that it will now produce the documents “subject to (1) the

17   protective order, (2) agreement from the Blue Wolf Entities that such agreement shall be designated as

18   “Confidential" and (3) consent from the settling parties.” There already has been a protective order

19   entered; it is the obligation of the Trustee to designate the document as “Confidential” under the

20   protective order and the Blue Wolf Entities have the right to contest the designation after receiving the

21   documents which they should not be required to do in advance of receiving them; and while consent of

22   the other parties to the agreement is not required by law, the Trustee sets forth no facts indicating it has

23   done anything to obtain consents from the settling parties. This is just another example of the Trustee’s

24   inaction.

25   TRUSTEE’S POSITION:

26          The Trustee will produce a copy of the relevant settlement agreement subject to (1) the protective

27   order, (2) agreement from the Blue Wolf Entities that such agreement shall be designated as

28   “Confidential" and (3) consent from the settling parties.
                                                          29                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                    Main Document    Page 37 of 262


 1   REQUEST FOR PRODUCTION NO. 125:

 2           All DOCUMENTS relating to any settlement agreements executed between YOU and Fidus

 3   Mezzanine Capital II, L.P.

 4   RESPONSE:

 5           Trustee objects to this Request to the extent it seeks information that is neither relevant,

 6   reasonably calculated to lead to the discovery of admissible evidence, nor proportional to the needs of the

 7   case.

 8   THE BLUE WOLF ENTITIES’ POSITION:

 9           Defendants incorporate their position as to Request for Production No. 124.

10   TRUSTEE’S POSITION:

11           Trustee incorporates its position as to Request for Production No. 124.

12   REQUEST FOR PRODUCTION NO. 126:10

13           All DOCUMENTS relating to any settlement agreements executed between YOU and Avante

14   Mezzanine Partners SBIC, LP.

15   RESPONSE:

16           Trustee objects to this Request to the extent it seeks information that is neither relevant,

17   reasonably calculated to lead to the discovery of admissible evidence, nor proportional to the needs of the

18   case.

19   THE BLUE WOLF ENTITIES’ POSITION:

20           Defendants incorporate their position as to Request for Production No. 124.

21   TRUSTEE’S POSITION:

22           Trustee incorporates its position as to Request for Production No. 124.

23

24                            IV.     REQUESTS FOR ADMISSION IN DISPUTE

25
     10
26      Because Trustee responded identically to 3 other requests as it did to Request Nos. 124-126 set out in
     this stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
27   also seek to move to compel as to Request Nos. 127-129. Copies of Trustee’s Responses to Defendants’
     Requests for Production, which include the Requests themselves, are attached hereto for the Court’s
28   reference.
                                                          30                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 38 of 262


 1   REQUEST FOR ADMISSION NO. 1:

 2          Admit that CTG was not insolvent prior to October 2013.

 3   RESPONSE:

 4          The Trustee objects to this Request as the term “insolvent” is not defined rendering the request

 5   vague and ambiguous. The request is also overbroad, beyond the scope of issues in dispute in this

 6   lawsuit, and unduly burdensome in that it makes a request as to any time prior to “October 2013.” The

 7   admission also calls for a legal conclusion and is the subject of expert testimony. Subject to and without

 8   waiver of the foregoing objections, denied.

 9   THE BLUE WOLF ENTITIES’ POSITION:

10          Trustee’s response to Request for Admission No. 1 is improperly nonresponsive. In responding

11   to a request for admission, a party must either admit, deny, or explain in detail why the matter cannot be

12   truthfully admitted or denied. Fed. R. Civ. Proc., R. 36(a)(4); Anderson v. Hansen, No. 1:09-cv-01924-

13   LJO-MJS (PC), 2012 U.S. Dist. LEXIS 131010, *20 (E.D. Cal. Sep. 13, 2012) (“If a matter is not

14   admitted, the responding party must specifically deny the matter or state in detail why the matter cannot

15   be truthfully admitted or denied.”). “When the purpose and significance of a request are reasonably

16   clear, courts do not permit denials based on an overly-technical reading of the request.” Holmgren v.

17   State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 580 (9th Cir. 1992) (“Epistemological doubts speak highly

18   of (party’s) philosophical sophistication, but poorly of its respect for Rule 36(a).”). Trustee’s objection to

19   the word “insolvent” is not only an “overly-technical reading of the request,” but is clearly disingenuous

20   as Trustee is the one who brought this adversary proceeding, and is well aware of the meaning of the

21   word “insolvent.” Indeed, Trustee alleged in its Complaint that CTG is “insolvent,” clearly demonstrating

22   that it understands the meaning of the word. Further, whether an entity or individual is “insolvent” is “a

23   factual determination[] that should be reserved for discovery.” Beskrone v. OpenGate Capital Grp. (In re

24   Pennysaver USA Publ’g, LLC), 587 B.R. 445, 456 (Bankr. D. Del. 2018). Thus, the Request is proper,

25   and Trustee must fulfill its discovery obligations by adequately responding to Defendants’ Request.

26           Additionally, Trustee has failed to “specifically deny the matter,” and thus the response must be

27   considered an admission. See Ameripride Servs. v. Valley Indus. Servs., No. CIV 2:00-cv-0113-LKK-

28   JFM, 2011 U.S. Dist. LEXIS 39408, at *11-12 (E.D. Cal. April 1, 2011) (granting plaintiff’s motion to
                                                          31                              Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                   Main Document    Page 39 of 262


 1   compel amended responses to its Requests for Admissions and stating “[i]t is also clear that an evasive

 2   denial, one that does not ‘specifically deny the matter,’ or a response that does not set forth ‘in detail’ the

 3   reasons why the answering party cannot truthfully admit or deny the matter, may be deemed an

 4   admission.”). Thus, Trustee should be ordered to withdraw its objections to this Request and supplement

 5   its response to specify facts and details surrounding its denial or the request should be deemed admitted.

 6   TRUSTEE’S POSITION:

 7          First, in the guise of a single admission, Defendants impermissibly demand that Plaintiff identify

 8   whether Plaintiff was insolvent each and every day of its existence prior to 2013. That is on its face an

 9   impermissibly broad request. Second, Defendants know that there are multiple tests for insolvency, but

10   they do not specify the test that the admission includes so it must include all of the possible tests for

11   insolvency. That too is an impermissibly overbroad request for admission. In other words, according to

12   Defendants, Plaintiff would have to address each test for insolvency for each day of CTG’s existence

13   prior to 2013 to answer this request. Finally, legal insolvency is an ultimate legal conclusion that is

14   inappropriate for an admission. It is also usually the subject of expert testimony—and the deadline for

15   designating experts has not even been set, much less passed—not a subject of the Trustee’s lay

16   testimony. For each and all of these reasons, this is an unfair and impermissible request for admission.

17   REQUEST FOR ADMISSION NO. 2:

18          Admit that at no point in 2013 was CTG insolvent.

19   RESPONSE:

20          The Trustee objects to this Request as the term “insolvent” is not defined rendering the request

21   vague and ambiguous. The admission also calls for a legal conclusion and is the subject of expert

22   testimony. Subject to and without waiver of the foregoing objections, denied.

23   THE BLUE WOLF ENTITIES’ POSITION:

24          Defendants incorporate their position as to Request for Admission No. 1.

25   TRUSTEE’S POSITION:

26          The Trustee incorporates its position with respect to Request for Admission No. 1. The only

27   difference in the request is that instead of asking for every day of CTG’s existence, this request asks for

28   each day of the 365 days of 2013 whether under every possible test for insolvency whether CTG was
                                                          32                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 40 of 262


 1   insolvent or not on each day of 2013. While perhaps this request acknowledges the overbreadth of

 2   Request for Admission No. 1 that incorporates all days of CTG’s existence prior to 2013, the request for

 3   365 days in 2013 is equally overbroad.

 4   REQUEST FOR ADMISSION NO. 3:11

 5          Admit that at no point in 2014 was CTG insolvent.

 6   RESPONSE:

 7          The Trustee objects to this Request as the term “insolvent” is not defined rendering the request

 8   vague and ambiguous. The admission also calls for a legal conclusion and is the subject of expert

 9   testimony. Subject to and without waiver of the foregoing objections, denied.

10   THE BLUE WOLF ENTITIES’ POSITION:

11          Defendants incorporate their position as to Request for Admission No. 1

12   TRUSTEE’S POSITION:

13          The Trustee incorporates its position with respect to Request for Admission No. 1. The only

14   difference in the request is that instead of asking for every day of CTG’s existence, this request asks for

15   each day of the 365 days of 2014 whether under every possible test for insolvency whether CTG was

16   insolvent or not on each day of 2014. While perhaps this request acknowledges the overbreadth of

17   Request for Admission No. 1 that incorporates all days of CTG’s existence prior to 2013, the request for

18   365 days in 2014 is equally overbroad.

19

20   REQUEST FOR ADMISSION NO. 7:

21          Admit that CTG borrowed $1,750,000.00 on 10/1/15 from CIT BANK, N.A.

22   RESPONSE:

23          The Trustee objects to this Request as CTG was not the sole borrower on the lending agreement

24   with One West Bank. Subject to and without waiver of the foregoing objections, denied as stated.

25
     11
26      Because Trustee responded identically to 4 other requests as it did to Request Nos. 1-3 set out in this
     stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
27   also seek to move to compel as to Request Nos. 4, 33, 34, and 41. Copies of Trustee’s Responses to
     Defendants’ Requests for Admission, which include the Requests themselves, are attached hereto for the
28   Court’s reference.
                                                         33                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 41 of 262


 1   THE BLUE WOLF ENTITIES’ POSITION:

 2          Trustee’s response to Request for Admission No. 7 is improperly nonresponsive. Notwithstanding

 3   the fact that the debtor’s records in this action reflect that it received a transfer from CIT Bank, N.A. on

 4   the date specified in the Request, Trustee refuses to even acknowledge that such a transfer occurred.

 5   Even as to basic issues such as the one set out in this Request, Trustee has stonewalled and refused to

 6   provide Defendants with clear, cohesive answers. It is imperative that Trustee complies with its discovery

 7   obligations and provides a straightforward answer, as Defendants’ defense in this action is that while

 8   Trustee contends that the debtor transferred money to CIT Bank at its own expense, it ignores the fact

 9   that debtor received even more money than what it owed, thereby nullifying Trustee’s claims.

10            Not only has Trustee substantively violated its discovery obligations in responding to this

11   Request, it has done so procedurally as well. In responding to a request for admission, a party must either

12   admit, deny, or explain in detail why the matter cannot be truthfully admitted or denied. Fed. R. Civ.

13   Proc., R. 36(a)(4); Anderson v. Hansen, 2012 WL 4049979, *8 (E.D. Cal. Sep. 13, 2012) (“If a matter is

14   not admitted, the responding party must specifically deny the matter or state in detail why the matter

15   cannot be truthfully admitted or denied.”). “When the purpose and significance of a request are

16   reasonably clear, courts do not permit denials based on an overly-technical reading of the request.”

17   Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 580 (9th Cir. 1992) (“Epistemological doubts

18   speak highly of (party’s) philosophical sophistication, but poorly of its respect for Rule 36(a).”).

19   Trustee’s objection that CTG was allegedly not the only borrower is an “overly-technical reading of the

20   request”; it is clear that the Request is asking whether CTG borrowed a certain sum of money, regardless

21   of whether CTG was the only borrower. By failing to answer the Request as stated, and instead

22   qualifying the denial with a meritless objection, Trustee has again failed to “specifically deny the matter,”

23   and thus the response must be considered an admission. See Ameripride Servs. v. Valley Indus. Servs.,

24   No. CIV 2:00-cv-0113-LKK-JFM, 2011 U.S. Dist. LEXIS 39408, at *11-12 (E.D. Cal. April 1, 2011)

25   (granting plaintiff’s motion to compel amended responses to its Requests for Admissions and stating “[i]t

26   is also clear that an evasive denial, one that does not ‘specifically deny the matter,’ or a response that

27   does not set forth ‘in detail’ the reasons why the answering party cannot truthfully admit or deny the

28   matter, may be deemed an admission.”). Thus, Trustee should be ordered to withdraw its objections to
                                                          34                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 42 of 262


 1   this Request and supplement its response to specify facts and details surrounding its denial.

 2   TRUSTEE’S POSITION:

 3          This request seeks a misleading admission. While CTG does not deny that it was a co-borrower

 4   under the loan facility that was entered into to purchase CTGAM, it was not the sole borrower. As

 5   Defendants know and the loan documents reflect, the other co-borrowers included, inter alia, the Blue

 6   Wolf Defendants through BWP and CTGAM. So CTG did not “borrow” that amount of money, all of the

 7   co-borrowers borrowed that amount of money. If Defendants simply wanted to obtain an admission about

 8   a transfer of funds from CIT to CTG’s account on a date certain, then Defendants could reframe the

 9   request to ask that question, which is not in dispute. Instead, they have sought to characterize the transfer

10   as a borrowing of money by CTG, soley, from CIT, and that is simply not accurate and must be denied.

11          As an aside, the Trustee denies the merits arguments that the Defendants insert. The borrowing of

12   money by the entities, which included CTG, for the acquisition and operations of the alter-ego entities is

13   not mitigated by subsequent borrowings by those same groups of companies. But these merits arguments

14   really have no bearing on the discovery issues raised in this stipulation.

15   REQUEST FOR ADMISSION NO. 8:

16          Admit that CTG borrowed $1,300,000.00 on 10/9/15 from CIT BANK, N.A.

17   RESPONSE:

18          The Trustee objects to this Request as CTG was not the sole borrower on the lending agreement

19   with One West Bank. Subject to and without waiver of the foregoing objections, denied as stated.

20   THE BLUE WOLF ENTITIES’ POSITION:

21          Defendants incorporate their position as to Request for Admission No. 7.

22   TRUSTEE’S POSITION:

23          Plaintiff incorporates its position as to Request for Admission No. 7. Again, transfers of funds on

24   specific dates by CIT should not be in dispute but characterizing them as CTG’s borrowings is not

25   accurate and requires denial of the admission. Again, Plaintiff has invited Defendants to reframe this

26   request if it only seeks acknowledgement of the transfer of funds on a particular date to an account, rather

27   than mischaracterizing the transfer.

28
                                                         35                               Adv. No. 9:18-ap-01058-DS

                                            STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 43 of 262


 1   REQUEST FOR ADMISSION NO. 9:12

 2          Admit that CTG borrowed $450,000.00 on 10/28/15 from CIT BANK, N.A.

 3   RESPONSE:

 4          The Trustee objects to this Request as CTG was not the sole borrower on the lending agreement

 5   with One West Bank. Subject to and without waiver of the foregoing objections, denied as stated.

 6   THE BLUE WOLF ENTITIES’ POSITION:

 7          Defendants incorporate their position as to Request for Admission No. 7.

 8   TRUSTEE’S POSITION:

 9          Plaintiff incorporates its position as to Request for Admission No. 7. Again, transfers of funds on

10   specific dates by CIT should not be in dispute but characterizing them as CTG’s borrowings is not

11   accurate and requires denial of the admission. Again, Plaintiff has invited Defendants to reframe this

12   request if it only seeks acknowledgement of the transfer of funds on a particular date to an account, rather

13   than mischaracterizing the transfer.

14   REQUEST FOR ADMISSION NO. 17:

15          Admit CTG did not make a payment of $11,853.34 on 10/22/15 to CIT BANK, N.A.

16   RESPONSE:

17          Trustee admits that this payment does not appear on bank statements; however Trust is examining

18   this payment in its books and records and will supplement its response to this Request.

19   THE BLUE WOLF ENTITIES’ POSITION:

20          Trustees response to this Request is, again, entirely non-responsive. Defendants have reviewed

21   the relevant bank records and found that there is no evidence that there was ever a transfer made from the

22   debtor’s account on the day specified in the Request. Indeed, Trustee even acknowledges this

23   discrepancy in its response, but still refuses to provide a direct answer to the simple question in the

24   Request. This is yet another example of Trustee’s inability to provide straightforward answers to basic

25
     12
26      Because Trustee responded identically to 4 other requests as it did to Request Nos. 7-9 set out in this
     stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
27   also seek to move to compel as to Request Nos. 10-13. Copies of Trustee’s Responses to Defendants’
     Requests for Admission, which include the Requests themselves, are attached hereto for the Court’s
28   reference.
                                                         36                               Adv. No. 9:18-ap-01058-DS

                                            STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 44 of 262


 1   requests for pertinent and necessary information.

 2          Additionally, Trustee’s response that it will “examin[e] this payment” and “will supplement its

 3   response” at some future unspecified date is untenable. Herrera, 2018 U.S. Dist. LEXIS 227150, at *7

 4   (“[T]he response that ‘discovery is ongoing’ is evasive and incomplete and, hence, ‘must be treated as a

 5   failure to . . . respond.’”). Trustee has had ample time to understand which facts support its allegations,

 6   particularly those that relate to specific monetary transfers; indeed, Trustee has amended its Complaint in

 7   this action three times. It is inconceivable that Trustee cannot answer what payments it did and did not

 8   make when its entire claim for damages is based on payments it allegedly made. Trustee should be

 9   ordered to immediately supplement its response to Request for Admission No. 17 to provide a full and

10   substantive answer.

11   TRUSTEE’S POSITION:

12          The Trustee will not hesitate to agree if it determines that the identified payment of $11,853.34 is

13   determined to not actually have been made. The accounting records reviewed by the Trustee included the

14   payment, and while the bank statements in the Trustee’s possession do not show the payment in question,

15   the debtor’s documents received by the Trustee do not include a complete set of bank statements from

16   CIT. In addition, the Trustee does not have access to the former accounting staff of CTG and has not yet

17   taken discovery from them. Accordingly, the Trustee does not feel that it has sufficient information to

18   deny the payment at this time though it expects that the results of will allow it to be able to confirm or

19   deny this payment in the future.

20   REQUEST FOR ADMISSION NO. 18:

21          Admit CTG did not make a payment of $1,580.44 on 10/22/15 to CIT BANK, N.A.

22   RESPONSE:

23          Trustee admits that this payment does not appear on bank statements; however Trust is examining

24   this payment in its books and records and will supplement its response to this Request.

25   THE BLUE WOLF ENTITIES’ POSITION:

26          Defendants incorporate their position as to Request for Admission No. 17.

27   TRUSTEE’S POSITION:

28          Plaintiff incorporates its position as to Request for Admission No. 17.
                                                         37                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 45 of 262


 1   REQUEST FOR ADMISSION NO. 19:13

 2          Admit CTG did not make a payment of $9,815.49 on 12/9/15 to CIT BANK, N.A.

 3   RESPONSE:

 4          Trustee admits that this payment does not appear on bank statements; however Trust is examining

 5   this payment in its books and records and will supplement its response to this Request.

 6   THE BLUE WOLF ENTITIES’ POSITION:

 7          Defendants incorporate their position as to Request for Admission No. 17.

 8   TRUSTEE’S POSITION:

 9          Plaintiff incorporates its position as to Request for Admission No. 17.

10   REQUEST FOR ADMISSION NO. 35:

11          Admit that CTG used $376,000 of proceeds from the sale of ADVANCED MATERIALS to make

12   its rent payments.

13   RESPONSE:

14          Denied as stated upon information and belief. Notwithstanding this denial, Trustee has requested

15   closing documents to confirm if rent payments were made from proceeds of the sale.

16   THE BLUE WOLF ENTITIES’ POSITION:

17          Trustee’s response to Request for Admission No. 35 is wholly disingenuous and without merit.

18   Trustee is well aware of exactly which funds CTG used to pay its own rent, and has these documents in

19   its possession, custody, and control. Thus, Trustee has not, in fact, answered based upon its information

20   and belief, and must amend its response. Indeed, even if Trustee was not aware of what funds it used to

21   make its rent payments, its response is still insufficient as it provides no date or timeframe as to when it

22   will obtain the closing documents it needs to provide an adequate response.

23   TRUSTEE’S POSITION:

24          The debtor’s records received by the Trustee did not include the closing documents from the sale

25
     13
26      Because Trustee responded identically to 10 other requests as it did to Request Nos. 17-19 set out in
     this stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
27   also seek to move to compel as to Request Nos. 20-29. Copies of Trustee’s Responses to Defendants’
     Requests for Admission, which include the Requests themselves, are attached hereto for the Court’s
28   reference.
                                                         38                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                    Desc
                                   Main Document    Page 46 of 262


 1   of Advanced Materials. The Trustee has requested the closing documents from Defendant Advanced

 2   Materials, and production by the Defendant is ongoing. Presumably, the Blue Wolf Defendants have

 3   these documents as well, but for whatever reason they have not produced them in conjunction with their

 4   disclosures. If the Blue Wolf Defendants would provide their set of closing document promptly, then

 5   Plaintiff could review and revisit the answer above.

 6   REQUEST FOR ADMISSION NO. 37:

 7          Admit that CTG and ADVANCED MATERIALS filed consolidated tax returns.

 8   RESPONSE:

 9          Denied as stated.

10   THE BLUE WOLF ENTITIES’ POSITION:

11          Trustee has failed to “specifically deny the matter,” and thus the response must be considered an

12   admission. See Ameripride Servs. v. Valley Indus. Servs., No. CIV 2:00-cv-0113-LKK-JFM, 2011 U.S.

13   Dist. LEXIS 39408, at *11-12 (E.D. Cal. April 1, 2011) (granting plaintiff’s motion to compel amended

14   responses to its Requests for Admissions and stating “[i]t is also clear that an evasive denial, one that

15   does not ‘specifically deny the matter,’ or a response that does not set forth ‘in detail’ the reasons why

16   the answering party cannot truthfully admit or deny the matter, may be deemed an admission.”). Thus,

17   Trustee should be ordered to supplement its response to specify facts and details surrounding its denial or

18   the request should be deemed admitted.

19   TRUSTEE’S POSITION:

20          While the Trustee has not yet received all of the tax returns filed for the alter-ego entities, it is the

21   understanding of the Trustee that this admission is not accurate. It is the Trustee’s understanding that one

22   of the Blue Wolf Entities, BWP, filed tax returns that consolidated wholly owned subsidiaries including

23   both CTG and Advanced Materials. Accordingly, neither CTG nor Advanced Materials filed or had any

24   obligation to file any tax returns; only BWP had an obligation or did file a tax return for the group of

25   alter-ego entities including CTG and Advanced Materials.

26   REQUEST FOR ADMISSION NO. 40:

27          Admit that $6,901,369.25 of payments of CTG’s loan from Gladstone Investment Corp. were

28   made before ADVANCED MATERIALS was acquired.
                                                          39                                Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS            Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                      Main Document    Page 47 of 262


 1   RESPONSE:

 2          Trustee objects to this Request as vague and ambiguous as to the time period this Request covers.

 3   Subject to and without waiver of the foregoing objection, Trustee invites the Blue Wolf Entities to

 4   discuss the parameters of this Request and may amend or supplement its response accordingly.

 5   THE BLUE WOLF ENTITIES’ POSITION:

 6          Trustee asserts pithy boilerplate objections, objecting to this request as “vague and ambiguous”

 7   without any further explanation. Such boilerplate objections are improper. A. Farber & Partners Inc.,

 8   234 F.R.D. 186, 188 (C.D. Cal. 2006) (“[G]eneral or boilerplate objections such as ‘overly burdensome

 9   and harassing’ are improper – especially when a party fails to submit any evidentiary declarations

10   supporting such objections.”); Herrera, 2018 U.S. Dist. LEXIS 227150, at *7 (“Plaintiff’s boilerplate

11   objections are improper and, therefore, overruled.”); Menell v. Rialto Unified School District, et al., No.

12   EDCV 15-2124-VAP (KKx), 2016 U.S. Dist. LEXIS 80107, at *10 (C.D. Cal. June 20, 2016) (finding

13   “boilerplate relevance and vagueness objections to each interrogatory are improper and not well taken”

14   and granting motion to compel); Reisdorf v. Skechers U.S.A., Inc., No. CV 10-7181 DDP (SSx), 2013

15   U.S. Dist. LEXIS 200627, at *31-32 (C.D. Cal. Sept. 9, 2013) (“Courts have found that the assertion of

16   boilerplate objections […] is tantamount to interposing no objections at all.”); Duran v. Cisco Sys., Inc.,

17   258 F.R.D. 375, 379 (C.D. Cal. 2009) (“[U]nexplained and unsupported boilerplate objections are

18   improper.”).

19          Additionally, the objections are without merit as the Request does indeed specify the time period

20   during which it is inquiring- the time period before Advanced Materials was acquired. There is nothing

21   “vague” or “ambiguous” about this time period, and Trustee’s objections are clearly meant to distract

22   from the fact that it refuses to comply with its discovery obligations and admit that its loan payments

23   were not made with funds used in the acquisition of Advanced Materials. Indeed, in Paragraph 35 of

24   Complaint, the Trustee alleges that Advanced Materials assets were acquired in October 2013. Such

25   avoidance and gamesmanship cannot be tolerated, and thus Trustee must be ordered to adequately and

26   fully respond to this Request.

27   TRUSTEE’S POSITION:

28          The Second Amended Complaint lists certain payments made to Gladstone and the dates of those
                                                         40                              Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS           Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                     Main Document    Page 48 of 262


 1   payments. The Trustee could not reconcile the number in the requested admission with its schedule.

 2   Accordingly, Plaintiff invited Defendants to confer about this request. While the parties have conferred

 3   extensively about these requests, Defendants have not clarified this request for Plaintiffs so that the

 4   numbers can be reconciled. Plaintiff has submitted discovery requests to Gladstone that would encompass

 5   all payments made, but documents have not yet been provided at this time by Gladstone. In sum, the

 6   Plaintiff is happy to reach a stipulation or admission regarding payments made to Gladstone before the

 7   acquisition of HC Materials, but the Trustee cannot reconcile “$6,901,369.25” with the payments listed in

 8   its schedule, and the Blue Wolf Defendants have not been forthcoming about th details of that calculation

 9   to enable Plaintiff to do so.

10   REQUEST FOR ADMISSION NO. 42:

11           Admit that McDermott & Emery LLP provided legal services to CTG.

12   RESPONSE:

13           Trustee denies this Request to the extent the Request relies upon bills to CTG to identify which

14   legal services were provided to CTG. Trustee believes that the majority of the services billed to CTG

15   were for services provided to Blue Wolf Piezo or Advanced Materials. Because discovery is ongoing,

16   Trustee reserves the right to amend and/or supplement this response.

17   THE BLUE WOLF ENTITIES’ POSITION:

18           Trustee has provided absolutely no details or evidence to support its contention that the “majority

19   of services billed to CTG were for serviced provided to Blue Wolf Piezo or Advanced Materials.”

20   Indeed, without further explanation or information to support this claim, Trustee’s response is essentially

21   a made-up scenario that it is using to avoid responding adequately to this Request. Additionally,

22   Trustee’s response that it cannot adequately respond because “discovery is ongoing” is untenable.

23   Herrera v. PNC Bank, N.A., No. EDCV 18-144-JFW (KKx), 2018 U.S. Dist. LEXIS 227150, at *7 (C.D.

24   Cal. July 26, 2018) (“[T]he response that ‘discovery is ongoing’ is evasive and incomplete and, hence,

25   ‘must be treated as a failure to . . . respond.’”). Trustee has had ample time to understand which facts

26   support its allegations; indeed, Trustee has amended its Complaint in this action three times. It is

27   inconceivable that Trustee cannot answer whether certain legal services were provided to CTG when it is

28   representing the interests of CTG, and when the bills and invoices so clearly reflect that such legal
                                                         41                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 49 of 262


 1   services were indeed provided to CTG. Again, Trustee cannot even respond to a simple Request with a

 2   straightforward answer despite the documentation that clearly proves that this Request must be admitted.

 3   Thus, Trustee should be ordered to immediately supplement and amend its response to Request for

 4   Admission No. 42.

 5   TRUSTEE’S POSITION:

 6          The Trustee has produced McDermott & Emery LLP billing records to the Blue Wolf Defendants—

 7   more than once. While those billing records may not be sufficient without additional discovery to determine

 8   the final allocation of the benefit for these services, it appears to the Trustee that the majority of the work

 9   was done for the benefit of the Blue Wolf Entities.

10   REQUEST FOR ADMISSION NO. 43:

11          Admit that Dorsey & Whitney LLP provided legal services to CTG.

12   RESPONSE:

13          Trustee denies this Request to the extent the Request relies upon bills to CTG to identify which

14   legal services were provided to CTG. Trustee believes that the majority of the services billed to CTG

15   were for services provided to Blue Wolf Piezo or Advanced Materials. Because discovery is ongoing,

16   Trustee reserves the right to amend and/or supplement this response.

17   THE BLUE WOLF ENTITIES’ POSITION:

18          Defendants incorporate their position as to Request for Admission No. 42.

19   TRUSTEE’S POSITION:

20          The Trustee has produced Dorsey & Whitney LLP’s billing records to the Blue Wolf Defendants—

21   more than once. While those billing records may not be sufficient without additional discovery to determine

22   the final allocation of the benefit for these services, it appears to the Trustee that the majority of the work

23   was done for the benefit of the Blue Wolf Entities. For example, the correspondence from a Dorsey

24   Attorney to the Federal Government—attached to the Second Amended Complaint—explicitly identifies

25   CTGAM as a subsidiary of CTG in an effort to use CTG’s security clearance for CTGAM.

26   REQUEST FOR ADMISSION NO. 44:

27          Admit that none of “CTG’s cash” was used to pay for the acquisition of ADVANCED

28   MATERIALS, as alleged in paragraph 35 of the COMPLAINT.
                                                           42                              Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 50 of 262


 1   RESPONSE:

 2          Denied as stated.

 3   THE BLUE WOLF ENTITIES’ POSITION:

 4          Trustee has failed to “specifically deny the matter,” and thus the response must be considered an

 5   admission. See Ameripride Servs. v. Valley Indus. Servs., No. CIV 2:00-cv-0113-LKK-JFM, 2011 U.S.

 6   Dist. LEXIS 39408, at *11-12 (E.D. Cal. April 1, 2011) (granting plaintiff’s motion to compel amended

 7   responses to its Requests for Admissions and stating “[i]t is also clear that an evasive denial, one that

 8   does not ‘specifically deny the matter,’ or a response that does not set forth ‘in detail’ the reasons why

 9   the answering party cannot truthfully admit or deny the matter, may be deemed an admission.”). Thus,

10   Trustee should be ordered to supplement its response to specify facts and details surrounding its denial or

11   the request should be deemed admitted.

12   TRUSTEE’S POSITION:

13          CTG paid for ancillary services related to that acquisition and—more significantly—the assets

14   and credit of CTG were used to obtain the loan from CIT that funded the acquisition. Subsequently, CTG

15   funds were used to make repayments of that acquisition loan as well. Accordingly, the admission is

16   properly denied. If the intent was simply to ask whether cash was taken from CTG’s operating funds to

17   purchase HC Materials, then the Trustee could admit that more narrow admission.

18

19   REQUEST FOR ADMISSION NO. 45:

20          Admit that in computing the transfers listed in Schedule B of the COMPLAINT, YOU included

21   duplicate transfers totaling $5,834,527.96.

22   RESPONSE:

23          Denied as stated. Because discovery is ongoing, Trustee reserves the right to amend and/or

24   supplement this response.

25   THE BLUE WOLF ENTITIES’ POSITION:

26          Trustee has failed to “specifically deny the matter,” and thus the response must be considered an

27   admission. See Ameripride Servs. v. Valley Indus. Servs., No. CIV 2:00-cv-0113-LKK-JFM, 2011 U.S.

28   Dist. LEXIS 39408, at *11-12 (E.D. Cal. April 1, 2011) (granting plaintiff’s motion to compel amended
                                                         43                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                   Main Document    Page 51 of 262


 1   responses to its Requests for Admissions and stating “[i]t is also clear that an evasive denial, one that

 2   does not ‘specifically deny the matter,’ or a response that does not set forth ‘in detail’ the reasons why

 3   the answering party cannot truthfully admit or deny the matter, may be deemed an admission.”). Thus,

 4   Trustee should be ordered to supplement its response to specify facts and details surrounding its denial or

 5   the request should be deemed admitted.

 6          Additionally, Trustee’s response that it cannot adequately respond because “discovery is

 7   ongoing” is untenable. Herrera v. PNC Bank, N.A., No. EDCV 18-144-JFW (KKx), 2018 U.S. Dist.

 8   LEXIS 227150, at *7 (C.D. Cal. July 26, 2018) (“[T]he response that ‘discovery is ongoing’ is evasive

 9   and incomplete and, hence, ‘must be treated as a failure to . . . respond.’”). Trustee has had ample time to

10   understand which facts support its allegations; indeed, Trustee has amended its Complaint in this action

11   three times. It is inconceivable that Trustee cannot answer whether it included a duplicate transfer in its

12   own computation of Schedule B that it prepared. An adequate response to this Request only requires

13   Trustee to examine the document it prepared- no other “discovery” or investigation is necessary. Again,

14   Trustee cannot even respond to a simple Request with a straightforward answer despite the

15   documentation that clearly proves that this Request must be admitted. Thus, Trustee should be ordered to

16   immediately supplement and amend its response to Request for Admission No. 45.

17   TRUSTEE’S POSITION:

18          The Trustee will not hesitate to agree if it determines that any payment listed in the schedule is a

19   duplicate. The accounting records reviewed by the Trustee included the payments listed in the schedules,

20   and as noted above, the debtor’s documents received by the Trustee do not include a complete set of bank

21   statements from CIT. In addition, the Trustee does not have access to the former accounting staff of CTG

22   and has not yet taken discovery from them. Finally, the Defendants have not provided a methodology for

23   their total in this admission, just a lump-sum. Accordingly, the Trustee does not feel that it has sufficient

24   information to admit that certain payments are duplicates at this time though it expects that the results of

25   discovery will allow it to be able to confirm or deny each identified duplicate in the future.

26

27   REQUEST FOR ADMISSION NO. 46:

28          Admit that in computing the transfers listed in Schedule B of the COMPLAINT, YOU included a
                                                         44                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 52 of 262


 1   duplicate transfer of $105,877.54 on 8/28/14.

 2   RESPONSE:

 3          Denied as stated. Because discovery is ongoing, Trustee reserves the right to amend and/or

 4   supplement this response.

 5   THE BLUE WOLF ENTITIES’ POSITION:

 6          Defendants incorporate their position as to Request for Admission No. 45.

 7   TRUSTEE’S POSITION:

 8          The Trustee will not hesitate to agree if it determines that the identified payment of $105,877.54

 9   is determined to not actually have been made. The accounting records reviewed by the Trustee included

10   the payment. As noted above, the debtor’s documents received by the Trustee do not include a complete

11   set of bank statements from CIT. In addition, the Trustee does not have access to the former accounting

12   staff of CTG and has not yet taken discovery from them. Accordingly, the Trustee does not feel that it has

13   sufficient information to deny the payment at this time though it expects that the results of discovery will

14   allow it to be able to confirm or deny this payment in the future.

15   REQUEST FOR ADMISSION NO. 47:14

16          Admit that in computing the transfers listed in Schedule B of the COMPLAINT, YOU included a

17   duplicate transfer of $111,684.22 on 10/31/14.

18   RESPONSE:

19          Denied as stated. Because discovery is ongoing, Trustee reserves the right to amend and/or

20   supplement this response.

21   THE BLUE WOLF ENTITIES’ POSITION:

22          Defendants incorporate their position as to Request for Admission No. 45.

23   TRUSTEE’S POSITION:

24
     14
25      Because Trustee responded identically to 10 other requests as it did to Request Nos. 45-47 set out in
     this stipulation, the Parties have only included 3 examples for efficiency and length purposes. Defendants
26   also seek to move to compel as to Request Nos. 48-57. Copies of Trustee’s Responses to Defendants’
     Requests for Admission, which include the Requests themselves, are attached hereto for the Court’s
27   reference. The Trustee objects to a footnote regarding requests that are not included though it has no
     objection to getting guidance from the Court regarding general positions and working with Defendants to
28   resolve any other similar requests.
                                                         45                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 53 of 262


 1          The Trustee will not hesitate to agree if it determines that the identified payment of $111,684.22 is

 2   determined to not actually have been made. The accounting records reviewed by the Trustee included the

 3   payment. As noted above, the debtor’s documents received by the Trustee do not include a complete set of

 4   bank statements from CIT. In addition, the Trustee does not have access to the former accounting staff of

 5   CTG and has not yet taken discovery from them. Accordingly, the Trustee does not feel that it has sufficient

 6   information to deny the payment at this time though it expects that the results of discovery will allow it to

 7   be able to confirm or deny this payment in the future.

 8   REQUEST FOR ADMISSION NO. 58:

 9          Admit that ADVANCED MATERIALS’ business office was located in Bowling Brook, Illinois.

10   RESPONSE:

11          Trustee objects that this Request is vague and ambiguous as to the term “business office.” Trustee

12   further objects to this Request as vague and ambiguous as to the location “Bowling Brook, Illinois.”

13   Subject to and without waiver of the foregoing objections, denied as stated.

14   THE BLUE WOLF ENTITIES’ POSITION:

15          Trustee’s response to Request No. 58 is another example of its refusal to provide basic answers to

16   basic questions. Trustee responds by stating that the term “business office” is “vague and ambiguous.”

17   However, in its response to Request No. 59, which asked Trustee to admit that “CTG’s business office was

18   located in Santa Barbara, California,” and is on the same page as its response to Request No. 58, Trustee

19   readily admits with no qualification, showing that it does not actually find the phrase “business office” to

20   be vague or ambiguous. It is blatantly clear that Trustee is picking and choosing which Requests it wants

21   to dispute and which Requests it wants to answer, not based on valid objections, but based on what it

22   believes will support it in its claims against Defendants. Such tactics cannot be permitted in discovery, and

23   Trustee must be ordered to amend its responses to properly answer Defendants’ Requests.

24   TRUSTEE’S POSITION:

25          The Blue Wolf Defendants apparently want to litigate their case through argumentative admissions.

26   They misstate the Trustee’s position. The Trustee does not deny that CTGAM had a facility in Illinois. It

27   even had a controller in Illinois and other employees. The CEO for CTGAM had his office in Santa

28   Barbara. The CFO for CTGAM had his office in Santa Barbara. In other words, the CTGAM
                                                         46                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 54 of 262


 1   administrators in Illinois reported to the CTG staff in the Santa Barbara office of CTG. So it is not accurate

 2   to say that the “business office” of CTGAM was located solely in Illinois.

 3          The same is not true for CTG, as Defendants try to imply, because CTG’s executives were all

 4   located in Santa Barbara. Other subsidiaries and controlled-entities, such as CTGAM, EOI and MSI

 5   reported to Santa Barbara, but CTG did not maintain offices elsewhere. Accordingly, there is no disoute

 6   where CTG’s business office was located. That is not the case for CTGAM.

 7   REQUEST FOR ADMISSION NO. 62:

 8          Admit that invoices sent to CTG’s customers referenced CTG and did not reference ADVANCED

 9   MATERIALS.

10   RESPONSE:

11          Plaintiff is without sufficient information to respond at this time to answer this request because it

12   does not have access to a list of all of the customers of CTG-Advanced Materials. Because discovery is

13   ongoing, Trustee reserves the right to amend and/or supplement this response.

14   THE BLUE WOLF ENTITIES’ POSITION:

15          At bottom, Trustee’s response makes absolutely no sense. The Request requires Trustee to look to

16   the invoices CTG sent to its customers; no part of the Request, and no interpretation of the Request,

17   requires Trustee to acquire or review “a list of all the customers of CTG-Advanced Materials.” Trustee’s

18   response again only demonstrates its gamesmanship and obtrusive tactics to avoid complying with its

19   discovery obligations.

20          Additionally, Trustee’s response that it cannot adequately respond because “discovery is

21   ongoing” is untenable. Herrera v. PNC Bank, N.A., No. EDCV 18-144-JFW (KKx), 2018 U.S. Dist.

22   LEXIS 227150, at *7 (C.D. Cal. July 26, 2018) (“[T]he response that ‘discovery is ongoing’ is evasive

23   and incomplete and, hence, ‘must be treated as a failure to . . . respond.’”). Trustee has had ample time to

24   understand which facts support its allegations; indeed, Trustee has amended its Complaint in this action

25   three times. It is inconceivable that Trustee cannot answer whether CTG’s own invoices reference

26   Advanced Materials. An adequate response to this Request only requires Trustee to examine its own

27   invoices- no other “discovery” or investigation is necessary. Again, Trustee cannot even respond to a

28   simple Request with a straightforward answer despite the documentation in its possession that clearly
                                                         47                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                   Main Document    Page 55 of 262


 1   proves that this Request must be admitted. Thus, Trustee should be ordered to immediately supplement

 2   and amend its response to Request for Admission No. 62

 3   TRUSTEE’S POSITION:

 4          The Trustee does not have access to all of CTGAM’s customers or invoices to know whether there

 5   were overlapping customers of both that received separate invoices or combined invoices. The Trustee just

 6   does not have this knowledge or sufficient records to say so at this point in time.

 7   REQUEST FOR ADMISSION NO. 64:

 8          Admit that no customer of CTG has claimed that it understood it was conducting business with

 9   ADVANCED MATERIALS.

10   RESPONSE:

11          Trustee objects to this Request as the term “customer” is not defined rendering the request vague

12   and ambiguous. The Request is also overbroad, vague, beyond the scope of issues in dispute in this

13   lawsuit, and unduly burdensome in that it makes a request as to any or “no” “customer.” Subject to and

14   without waiver of the foregoing objections, the Trustee is without sufficient information to admit or deny

15   facts not within its knowledge.

16   THE BLUE WOLF ENTITIES’ POSITION:

17          Trustee asserts pithy boilerplate objections, objecting to this request as “vague and ambiguous,”

18   “overbroad,” “beyond the scope of issues in dispute in this lawsuit,” and “unduly burdensome” without

19   any further explanation. Such boilerplate objections are improper. A. Farber & Partners Inc., 234 F.R.D.

20   186, 188 (C.D. Cal. 2006) (“[G]eneral or boilerplate objections such as ‘overly burdensome and

21   harassing’ are improper – especially when a party fails to submit any evidentiary declarations supporting

22   such objections.”); Herrera, 2018 U.S. Dist. LEXIS 227150, at *7 (“Plaintiff’s boilerplate objections are

23   improper and, therefore, overruled.”); Menell v. Rialto Unified School District, et al., No. EDCV 15-

24   2124-VAP (KKx), 2016 U.S. Dist. LEXIS 80107, at *10 (C.D. Cal. June 20, 2016) (finding “boilerplate

25   relevance and vagueness objections to each interrogatory are improper and not well taken” and granting

26   motion to compel); Reisdorf v. Skechers U.S.A., Inc., No. CV 10-7181 DDP (SSx), 2013 U.S. Dist.

27   LEXIS 200627, at *31-32 (C.D. Cal. Sept. 9, 2013) (“Courts have found that the assertion of boilerplate

28   objections […] is tantamount to interposing no objections at all.”); Duran v. Cisco Sys., Inc., 258 F.R.D.
                                                         48                                Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                  Main Document    Page 56 of 262


 1   375, 379 (C.D. Cal. 2009) (“[U]nexplained and unsupported boilerplate objections are improper.”).

 2          Additionally, the objections are without merit as the word “customer” is by no stretch “vague or

 3   ambiguous,” and Trustee’s objections are clearly meant to distract from the fact that it refuses to comply

 4   with its discovery obligations and admit that none of its customers were under the impression that they

 5   were doing business with Advanced Materials rather than CTG. “When the purpose and significance of a

 6   request are reasonably clear, courts do not permit denials based on an overly-technical reading of the

 7   request.” Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 580 (9th Cir. 1992)

 8   (“Epistemological doubts speak highly of (party’s) philosophical sophistication, but poorly of its respect

 9   for Rule 36(a).”). Trustee’s objection to the word “customer” is not only an “overly-technical reading of

10   the request,” but is clearly disingenuous as Trustee uses the word “customer” in its Complaint and in the

11   exhibits attached to its Complaint. Such avoidance and gamesmanship cannot be tolerated, and thus

12   Trustee must be ordered to adequately and fully respond to this Request.

13   TRUSTEE’S POSITION:

14          The Trustee has no way to verify that each and every former customer of the debtor did or did not

15   complain. And the Trustee is under no obligation to conduct this onerous third-party survey in response

16   to this admission.

17   REQUEST FOR ADMISSION NO. 67:

18          Admit that CTG and ADVANCED MATERIALS had separate bank accounts.

19   RESPONSE:

20          Admitted to the extent that each entity had some accounts in its own name, but denied that the

21   entities maintained separate accounts because money was transferred back and forth between the various

22   accounts of the entities.

23   THE BLUE WOLF ENTITIES’ POSITION:

24          Trustee’s quasi-response is clearly meant to distract from the fact that it refuses to comply with its

25   discovery obligations and admit that no alter ego factor can be satisfied. “When the purpose and

26   significance of a request are reasonably clear, courts do not permit denials based on an overly-technical

27   reading of the request.” Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 580 (9th Cir. 1992)

28   (“Epistemological doubts speak highly of (party’s) philosophical sophistication, but poorly of its respect
                                                        49                               Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                   Main Document    Page 57 of 262


 1   for Rule 36(a).”). Trustee’s interpretation of the phrase “separate bank accounts” is not only an “overly-

 2   technical reading of the request,” but is clearly an attempt to avoid the clear “purpose and significance”

 3   of the Request as “separate bank accounts” can only mean that “each entity had [] accounts in its own

 4   name,” and not whether funds were transferred between the accounts every now and then. The fact that

 5   there were inter-company transfers, which are certainly not uncommon as between corporate affiliates,

 6   does not in any way result in a conclusion that the accounts were not separate. Such avoidance and

 7   gamesmanship cannot be tolerated, and thus Trustee must be ordered to adequately and fully respond to

 8   this Request.

 9   TRUSTEE’S POSITION:

10          The Blue Wolf Defendants admit that millions of dollars flowed back and forth between the

11   accounts of CTG and CTGAM during the relevant period. It even claims that CTGAM transferred money

12   to CTG to make some of the payments on the loan to acquire CTGAM. Loan proceeds flowed into CTG’s

13   accounts for the benefit of CTGAM, CTG and BWP of the Blue Wolf Entities. BWP did not even have its

14   own account and used CTG’s accounts and money as its own. Accordingly, the Trustee does not agree with

15   the characterization that the entities had separate accounts. The Trustee is happy to answer a proper

16   admission for the fact that CTGAM had accounts with a bank in its own name. That factual question is not

17   the admission submitted.

18   REQUEST FOR ADMISSION NO. 68:

19          Admit that CTG and ADVANCED MATERIALS had separate books and records.

20   RESPONSE:

21          Trustee objects that this Request is vague and ambiguous as to the term “books and record.”

22   Subject to and without waiver of the foregoing objections, denied as stated.

23   THE BLUE WOLF ENTITIES’ POSITION:

24          Trustee asserts pithy boilerplate objections, objecting to this request as “vague and ambiguous”

25   without any further explanation. Such boilerplate objections are improper. A. Farber & Partners Inc.,

26   234 F.R.D. 186, 188 (C.D. Cal. 2006) (“[G]eneral or boilerplate objections such as ‘overly burdensome

27   and harassing’ are improper – especially when a party fails to submit any evidentiary declarations

28   supporting such objections.”); Herrera, 2018 U.S. Dist. LEXIS 227150, at *7 (“Plaintiff’s boilerplate
                                                         50                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 58 of 262


 1   objections are improper and, therefore, overruled.”); Menell v. Rialto Unified School District, et al., No.

 2   EDCV 15-2124-VAP (KKx), 2016 U.S. Dist. LEXIS 80107, at *10 (C.D. Cal. June 20, 2016) (finding

 3   “boilerplate relevance and vagueness objections to each interrogatory are improper and not well taken”

 4   and granting motion to compel); Reisdorf v. Skechers U.S.A., Inc., No. CV 10-7181 DDP (SSx), 2013

 5   U.S. Dist. LEXIS 200627, at *31-32 (C.D. Cal. Sept. 9, 2013) (“Courts have found that the assertion of

 6   boilerplate objections […] is tantamount to interposing no objections at all.”); Duran v. Cisco Sys., Inc.,

 7   258 F.R.D. 375, 379 (C.D. Cal. 2009) (“[U]nexplained and unsupported boilerplate objections are

 8   improper.”).

 9          Additionally, the objections are without merit as the phrase “books and records” is by no stretch

10   “vague or ambiguous,” and Trustee’s objections are clearly meant to distract from the fact that it refuses

11   to comply with its discovery obligations and admit that no alter ego factor can be satisfied. “When the

12   purpose and significance of a request are reasonably clear, courts do not permit denials based on an

13   overly-technical reading of the request.” Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 580

14   (9th Cir. 1992) (“Epistemological doubts speak highly of (party’s) philosophical sophistication, but

15   poorly of its respect for Rule 36(a).”). Trustee’s objection to the phrase “books and records” is not only

16   an “overly-technical reading of the request,” but is clearly disingenuous as the phrase is prevalent in the

17   exhibits attached to its Complaint. Such avoidance and gamesmanship cannot be tolerated, and thus

18   Trustee must be ordered to adequately and fully respond to this Request.

19   TRUSTEE’S POSITION:

20          Again, the Blue Wolf Defendants apparently want to litigate their case through argumentative

21   admissions. They misstate the Trustee’s position. The Trustee does not deny that CTGAM had a facility in

22   Illinois and a controller in Illinois. While the Trustee has not yet received a copy of those records from

23   Defendant Advanced Materials, there is little doubt that certain books and records at the time were in

24   Illinois and not in Santa Barbara. As noted, the CEO for CTGAM had his office in Santa Barbara and

25   would have had books and records related to his direct supervision of that entity with CTG. The CFO for

26   CTGAM had his office in Santa Barbara, including accounting records for the entire group of entities, so

27   those books and records were maintained by CTG. Reporting of accounting results was done by Santa

28   Barbara on a consolidated basis that included CTGAM. Again, those records were not separate. The tax
                                                         51                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                  Main Document    Page 59 of 262


 1   returns, as discussed, and other accounting “books records” were unquestionably maintained by CTG staff

 2   in the Santa Barbara office of CTG. It is simply a lie to say that the “books and records” of CTGAM and

 3   CTG were separate. The Trustee might be able to admit that certain “books and records” were separately

 4   maintained, but the Defendants did not define or specify a narrow set of records that the Trustee could

 5   honestly say were maintained separately.

 6                                 V.     INTERROGATORIES IN DISPUTE

 7   INTERROGATORY NO. 1:

 8          State all facts supporting YOUR contention that “BW Piezo, CTG, and CTG Advanced Materials

 9   operated as alter egos of each other,” as alleged in paragraph 39 of the COMPLAINT.

10   ANSWER:

11          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

12   “all facts” that “BW Piezo, CTG, and CTG Advanced Materials operated as alter egos of each other.

13   Subject to and without waiver of the foregoing general and specific objections, Trustee responds that the

14   facts alleged in paragraph 39 of the SAC support Trustee’s contention that BW Piezo, CTG, and

15   CTG Advanced Materials operated as alter egos of each other. Trustee further responds that the

16   following facts support Trustee’s contention in paragraph 39:

17          1. The Blue Wolf Entities sent a “Confidential Information Memorandum” to proposed lenders,

18   referring to CTG and HC Materials as the “Combined Company.” The Blue Wolf Entities further

19   represented that CTG would acquire AM or be consolidated into AM.

20          2. CTG funds were used to pay for the liabilities and debts of CTG Advanced Materials and BW

21   Piezo, including payroll. See Second Amended Complaint (“SAC”), Ex. 19 (1/26/16 email from L. Chen

22   to C. Hanna); SAC, Ex. 20 (1/5/16 email from L. Chen to C. Hanna); SAC, Ex. 14 (2/17/16 email from

23   C. Hanna to J. Hager).

24          3. CTG Advanced Materials funds were used to pay for the liabilities and debts of CTG, including

25   accounts receivable. See SAC, Ex. 21 (12/2/15 email from L. Chen to C. Hanna).

26          4. Accounting between the two companies was commingled. For example, CTG Advanced

27   Materials’ revenues were accounted for as part of CTG’s overall revenues. See SAC Ex. 22 (1/21/16

28   email from L. Chen to S. Hoyos).
                                                       52                              Adv. No. 9:18-ap-01058-DS

                                        STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                  Main Document    Page 60 of 262


 1           5. CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials bonuses and

 2   legal expenses.

 3           6. The liabilities of all BW Piezo subsidiaries were paid through CTG’s operating account, and

 4   BW Piezo did not have its own separate bank account. See SAC Ex. 23 (1/21/16 email from L. Chen to

 5   A. Ortega).

 6           7. CTG expenses were accrued between CTG and BW Piezo. See SAC Ex. 24 (1/15/16 email

 7   from L. Chen to C. Hanna).

 8           8. Legal expenses incurred in relation to CTG matters were charged to BW Piezo’s general

 9   liabilities. See SAC Ex. 27 (1/12/16 email from L. Chen to C. Hanna).

10           9. BW Piezo would pay for certain CTG-related expenses directly and then seek reimbursement

11   from CTG. See SAC Ex. 25 (2/2/16 email from L. Chen to D. Oldham).

12           10. CTG’s “cash flow” position was forecasted to include the “cash flow” position of CTG

13   Advanced Materials.

14           11. CTG incurred BW Piezo’s legal, tax, and other service expenses. See Ex. SAC 26 (3/8/16

15   email from C. Hanna to A. Ortega)

16           12.    BW Piezo owned all of the equity of CTG and AM.

17           13.    BW Piezo did not have its own physical location and held board meeting at the offices of

18   CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to K. Carrington).

19           14. AM’s CEO and CFO were located in CTG’s officers, and AM’s officers reported to CTG’s

20   officers.

21           15. The Blue Wolf Entities and CTG represented to third party entities that AM was a subsidiary

22   of CTG. See SAC, Ex. 17 (Presentation structuring AM as subsidiary of CTG).

23           16. The Blue Wolf Entities, Mr. Blumenthal, and Mr. Narulla issued press releases and

24   represented to the public that CTG had acquired H.C. Materials. See SAC, Ex. 8 (October 15, 2013

25   Press Release).

26           17. CTG’s corporate documents and communications with auditors represented CTG Advanced

27   Materials as a “division” of CTG. See Ex. SAC 28 (pdf attachment to 12/26/15 email rom L. Chen to D.

28   Ligon); Ex. 29 (attachment to 1/19/16 email from L. Chen to J. Cherry).
                                                       53                             Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                    Main Document    Page 61 of 262


 1          18. CTG Advanced Materials was represented in government submissions as being a subsidiary

 2   of CTG. See SAC Ex. 9 (Dorsey Whitney letter).

 3   THE BLUE WOLF ENTITIES’ POSITION:

 4          As detailed in the introduction above, Defendants take issue with the sufficiency of Trustee’s

 5   interrogatory responses in that the responses largely constitute a recitation of conclusory arguments from

 6   the complaint and are almost wholly devoid of the specific facts demanded in the interrogatories. In

 7   amending the response to Interrogatory No. 1, Trustee only struck the phrase “among others” and struck

 8   the direction to Defendants to search through the ESI themselves. But the fundamental absence of facts

 9   remains. In the list of supporting “facts”, Trustee makes conclusory statements from the complaint, such

10   as: CTG funds were used to pay for the liabilities and debts of CTG Advanced Materials and BW Piezo,

11   including payroll”; “CTG Advanced Materials funds were used to pay for the liabilities and debts of

12   CTG, including accounts receivable.”; “Accounting between the two companies was commingled. For

13   example, CTG Advanced Materials’ revenues were accounted for as part of CTG’s overall revenues.”;

14   “CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials bonuses and legal

15   expenses”; and numerous other such conclusory statements, each followed by perhaps one or two

16   references to particular emails without any recitation of the facts those emails supposedly contain.

17   Defendants are still left to guess at the specifics of which payments or transfers Trustee seeks to avoid

18   and how they were wrongful. These responses do not provide a recitation of the evidence Trustee intends

19   to use to support its claim.

20          Trustee is aware of the facts that respond to the Interrogatory, and must include them in its

21   response. See Trueman v. N.Y. State Canal Corp., No. 1:09-CV-049 (LEK/RFT), 2010 U.S. Dist. LEXIS

22   16430, at *8 (N.D.N.Y. Feb. 24, 2010) (“In order for an answer to be adequate it must be

23   a complete response to the interrogatory, specific as possible and not evasive.”); see also In re

24   Savitt/Adler Litig., 176 F.R.D. 44, 50 (N.D.N.Y. 1997) (holding that where an interrogatory requests that

25   the responding party “state all facts supporting the contentions of the complaints,” “[t]hose facts can and

26   should be specifically and fully stated.”).

27   TRUSTEE’S POSITION:

28          Trustee has served its First Amended Objections and Responses to Defendant Blue Wolf Entities’
                                                         54                              Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 62 of 262


 1   First Set of Interrogatories addressing the Blue Wolf Entities’ issue with the phrase “among others.”

 2   Moreover, the Trustee has answered Interrogatory No. 1 fully and to the best of its ability at this time. The

 3   Court has not entered a scheduling order nor have the parties agreed upon discovery deadline dates. While

 4   the Trustee has identified all relevant facts within Trustee’s knowledge at this time—and has included 29

 5   exhibits to its Second Amended Complaint in support thereof—discovery has just begun in this case and

 6   Trustee will may uncover additional facts upon receiving documents from the Blue Wolf Entities. The Blue

 7   Wolf Entities directed, controlled, operated, and managed CTG and that the Blue Wolf Entities likely

 8   possess the relevant documents that will additionally support Trustee’s claims. The Blue Wolf Entities

 9   have not produced any documents in this litigation or the state court action and the Trustee is still in the

10   process of receiving discovery responses from Defendants.

11          The Defendants acknowledge that Trustee has identified facts “each followed by perhaps one or

12   two references to particular emails,” yet Defendants still incredulously complain that Trustee’s facts are

13   “conclusory” and deficient. Defendants’ issue is not that Trustee has provided evasive or deficient answers;

14   rather, Defendants seek different answers. At bottom, the Trustee has sworn to and verified the facts in

15   answering this interrogatory fully.

16   INTERROGATORY NO. 2:

17          State all facts supporting YOUR contention that “Throughout 2014 and 2015, CTG struggled to

18   balance its finances,” as alleged in paragraph 40 of the COMPLAINT.

19   ANSWER:

20          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

21   “all facts” relating to paragraph 40 of the SAC. Subject to and without waiver of the foregoing general

22   and specific objections, Trustee responds as follows:

23          1.      After acquiring the Debtor, the Debtor’s management, under BW Partners’ control,

24   decided to acquire H.C. Materials, Inc.

25          2.      Instead of having CTG purchase H.C. Materials’ assets directly, BW Partners,

26   acting through BW Piezo, decided to create a new entity to hold the assets: CTG Advanced Materials.

27          3.      In October of 2013, BW Partners, acting through BW Piezo, forced the Debtor and its

28   subsidiary to join BW Piezo and AM as borrowers.
                                                         55                              Adv. No. 9:18-ap-01058-DS

                                           STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                    Main Document    Page 63 of 262


 1          4.      BW Partners, acting through BW Piezo forced the Debtor to enter into separate loan and

 2   investment agreements (the “Loan and Investment Agreements”) with Fidus Investment Corporation,

 3   Fidus Mezzanine Capital II, L.P., Avante Mezzanine Partners SBIC, LP, and Avante Mezzanine Partners

 4   II, Inc. (collectively, the “Mezzanine Lenders”)

 5          5.      The terms of the Loan and Investment Agreements were onerous to the Debtor.

 6          6.      In exchange for (1) a security interest in all of the Debtor’s and Electro- Optical

 7   Industries, LLC’s assets (a subsidiary of the Debtor), and (2) equity in BW Partners’s shell company and

 8   the Debtor’s “owner”—BW Piezo—, the Mezzanine Lenders lent BW Partners, BW Piezo, and the

 9   Debtor $14,000,000 to purchase H.C. Materials’s assets.

10          7.      BW Partners, acting through its executive management team and BW Piezo forced the

11   Debtor to use its assets to make payments to the Mezzanine Lenders and to CIT Bank, N.A. pursuant

12   to the loan agreements, for the benefit of AM—which Debtor did not own.

13          8.      BW Piezo, the Debtor, and AM operated as alter egos of each other, and the three entities

14   regularly comingled funds and assets.

15          9.      Blue Wolf Capital Partners, acting through its executive management team and BW Piezo,

16   indiscriminately directed CTG to transfer funds to pay for BW Piezo’s and CTG Advanced Materials’s

17   liabilities, including payroll, professional services, and legal bills, and vice versa benefitting those

18   entities, as well as BW Partners and its shell companies and the Mezzanine Lenders by virtue of their

19   equity interest in BW Piezo.

20          10.     From December 20, 2013 to December 31, 2015, CTG made regular payments to Fidus

21   Investment Corporation and Fidus Mezzanine Capital II, L.P. totaling $1,959,987.31.

22          11.     From December 19, 2013 to February 18, 2016, CTG made regular payments to Avante

23   Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. totaling $1,957,300.44.

24          12.     CTG was unable to pay debts as they became due to the onerous loan payments and loan

25   conditions placed upon CTG, coupled with CTG supporting BW Piezo and CTG Advanced Materials.

26          13.     By October of 2015, BW Piezo board minutes indicate that CTG was in poor financial

27   shape and was walking a “tightrope.” See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to K.

28   Carrington). In fact, by this same time, BW Piezo was already contemplating the sale of CTG Advanced
                                                          56                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 64 of 262


 1   Materials and noting that it needed to focus on “how to improve cash flow to . . . direct capital to

 2   [Advanced Materials] . . . to improve the value before exit” at the expense of CTG. See SAC Ex. 10

 3   (attachment to 2/5/16 email from L. Chen to K. Carrington).

 4          14.     By January 2016, CTG was instructing CTG Advanced Materials that: “we do need you to

 5   stretch your payments out to suppliers as much as possible…[a]s you know we [i.e., CTG] are managing

 6   our cash very tightly and will need [Advanced Materials] to slow down the outflows as well.” See SAC

 7   Ex. 11 (1/27/16 email from L. Chen to S. Hoyos). Because CTG Advanced Materials was dependent on

 8   CTG’s support, Blue Wolf Capital Partners made this request to delay CTG from running out of funds

 9   and being forced to file for bankruptcy prior to the sale of CTG Advanced Materials.

10          15.     Unsurprisingly, then, by January 2016, CTG was insolvent and not making timely

11   payments to its vendors. Vendors were complaining to CTG of its late payments on invoiced billings and

12   failure to honor extended payment plans. See SAC Ex. 12 (1/22/16 mail from L. Chen to J. Rumsey).

13          16.     By February 2016, CTG was lamenting its cash flow and insolvency, noting that forecasts

14   “do [] not look good.” See SAC Ex. 13 (2/9/16 email from S. Hoyos to L. Chen).

15          17.     Also, by February 2016, CTG Advanced Materials could not even make its payroll

16   without borrowing funds from CTG. See SAC Ex. 14 (2/17/16 email from C. Hanna to J. Hager).

17          18.     CTG’s assumption of CTG Advanced Material’s and other affiliates and subsidiaries’

18   liabilities and use of CTG’s capital and assets to maintain CTG Advanced Material’s and other affiliates

19   and subsidiaries’ businesses. See Ex. 17 (Presentation Structuring CTG Advanced Materials as

20   Subsidiary of CTG).

21          19.     The sale of Electro-Optical Industries to “a foreign interest,” which CTG reported left the

22   Department of State “appalled” and jeopardized CTG’s security accreditation. See SAC Ex. 15 (6/24/16

23   email from C. Holmes to V. Caruso); SAC Ex. 16 (6/20/16 email from C. Holmes to V. Caruso).

24          20.     On or about March 2016, Blue Wolf Capital Partners, through its executive management

25   team and BW Piezo, sold CTG Advanced Materials for approximately $73 million to CTS Corporation.

26   Instead of returning to CTG the proceeds from the sale of assets of CTG Advanced Materials, Blue Wolf

27   Capital Partners, acting through BW Piezo, structured the transaction to have CTS Corporation transfer

28   the proceeds to Blue Wolf Capital Partners and its shell companies, CIT Bank, N.A., the Mezzanine
                                                         57                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                    Main Document    Page 65 of 262


 1   Lenders, Pengdi Han, and to Blue Wolf Capital Partners insiders as bonus payments. BW Piezo did not

 2   even have its own bank account and Blue Wolf Capital Partners directed CTS Corporation to transfer the

 3   proceeds from the sale of CTG Advanced Materials to Blue Wolf Capital Fund.

 4   THE BLUE WOLF ENTITIES’ POSITION:

 5           Trustee’s amended response to Interrogatory No. 2 remains wholly deficient for the same reasons

 6   that made the response to Interrogatory No. 1 improper. In amending the response, Trustee added a new

 7   list of purported “facts” that are just as conclusory and argumentative as the list in Interrogatory No. 1.

 8   And here, most of those statements fail to refer to even a single supporting document, let alone provide

 9   any actual recitation of facts in the form of the who, what, where, when or how of the conduct alleged.

10   Trustee claims to have stated all facts presently known to Trustee to support the conclusory statements

11   these conclusions. If that is the case, Trustee must not be permitted to later claim some entitlement to

12   present additional or different facts that Trustee refuses to identify now. The following are a few

13   representative examples of unsupported conclusory statements in the response to Interrogatory No. 2:

14           •      “BW Partners, acting through BW Piezo forced the Debtor to enter into separate loan and

15   investment agreements (the “Loan and Investment 22 Agreements”) with Fidus Investment Corporation,

16   Fidus Mezzanine Capital II, L.P., Avante Mezzanine Partners SBIC, LP, and Avante Mezzanine Partners

17   II, Inc.”

18           •      “The terms of the Loan and Investment Agreements were onerous to the Debtor.”

19           •      “BW Partners, acting through its executive management team and BW Piezo forced the

20   Debtor to use its assets to make payments to the Mezzanine Lenders and to CIT Bank, N.A. pursuant to

21   the loan agreements, for the benefit of AM—which Debtor did not own.”

22           •      “BW Piezo, the Debtor, and AM operated as alter egos of each other, and the three entities

23   regularly comingled funds and assets.”

24           •      “Blue Wolf Capital Partners, acting through its executive management team and BW

25   Piezo, indiscriminately directed CTG to transfer funds to pay for BW Piezo’s and CTG Advanced

26   Materials’s liabilities, including payroll, professional services, and legal bills, and vice versa benefitting

27   those entities, as well as BW Partners and its shell companies and the Mezzanine Lenders by virtue of

28   their equity interest in BW Piezo.”
                                                          58                               Adv. No. 9:18-ap-01058-DS

                                           STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                    Desc
                                   Main Document    Page 66 of 262


 1          •       “From December 20, 2013 to December 31, 2015, CTG made regular payments to Fidus

 2   Investment Corporation and Fidus Mezzanine Capital II, L.P. totaling $1,959,987.31.”

 3          •       “From December 19, 2013 to February 18, 2016, CTG made regular payments to Avante

 4   Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. totaling $1,957,300.44.”

 5          For these and the numerous other conclusions stated in the response, Trustee supplies little or no

 6   detail concerning how it will support these allegations. The responses raise far more questions for

 7   Defendants than they answer, such as: who supposedly forced Debtor to enter a loan, when, and how?

 8   What were the terms of the agreement, how were they “onerous,” and what made them improper? Who

 9   specifically directed payment of liabilities? When? Which liabilities? How do we know the liabilities,

10   such as those for legal bills and professional services, were for the benefit of one entity or another? That

11   Defendants are still unable to determine from the interrogatory response the answer to such basic

12   questions confirms the deficiency of the response. In re M & L Bus. Mach. Co., Inc., 167 B.R. 631, 634–

13   35 (D. Colo. 1994), 167 B.R. 631, 634–35 (D. Colo. 1994) (granting motion to compel supplementation

14   of interrogatories and sanctions against a Bankruptcy Trustee where “despite [the defendant’s] repeated

15   requests for an identification of the allegedly avoidable transactions and a description of the legal basis

16   underlying certain of the Trustee’s claims, the Trustee continue[d] to provide evasive answers to the

17   interrogatories which were the subject of its motion to compel”; adding that “[u]nder Rule 37(a)(3), an

18   evasive or incomplete answer is ‘treated as a failure to disclose, answer, or respond”; and, ordering that

19   Trustee was obligated to state in detail in its interrogatory responses the specifics concerning transactions

20   Trustee sought to avoid.); See also In re Cont'l Cap. Inv. Servs., Inc., 2009 WL 1661918, at *5 (Bankr.

21   N.D. Ohio Mar. 6, 2009) (Holding that Trustee must answer with a detailed narrative response

22   interrogatories seeking “all facts” detailing alleged avoidable transfers even if so doing imposes a

23   “substantial burden” on Trustee and ordering Trustee “to identify the factual basis for his claim with

24   respect to each transfer he claims is recoverable [from defendant] as a fraudulent transfer.”).

25          Moreover, where, as here, interrogatories ask the responding party to “state all facts” supporting

26   allegations, to the extent Trustee relies on Rule 33(d) in support of its response, such reliance is

27   improper. “Reliance on Rule 33(d) is appropriate when the interrogatory requests objective facts that are

28   obvious from the specified documents, but is generally inappropriate when the interrogatory asks a party
                                                          59                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                   Main Document    Page 67 of 262


 1   to state its contentions or to state facts supporting its allegations.” Morock v. Chautauqua Airlines, Inc.,

 2   2007 WL 4247767, at* 2 (M.D. Fla. Dec. 3, 2007) (directing the party required to respond to

 3   interrogatories to respond in narrative form because reliance on Fed. R. Civ. P. 33(d) necessarily required

 4   the party who propounded the interrogatories to read the mind of the responding party regarding how the

 5   incident at issue occurred). In re Savitt/Adler Litig., 176 F.R.D. at 49 (“Each of the interrogatories at

 6   issue directs a plaintiff to ‘state the facts’ supporting various allegations in her complaint. None of the

 7   interrogatories ask for the evidence or documents supporting those allegations. Given the particular

 8   interrogatories, then, Rule 33(b) required that they be answered ‘separately and fully,’ and the resort to

 9   Rule 33(d) in response to these interrogatories was inappropriate.”). When a party relies on Rule 33(d),

10   the Rule “is not satisfied by the ‘wholesale dumping of documents.’ ” Bayview Loan Servicing, LLC v.

11   Boland, 259 F.R.D. 516, 518 (D. Col. 2009). “A general reference to responsive documents is an

12   insufficient response.” Id. at 519. See also SEC v. Bilzerian (In re Bilzerian), 190 B.R. 964 (Bankr. M.D.

13   Fla. 1995); Zaremba v. Shumaker, Loop & Kendrick, LLP (In re Continental Capital Inv. Servs., Inc.),

14   2009 WL 1661918 (Bankr. N.D. Ohio Mar. 6, 2009). Trustees attempt to supply documents instead of

15   facts and the failure even to identify all such responsive documents, does not satisfy the Rule of Civil

16   33(d). In re Savitt/Adler Litigation, 176 F.R.D. at 49. Fed. Indus. v. Cameron Techs. U.S., Inc., No. CV

17   07-1098-VBF(CTx), 2008 U.S. Dist. LEXIS 129004, at *4-5 (C.D. Cal. Oct. 16, 2008) (granting a

18   motion to compel and holding that a response to an interrogatory was “inadequate” where the responding

19   party responded to a contention interrogatory by referencing a large set of documents, and stating that

20   “Federal has not identified any particular documents. Instead, Federal refers to a broad set of documents,

21   the parameters of which are up to Federal’s subjective determination. As a result, Cameron is left to

22   guess which documents Federal is talking about.”); Cambridge Electronics Corp. v. MGA Electronics,

23   Inc., 227 F.R.D. 313, 323 (C.D. Cal. 2004) (granting motion to compel and holding that response to

24   interrogatory stating “[t]he answer to this interrogatory may be derived or ascertained from the business

25   records of the Responding Party” was not sufficient, and that the responding party must specify particular

26   documents responsive to the interrogatory); Walt Disney Co. v. DeFabiis, 168 F.R.D. 281, 284 (C.D. Cal.

27   1996) (granting motion to compel and holding that it was inappropriate to cite to Rule 33(d) without

28   specifying the particular location and category of records in which the responsive documents could be
                                                          60                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS           Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                                     Main Document    Page 68 of 262


 1   found); Pac. Lumber Co v. Nat’l Union Fire Ins. Co, 2005 U.S. Dist. LEXIS 1773, No. C 02-4799 SBA

 2   (JL) at *18 (N.D. Cal. Jan. 5, 2005) (granting a motion to compel where the responding party referred the

 3   propounding party to a database of 70,000 documents, and ordering the party to respond to the

 4   interrogatory by “identifying only those documents” that were directly responsive to the interrogatory,

 5   and stating “[c]atch-all provisions are not sufficiently specific to be responsive, even when combined

 6   with more specific references to evidence.”).

 7          In its present construction, Trustee’s response to Interrogatory No. 2 makes it impossible for

 8   Defendants to evaluate the merits of the allegations or to prepare the defense to same.

 9

10   TRUSTEE’S POSITION:

11          The Trustee refers the Court to its response regarding Interrogatory No. 1. The Trustee, upon

12   amending its responses, removed references to Rule 33(d) and provided fulsome, sworn, and verified

13   answers to the interrogatory.

14          Moreover, the Defendants’ attempt to prohibit Trustee from amending its responses in the future

15   is an improper and unreasonable request and should be denied. First, the Defendants are likely to possess

16   relevant documents, knowledge, and information, which will be uncovered through the discovery

17   process. Second, Defendants seek to prohibit Trustee from amending its responses upon future discovery

18   of facts before a scheduling order has been entered and before the Defendants have provided responses to

19   Trustee’s written discovery requests or produced any documents. Defendants’ blatant attempt to use the

20   discovery process as both a sword and a shield and prematurely prevent the Trustee from developing its

21   case by hindering the Trustee from obtaining and relying on any discovery from the Defendant is a

22   frivolous request and must be denied.

23   INTERROGATORY NO. 3:

24          State all facts supporting YOUR contention that “Blue Wolf Capital Partners directed CTG to file

25   for bankruptcy in late 2016 to leave the other creditors of CTG ‘holding the bag’ while Defendants

26   enjoyed the millions in distributions from the sale of CTG Advanced Materials,” as alleged in paragraph

27   48 of the COMPLAINT.

28   ANSWER:
                                                        61                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                    Main Document    Page 69 of 262


 1          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 2   “all facts” relating to paragraph 48 of the SAC. Subject to and without waiver of the foregoing general

 3   and specific objections, Trustee responds as follows:

 4          1.      After acquiring the Debtor, the Debtor’s management, under BW Partners’

 5          control, decided to acquire H.C. Materials, Inc.

 6          2.      Instead of having CTG purchase H.C. Materials’ assets directly, BW Partners, acting

 7   through BW Piezo, decided to create a new entity to hold the assets: CTG Advanced Materials.

 8          3.      In October of 2013, BW Partners, acting through BW Piezo, forced the Debtor and its

 9   subsidiary to join BW Piezo and AM as borrowers.

10          4.      BW Partners, acting through BW Piezo forced the Debtor to enter into separate

11   loan and investment agreements (the “Loan and Investment Agreements”) with Fidus Investment

12   Corporation, Fidus Mezzanine Capital II, L.P., Avante Mezzanine Partners SBIC, LP, and Avante

13   Mezzanine Partners II, Inc. (collectively, the “Mezzanine Lenders”)

14          5.      The terms of the Loan and Investment Agreements were onerous to the Debtor.

15          6.      In exchange for (1) a security interest in all of the Debtor’s and Electro- Optical

16   Industries, LLC’s assets( a subsidiary of the Debtor), and (2) equity in BW Partners’s shell company and

17   the Debtor’s “owner”—BW Piezo—, the Mezzanine Lenders lent BW Partners, BW Piezo, and the

18   Debtor $14,000,000 to purchase H.C. Materials’s assets.

19          7.      BW Partners, acting through its executive management team and BW Piezo forced the

20   Debtor to use its assets to make payments to the Mezzanine Lenders and to CIT Bank, N.A. pursuant to

21   the loan agreements, for the benefit of AM—which Debtor did not own.

22          8.      BW Piezo, the Debtor, and AM operated as alter egos of each other, and the three entities

23   regularly comingled funds and assets.

24          9.      Blue Wolf Capital Partners, acting through its executive management team and BW Piezo,

25   indiscriminately directed CTG to transfer funds to pay for BW Piezo’s and CTG Advanced Materials’s

26   liabilities, including payroll, professional services, and legal bills, and vice versa benefitting those

27   entities, as well as BW Partners and its shell companies and the Mezzanine Lenders by virtue of their

28   equity interest in BW Piezo.
                                                          62                                Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 70 of 262


 1          10.     From December 20, 2013 to December 31, 2015, CTG made regular payments to Fidus

 2   Investment Corporation and Fidus Mezzanine Capital II, L.P. totaling $1,959,987.31.

 3          11.     From December 19, 2013 to February 18, 2016, CTG made regular payments to Avante

 4   Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. totaling $1,957,300.44.

 5          12.     CTG was unable to pay debts as they became due to the onerous loan payments and loan

 6   conditions placed upon CTG, coupled with CTG supporting BW Piezo and CTG Advanced Materials.

 7          13.     By October of 2015, BW Piezo board minutes indicate that CTG was in poor financial

 8   shape and was walking a “tightrope.” See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to K.

 9   Carrington). In fact, by this same time, BW Piezo was already contemplating the sale of CTG Advanced

10   Materials and noting that it needed to focus on “how to improve cash flow to . . . direct capital to

11   [Advanced Materials] . . . to improve the value before exit” at the expense of CTG. See SAC Ex. 10

12   (attachment to 2/5/16 email from L. Chen to Carrington).

13          14.     By January 2016, CTG was instructing CTG Advanced Materials that: “we do need you to

14   stretch your payments out to suppliers as much as possible . .. [a]s you know we [i.e., CTG] are managing

15   our cash very tightly and will need [Advanced Materials] to slow down the outflows as well.” See

16   SAC Ex. 11 (1/27/16 email from L. Chen to S. Hoyos). Because CTG Advanced Materials was

17   dependent on CTG’s support, Blue Wolf Capital Partners made this request to delay CTG from running

18   out of funds and being forced to file for bankruptcy prior to the sale of CTG Advanced Materials.

19           15.    Unsurprisingly, then, by January 2016, CTG was insolvent and not making timely

20   payments to its vendors. Vendors were complaining to CTG of its late payments on invoiced billings and

21   failure to honor extended payment plans. See SAC Ex. 12 (1/22/16 mail from L. Chen to J. Rumsey).

22          16.     By February 2016, CTG was lamenting its cash flow and insolvency, noting that forecasts

23   “do [] not look good.” See SAC Ex. 13 (2/9/16 email from S. Hoyos to L. Chen).

24          17.     Also, by February 2016, CTG Advanced Materials could not even make its payroll

25   without borrowing funds from CTG. See SAC Ex. 14 (2/17/16 email from C. Hanna to J. Hager).

26          18.     CTG’s assumption of CTG Advanced Material’s and other affiliates and

27   subsidiaries’ liabilities and use of CTG’s capital and assets to maintain CTG Advanced Material’s and

28   other affiliates and subsidiaries’ businesses. See Ex. 17 (Presentation Structuring CTG Advanced
                                                         63                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                   Main Document    Page 71 of 262


 1   Materials as Subsidiary of CTG).

 2          19.     The sale of Electro-Optical Industries to “a foreign interest,” which CTG reported left the

 3   Department of State “appalled” and jeopardized CTG’s security accreditation. See SAC Ex. 15

 4   (6/24/16 email from C. Holmes to V. Caruso); SAC Ex. 16 (6/20/16 email from C. Holmes to V. Caruso).

 5          20.     On or about March 2016, Blue Wolf Capital Partners, through its executive management

 6   team and BW Piezo, sold CTG Advanced Materials for approximately $73 million to CTS Corporation.

 7   Instead of returning to CTG the proceeds from the sale of assets of CTG Advanced Materials, Blue Wolf

 8   Capital Partners, acting through BW Piezo, structured the transaction to have CTS Corporation transfer

 9   the proceeds to Blue Wolf Capital Partners and its shell companies, CIT Bank, N.A., the Mezzanine

10   Lenders, Pengdi Han, and to Blue Wolf Capital Partners insiders as bonus payments. BW Piezo did not

11   even have its own bank account and Blue Wolf Capital Partners directed CTS Corporation to transfer the

12   proceeds from the sale of CTG Advanced Materials to Blue Wolf Capital Fund.

13          21.     Subsequently, and with CTG Advanced Materials’s assets liquidated and distributed

14   amongst Blue Wolf Capital Partners, its insiders, and its lenders, Blue Wolf Capital Partners and Mr.

15   Holmes began to position CTG to declare for bankruptcy. Blue Wolf was desperate to delay CTG’s filing

16   for bankruptcy protection for as long as possible to avoid the bankruptcy preference period and protect

17   the validity of the transfers related to the CTG Advanced Materials sale. To accomplish this,

18   Blue Wolf Capital Partners and Mr. Holmes directed CTG, in April 2016, to enter a prepetition lending

19   agreement with Blue Wolf Capital Fund II, L.P., to provide a cash infusion in exchange for a security

20   interest in CTG’s assets. Next, in June 2016, Blue Wolf sealed CTG’s fate by selling one of its most

21   valuable subsidiaries, Electro-Optical Industries, at a cut-rate price in June 2016 to keep CTG from being

22   forced to file bankruptcy for a couple more months.

23   THE BLUE WOLF ENTITIES’ POSITION:

24          Defendants incorporate their position as to Interrogatory No. 2.

25   TRUSTEE’S POSITION:

26          Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

27   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying all

28   facts known to the Trustee at this time.
                                                        64                             Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                  Main Document    Page 72 of 262


 1   INTERROGATORY NO. 4:

 2          State all facts supporting YOUR contention that "there was no corporate separateness between

 3   [CTG and CTG Advanced Materials] (or BW Piezo)," as alleged in paragraph 54 of the COMPLAINT.

 4   ANSWER:

 5          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 6   “all facts” relating to paragraph 54 of the SAC. Subject to and without waiver of the foregoing general

 7   and specific objections, Trustee responds as follows:

 8          1.      At all relevant times, Blue Wolf Capital Partners was operated by its Founder, Managing

 9   Partner, and Managing Principal, Adam Blumenthal, and its partners, including Blue Wolf Capital

10   Partners owns, dominates, and controls Blue Wolf Capital Fund II, L.P. The two entities shared the same

11   managing partner: Adam Blumenthal. In addition, Blue Wolf Capital Partners insiders, including

12   Blumenthal, Miller, Narulla, and Ranson serve as directors for Blue Wolf Capital Fund. Blue Wolf

13   Capital Partners uses Blue Wolf Capital Fund as a mere liability shield for the operations of Blue Wolf

14   Capital Partners, and all funds from it and its subsidiaries are siphoned up to Blue Wolf Capital Partners

15   and its insiders. Blue Wolf Capital Fund does not have an independent office or independent employees.

16          2.      Blue Wolf Capital Partners uses another shell company to manage Blue Wolf Capital

17   Fund: Blue Wolf Capital Advisors. Blue Wolf Capital Advisors is owned and operated by the same group

18   of Blue Wolf Capital Partners insiders, including Blumenthal, Miller, Narulla, and Ranson. Blue Wolf

19   Capital Partners structured Blue Wolf Capital Advisors, LP as the general partner of Blue Wolf Capital

20   Fund II, LP. Blue Wolf Capital Partners uses Blue Wolf Capital Advisors as a mere liability shield to

21   manage Blue Wolf Capital Fund, and all funds from it and its subsidiaries are siphoned up to Blue Wolf

22   Capital Partners and its insiders. Blue Wolf Capital Advisors does not have an independent office

23   or independent employees.

24          3.      Blue Wolf Capital Partners used Blue Wolf Capital Advisors to direct Blue Wolf Fund to

25   establish BW Piezo to acquire CTG. BW Piezo is not an independent entity and is made up and

26   controlled by the same Blue Wolf Capital Partners insiders, including its Founder and Managing

27   Partner, Adam Blumenthal, and Charles P. Miller, Haranjeet Narulla, and Michael Ranson. BW Piezo is

28   merely a façade for the operations of Blue Wolf Capital Partners and all funds from it and its subsidiaries
                                                        65                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                    Main Document    Page 73 of 262


 1   are siphoned up to Blue Wolf Capital Partners and its insiders. Further, Blue Wolf Capital Partners, and

 2   its agents, operate BW Piezo as a mere division of Blue Wolf Capital Partners and do not respect its

 3   distinct corporate form. BW Piezo does not have an independent office or independent employees.

 4          4.        BW Piezo, CTG, and CTG Advanced Materials were organized and operated as alter egos

 5   of each other. Although Blue Wolf identified CTG and CTG Advanced Materials as separate entities in

 6   organizational charts, in practice, there was no corporate separateness between the two (or BW Piezo).

 7   Blue Wolf Capital Partners—utilizing its “shell company” BW Piezo— routinely commingled funds and

 8   assets between the two to cover company liabilities.

 9          5.        CTG funds were used to pay for the liabilities and debts of CTG Advanced Materials and

10   BW Piezo, including payroll. See Second Amended Complaint (“SAC”), Ex. 19 (1/26/16 email from L.

11   Chen to C. Hanna); SAC, Ex. 20 (1/5/16 email from L. Chen to C. Hanna); SAC, Ex. 14 (2/17/16 email

12   from C. Hanna to J. Hager).

13          6.        CTG Advanced Materials funds were used to pay for the liabilities and debts of CTG,

14   including accounts receivable. See SAC, Ex. 21 (12/2/15 email from L. Chen to C. Hanna).

15          7.        Accounting between the two companies was commingled. For example, CTG Advanced

16   Materials’ revenues were accounted for as part of CTG’s overall revenues. See SAC Ex. 22 (1/21/16

17   email from L. Chen to S. Hoyos).

18          8.        CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials bonuses

19   and legal expenses.

20          9.        The liabilities of all BW Piezo subsidiaries were paid through CTG’s operating account,

21   and BW Piezo did not have its own separate bank account. See SAC Ex. 23 (1/21/16 email from L. Chen

22   to A. Ortega).

23          10.       CTG expenses were accrued between CTG and BW Piezo. See SAC Ex. 24 (1/15/16

24   email from L. Chen to C. Hanna).

25          11.       Legal expenses incurred in relation to CTG matters were charged to BW Piezo’s general

26   liabilities. See SAC Ex. 27 (1/12/16 email from L. Chen to C. Hanna).

27          12.       BW Piezo would pay for certain CTG-related expenses directly and then seek

28   reimbursement from CTG. See SAC Ex. 25 (2/2/16 email from L. Chen to D. Oldham).
                                                         66                             Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                    Main Document    Page 74 of 262


 1           13.     CTG’s “cash flow” position was forecasted to include the “cash flow” position of CTG

 2   Advanced Materials.

 3           14.     CTG incurred BW Piezo’s legal, tax, and other service expenses. See Ex. SAC (3/8/16

 4   email from C. Hanna to A. Ortega)

 5           15.     BW Piezo owned all of the equity of CTG and AM.

 6           16.     BW Piezo did not have its own physical location and held board meeting at the offices of

 7   CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to K. Carrington).

 8           17.     AM’s CEO and CFO were located in CTG’s officers, and AM’s officers reported to

 9   CTG’s officers.

10           18.     The Blue Wolf Entities and CTG represented to third party entities that AM was a

11   subsidiary of CTG. See SAC, Ex. 17 (Presentation structuring AM as subsidiary of CTG).

12           19.     The Blue Wolf Entities, Mr. Blumenthal, and Mr. Narulla issued press releases and

13   represented to the public that CTG had acquired H.C. Materials. See SAC, Ex. 8 (October 15, 2013 Press

14   Release).

15           20.     CTG’s corporate documents and communications with auditors represented CTG

16   Advanced Materials as a “division” of CTG. See Ex. SAC 28 (pdf attachment to 12/26/15 email

17   rom L. Chen to D. Ligon); Ex. 29 (attachment to 1/19/16 email from L. Chen to J. Cherry).

18           21.     CTG Advanced Materials was represented in government submissions as being a

19   subsidiary of CTG. See SAC Ex. 9 (Dorsey Whitney letter).

20   THE BLUE WOLF ENTITIES’ POSITION:

21           Defendants incorporate their position as to Interrogatory No. 2.

22   TRUSTEE’S POSITION:

23           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

24   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

25   relevant facts at this point in time.

26   INTERROGATORY NO. 5:

27           State all facts supporting YOUR contention that "Blue Wolf Capital Partners, through its shell

28   companies and executive management team, formed, organized, and operated BW Piezo, CTG, and CTG
                                                          67                            Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                    Main Document    Page 75 of 262


 1   Advanced Materials to evade government regulation, legal obligations, and debt obligations, including

 2   national security related regulations and bankruptcy laws," as alleged in paragraph 55 of the

 3   COMPLAINT.

 4   ANSWER:

 5           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 6   “all facts” relating to paragraph 54 of the SAC. Subject to and without waiver of the foregoing general

 7   and specific objections, Trustee identifies the same facts as in its response to Interrogatory No. 4.

 8   THE BLUE WOLF ENTITIES’ POSITION:

 9           Defendants incorporate their position as to Interrogatory No. 2.

10   TRUSTEE’S POSITION:

11           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

12   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

13   relevant facts at this point in time.

14

15   INTERROGATORY NO. 6:

16           State all facts supporting YOUR contention that "Blue Wolf Entities allowed the entities to

17   operate with inadequate capital for the type of business they were conducting, siphoning CTG' s assets

18   and capital to repay Blue Wolf Capital Partners and make distributions to themselves," as alleged in

19   paragraph 56 of the COMPLAINT.

20   ANSWER:

21           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

22   “all facts” supporting the allegation in paragraph 56 of the Complaint. The Trustee also objects to this

23   Interrogatory to the extent it calls for or is based on information in the Blue Wolf Entities’ possession,

24   custody or control, which Defendants have not produced yet to Trustee. Subject to and without waiver of

25   the foregoing general and specific objections, Trustee identifies the same facts as in its response to

26   Interrogatory Nos. 1, 2, and 4.

27   THE BLUE WOLF ENTITIES’ POSITION:

28           Defendants incorporate their position as to Interrogatory Nos. 1 and 2.
                                                          68                              Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                    Main Document    Page 76 of 262


 1   TRUSTEE’S POSITION:

 2           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

 3   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

 4   relevant facts at this point in time.

 5

 6   INTERROGATORY NO. 7:

 7           State all facts supporting YOUR contention that "Blue Wolf Capital Partners operated BW Piezo,

 8   CTG, and CTG Advanced Materials as part of a single business enterprise," as alleged in paragraph 57 of

 9   the COMPLAINT.

10   ANSWER:

11           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

12   “all facts” supporting the allegation in paragraph 57 of the Complaint. The Trustee also objects to this

13   Interrogatory to the extent it calls for or is based on information in the Blue Wolf Entities’ possession,

14   custody or control. Trustee further objects to this Interrogatory as duplicative of Interrogatory No.1.

15   Subject to and without waiver of the foregoing general and specific objections, Trustee identifies the

16   same facts as in its response to Interrogatory No. 1.

17   THE BLUE WOLF ENTITIES’ POSITION:

18           Defendants incorporate their position as to Interrogatory No. 1.

19   TRUSTEE’S POSITION:

20           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

21   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

22   relevant facts at this point in time.

23

24   INTERROGATORY NO. 8:

25           State all facts supporting YOUR contention that "Blue Wolf Capital Partners dominated and

26   controlled CTG and CTG Advanced Materials," as alleged in paragraph 59 of the COMPLAINT.

27   ANSWER:

28           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks
                                                          69                              Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                    Main Document    Page 77 of 262


 1   “all facts” supporting the allegation in paragraph 59 of the Complaint. The Trustee also objects to this

 2   Interrogatory to the extent it calls for or is based on information in the Blue Wolf Entities’ possession,

 3   custody or control, which Defendants have not produced yet to Trustee. Trustee further objects to this

 4   Interrogatory as duplicative in substance as Interrogatory No. 1. Subject to and without waiver of the

 5   foregoing general and specific objections, Trustee identifies the same facts as in its response to

 6   Interrogatory Nos. 1 and 4.

 7   THE BLUE WOLF ENTITIES’ POSITION:

 8           Defendants incorporate their position as to Interrogatory Nos. 1 and 4.

 9   TRUSTEE’S POSITION:

10           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

11   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

12   relevant facts at this point in time.

13

14   INTERROGATORY NO. 9:

15           State all facts supporting YOUR contention that “Blue Wolf Capital Partners forced CTG to enter

16   into and secure oppressive loan agreements for the sole benefit of BW Piezo and itself, forced CTG to

17   make payments on these loans that did not benefit CTG, forced CTG to pass on corporate opportunities,

18   such as the acquisition of HC Materials’ assets directly, and forced CTG to pay for CTG Advanced

19   Materials’ and BW Piezo’s liabilities and debts-all without CTG receiving any reasonably equivalent

20   value,” as alleged in paragraph 61 of the COMPLAINT.

21   ANSWER:

22           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

23   “all facts” supporting the allegation in paragraph 161 of the Complaint. The Trustee also objects to this

24   Interrogatory to the extent it calls for or is based on information in the Blue Wolf Entities’ possession,

25   custody or control, which Defendants have not produced yet to Trustee. Trustee further objects to this

26   Interrogatory as duplicative in substance as Interrogatory No. 2. Subject to and without waiver of the

27   foregoing general and specific objections, Trustee identifies the same facts as in its response to

28   Interrogatory Nos. 2.
                                                          70                              Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                    Main Document    Page 78 of 262


 1   THE BLUE WOLF ENTITIES’ POSITION:

 2            Defendants incorporate their position as to Interrogatory No. 2.

 3   TRUSTEE’S POSITION:

 4            Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

 5   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

 6   relevant facts at this point in time.

 7

 8   INTERROGATORY NO. 10:

 9            State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

10   for funds transferred to Grant Thornton, LLP, as alleged in paragraph 161 of the COMPLAINT.

11   ANSWER:

12            Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

13   “all facts” supporting the allegation in paragraph 161 of the Complaint. Subject to and without waiver of

14   the foregoing general and specific objections, Trustee responds that CTG transferred $1,054,753.85 to

15   Grant Thornton, LLP from January 7, 2013 to March 2017. The transfers were made to pay for

16   accounting and financial services rendered to BW Piezo and CTG Advanced Materials, and CTG did not

17   receive reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG

18   to pay these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s

19   assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these

20   expenses would deprive CTG of assets available to CTG’s creditors for satisfying their debts when

21   Blue Wolf Capital Partners forced CTG into bankruptcy.

22   THE BLUE WOLF ENTITIES’ POSITION:

23            The Trustee merely parrots the language in the Complaint. Further, despite the fact that Grant

24   Thornton provided accounting services for the debtor, the Trustee says nothing about this in its answer.

25   The Trustee has a duty to investigate and fully respond to interrogatories and this is a further example of

26   the Trustee doing absolutely nothing to respond to the interrogatory despite having access to records to

27   do so.

28   TRUSTEE’S POSITION:
                                                          71                             Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                    Main Document    Page 79 of 262


 1           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

 2   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

 3   relevant facts at this point in time.

 4

 5   INTERROGATORY NO. 11:

 6           State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

 7   for the funds transferred to Holland & Knight, as alleged in paragraph 162 of the COMPLAINT.

 8   ANSWER:

 9           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

10   “all facts” supporting the allegation in paragraph 162 of the Complaint.             Subject to and without

11   waiver of the foregoing general and specific objections, Trustee responds that CTG transferred

12   $789,579.14 to Holland & Knight from December 2012 to September 2016. The transfers were made to

13   pay for legal services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive

14   reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay

15   these expenses to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,

16   upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that paying these expenses

17   would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf

18   Capital Partners forced CTG into bankruptcy.

19   THE BLUE WOLF ENTITIES’ POSITION:

20           The Trustee merely parrots the language in the Complaint. Further, despite the fact that Holland

21   & Knight provided legal services for the debtor, the Trustee says nothing about this in its answer. The

22   Trustee has a duty to investigate and fully respond to interrogatories and this is a further example of the

23   Trustee doing absolutely nothing to respond to the interrogatory despite having access to records to do so.

24   TRUSTEE’S POSITION:

25           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

26   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

27   relevant facts at this point in time.

28
                                                          72                             Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                    Main Document    Page 80 of 262


 1   INTERROGATORY NO. 12:

 2           State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

 3   for funds transferred to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P, as alleged in

 4   paragraph 163 of the COMPLAINT.

 5   ANSWER:

 6           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 7   “all facts” supporting the allegation in paragraph 163 of the Complaint. Subject to and without waiver of

 8   the foregoing general and specific objections, Trustee responds that CTG transferred $1,959,987.31 to

 9   Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P. from December 2013 to December

10   2015. The transfers were loan payments pursuant to the Loan and Investment Agreement entered into by

11   BW Piezo, CTG Advanced Materials, CTG, and Electro Optical Industries for the purchase of HC

12   Materials. If BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then CTG received no

13   reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to make

14   these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,

15   upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers

16   would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf

17   Capital Partners forced CTG into bankruptcy.

18   THE BLUE WOLF ENTITIES’ POSITION:

19           The Trustee admits in the answer that the debtor was a party to the loan agreement with the Fidus

20   entities and says that the debtor was “forced” to make transfers by Blue Wolf Capital Partners and forced

21   into bankruptcy without citing a single fact pertaining to same, such as who took actions, when they took

22   actions, and what documents evidence the actions. Setting forth conclusions does not comport with

23   discovery obligations. Saying that discovery is in its early stages is no excuse as Bankruptcy Rule 9011

24   requires that there be factual support for claims set forth in a complaint.

25   TRUSTEE’S POSITION:

26           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

27   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

28   relevant facts at this point in time.
                                                          73                            Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                                  Main Document    Page 81 of 262


 1

 2   INTERROGATORY NO. 13:

 3          State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

 4   for the $1,957,300.44 transferred to Avante Mezzanine Partners SBIC, LP and Avante Mezzanine

 5   Partners II, Inc., as alleged in paragraph 164 of the COMPLAINT.

 6   ANSWER:

 7          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 8   “all facts” supporting the allegation in paragraph 164 of the Complaint.   Subject to and without

 9   waiver of the foregoing general and specific objections, Trustee responds that CTG transferred

10   $1,957,300.44 to Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II, Inc. from

11   December 2013 to February 2016. The transfers were loan payments pursuant to the Loan and

12   Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and Electro Optical

13   Industries for the purchase of HC Materials. If BW Piezo and CTG Advanced Materials are not CTG’s

14   alter egos, then CTG received no reasonably equivalent value for making these transfers. Blue Wolf

15   Capital Partners forced CTG to make these transfers to maximize CTG Advanced Materials’s assets and

16   value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital

17   Partners knew that making these transfers would deprive CTG of assets available to CTG’s creditors for

18   satisfying their debts when Blue Wolf Capital Partners forced CTG into bankruptcy.

19   THE BLUE WOLF ENTITIES’ POSITION:

20          The Trustee admits in the answer that the debtor was a party to the loan agreement with the

21   Avante entities and says that the debtor was “forced” to make transfers by Blue Wolf Capital Partners

22   and forced into bankruptcy without citing a single fact pertaining to same, such as who took actions,

23   when they took actions, and what documents evidence the actions. Setting forth conclusions does not

24   comport with discovery obligations. Saying that discovery is in its early stages is no excuse as

25   Bankruptcy Rule 9011 requires that there be factual support for claims set forth in a complaint.

26   TRUSTEE’S POSITION:

27          Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

28   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the
                                                        74                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                                    Main Document    Page 82 of 262


 1   relevant facts at this point in time.

 2

 3   INTERROGATORY NO. 14:

 4           State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

 5   for funds transferred to CIT BANK, N.A., as alleged in paragraph 165 of the COMPLAINT.

 6   ANSWER:

 7           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

 8   “all facts” supporting the allegation in paragraph 165 of the Complaint. Subject to and without waiver of

 9   the foregoing general and specific objections, Trustee responds CTG transferred $ 33,248,711.36 to CIT

10   Bank, N.A. from May 2013 to April 2016. The transfers were loan payments pursuant to a loan

11   agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and Electro Optical Industries for

12   the purchase of HC Materials. If BW Piezo and CTG Advanced Materials are not CTG’s alter egos, then

13   CTG received no reasonably equivalent value for making these transfers. Blue Wolf Capital Partners

14   forced CTG to make these transfers to maximize CTG Advanced Materials’s assets and value, and thus

15   BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that

16   making these transfers would deprive CTG of assets available to CTG’s creditors for satisfying their

17   debts when Blue Wolf Capital Partners forced CTG into bankruptcy.

18   THE BLUE WOLF ENTITIES’ POSITION:

19           The Trustee admits in the answer that the debtor was a party to the loan agreement with CIT

20   Bank, N.A. entities and says that the debtor was “forced” to make transfers by Blue Wolf Capital

21   Partners without citing a single fact pertaining to same, such as who took actions, when they took actions,

22   and what documents evidence the actions. Setting forth conclusions does not comport with discovery

23   obligations. This is one of the most egregious examples of the Trustee intentionally failing and refusing

24   to comply with discovery obligations. The Trustee has been given records of loans the debtor received

25   from CIT Bank, N.A. which exceed the amount of the alleged transfers which funds were used for the

26   debtor’s business operations yet no mention of this is made in the answer. A party cannot be allowed to

27   assert $60 million in claims and act in this fashion. Despite repeated requests, the Trustee has failed and

28   refused to verify the interrogatory responses. The Blue Wolf Entities reserve the right to seek sanctions
                                                          75                             Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                    Main Document    Page 83 of 262


 1   against whoever signs the verification to these interrogatories. Saying that discovery is in its early stages

 2   is no excuse as Bankruptcy Rule 9011 requires that there be factual support for claims set forth in a

 3   complaint.

 4   TRUSTEE’S POSITION:

 5           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

 6   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying all

 7   facts known to the Trustee at this time. The Court should deny Defendants’ over-the-top and

 8   inflammatory request for sanctions; as detailed previously, the Trustee thoroughly investigated its Second

 9   Amended Complaint, and in addition to asserting 290 facts has attached 29 separate exhibits to its

10   Complaint in support thereof. Moreover, the Trustee has provided verified interrogatory responses and

11   has verified that it has identified the relevant facts at this point this time in response to each interrogatory

12   request.

13

14   INTERROGATORY NO. 15:

15           State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

16   for funds transferred to Gladstone Investment Corporation, as alleged in paragraph 166 of the

17   COMPLAINT.

18   ANSWER:

19           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

20   “all facts” supporting the allegation in paragraph 166 of the Complaint. Subject to and without

21   waiver of the foregoing general and specific objections, Trustee responds CTG transferred

22   $7,576,027.49 to Gladstone Investment Corporation from February 2012 to June 2016. The transfers

23   were distributions made to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no

24   reasonably equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to make

25   these transfers to maximize CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets,

26   upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these transfers

27   would deprive CTG of assets available to CTG’s creditors for satisfying their debts when Blue Wolf

28   Capital Partners forced CTG into bankruptcy.
                                                           76                               Adv. No. 9:18-ap-01058-DS

                                          STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                    Main Document    Page 84 of 262


 1   THE BLUE WOLF ENTITIES’ POSITION:

 2           The Trustee again makes no attempt to set forth a responsive answer. The Trustee says that

 3   transfers to Gladstone Investment Corporation (“Gladstone”) were distributions to BW Piezo and Blue

 4   Wolf Fund’s equity owners. There are no facts explaining how a transfer to Gladstone, an unrelated

 5   entity, can be a transfer to Blue Wolf Entities. Further there are no facts explaining how the Blue Wolf

 6   Entities “forced” these distributions to be made or how transfers dating back to 2012 could be done

 7   knowing that the debtor would be deprived of assets some 4 years later. Facts supporting these

 8   conclusions must be set forth.

 9   TRUSTEE’S POSITION:

10           Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

11   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

12   relevant facts at this point in time.

13

14   INTERROGATORY NO. 17:

15           State all facts supporting YOUR contention that CTG did not receive reasonably equivalent value

16   for the $165,365.86 transferred to McDermott Will & Emery, LLP, as alleged in paragraph 170 of the

17   COMPLAINT.

18   ANSWER:

19           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

20   “all facts” supporting the allegation in paragraph 170 of the Complaint. Subject to and without

21   waiver of the foregoing general and specific objections, Trustee responds that CTG transferred

22   $165,365.86 to McDermott Will & Emery, LLP from March 2015 to May 2016. The transfers were made

23   to pay for legal services rendered to CTG Advanced Materials, and CTG did not receive reasonably

24   equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to pay these

25   expenses.

26   THE BLUE WOLF ENTITIES’ POSITION:

27           The Trustee merely parrots the language in the Complaint. Further, despite the fact that

28   McDermott Will provided legal services for the debtor, the Trustee says nothing about this in its answer.
                                                          77                            Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                    Desc
                                    Main Document    Page 85 of 262


 1   The Trustee has a duty to investigate and fully respond to interrogatories and this is a further example of

 2   the Trustee doing absolutely nothing to respond to the interrogatory despite having access to records to

 3   do so.

 4   TRUSTEE’S POSITION:

 5            Trustee incorporates its position as to Interrogatory No. 1 and has served its First Amended

 6   Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories identifying the

 7   relevant facts at this point in time.

 8

 9   INTERROGATORY NO. 18:

10            IDENTIFY all transfers for which YOU allege Blue Wolf Capital Partners, LLC is liable and set

11   forth specific facts and PERSONS with knowledge to support the basis for YOUR contention.

12   ANSWER:

13            Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

14   the identity of “all transfers”. The Trustee also objects to this Interrogatory to the extent it calls for or is

15   based on information in the Blue Wolf Entities’ possession, custody, or control. Subject to and without

16   waiver of the foregoing general and specific objections, Trustee responds that Blue Wolf Capital

17   Partners, LLC is liable for every transfer in Schedule B identified as having been made for the benefit of

18   BW Piezo, CTG Advanced Materials, Blue Wolf Capital Partners. The Trustee further identifies the

19   following persons with knowledge to support the basis of its contentions:

20            1. Adam Blumenthal

21            2. Pierre Chao

22            3. Christopher Holmes

23            4. David Oldham

24            5. John Mei

25            6. Charles Miller

26            7. Lynn Chen

27            8. Mark Shaw

28            9. Kevin Ruelas
                                                           78                                Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                    Main Document    Page 86 of 262


 1           10. Arturo Ortega

 2           11. Ralph Phillips

 3           12. Pengdi Han

 4           13. Cheryl Hanna

 5           14. Haranjeet Narullah

 6           15. Richard Feferman

 7           16. David Tiffany

 8   THE BLUE WOLF ENTITIES’ POSITION:

 9           Without reference to any facts, the Trustee states that Blue Wolf Capital Partners, LLC is liable

10   for the hundreds of transfers totaling tens of millions of dollars set forth on Schedule B to the Complaint.

11   This is an egregious failure to comply with discovery obligations. The Trustee also provides a laundry

12   list of names of people who allegedly have knowledge that this upstream entity is somehow responsible

13   for the debts, including Pengdi Han who the Trustee has never even spoken with. There is no basis for

14   the Trustee to list all of these names. The right to seek sanctions against the signatory to the verification

15   of these interrogatories is reserved.

16   TRUSTEE’S POSITION:

17           Trustee incorporates its position as to Interrogatory Nos. 1 and 14 and has served its First

18   Amended Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories

19   identifying the relevant facts at this point in time. Defendants’ frivolous request for sanctions should be

20   denied. Trustee believes that the individuals identified above —who are also the individuals identified by

21   Defendants in their Initial Disclosures—have first-hand knowledge about the Debtor and the Blue Wolf

22   Entities’ control, management, and direction of the Debtor, as well as the Debtor’s operations.

23   INTERROGATORY NO. 19:

24           IDENTIFY all transfers for which YOU allege Blue Wolf Capital Advisors, L.P. is liable and set

25   forth specific facts and PERSONS with knowledge to support the basis for YOUR contention.

26   ANSWER:

27           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

28   the identity of “all transfers”. The Trustee also objects to this Interrogatory to the extent it calls for or is
                                                           79                               Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 87 of 262


 1   based on information in the Blue Wolf Entities’ possession, custody, or control. Trustee has requested

 2   or will request discovery and documents regarding transfers made between Blue Wolf Capital Fund II,

 3   L.P., and Blue Wolf Capital Advisors, L.P. Subject to and without waiver of the foregoing general and

 4   specific objections, Trustee responds that Blue Wolf Capital Advisors, L.P. is liable for every transfer in

 5   Schedule B identified as having been made for the benefit of BW Piezo, CTG Advanced Materials, Blue

 6   Wolf Capital Partners. The Trustee further identifies the following persons with knowledge to support the

 7   basis of its contentions:

 8          1. Adam Blumenthal

 9          2. Pierre Chao

10          3. Christopher Holmes

11          4. David Oldham

12          5. John Mei

13          6. Charles Miller

14          7. Lynn Chen

15          8. Mark Shaw

16          9. Kevin Ruelas

17          10. Arturo Ortega

18          11. Ralph Phillips

19          12. Pengdi Han

20          13. Cheryl Hanna

21          14. Haranjeet Narullah

22          15. Richard Feferman

23          16. David Tiffany

24

25   THE BLUE WOLF ENTITIES’ POSITION:

26          Without reference to any facts, the Trustee states that Blue Wolf Capital Advisors, L.P. is liable

27   for the hundreds of transfers totaling tens of millions of dollars set forth on Schedule B to the Complaint.

28   This is an egregious failure to comply with discovery obligations. The Trustee also provides a laundry
                                                         80                              Adv. No. 9:18-ap-01058-DS

                                         STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                   Desc
                                    Main Document    Page 88 of 262


 1   list of names of people who allegedly have knowledge that this upstream entity is somehow responsible

 2   for the debts, including Pengdi Han who the Trustee has never even spoken with. There is no basis for

 3   the Trustee to list all of these names. The right to seek sanctions against the signatory to the verification

 4   of these interrogatories is reserved.

 5   TRUSTEE’S POSITION:

 6           Trustee incorporates its position as to Interrogatory Nos. 1 and 18 and has served its First

 7   Amended Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories

 8   identifying all facts known to the Trustee at this time.

 9   INTERROGATORY NO. 20:

10           IDENTIFY all transfers for which YOU allege Blue Wolf Capital Fund II, L.P. is liable and set

11   forth specific facts and PERSONS with knowledge to support the basis for YOUR contention.

12   ANSWER:

13           Trustee objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks

14   the identity of “all transfers”. The Trustee also objects to this Interrogatory to the extent it calls for or is

15   based on information in the Blue Wolf Entities’ possession, custody, or control. Trustee has requested

16   or will request discovery and documents regarding transfers made by Blue Wolf Capital Fund II, L.P..

17   Upon information and believe, and subject to and without waiver of the foregoing general and specific

18   objections, Trustee responds that Blue Wolf Fund II, L.P. received $5,669,848.62 from the proceeds of

19   the sale of Advanced Materials. Trustee further responds that Blue Wolf Capital Fund II, L.P. is liable for

20   every transfer in Schedule B identified as having been made for the benefit of BW Piezo, CTG Advanced

21   Materials, Blue Wolf Capital Partners. The Trustee further identifies the following persons with

22   knowledge to support the basis of its contentions:

23           1. Adam Blumenthal

24           2. Pierre Chao

25           3. Christopher Holmes

26           4. David Oldham

27           5. John Mei

28           6. Charles Miller
                                                           81                               Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                 Desc
                                   Main Document    Page 89 of 262


 1          7. Lynn Chen

 2          8. Mark Shaw

 3          9. Kevin Ruelas

 4          10. Arturo Ortega

 5          11. Ralph Phillips

 6          12. Pengdi Han

 7          13. Cheryl Hanna

 8          14. Haranjeet Narullah

 9          15. Richard Feferman

10          16. David Tiffany

11

12   THE BLUE WOLF ENTITIES’ POSITION:

13          Without reference to any facts, the Trustee states that Blue Wolf Capital Fund II, L.P. is liable for

14   the hundreds of transfers totaling tens of millions of dollars set forth on Schedule B to the Complaint.

15   This is an egregious failure to comply with discovery obligations. The Trustee also provides a laundry

16   list of names of people who allegedly have knowledge that this upstream entity is somehow responsible

17   for the debts, including Pengdi Han who the Trustee has never even spoken with. There is no basis for

18   the Trustee to list all of these names. The right to seek sanctions against the signatory to the verification

19   of these interrogatories is reserved.

20   TRUSTEE’S POSITION:

21          Trustee incorporates its position as to Interrogatory Nos. 1 and 18 and has served its First

22   ///
23
     ///
24
     ///
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26

27   ///

28   ///
                                                          82                              Adv. No. 9:18-ap-01058-DS

                                             STIPULATION OF DISPUTED ISSUES
     Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48          Desc
                                    Main Document    Page 90 of 262


 1   Amended Objections and Responses to Defendant Blue Wolf Entities’ First Set of Interrogatories

 2   identifying the relevant facts at this point in time.

 3   DATED: April 22, 2021                           GREENBERG TRAURIG, LLP

 4

 5                                               By /s/ Howard J. Steinberg
                                                    Howard J. Steinberg
 6                                                  Attorneys for Defendants
                                                    BLUE WOLF CAPITAL PARTNERS, LLC
 7                                                  BLUE WOLF CAPITAL FUND II, L.P.
                                                    BLUE WOLF CAPITAL ADVISORS L.P.
 8

 9   DATED: April 22, 2021                           LYNN PINKER HURST & SCHWEGMANN, LLP

10

11                                               By /s/ Samuel B. Hardy
                                                    Samuel B. Hardy
12                                                  Special Litigation Counsel for
                                                    CORPORATE RECOVERY ASSOCIATES, LLC, as
13                                                  Trustee for the Liquidating Trust of Debtor
                                                    Channel Technologies Group, LLC
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                                                             83                     Adv. No. 9:18-ap-01058-DS

                                           STIPULATION OF DISPUTED ISSUES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document    Page 91 of 262




                              EXHIBIT B
Case 9:18-ap-01058-DS       Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48          Desc
                            Main Document    Page 92 of 262

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 12   Special Litigation Counsel for Plaintiff
 13

 14                           UNITED STATES BANKRUPTCY COURT
                 CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
 15

 16                                                CASE NO:       9:16-bk-11912-DS
      In re:
 17
      CHANNEL TECHNOLOGIES                         Adv. Case No. 9:18-ap-01058-DS
 18   GROUP, LLC
                                                   Chapter 11 Proceeding
 19         Debtor.

 20   CORPORATE RECOVERY                           PLAINTIFF’S OBJECTIONS AND
      ASSOCIATES, LLC, as Liquidating              RESPONSES TO BLUE WOLF
 21   Trustee appointed under the confirmed        CAPITAL PARTNERS, LLC,
      Chapter 11 plan of Channel                   BLUE WOLF CAPITAL FUND II,
 22   Technologies Group, LLC,                     LP, AND BLUE WOLF CAPITAL
 23         Plaintiff,                             ADVISORS, LP’S FIRST SET OF
                                                   REQUESTS FOR PRODUCTION
 24   v.                                           TO PLAINTIFF
 25   BLUE WOLF CAPITAL PARTNERS,
      LLC, et al.,
 26
               Defendant.
 27
 28



                                                    1
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 93 of 262

  1

  2         Plaintiff Corporate Recovery Associates, LLC, as Trustee for the liquidating

  3   Trust of Channel Technologies Group, LLC (the “Trustee”), provides the following

  4   Objections and Responses to Defendant Blue Wolf Capital Partners, LLC, Blue Wolf

  5   Capital Fund II, LP, and Blue Wolf Capital Advisors LP’s First Set of Requests for

  6   Production of Documents, pursuant to Federal Rules of Civil Procedure, Rule 34, and

  7   Federal Rules of Bankruptcy Procedure, Rule 7034, as follows:

  8                                   Preliminary Statement

  9         The Trustee has not completed its investigation relating to this action, has not

 10   completed discovery in this action, and has not completed preparation for trial. As

 11   discovery proceeds, facts, information, evidence, and documents may be discovered

 12   that are not set forth in these responses, but which may have been responsive to

 13   Defendant’s request. The following objections and responses are based on the Trustee’s

 14   knowledge, information, and belief at this time and are complete as to the Trustee’s

 15   best knowledge at this time.        The Trustee assumes no obligation to voluntarily

 16   supplement or amend these responses to reflect information, evidence, or documents

 17   discovered following service of these responses. These responses are given without

 18   prejudice to subsequent revision or supplementation based upon any information,

 19   evidence, and documentation that may be discovered. The Trustee reserves the right

 20   to refer to, conduct discovery with reference to, or to offer into evidence at the time of

 21   trial, any and all facts, evidence, or documents developed during the course of discovery

 22   and trial preparation notwithstanding the reference to facts, evidence, or documents

 23   in these responses.

 24         Moreover, these responses were prepared based on the Trustee’s good-faith

 25   interpretation and understanding of the individual requests and are subject to

 26   correction for inadvertent errors or omissions, if any. For instance, the Trustee has

 27   answered these requests based on the numeration from the Trustee’s “Second
 28   Amended Complaint.”



                                                    2
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 94 of 262

  1                                  GENERAL OBJECTIONS
  2
            1.      Possession, Custody, and Control of Documents and Information: Trustee
  3
      objects to each Request, including each instruction and/or definition contained in the
  4
      Requests, that seeks documents, communications, and/or information not in the
  5
      possession, custody, or control of Trustee. Trustee further objects to each Request,
  6
      including each instruction and/or definition contained in the Requests, that seeks
  7
      documents, communications, and/or information that are (1) publicly available, (2)
  8
      equally available to the Blue Wolf Entities and/or within the Blue Wolf Entities’
  9
      possession, custody, or control, and/or (3) within the possession, custody, or control of
 10
      third parties to whom the Blue Wolf Entities may direct discovery.
 11
            2.      Consistency with Federal Rules, Local Rules and Court Orders: Trustee
 12
      will respond to the Requests in accordance with the Federal Rules, the Local Rules and
 13
      any relevant Court order that has been entered in this action. To the extent the
 14
      Requests, including the definitions and instructions therein, seek to increase or
 15
      otherwise modify Trustee’s obligations under the Federal Rules, the Federal Rules of
 16
      Evidence, the Local Rules, any relevant Court order, or any applicable law, Trustee
 17
      objects on the grounds that those Requests, definitions and/or instructions are
 18
      overbroad or unduly burdensome.
 19
            3.      Proportionality: Per the Federal Rules, to obtain discovery of non-
 20
      privileged documents or information, the discovery must be “relevant to any party’s
 21
      claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).
 22
      Trustee objects to any Request to the extent it seeks information that is not relevant to
 23
      the claims or defenses in this action and/or not proportional to the needs of this case.
 24
            4.      Reasonable Diligence: Whenever, in response to a Request, Trustee agrees
 25
      to provide information and/or produce documents, that agreement does not represent
 26
      that such information or documents exist, but only that such information or documents
 27
      will be provided if they exist, can be located with reasonable diligence, are within the
 28
      possession, custody or control of Trustee, are relevant and proportional to the needs of

                                                    3
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 95 of 262

  1
      the case, and are not otherwise protected from disclosure.
  2
            5.      Electronically Stored Information (ESI): To the extent these Requests call
  3
      for the production of electronically stored information (“ESI”), Trustee objects to the
  4
      Request to the extent it requires production of ESI in any manner other than that
  5
      required by the Rules for ESI. See Fed. R. Civ. P. 34 Advisory Committee’s Notes (2006
  6
      Amendment).
  7
            6.      Incorporation of Objections: All responses to the Requests are expressly
  8
      subject to these General Objections, and such General Objections are incorporated into
  9
      each individual Request response.
 10

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                                                    4
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 96 of 262

  1                   OBJECTIONS AND RESPONSES TO FIRST REQUEST
                            FOR PRODUCTION OF DOCUMENTS
  2

  3   REQUEST FOR PRODUCTION NO. 1:

  4         All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
  5
      ... forced BW Piezo, CTG, and CTG's subsidiary Electro Optical Industries to enter into
  6
      a credit facility agreement with CIT Bank, N.A.," as alleged in paragraph 27 of the
  7
      COMPLAINT.
  8

  9   RESPONSE:

 10         Subject to and without waiver of its general objections, Trustee responds that it
 11
      has or will produce tangible documents responsive to this Request. Trustee further
 12
      responds that this Request calls for the production of ESI. Trustee has produced to
 13
      Defendants all electronically stored information in its possession, custody, and control,
 14

 15   and the Defendants may search such ESI via their direct access.

 16   REQUEST FOR PRODUCTION NO. 2:
 17
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
 18
      ... forced CTG's management to obtain financing for these assets," as alleged in
 19
      paragraph 31 of the COMPLAINT.
 20

 21   RESPONSE:

 22         Subject to and without waiver of its general objections, Trustee responds that it
 23
      has or will produce tangible documents responsive to this Request. Trustee further
 24
      responds that this Request calls for the production of ESI. Trustee has produced to
 25
      Defendants all electronically stored information in its possession, custody, and control,
 26

 27   and the Defendants may search such ESI via their direct access.

 28   REQUEST FOR PRODUCTION NO. 3:


                                                    5
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 97 of 262

  1         All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
  2
      ... forced CTG and its subsidiary to join BW Piezo and CTG Advanced Materials as
  3
      borrowers in the Amended and Restated Credit Agreement with One West Bank," as
  4
      alleged in paragraph 32 of the COMPLAINT.
  5

  6   RESPONSE:

  7         Subject to and without waiver of its general objections, Trustee responds that it
  8
      has or will produce tangible documents responsive to this Request. Trustee further
  9
      responds that this Request calls for the production of ESI. Trustee has produced to
 10
      Defendants all electronically stored information in its possession, custody, and control,
 11

 12   and the Defendants may search such ESI via their direct access.

 13   REQUEST FOR PRODUCTION NO. 4:
 14
            All DOCUMENTS that support your contention that "Blue Wolf Capital partners
 15
      [sic] ... forced CTG to enter into separate loan and investment agreements ('Loan and
 16
      Investment Agreements') with Fidus Investment Corporation; Fidus Mezzanine Capital
 17

 18   LP.; Avante Mezzanine Partners SBIC, LP; Avante Mezzanine Partners II, Inc. (the

 19   'Mezzanine Lenders')," as alleged in paragraph 33 of the COMPLAINT.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections, Trustee responds that it
 22
      has or will produce tangible documents responsive to this Request. Trustee further
 23

 24   responds that this Request calls for the production of ESI. Trustee has produced to

 25   Defendants all electronically stored information in its possession, custody, and control,
 26
      and the Defendants may search such ESI via their direct access.
 27
      REQUEST FOR PRODUCTION NO. 5:
 28



                                                    6
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 98 of 262

  1         All DOCUMENTS that support your contention that "The paper segregation was
  2
      fictional. Despite surreptitiously structuring CTG Advanced Materials as a sister
  3
      company, Blue Wolf Capital Partners, acting through its executive management team
  4
      and BW Piezo, forced CTG to use its assets to make payments to the Mezzanine Lenders
  5

  6   and to CIT Bank, N.A. pursuant to the loan agreements," as alleged in paragraph 37 of

  7   the COMPLAINT.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections, Trustee responds that it
 10
      has or will produce tangible documents responsive to this Request. Trustee further
 11

 12   responds that this Request calls for the production of ESI. Trustee has produced to

 13   Defendants all electronically stored information in its possession, custody, and control,
 14
      and the Defendants may search such ESI via their direct access.
 15
      REQUEST FOR PRODUCTION NO. 6:
 16
            All DOCUMENTS that support your contention that "BW Piezo, CTG, and CTG
 17

 18   Advanced Materials operated as alter egos of each other," as alleged in paragraph 39 of

 19   the COMPLAINT.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections, Trustee responds that it
 22
      has or will produce tangible documents responsive to this Request. Trustee further
 23

 24   responds that this Request calls for the production of ESI. Trustee has produced to

 25   Defendants all electronically stored information in its possession, custody, and control,
 26
      and the Defendants may search such ESI via their direct access.
 27
      REQUEST FOR PRODUCTION NO. 7:
 28



                                                    7
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document    Page 99 of 262

  1         All DOCUMENTS that support your contention that "Throughout 2014 and 2015,
  2
      CTG struggled to balance its finances," as alleged in paragraph 40 of the COMPLAINT.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections, Trustee responds that it
  5

  6   has or will produce tangible documents responsive to this Request. Trustee further

  7   responds that this Request calls for the production of ESI. Trustee has produced to
  8
      Defendants all electronically stored information in its possession, custody, and control,
  9
      and the Defendants may search such ESI via their direct access.
 10
      REQUEST FOR PRODUCTION NO. 8:
 11

 12         All DOCUMENTS that support your contention that "Realizing that CTG was

 13   insolvent and facing mounting debt, Blue Wolf Capital Partners and Adam Blumenthal
 14
      undertook a plan to a plan to liquidate CTG's assets in a manner to maximize their own
 15
      recovery in the event of likely bankruptcy," as alleged in paragraph 41 of the
 16
      COMPLAINT.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections, Trustee responds that it
 20
      has or will produce tangible documents responsive to this Request. Trustee further
 21
      responds that this Request calls for the production of ESI. Trustee has produced to
 22
      Defendants all electronically stored information in its possession, custody, and control,
 23

 24   and the Defendants may search such ESI via their direct access.

 25   REQUEST FOR PRODUCTION NO. 9:
 26
            All DOCUMENTS that support your contention that "Mr. Blumenthal falsely
 27
      represented to Mr. Phillips that Blue Wolf was in the process of selling CTG Advanced
 28



                                                    8
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 100 of 262

  1   Materials and misrepresented that the proceeds would go to CTG," as alleged in
  2
      paragraph 43 of the COMPLAINT.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections, Trustee responds that it
  5

  6   has or will produce tangible documents responsive to this Request. Trustee further

  7   responds that this Request calls for the production of ESI. Trustee has produced to
  8
      Defendants all electronically stored information in its possession, custody, and control,
  9
      and the Defendants may search such ESI via their direct access.
 10
      REQUEST FOR PRODUCTION NO. 10:
 11

 12         All DOCUMENTS that support your contention that "prior to filing for

 13   bankruptcy, CTG was habitually cash-strapped and in desperate need of operating
 14
      capital," as alleged in paragraph 44 of the COMPLAINT.
 15
      RESPONSE:
 16
            Subject to and without waiver of its general objections, Trustee responds that it
 17

 18   has or will produce tangible documents responsive to this Request. Trustee further

 19   responds that this Request calls for the production of ESI. Trustee has produced to
 20
      Defendants all electronically stored information in its possession, custody, and control,
 21
      and the Defendants may search such ESI via their direct access.
 22
      REQUEST FOR PRODUCTION NO. 11:
 23

 24         All DOCUMENTS that support your contention that "Blue Wolf Capital Partners

 25   made this request to delay CTG from running out of funds and being forced to file for
 26
      bankruptcy prior to the sale of CTG Advanced Materials," as alleged in paragraph 44 of
 27
      the COMPLAINT.
 28
      RESPONSE:

                                                    9
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 101 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 12:
  8
            All DOCUMENTS that support your contention that "Blue Wolf was desperate to
  9
      delay CTG's filing for bankruptcy protection for as long as possible to avoid the
 10
      bankruptcy preference period and protect the validity of the transfers related to the
 11

 12   CTG Advanced Materials sale," as alleged in paragraph 47 of the COMPLAINT.

 13   RESPONSE:
 14
            Subject to and without waiver of its general objections, Trustee responds that it
 15
      has or will produce tangible documents responsive to this Request. Trustee further
 16
      responds that this Request calls for the production of ESI. Trustee has produced to
 17

 18   Defendants all electronically stored information in its possession, custody, and control,

 19   and the Defendants may search such ESI via their direct access.
 20
      REQUEST FOR PRODUCTION NO. 13:
 21
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
 22
      directed CTG to file for bankruptcy in late 2016 to leave the other creditors of CTG
 23

 24   'holding the bag' while Defendants enjoyed the millions in distributions from the sale of

 25   CTG Advanced Materials," as alleged in paragraph 48 of the COMPLAINT.
 26
      RESPONSE:
 27
            Subject to and without waiver of its general objections, Trustee responds that it
 28
      has or will produce tangible documents responsive to this Request. Trustee further

                                                    10
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 102 of 262

  1   responds that this Request calls for the production of ESI. Trustee has produced to
  2
      Defendants all electronically stored information in its possession, custody, and control,
  3
      and the Defendants may search such ESI via their direct access.
  4
      REQUEST FOR PRODUCTION NO. 14:
  5

  6         All DOCUMENTS that support your contention that "there was no corporate

  7   separateness between [CTG and CTG Advanced Materials] (or BW Piezo)," as alleged
  8
      in paragraph 54 of the COMPLAINT.
  9
      RESPONSE:
 10
            Subject to and without waiver of its general objections, Trustee responds that it
 11

 12   has or will produce tangible documents responsive to this Request. Trustee further

 13   responds that this Request calls for the production of ESI. Trustee has produced to
 14
      Defendants all electronically stored information in its possession, custody, and control,
 15
      and the Defendants may search such ESI via their direct access.
 16
      REQUEST FOR PRODUCTION NO. 15:
 17

 18         All DOCUMENTS that support your contention that "Blue Wolf Capital

 19   Partners-utilizing its 'shell company' BW Piezo-routinely commingled funds and assets
 20
      between the two to cover company liabilities," as alleged in paragraph 54 of the
 21
      COMPLAINT.
 22
      RESPONSE:
 23

 24         Subject to and without waiver of its general objections, Trustee responds that it

 25   has or will produce tangible documents responsive to this Request. Trustee further
 26
      responds that this Request calls for the production of ESI. Trustee has produced to
 27
      Defendants all electronically stored information in its possession, custody, and control,
 28
      and the Defendants may search such ESI via their direct access.

                                                    11
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 103 of 262

  1   REQUEST FOR PRODUCTION NO. 16:
  2
            All DOCUMENTS that supp01i your contention that "CTG funds were used to
  3
      pay for the liabilities and debts of CTG Advanced Materials and BW Piezo, including
  4
      payroll," as alleged in paragraph 54 of the COMPLAINT.
  5

  6   RESPONSE:

  7         Subject to and without waiver of its general objections, Trustee responds that it
  8
      has or will produce tangible documents responsive to this Request. Trustee further
  9
      responds that this Request calls for the production of ESI. Trustee has produced to
 10
      Defendants all electronically stored information in its possession, custody, and control,
 11

 12   and the Defendants may search such ESI via their direct access.

 13   REQUEST FOR PRODUCTION NO. 17:
 14
            All DOCUMENTS that support your contention that "CTG Advanced Materials
 15
      funds were used to pay for the liabilities and debts of CTG, including accounts
 16
      receivable," as alleged in paragraph 54 of the COMPLAINT.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections, Trustee responds that it
 20
      has or will produce tangible documents responsive to this Request. Trustee further
 21
      responds that this Request calls for the production of ESI. Trustee has produced to
 22
      Defendants all electronically stored information in its possession, custody, and control,
 23

 24   and the Defendants may search such ESI via their direct access.

 25   REQUEST FOR PRODUCTION NO. 18:
 26
            All DOCUMENTS that support your contention that "Accounting between the
 27
      two companies was commingled," as alleged in paragraph 54 of the COMPLAINT.
 28
      RESPONSE:

                                                    12
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 104 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 19:
  8
            All DOCUMENTS that support your contention that "CTG funds were
  9
      transferred to BW Piezo to pay out CTG Advanced Materials bonuses and legal
 10
      expenses," as alleged in paragraph 54 of the COMPLAINT.
 11

 12   RESPONSE:

 13         Subject to and without waiver of its general objections, Trustee responds that it
 14
      has or will produce tangible documents responsive to this Request. Trustee further
 15
      responds that this Request calls for the production of ESI. Trustee has produced to
 16
      Defendants all electronically stored information in its possession, custody, and control,
 17

 18   and the Defendants may search such ESI via their direct access.

 19   REQUEST FOR PRODUCTION NO. 20:
 20
            All DOCUMENTS that support your contention that "CTG's 'cash flow' position
 21
      was forecasted to include the 'cash flow' position of CTG Advanced Materials," as alleged
 22
      in paragraph 54 of the COMPLAINT.
 23

 24   RESPONSE:

 25         Subject to and without waiver of its general objections, Trustee responds that it
 26
      has or will produce tangible documents responsive to this Request. Trustee further
 27
      responds that this Request calls for the production of ESI. Trustee has produced to
 28



                                                    13
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 105 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 21:
  4
            All DOCUMENTS that support your contention that "The liabilities of all BW
  5

  6   Piezo subsidiaries were paid through CTG's operating account, and BW Piezo did not

  7   have its own separate bank account.," as alleged in paragraph 54 of the COMPLAINT.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections, Trustee responds that it
 10
      has or will produce tangible documents responsive to this Request. Trustee further
 11

 12   responds that this Request calls for the production of ESI. Trustee has produced to

 13   Defendants all electronically stored information in its possession, custody, and control,
 14
      and the Defendants may search such ESI via their direct access.
 15
      REQUEST FOR PRODUCTION NO. 22:
 16
            All DOCUMENTS that support your contention that "CTG expenses were
 17

 18   accrued between CTG and BW Piezo," as alleged in paragraph 54 of the COMPLAINT.

 19   RESPONSE:
 20
            Subject to and without waiver of its general objections, Trustee responds that it
 21
      has or will produce tangible documents responsive to this Request. Trustee further
 22
      responds that this Request calls for the production of ESI. Trustee has produced to
 23

 24   Defendants all electronically stored information in its possession, custody, and control,

 25   and the Defendants may search such ESI via their direct access.
 26
      REQUEST FOR PRODUCTION NO. 23:
 27
 28



                                                    14
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 106 of 262

  1         All DOCUMENTS that support your contention that "BW Piezo would pay for
  2
      certain CTG related expenses directly and then seek reimbursement from CTG," as
  3
      alleged in paragraph 54 of the COMPLAINT.
  4
      RESPONSE:
  5

  6         Subject to and without waiver of its general objections, Trustee responds that it

  7   has or will produce tangible documents responsive to this Request. Trustee further
  8
      responds that this Request calls for the production of ESI. Trustee has produced to
  9
      Defendants all electronically stored information in its possession, custody, and control,
 10
      and the Defendants may search such ESI via their direct access.
 11

 12   REQUEST FOR PRODUCTION NO. 24:

 13         All DOCUMENTS that support your contention that "CTG incurred BW Piezo's
 14
      legal, tax, and other service expenses," as alleged in paragraph 54 of the COMPLAINT.
 15
      RESPONSE:
 16
            Subject to and without waiver of its general objections, Trustee responds that it
 17

 18   has or will produce tangible documents responsive to this Request. Trustee further

 19   responds that this Request calls for the production of ESI. Trustee has produced to
 20
      Defendants all electronically stored information in its possession, custody, and control,
 21
      and the Defendants may search such ESI via their direct access.
 22
      REQUEST FOR PRODUCTION NO. 25:
 23

 24         All DOCUMENTS that support your contention that "CTG's corporate documents

 25   and communications with auditors represented CTG Advanced Materials as a 'division'
 26
      of CTG," as alleged in paragraph 54 of the COMPLAINT.
 27
      RESPONSE:
 28



                                                    15
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 107 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 26:
  8
            All DOCUMENTS that support your contention that "CTG Advanced Materials
  9
      was represented in government submissions and public press releases as being a
 10
      subsidiary of CTG," as alleged in paragraph 54 of the COMPLAINT.
 11

 12   RESPONSE:

 13         Subject to and without waiver of its general objections, Trustee responds that it
 14
      has or will produce tangible documents responsive to this Request. Trustee further
 15
      responds that this Request calls for the production of ESI. Trustee has produced to
 16
      Defendants all electronically stored information in its possession, custody, and control,
 17

 18   and the Defendants may search such ESI via their direct access.

 19   REQUEST FOR PRODUCTION NO. 27:
 20
            All DOCUMENTS that support your contention that "Blue Wolf Capital
 21
      Partners, through its shell companies and executive management team, formed,
 22
      organized, and operated BW Piezo, CTG, and CTG Advanced Materials to evade
 23

 24   government regulation, legal obligations, and debt obligations, including national

 25   security related regulations and bankruptcy laws," as alleged in paragraph 55 of the
 26
      COMPLAINT.
 27
      RESPONSE:
 28



                                                    16
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 108 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 28:
  8
            All DOCUMENTS that support your contention that "Blue Wolf Entities allowed
  9
      the entities to operate with inadequate capital for the type of business they were
 10
      conducting. siphoning CTG's assets and capital to repay Blue Wolf Capital Partners and
 11

 12   make distributions to themselves," as alleged in paragraph 56 of the COMPLAINT.

 13   RESPONSE:
 14
            Subject to and without waiver of its general objections, Trustee responds that it
 15
      has or will produce tangible documents responsive to this Request. Trustee further
 16
      responds that this Request calls for the production of ESI. Trustee has produced to
 17

 18   Defendants all electronically stored information in its possession, custody, and control,

 19   and the Defendants may search such ESI via their direct access.
 20
      REQUEST FOR PRODUCTION NO. 29:
 21
            All DOCUMENTS that suppo1i your contention that "Blue Wolf Capital Partners
 22
      operated BW Piezo, CTG, and CTG Advanced Materials as part of a single business
 23

 24   enterprise," as alleged in paragraph 57 of the COMPLAINT.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections, Trustee responds that it
 27
      has or will produce tangible documents responsive to this Request. Trustee further
 28
      responds that this Request calls for the production of ESI. Trustee has produced to

                                                    17
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 109 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 30:
  4
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners'
  5

  6   abuse of the corporate form is inequitable because Blue Wolf Capital Partners, Blue

  7   Wolf Capital Fund, Blue Wolf Capital Advisors, BW Piezo, and CTG Advanced
  8
      Materials reaped the benefits of holding out and treating CTG and CTG Advanced
  9
      Materials as the same entity but left CTG's creditors to pay for that arrangement," as
 10
      alleged in paragraph 58 of the COMPLAINT.
 11

 12   RESPONSE:

 13         Subject to and without waiver of its general objections, Trustee responds that it
 14
      has or will produce tangible documents responsive to this Request. Trustee further
 15
      responds that this Request calls for the production of ESI. Trustee has produced to
 16
      Defendants all electronically stored information in its possession, custody, and control,
 17

 18   and the Defendants may search such ESI via their direct access.

 19   REQUEST FOR PRODUCTION NO. 31:
 20
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
 21
      dominated and controlled CTG and CTG Advanced Materials," as alleged in paragraph
 22
      59 of the COMPLAINT.
 23

 24   RESPONSE:

 25         Subject to and without waiver of its general objections, Trustee responds that it
 26
      has or will produce tangible documents responsive to this Request. Trustee further
 27
      responds that this Request calls for the production of ESI. Trustee has produced to
 28



                                                    18
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 110 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 32:
  4
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
  5

  6   controlled CTG's management and board of directors and directed CTG in every major

  7   decision," as alleged in paragraph 60 of the COMPLAINT.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections, Trustee responds that it
 10
      has or will produce tangible documents responsive to this Request. Trustee further
 11

 12   responds that this Request calls for the production of ESI. Trustee has produced to

 13   Defendants all electronically stored information in its possession, custody, and control,
 14
      and the Defendants may search such ESI via their direct access.
 15
      REQUEST FOR PRODUCTION NO. 33:
 16
            All DOCUMENTS that support your contention that "Blue Wolf Capital Partners
 17

 18   forced CTG to enter into and secure oppressive loan agreements for the sole benefit of

 19   BW Piezo and itself, forced CTG to make payments on these loans that did not benefit
 20
      CTG, forced CTG to pass on corporate opportunities, such as the acquisition of HC
 21
      Materials' assets directly, and forced CTG to pay for CTG Advanced Materials' and BW
 22
      Piezo's liabilities and debts-all without CTG receiving any reasonably equivalent value,"
 23

 24   as alleged in paragraph 61 of the COMPLAINT.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections, Trustee responds that it
 27
      has or will produce tangible documents responsive to this Request. Trustee further
 28
      responds that this Request calls for the production of ESI. Trustee has produced to

                                                    19
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 111 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 34:
  4
            All DOCUMENTS that support your contention that "These actions were not in
  5

  6   the best interest of CTG, limited CTG's growth, and depleted the assets available to

  7   satisfy CTG's debts," as alleged in paragraph 61 of the COMPLAINT.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections, Trustee responds that it
 10
      has or will produce tangible documents responsive to this Request. Trustee further
 11

 12   responds that this Request calls for the production of ESI. Trustee has produced to

 13   Defendants all electronically stored information in its possession, custody, and control,
 14
      and the Defendants may search such ESI via their direct access.
 15
      REQUEST FOR PRODUCTION NO. 35:
 16
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 17

 18   Request for Admission No. 1.

 19   RESPONSE:
 20
            Subject to and without waiver of its general objections herein and objections in
 21
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 22
      Trustee responds that it has or will produce tangible documents responsive to this
 23

 24   Request. Trustee further responds that this Request calls for the production of ESI.

 25   Trustee has produced to Defendants all electronically stored information in its
 26
      possession, custody, and control, and the Defendants may search such ESI via their
 27
      direct access.
 28
      REQUEST FOR PRODUCTION NO. 36:

                                                    20
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 112 of 262

  1         All DOCUMENTS sufficient to support any denial of concurrently propounded
  2
      Request for Admission No. 2.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections herein and objections in
  5

  6   its Objections and Responses to Defendants’ First Set of Requests for Admissions,

  7   Trustee responds that it has or will produce tangible documents responsive to this
  8
      Request. Trustee further responds that this Request calls for the production of ESI.
  9
      Trustee has produced to Defendants all electronically stored information in its
 10
      possession, custody, and control, and the Defendants may search such ESI via their
 11

 12   direct access.

 13   REQUEST FOR PRODUCTION NO. 37:
 14
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 15
      Request for Admission No. 3.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections herein and objections in

 19   its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 20
      Trustee responds that it has or will produce tangible documents responsive to this
 21
      Request. Trustee further responds that this Request calls for the production of ESI.
 22
      Trustee has produced to Defendants all electronically stored information in its
 23

 24   possession, custody, and control, and the Defendants may search such ESI via their

 25   direct access.
 26
      REQUEST FOR PRODUCTION NO. 38:
 27
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 28
      Request for Admission No. 4.

                                                    21
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 113 of 262

  1   RESPONSE:
  2
            Subject to and without waiver of its general objections herein and objections in
  3
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  4
      Trustee responds that it has or will produce tangible documents responsive to this
  5

  6   Request. Trustee further responds that this Request calls for the production of ESI.

  7   Trustee has produced to Defendants all electronically stored information in its
  8
      possession, custody, and control, and the Defendants may search such ESI via their
  9
      direct access.
 10
      REQUEST FOR PRODUCTION NO. 39:
 11

 12         All DOCUMENTS sufficient to support any denial of concurrently propounded

 13   Request for Admission No. 5.
 14
      RESPONSE:
 15
            Subject to and without waiver of its general objections herein, Trustee responds
 16
      that it has or will produce tangible documents responsive to this Request. Trustee
 17

 18   further responds that this Request calls for the production of ESI. Trustee has produced

 19   to Defendants all electronically stored information in its possession, custody, and
 20
      control, and the Defendants may search such ESI via their direct access.
 21
      REQUEST FOR PRODUCTION NO. 40:
 22
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 23

 24   Request for Admission No. 6.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections herein, Trustee responds
 27
      that it has or will produce tangible documents responsive to this Request. Trustee
 28
      further responds that this Request calls for the production of ESI. Trustee has produced

                                                    22
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 114 of 262

  1   to Defendants all electronically stored information in its possession, custody, and
  2
      control, and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 41:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 7.

  7   RESPONSE:
  8
            Subject to and without waiver of its general objections herein and objections in
  9
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 10
      Trustee responds that it has or will produce tangible documents responsive to this
 11

 12   Request. Trustee further responds that this Request calls for the production of ESI.

 13   Trustee has produced to Defendants all electronically stored information in its
 14
      possession, custody, and control, and the Defendants may search such ESI via their
 15
      direct access.
 16
      REQUEST FOR PRODUCTION NO. 42:
 17

 18         All DOCUMENTS sufficient to support any denial of concurrently propounded

 19   Request for Admission No. 8.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections herein and objections in
 22
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 23

 24   Trustee responds that it has or will produce tangible documents responsive to this

 25   Request. Trustee further responds that this Request calls for the production of ESI.
 26
      Trustee has produced to Defendants all electronically stored information in its
 27
      possession, custody, and control, and the Defendants may search such ESI via their
 28
      direct access.

                                                    23
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 115 of 262

  1   REQUEST FOR PRODUCTION NO. 43:
  2
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  3
      Request for Admission No. 9.
  4
      RESPONSE:
  5

  6         Subject to and without waiver of its general objections herein and objections in

  7   its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  8
      Trustee responds that it has or will produce tangible documents responsive to this
  9
      Request. Trustee further responds that this Request calls for the production of ESI.
 10
      Trustee has produced to Defendants all electronically stored information in its
 11

 12   possession, custody, and control, and the Defendants may search such ESI via their

 13   direct access.
 14
      REQUEST FOR PRODUCTION NO. 44:
 15
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 16
      Request for Admission No. 10.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections herein and objections in
 20
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 21
      Trustee responds that it has or will produce tangible documents responsive to this
 22
      Request. Trustee further responds that this Request calls for the production of ESI.
 23

 24   Trustee has produced to Defendants all electronically stored information in its

 25   possession, custody, and control, and the Defendants may search such ESI via their
 26
      direct access.
 27
      REQUEST FOR PRODUCTION NO. 45:
 28



                                                    24
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 116 of 262

  1         All DOCUMENTS sufficient to suppo1i any denial of concurrently propounded
  2
      Request for Admission No. 11.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections herein and objections in
  5

  6   its Objections and Responses to Defendants’ First Set of Requests for Admissions,

  7   Trustee responds that it has or will produce tangible documents responsive to this
  8
      Request. Trustee further responds that this Request calls for the production of ESI.
  9
      Trustee has produced to Defendants all electronically stored information in its
 10
      possession, custody, and control, and the Defendants may search such ESI via their
 11

 12   direct access.

 13   REQUEST FOR PRODUCTION NO. 46:
 14
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 15
      Request for Admission No. 12.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections herein and objections in

 19   its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 20
      Trustee responds that it has or will produce tangible documents responsive to this
 21
      Request. Trustee further responds that this Request calls for the production of ESI.
 22
      Trustee has produced to Defendants all electronically stored information in its
 23

 24   possession, custody, and control, and the Defendants may search such ESI via their

 25   direct access.
 26
      REQUEST FOR PRODUCTION NO. 47:
 27
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 28
      Request for Admission No. 13.

                                                    25
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 117 of 262

  1   RESPONSE:
  2
            Subject to and without waiver of its general objections herein and objections in
  3
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  4
      Trustee responds that it has or will produce tangible documents responsive to this
  5

  6   Request. Trustee further responds that this Request calls for the production of ESI.

  7   Trustee has produced to Defendants all electronically stored information in its
  8
      possession, custody, and control, and the Defendants may search such ESI via their
  9
      direct access.
 10
      REQUEST FOR PRODUCTION NO. 48:
 11

 12         All DOCUMENTS sufficient to support any denial of concurrently propounded

 13   Request for Admission No. 14.
 14
      RESPONSE:
 15
            Subject to and without waiver of its general objections, Trustee responds that it
 16
      has or will produce tangible documents responsive to this Request. Trustee further
 17

 18   responds that this Request calls for the production of ESI. Trustee has produced to

 19   Defendants all electronically stored information in its possession, custody, and control,
 20
      and the Defendants may search such ESI via their direct access.
 21
      REQUEST FOR PRODUCTION NO. 49:
 22
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 23

 24   Request for Admission No. 15.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections, Trustee responds that it
 27
      has or will produce tangible documents responsive to this Request. Trustee further
 28
      responds that this Request calls for the production of ESI. Trustee has produced to

                                                    26
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 118 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 50:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 16.

  7   RESPONSE:
  8
            Trustee responds that it has or will produce tangible documents responsive to
  9
      this Request. Trustee further responds that this Request calls for the production of ESI.
 10
      Trustee has produced to Defendants all electronically stored information in its
 11

 12   possession, custody, and control, and the Defendants may search such ESI via their

 13   direct access.
 14
      REQUEST FOR PRODUCTION NO. 51:
 15
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 16
      Request for Admission No. 17.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections herein, Trustee is
 20
      examining its books and records in response to Request for Admission No. 17, and will
 21
      supplement its response to this Request.
 22
      REQUEST FOR PRODUCTION NO. 52:
 23

 24         All DOCUMENTS sufficient to support any denial of concurrently propounded

 25   Request for Admission No. 18.
 26
      RESPONSE:
 27
 28



                                                    27
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 119 of 262

  1         Subject to and without waiver of its general objections herein, Trustee is
  2
      examining its books and records in response to Request for Admission No. 18, and will
  3
      supplement its response to this Request.
  4
      REQUEST FOR PRODUCTION NO. 53:
  5

  6         All DOCUMENTS sufficient to support any denial of concurrently propounded

  7   Request for Admission No. 19.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections herein, Trustee is
 10
      examining its books and records in response to Request for Admission No. 19, and will
 11

 12   supplement its response to this Request.

 13   REQUEST FOR PRODUCTION NO. 54:
 14
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 15
      Request for Admission No. 20.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections herein, Trustee is

 19   examining its books and records in response to Request for Admission No. 20, and will
 20
      supplement its response to this Request.
 21
      REQUEST FOR PRODUCTION NO. 55:
 22
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 23

 24   Request for Admission No. 21.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections herein, Trustee is
 27
      examining its books and records in response to Request for Admission No. 21 and will
 28
      supplement its response to this Request.

                                                    28
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 120 of 262

  1   REQUEST FOR PRODUCTION NO. 56:
  2
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  3
      Request for Admission No. 22.
  4
      RESPONSE:
  5

  6         Subject to and without waiver of its general objections herein, Trustee is

  7   examining its books and records in response to Request for Admission No. 22, and will
  8
      supplement its response to this Request.
  9
      REQUEST FOR PRODUCTION NO. 57:
 10
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 11

 12   Request for Admission No. 23.

 13   RESPONSE:
 14
            Subject to and without waiver of its general objections herein, Trustee is
 15
      examining its books and records in response to Request for Admission No. 23, and will
 16
      supplement its response to this Request.
 17

 18   REQUEST FOR PRODUCTION NO. 58:

 19         All DOCUMENTS sufficient to support any denial of concurrently propounded
 20
      Request for Admission No. 24.
 21
      RESPONSE:
 22
            Subject to and without waiver of its general objections herein, Trustee is
 23

 24   examining its books and records in response to Request for Admission No. 24 and will

 25   supplement its response to this Request.
 26
      REQUEST FOR PRODUCTION NO. 59:
 27
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 28
      Request for Admission No. 25.

                                                    29
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 121 of 262

  1   RESPONSE:
  2
            Subject to and without waiver of its general objections herein, Trustee is
  3
      examining its books and records in response to Request for Admission No. 25, and will
  4
      supplement its response to this Request.
  5

  6   REQUEST FOR PRODUCTION NO. 60:

  7         All DOCUMENTS sufficient to support any denial of concurrently propounded
  8
      Request for Admission No. 26.
  9
      RESPONSE:
 10
            Subject to and without waiver of its general objections herein, Trustee is
 11

 12   examining its books and records in response to Request for Admission No. 26, and will

 13   supplement its response to this Request.
 14
      REQUEST FOR PRODUCTION NO. 61:
 15
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 16
      Request for Admission No. 27.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections herein, Trustee is
 20
      examining its books and records in response to Request for Admission No. 27, and will
 21
      supplement its response to this Request.
 22
      REQUEST FOR PRODUCTION NO. 62:
 23

 24         All DOCUMENTS sufficient to support any denial of concurrently propounded

 25   Request for Admission No. 28.
 26
      RESPONSE:
 27
 28



                                                    30
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 122 of 262

  1         Subject to and without waiver of its general objections herein, Trustee is
  2
      examining its books and records in response to Request for Admission No. 28, and will
  3
      supplement its response to this Request.
  4
      REQUEST FOR PRODUCTION NO. 63:
  5

  6         All DOCUMENTS sufficient to support any denial of concurrently propounded

  7   Request for Admission No. 29.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections herein, Trustee is
 10
      examining its books and records in response to Request for Admission No. 29, and will
 11

 12   supplement its response to this Request.

 13   REQUEST FOR PRODUCTION NO. 64:
 14
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 15
      Request for Admission No, 30.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections herein and objections in

 19   its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 20
      Trustee responds that it has or will produce tangible documents responsive to this
 21
      Request. Trustee further responds that this Request calls for the production of ESI.
 22
      Trustee has produced to Defendants all electronically stored information in its
 23

 24   possession, custody, and control, and the Defendants may search such ESI via their

 25   direct access.
 26
      REQUEST FOR PRODUCTION NO. 65:
 27
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 28
      Request for Admission No, 31.

                                                    31
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 123 of 262

  1   RESPONSE:
  2
            Subject to and without waiver of its general objections herein and objections in
  3
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  4
      Trustee responds that it has or will produce tangible documents responsive to this
  5

  6   Request. Trustee further responds that this Request calls for the production of ESI.

  7   Trustee has produced to Defendants all electronically stored information in its
  8
      possession, custody, and control, and the Defendants may search such ESI via their
  9
      direct access.
 10
      REQUEST FOR PRODUCTION NO. 66:
 11

 12         All DOCUMENTS sufficient to support any denial of concurrently propounded

 13   Request for Admission No. 32.
 14
      RESPONSE:
 15
            Subject to and without waiver of its general objections herein and objections in
 16
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 17

 18   Trustee responds that it has or will produce tangible documents responsive to this

 19   Request. Trustee further responds that this Request calls for the production of ESI.
 20
      Trustee has produced to Defendants all electronically stored information in its
 21
      possession, custody, and control, and the Defendants may search such ESI via their
 22
      direct access.
 23

 24   REQUEST FOR PRODUCTION NO. 67:

 25         All DOCUMENTS sufficient to support any denial of concurrently propounded
 26
      Request for Admission No. 33.
 27
      RESPONSE:
 28



                                                    32
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 124 of 262

  1         Subject to and without waiver of its general objections herein and objections in
  2
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  3
      Trustee responds that it has or will produce tangible documents responsive to this
  4
      Request. Trustee further responds that this Request calls for the production of ESI.
  5

  6   Trustee has produced to Defendants all electronically stored information in its

  7   possession, custody, and control, and the Defendants may search such ESI via their
  8
      direct access.
  9
      REQUEST FOR PRODUCTION NO. 68:
 10
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 11

 12   Request for Admission No. 34.

 13   RESPONSE:
 14
            Subject to and without waiver of its general objections herein and objections in
 15
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 16
      Trustee responds that it has or will produce tangible documents responsive to this
 17

 18   Request. Trustee further responds that this Request calls for the production of ESI.

 19   Trustee has produced to Defendants all electronically stored information in its
 20
      possession, custody, and control, and the Defendants may search such ESI via their
 21
      direct access.
 22
      REQUEST FOR PRODUCTION NO. 69:
 23

 24         All DOCUMENTS sufficient to support any denial of concurrently propounded

 25   Request for Admission No. 35.
 26
      RESPONSE:
 27
            Subject to and without waiver of its general objections herein, Trustee responds
 28
      that it has or will produce tangible documents responsive to this Request. Trustee

                                                    33
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 125 of 262

  1   further responds that this Request calls for the production of ESI. Trustee has produced
  2
      to Defendants all electronically stored information in its possession, custody, and
  3
      control, and the Defendants may search such ESI via their direct access.
  4
      REQUEST FOR PRODUCTION NO. 70:
  5

  6         All DOCUMENTS sufficient to support any denial of concurrently propounded

  7   Request for Admission No. 36.
  8
      RESPONSE:
  9
            Trustee objects to this Request on the basis that it cannot confirm or deny
 10
      Request for Admission No. 36 at this time.
 11

 12   REQUEST FOR PRODUCTION NO. 71:

 13         All DOCUMENTS sufficient to support any denial of concurrently propounded
 14
      Request for Admission No. 37.
 15
      RESPONSE:
 16
            Subject to and without waiver of its general objections herein, Trustee responds
 17

 18   that it has or will produce tangible documents responsive to this Request. Trustee

 19   further responds that this Request calls for the production of ESI. Trustee has produced
 20
      to Defendants all electronically stored information in its possession, custody, and
 21
      control, and the Defendants may search such ESI via their direct access.
 22
      REQUEST FOR PRODUCTION NO. 72:
 23

 24         All DOCUMENTS sufficient to support any denial of concurrently propounded

 25   Request for Admission No, 38.
 26
      RESPONSE:
 27
            Subject to and without waiver of its general objections herein and objections in
 28
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,

                                                    34
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 126 of 262

  1   Trustee responds that it has or will produce tangible documents responsive to this
  2
      Request. Trustee further responds that this Request calls for the production of ESI.
  3
      Trustee has produced to Defendants all electronically stored information in its
  4
      possession, custody, and control, and the Defendants may search such ESI via their
  5

  6   direct access.

  7   REQUEST FOR PRODUCTION NO. 73:
  8
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  9
      Request for Admission No. 39.
 10
      RESPONSE:
 11

 12         Subject to and without waiver of its general objections herein and objections in

 13   its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 14
      Trustee responds that it has or will produce tangible documents responsive to this
 15
      Request. Trustee further responds that this Request calls for the production of ESI.
 16
      Trustee has produced to Defendants all electronically stored information in its
 17

 18   possession, custody, and control, and the Defendants may search such ESI via their

 19   direct access.
 20
      REQUEST FOR PRODUCTION NO. 74:
 21
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 22
      Request for Admission No. 40.
 23

 24   RESPONSE:

 25         Trustee objects to this Request to the extent it has not admitted or denied
 26
      Request for Admission No. 39. Subject to and without waiver of the foregoing objections,
 27
      Trustee responds that it has or will produce tangible documents responsive to this
 28
      Request. Trustee further responds that this Request calls for the production of ESI.

                                                    35
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 127 of 262

  1   Trustee has produced to Defendants all electronically stored information in its
  2
      possession, custody, and control, and the Defendants may search such ESI via their
  3
      direct access.
  4
      REQUEST FOR PRODUCTION NO. 75:
  5

  6         All DOCUMENTS sufficient to support any denial of concurrently propounded

  7   Request for Admission No. 41.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections herein and objections in
 10
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 11

 12   Trustee responds that it has or will produce tangible documents responsive to this

 13   Request. Trustee further responds that this Request calls for the production of ESI.
 14
      Trustee has produced to Defendants all electronically stored information in its
 15
      possession, custody, and control, and the Defendants may search such ESI via their
 16
      direct access.
 17

 18   REQUEST FOR PRODUCTION NO. 76:

 19         All DOCUMENTS sufficient to support any denial of concurrently propounded
 20
      Request for Admission No. 42.
 21
      RESPONSE:
 22
            Subject to and without waiver of its general objections herein and objections in
 23

 24   its Objections and Responses to Defendants’ First Set of Requests for Admissions,

 25   Trustee responds that it has or will produce tangible documents responsive to this
 26
      Request. Trustee further responds that this Request calls for the production of ESI.
 27
      Trustee has produced to Defendants all electronically stored information in its
 28



                                                    36
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 128 of 262

  1   possession, custody, and control, and the Defendants may search such ESI via their
  2
      direct access.
  3
      REQUEST FOR PRODUCTION NO. 77:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 43.

  7   RESPONSE:
  8
            Subject to and without waiver of its general objections herein and objections in
  9
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 10
      Trustee responds that it has or will produce tangible documents responsive to this
 11

 12   Request. Trustee further responds that this Request calls for the production of ESI.

 13   Trustee has produced to Defendants all electronically stored information in its
 14
      possession, custody, and control, and the Defendants may search such ESI via their
 15
      direct access.
 16
      REQUEST FOR PRODUCTION NO. 78:
 17

 18         All DOCUMENTS sufficient to support any denial of concurrently propounded

 19   Request for Admission No. 44.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections herein, Trustee responds
 22
      that it has or will produce tangible documents responsive to this Request. Trustee
 23

 24   further responds that this Request calls for the production of ESI. Trustee has produced

 25   to Defendants all electronically stored information in its possession, custody, and
 26
      control, and the Defendants may search such ESI via their direct access.REQUEST
 27
      FOR PRODUCTION NO. 79:
 28



                                                    37
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 129 of 262

  1         All DOCUMENTS sufficient to support any denial of concurrently propounded
  2
      Request for Admission No. 45.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections herein, Trustee responds
  5

  6   that it has or will produce tangible documents responsive to this Request. Trustee

  7   further responds that this Request calls for the production of ESI. Trustee has produced
  8
      to Defendants all electronically stored information in its possession, custody, and
  9
      control, and the Defendants may search such ESI via their direct access.
 10
      REQUEST FOR PRODUCTION NO. 80:
 11

 12         All DOCUMENTS sufficient to support any denial of concurrently propounded

 13   Request for Admission No. 46.
 14
      RESPONSE:
 15
            Subject to and without waiver of its general objections herein, Trustee responds
 16
      that it has or will produce tangible documents responsive to this Request. Trustee
 17

 18   further responds that this Request calls for the production of ESI. Trustee has produced

 19   to Defendants all electronically stored information in its possession, custody, and
 20
      control, and the Defendants may search such ESI via their direct access.
 21
      REQUEST FOR PRODUCTION NO. 81:
 22
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 23

 24   Request for Admission No. 47.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections herein, Trustee responds
 27
      that it has or will produce tangible documents responsive to this Request. Trustee
 28
      further responds that this Request calls for the production of ESI. Trustee has produced

                                                    38
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 130 of 262

  1   to Defendants all electronically stored information in its possession, custody, and
  2
      control, and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 82:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 48.

  7   RESPONSE:
  8
            Subject to and without waiver of its general objections herein, Trustee responds
  9
      that it has or will produce tangible documents responsive to this Request. Trustee
 10
      further responds that this Request calls for the production of ESI. Trustee has produced
 11

 12   to Defendants all electronically stored information in its possession, custody, and

 13   control, and the Defendants may search such ESI via their direct access.
 14
      REQUEST FOR PRODUCTION NO. 83:
 15
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 16
      Request for Admission No. 49.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections herein, Trustee responds
 20
      that it has or will produce tangible documents responsive to this Request. Trustee
 21
      further responds that this Request calls for the production of ESI. Trustee has produced
 22
      to Defendants all electronically stored information in its possession, custody, and
 23

 24   control, and the Defendants may search such ESI via their direct access.

 25   REQUEST FOR PRODUCTION NO. 84:
 26
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 27
      Request for Admission No. 50.
 28
      RESPONSE:

                                                    39
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 131 of 262

  1         Subject to and without waiver of its general objections herein, Trustee responds
  2
      that it has or will produce tangible documents responsive to this Request. Trustee
  3
      further responds that this Request calls for the production of ESI. Trustee has produced
  4
      to Defendants all electronically stored information in its possession, custody, and
  5

  6   control, and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 85:
  8
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  9
      Request for Admission No. 51.
 10
      RESPONSE:
 11

 12         Subject to and without waiver of its general objections herein, Trustee responds

 13   that it has or will produce tangible documents responsive to this Request. Trustee
 14
      further responds that this Request calls for the production of ESI. Trustee has produced
 15
      to Defendants all electronically stored information in its possession, custody, and
 16
      control, and the Defendants may search such ESI via their direct access.
 17

 18   REQUEST FOR PRODUCTION NO. 86:

 19         All DOCUMENTS sufficient to support any denial of concurrently propounded
 20
      Request for Admission No. 52.
 21
      RESPONSE:
 22
            Subject to and without waiver of its general objections herein, Trustee responds
 23

 24   that it has or will produce tangible documents responsive to this Request. Trustee

 25   further responds that this Request calls for the production of ESI. Trustee has produced
 26
      to Defendants all electronically stored information in its possession, custody, and
 27
      control, and the Defendants may search such ESI via their direct access.
 28
      REQUEST FOR PRODUCTION NO. 87:

                                                    40
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 132 of 262

  1         All DOCUMENTS sufficient to support any denial of concurrently propounded
  2
      Request for Admission No. 53.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections herein, Trustee responds
  5

  6   that it has or will produce tangible documents responsive to this Request. Trustee

  7   further responds that this Request calls for the production of ESI. Trustee has produced
  8
      to Defendants all electronically stored information in its possession, custody, and
  9
      control, and the Defendants may search such ESI via their direct access.
 10
      REQUEST FOR PRODUCTION NO. 88:
 11

 12         All DOCUMENTS sufficient to support any denial of concurrently propounded

 13   Request for Admission No. 54.
 14
      RESPONSE:
 15
            Subject to and without waiver of its general objections herein, Trustee responds
 16
      that it has or will produce tangible documents responsive to this Request. Trustee
 17

 18   further responds that this Request calls for the production of ESI. Trustee has produced

 19   to Defendants all electronically stored information in its possession, custody, and
 20
      control, and the Defendants may search such ESI via their direct access.
 21
      REQUEST FOR PRODUCTION NO. 89:
 22
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 23

 24   Request for Admission No. 55.

 25   RESPONSE:
 26
            Subject to and without waiver of its general objections herein, Trustee responds
 27
      that it has or will produce tangible documents responsive to this Request. Trustee
 28
      further responds that this Request calls for the production of ESI. Trustee has produced

                                                    41
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 133 of 262

  1   to Defendants all electronically stored information in its possession, custody, and
  2
      control, and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 90:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 56.

  7   RESPONSE:
  8
            Subject to and without waiver of its general objections herein, Trustee responds
  9
      that it has or will produce tangible documents responsive to this Request. Trustee
 10
      further responds that this Request calls for the production of ESI. Trustee has produced
 11

 12   to Defendants all electronically stored information in its possession, custody, and

 13   control, and the Defendants may search such ESI via their direct access.
 14
      REQUEST FOR PRODUCTION NO. 91:
 15
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 16
      Request for Admission No. 57.
 17

 18   RESPONSE:

 19         Subject to and without waiver of its general objections herein, Trustee responds
 20
      that it has or will produce tangible documents responsive to this Request. Trustee
 21
      further responds that this Request calls for the production of ESI. Trustee has produced
 22
      to Defendants all electronically stored information in its possession, custody, and
 23

 24   control, and the Defendants may search such ESI via their direct access.

 25   REQUEST FOR PRODUCTION NO. 92:
 26
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 27
      Request for Admission No. 58.
 28
      RESPONSE:

                                                    42
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document   Page 134 of 262

  1         Subject to and without waiver of its general objections herein and objections in
  2
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
  3
      Subject to and without waiver of its general objections herein, Trustee responds that it
  4
      has or will produce tangible documents responsive to this Request. Trustee further
  5

  6   responds that this Request calls for the production of ESI. Trustee has produced to

  7   Defendants all electronically stored information in its possession, custody, and control,
  8
      and the Defendants may search such ESI via their direct access.
  9
      REQUEST FOR PRODUCTION NO. 93:
 10
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 11

 12   Request for Admission No. 59.

 13   RESPONSE:
 14
            Trustee objects to this Request to the extent it has not denied Request for
 15
      Admission No. 59.
 16
      REQUEST FOR PRODUCTION NO. 94:
 17

 18         All DOCUMENTS sufficient to support any denial of concurrently propounded

 19   Request for Admission No. 60.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections herein and objections in
 22
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 23

 24   Subject to and without waiver of its general objections herein, Trustee responds that it

 25   has or will produce tangible documents responsive to this Request. Trustee further
 26
      responds that this Request calls for the production of ESI. Trustee has produced to
 27
      Defendants all electronically stored information in its possession, custody, and control,
 28
      and the Defendants may search such ESI via their direct access.

                                                    43
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 135 of 262

  1   REQUEST FOR PRODUCTION NO. 95:
  2
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  3
      Request for Admission No. 61.
  4
      RESPONSE:
  5

  6         Trustee objects to this Request to the extent it has not admitted or denied

  7   Request for Admission No. 61.
  8
      REQUEST FOR PRODUCTION NO. 96:
  9
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 10
      Request for Admission No. 62.
 11

 12   RESPONSE:

 13         Trustee objects to this Request to the extent it has not admitted or denied
 14
      Request for Admission No. 62.
 15
      REQUEST FOR PRODUCTION NO. 97:
 16
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 17

 18   Request for Admission No. 63.

 19   RESPONSE:
 20
            Trustee objects to this Request to the extent it has not admitted or denied
 21
      Request for Admission No. 63.
 22
      REQUEST FOR PRODUCTION NO. 98:
 23

 24         All DOCUMENTS sufficient to support any denial of concurrently propounded

 25   Request for Admission No. 64.
 26
      RESPONSE:
 27
            Trustee objects to this Request to the extent it has not admitted or denied
 28
      Request for Admission No. 64.

                                                    44
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 136 of 262

  1   REQUEST FOR PRODUCTION NO. 99:
  2
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  3
      Request for Admission No. 65.
  4
      RESPONSE:
  5

  6         Trustee objects to this Request to the extent it has not admitted or denied

  7   Request for Admission No. 65.
  8
      REQUEST FOR PRODUCTION NO. 100:
  9
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 10
      Request for Admission No. 66.
 11

 12   RESPONSE:

 13         Trustee objects to this Request to the extent it has not admitted or denied
 14
      Request for Admission No. 66.
 15
      REQUEST FOR PRODUCTION NO. 101:
 16
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 17

 18   Request for Admission No. 67.

 19   RESPONSE:
 20
            Subject to and without waiver of its general objections herein and objections in
 21
      its Objections and Responses to Defendants’ First Set of Requests for Admissions,
 22
      Trustee responds that it has or will produce tangible documents responsive to this
 23

 24   Request. Trustee further responds that this Request calls for the production of ESI.

 25   Trustee has produced to Defendants all electronically stored information in its
 26
      possession, custody, and control, and the Defendants may search such ESI via their
 27
      direct access.
 28
      REQUEST FOR PRODUCTION NO. 102:

                                                    45
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 137 of 262

  1         All DOCUMENTS sufficient to support any denial of concurrently propounded
  2
      Request for Admission No. 68.
  3
      RESPONSE:
  4
            Subject to and without waiver of its general objections herein and objections in
  5

  6   its Objections and Responses to Defendants’ First Set of Requests for Admissions,

  7   Trustee responds that it has or will produce tangible documents responsive to this
  8
      Request. Trustee further responds that this Request calls for the production of ESI.
  9
      Trustee has produced to Defendants all electronically stored information in its
 10
      possession, custody, and control, and the Defendants may search such ESI via their
 11

 12   direct access.

 13   REQUEST FOR PRODUCTION NO. 103:
 14
            All DOCUMENTS sufficient to support any denial of concurrently propounded
 15
      Request for Admission No. 69.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections herein, Trustee responds

 19   that it has or will produce tangible documents responsive to this Request. Trustee
 20
      further responds that this Request calls for the production of ESI. Trustee has produced
 21
      to Defendants all electronically stored information in its possession, custody, and
 22
      control, and the Defendants may search such ESI via their direct access.
 23

 24   REQUEST FOR PRODUCTION NO. 104:

 25         All DOCUMENTS sufficient to support any denial of concurrently propounded
 26
      Request for Admission No. 70.
 27
      RESPONSE:
 28



                                                    46
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                          Main Document   Page 138 of 262

  1         Trustee objects to this Request to the extent it has not denied Request for
  2
      Admission No. 70.
  3
      REQUEST FOR PRODUCTION NO. 105:
  4
            All DOCUMENTS sufficient to support any denial of concurrently propounded
  5

  6   Request for Admission No. 71.

  7   RESPONSE:
  8
            Trustee objects to this Request as Defendants have not concurrently propounded
  9
      a Request for Admission No. 71.
 10
      REQUEST FOR PRODUCTION NO. 106:
 11

 12         All DOCUMENTS that support your contention that CTG did not receive

 13   reasonably equivalent value for the $1,054,753.85 transferred to Grant Thornton, LLP,
 14
      as alleged in paragraph 161 of the COMPLAINT.
 15
      RESPONSE:
 16
            Subject to and without waiver of its general objections, Trustee responds that it
 17

 18   has or will produce tangible documents responsive to this Request. Trustee further

 19   responds that this Request calls for the production of ESI. Trustee has produced to
 20
      Defendants all electronically stored information in its possession, custody, and control,
 21
      and the Defendants may search such ESI via their direct access.
 22
      REQUEST FOR PRODUCTION NO. 107:
 23

 24         All DOCUMENTS that support your contention that CTG did not receive

 25   reasonably equivalent value for the $789,579.14 transferred to Holland & Knight, as
 26
      alleged in paragraph 162 of the COMPLAINT.
 27
      RESPONSE:
 28



                                                    47
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 139 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 108:
  8
            All DOCUMENTS that support your contention that CTG did not receive
  9
      reasonably equivalent value for the $1,959,987.31 transferred to Fidus Investment
 10
      Corporation and Fidus Mezzanine Capital II, L.P, as alleged in paragraph 163 of the
 11

 12   COMPLAINT.

 13   RESPONSE:
 14
            Subject to and without waiver of its general objections, Trustee responds that it
 15
      has or will produce tangible documents responsive to this Request. Trustee further
 16
      responds that this Request calls for the production of ESI. Trustee has produced to
 17

 18   Defendants all electronically stored information in its possession, custody, and control,

 19   and the Defendants may search such ESI via their direct access.
 20
      REQUEST FOR PRODUCTION NO. 109:
 21
            All DOCUMENTS that support your contention that CTG did not receive
 22
      reasonably equivalent value for the $1,957,300.44 transferred to Avante Mezzanine
 23

 24   Partners SBIC, LP and Avante Mezzanine Partners II, Inc., as alleged in paragraph 164

 25   of the COMPLAINT.
 26
      RESPONSE:
 27
            Subject to and without waiver of its general objections, Trustee responds that it
 28
      has or will produce tangible documents responsive to this Request. Trustee further

                                                    48
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 140 of 262

  1   responds that this Request calls for the production of ESI. Trustee has produced to
  2
      Defendants all electronically stored information in its possession, custody, and control,
  3
      and the Defendants may search such ESI via their direct access.
  4
      REQUEST FOR PRODUCTION NO. 110:
  5

  6         All DOCUMENTS that support your contention that CTG did not receive

  7   reasonably equivalent value for the $33,248,711.36 transferred to CIT BANK, N.A., as
  8
      alleged in paragraph 165 of the COMPLAINT.
  9
      RESPONSE:
 10
            Subject to and without waiver of its general objections, Trustee responds that it
 11

 12   has or will produce tangible documents responsive to this Request. Trustee further

 13   responds that this Request calls for the production of ESI. Trustee has produced to
 14
      Defendants all electronically stored information in its possession, custody, and control,
 15
      and the Defendants may search such ESI via their direct access.
 16
      REQUEST FOR PRODUCTION NO. 111:
 17

 18         All DOCUMENTS that support your contention that CTG did not receive

 19   reasonably equivalent value for the $7,576,027.49 transferred to Gladstone Investment
 20
      Corporation, as alleged in paragraph 166 of the COMPLAINT.
 21
      RESPONSE:
 22
            Subject to and without waiver of its general objections, Trustee responds that it
 23

 24   has or will produce tangible documents responsive to this Request. Trustee further

 25   responds that this Request calls for the production of ESI. Trustee has produced to
 26
      Defendants all electronically stored information in its possession, custody, and control,
 27
      and the Defendants may search such ESI via their direct access.
 28
      REQUEST FOR PRODUCTION NO. 112:

                                                    49
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 141 of 262

  1         All DOCUMENTS that support your contention that CTG did not receive
  2
      reasonably equivalent value for the $50,000.00 transferred to Raymond James, as
  3
      alleged in paragraph 167 of the COMPLAINT.
  4
      RESPONSE:
  5

  6         Subject to and without waiver of its general objections, Trustee responds that it

  7   has or will produce tangible documents responsive to this Request. Trustee further
  8
      responds that this Request calls for the production of ESI. Trustee has produced to
  9
      Defendants all electronically stored information in its possession, custody, and control,
 10
      and the Defendants may search such ESI via their direct access.
 11

 12   REQUEST FOR PRODUCTION NO. 113:

 13         All DOCUMENTS that support your contention that CTG did not receive
 14
      reasonably equivalent value for the $1,984,330.21 transferred to Blue Wolf Capital
 15
      Partners, as alleged in paragraph 168 of the COMPLAINT.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections, Trustee responds that it

 19   has or will produce tangible documents responsive to this Request. Trustee further
 20
      responds that this Request calls for the production of ESI. Trustee has produced to
 21
      Defendants all electronically stored information in its possession, custody, and control,
 22
      and the Defendants may search such ESI via their direct access.
 23

 24   REQUEST FOR PRODUCTION NO. 114:

 25         All DOCUMENTS that support your contention that CTG did not receive
 26
      reasonably equivalent value for the $36,995.00 transferred to Duff & Phelps, as alleged
 27
      in paragraph 169 of the COMPLAINT.
 28
      RESPONSE:

                                                    50
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 142 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 115:
  8
            All DOCUMENTS that support your contention that CTG did not receive
  9
      reasonably equivalent value for the $165,365.86 transferred to McDermott Will &
 10
      Emery, LLP, as alleged in paragraph 170 of the COMPLAINT.
 11

 12   RESPONSE:

 13         Subject to and without waiver of its general objections, Trustee responds that it
 14
      has or will produce tangible documents responsive to this Request. Trustee further
 15
      responds that this Request calls for the production of ESI. Trustee has produced to
 16
      Defendants all electronically stored information in its possession, custody, and control,
 17

 18   and the Defendants may search such ESI via their direct access.

 19   REQUEST FOR PRODUCTION NO. 116:
 20
            All DOCUMENTS that support your contention that CTG did not receive
 21
      reasonably equivalent value for the $49,022.75 transferred to Dorsey & Whitney, LLP,
 22
      as alleged in paragraph 171 of the COMPLAINT.
 23

 24   RESPONSE:

 25         Subject to and without waiver of its general objections, Trustee responds that it
 26
      has or will produce tangible documents responsive to this Request. Trustee further
 27
      responds that this Request calls for the production of ESI. Trustee has produced to
 28



                                                    51
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 143 of 262

  1   Defendants all electronically stored information in its possession, custody, and control,
  2
      and the Defendants may search such ESI via their direct access.
  3
      REQUEST FOR PRODUCTION NO. 117:
  4
            All DOCUMENTS that support your contention that "CTG transferred the above-
  5

  6   listed property in order to benefit insiders of CTG, including BW Piezo and entities

  7   owned by Blue Wolf Capital Partners," as alleged in paragraph 172 of the COMPLAINT.
  8
      RESPONSE:
  9
            Subject to and without waiver of its general objections, Trustee responds that it
 10
      has or will produce tangible documents responsive to this Request. Trustee further
 11

 12   responds that this Request calls for the production of ESI. Trustee has produced to

 13   Defendants all electronically stored information in its possession, custody, and control,
 14
      and the Defendants may search such ESI via their direct access.
 15
      REQUEST FOR PRODUCTION NO. 118:
 16
            All DOCUMENTS that support your contention that "CTG did not receive any
 17

 18   reasonably equivalent value for the above-listed transfers," as alleged in paragraph 175

 19   of the COMPLAINT.
 20
      RESPONSE:
 21
            Subject to and without waiver of its general objections, Trustee responds that it
 22
      has or will produce tangible documents responsive to this Request. Trustee further
 23

 24   responds that this Request calls for the production of ESI. Trustee has produced to

 25   Defendants all electronically stored information in its possession, custody, and control,
 26
      and the Defendants may search such ESI via their direct access.
 27
      REQUEST FOR PRODUCTION NO. 119:
 28



                                                    52
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 144 of 262

  1         All DOCUMENTS that support your contention that "Blue Wolf Capital
  2
      Partners, acting through its shell companies, principals, including Adam Blumenthal,
  3
      Charles Miller, Haranjeet Narulla, and Chris Ranson, and BW Piezo, wrongfully
  4
      exercised dominion or control over the property and distributed to itself the proceeds
  5

  6   from selling CTG's assets," as alleged in paragraph 245 of the COMPLAINT.

  7   RESPONSE:
  8
            Subject to and without waiver of its general objections, Trustee responds that it
  9
      has or will produce tangible documents responsive to this Request. Trustee further
 10
      responds that this Request calls for the production of ESI. Trustee has produced to
 11

 12   Defendants all electronically stored information in its possession, custody, and control,

 13   and the Defendants may search such ESI via their direct access.
 14
      REQUEST FOR PRODUCTION NO. 120:
 15
            All DOCUMENTS that support your contention that "BW Piezo breached this
 16
      duty by engaging in the following conduct, which includes but is not limited to:
 17

 18   • Self-dealing, including but not limited to,

 19         o Pursuing their self-interests at the expense of CTG and their obligations as
 20
              fiduciaries;
 21
            o Misdirecting CTG funds to pay for undue benefits and distributions for
 22
               themselves; and
 23

 24         o Using the advantage of their position to misappropriate CTG's assets and

 25            proceeds from the sale of the same to themselves; and
 26
      • Engaging in transactions on behalf of themselves that were not fair and 2g equitable
 27
        to CTG and violated their fiduciary duties to CTG.
 28



                                                    53
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 145 of 262

  1   • Diverting funds that would have been retained by CTG, thereby rendering CTG
  2
        insolvent and unable to pay its debts to its creditors.
  3
      • Making improper corporate distribution in violation of California Corporate Code
  4
        sections 17704.05-.06," as alleged in paragraph 249 of the COMPLAINT.
  5

  6   RESPONSE:

  7         Subject to and without waiver of its general objections, Trustee responds that it
  8
      has or will produce tangible documents responsive to this Request. Trustee further
  9
      responds that this Request calls for the production of ESI. Trustee has produced to
 10
      Defendants all electronically stored information in its possession, custody, and control,
 11

 12   and the Defendants may search such ESI via their direct access.

 13   REQUEST FOR PRODUCTION NO. 121:
 14
            All DOCUMENTS relating to the alleged payments made by CTG to CIT BANK,
 15
      N.A., as alleged in Schedule B of the COMPLAINT.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections, Trustee responds that it

 19   has or will produce tangible documents responsive to this Request. Trustee further
 20
      responds that this Request calls for the production of ESI. Trustee has produced to
 21
      Defendants all electronically stored information in its possession, custody, and control,
 22
      and the Defendants may search such ESI via their direct access.
 23

 24   REQUEST FOR PRODUCTION NO. 122:

 25         All DOCUMENTS upon which YOU relied in responding to Defendants' First Set
 26
      of Interrogatories to YOU, served concurrently herewith.
 27
      RESPONSE:
 28



                                                    54
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 146 of 262

  1         Subject to and without waiver of any objections asserted in response to
  2
      Defendants’ First Set of Interrogatories, Trustee responds that it has or will produce
  3
      tangible documents responsive to this Request. Trustee further responds that this
  4
      Request calls for the production of ESI.           Trustee has produced to Defendants all
  5

  6   electronically stored information in its possession, custody, and control, and the

  7   Defendants may search such ESI via their direct access.
  8
      REQUEST FOR PRODUCTION NO. 123:
  9
            All DOCUMENTS relating to any settlement agreements executed between YOU
 10
      and Gladstone Investment Corporation.
 11

 12   RESPONSE:

 13         Trustee objects to this Request to the extent it seeks information that is neither
 14
      relevant, reasonably calculated to lead to the discovery of admissible evidence, nor
 15
      proportional to the needs of the case. Subject to and without waiver of the foregoing
 16
      objections, the Trustee responds that no responsive documents exist.
 17

 18   REQUEST FOR PRODUCTION NO. 124:

 19         All DOCUMENTS relating to any settlement agreements executed between YOU
 20
      and Fidus Investment Corporation.
 21
      RESPONSE:
 22
            Trustee objects to this Request to the extent it seeks information that is neither
 23

 24   relevant, reasonably calculated to lead to the discovery of admissible evidence, nor

 25   proportional to the needs of the case.
 26
      REQUEST FOR PRODUCTION NO. 125:
 27
            All DOCUMENTS relating to any settlement agreements executed between YOU
 28
      and Fidus Mezzanine Capital II, L.P.

                                                    55
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 147 of 262

  1   RESPONSE:
  2
            Trustee objects to this Request to the extent it seeks information that is neither
  3
      relevant, reasonably calculated to lead to the discovery of admissible evidence, nor
  4
      proportional to the needs of the case.
  5

  6   REQUEST FOR PRODUCTION NO. 126:

  7         All DOCUMENTS relating to any settlement agreements executed between YOU
  8
      and Avante Mezzanine Partners SBIC, LP.
  9
      RESPONSE:
 10
            Trustee objects to this Request to the extent it seeks information that is neither
 11

 12   relevant, reasonably calculated to lead to the discovery of admissible evidence, nor

 13   proportional to the needs of the case.
 14
      REQUEST FOR PRODUCTION NO. 127:
 15
            All DOCUMENTS relating to any settlement agreements executed between YOU
 16
      and Avante Mezzanine Partners II, Inc.
 17

 18   RESPONSE:

 19         Trustee objects to this Request to the extent it seeks information that is neither
 20
      relevant, reasonably calculated to lead to the discovery of admissible evidence, nor
 21
      proportional to the needs of the case.
 22
      REQUEST FOR PRODUCTION NO. 128:
 23

 24         All DOCUMENTS relating to any settlement agreements executed between YOU

 25   and Grant Thornton, LLP.
 26
      RESPONSE:
 27
 28



                                                    56
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 148 of 262

  1         Trustee objects to this Request to the extent it seeks information that is neither
  2
      relevant, reasonably calculated to lead to the discovery of admissible evidence, nor
  3
      proportional to the needs of the case.
  4
      REQUEST FOR PRODUCTION NO. 129:
  5

  6         All DOCUMENTS relating to any settlement agreements executed between YOU

  7   and Electro Optical Industries, Inc.
  8
      RESPONSE:
  9
            Trustee objects to this Request to the extent it seeks information that is neither
 10
      relevant, reasonably calculated to lead to the discovery of admissible evidence, nor
 11

 12   proportional to the needs of the case.

 13   REQUEST FOR PRODUCTION NO. 130:
 14
            All DOCUMENTS supporting Blue Wolf Capital Partners, LLC's alleged liability
 15
      for all the monetary transfers YOU seek to avoid.
 16
      RESPONSE:
 17

 18         Subject to and without waiver of its general objections, Trustee responds that it

 19   has or will produce tangible documents responsive to this Request. Trustee further
 20
      responds that this Request calls for the production of ESI. Trustee has produced to
 21
      Defendants all electronically stored information in its possession, custody, and control,
 22
      and the Defendants may search such ESI via their direct access.
 23

 24   REQUEST FOR PRODUCTION NO. 131:

 25         All DOCUMENTS supporting Blue Wolf Capital Advisors, L.P.'s alleged liability
 26
      for all the monetary transfers YOU seek to avoid.
 27
      RESPONSE:
 28



                                                    57
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 149 of 262

  1         Subject to and without waiver of its general objections, Trustee responds that it
  2
      has or will produce tangible documents responsive to this Request. Trustee further
  3
      responds that this Request calls for the production of ESI. Trustee has produced to
  4
      Defendants all electronically stored information in its possession, custody, and control,
  5

  6   and the Defendants may search such ESI via their direct access.

  7   REQUEST FOR PRODUCTION NO. 132:
  8
            All DOCUMENTS supporting Blue Wolf Capital Fund II, L.P. 's alleged liability
  9
      for all the monetary transfers YOU seek to avoid.
 10
      RESPONSE:
 11

 12         Subject to and without waiver of its general objections, Trustee responds that it

 13   has or will produce tangible documents responsive to this Request. Trustee further
 14
      responds that this Request calls for the production of ESI. Trustee has produced to
 15
      Defendants all electronically stored information in its possession, custody, and control,
 16
      and the Defendants may search such ESI via their direct access.
 17

 18

 19
                                               Respectfully submitted,
 20
                                               /s/ Edward Jason Dennis
 21                                            Edward Jason Dennis
 22                                            Texas State Bar No. 24045776
                                               jdennis@lynnllp.com
 23                                            Samuel B. Hardy
                                               Texas State Bar No. 24074360
 24                                            shardy@lynnllp.com
                                               Barira Munshi
 25                                            Texas State Bar No. 24095924
                                               bmunshi@lynnllp.com
 26                                            Eliyahu Ness
 27                                            California State Bar No. 311054
                                               eness@lynnllp.com
 28                                            LYNN PINKER HURST & SCHWEGMANN, LLP
                                               2100 Ross Avenue, Suite 2700


                                                    58
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 150 of 262

  1                                            Dallas, Texas 75201
                                               (214) 981-3800 - Telephone
  2                                            (214) 981-3839 - Facsimile

  3                                            Special Litigation Counsel for
                                               Corporate Recovery Associates, LLC,
  4                                            Trustee for the Liquidating Trust of
                                               Debtor Channel Technologies Group, LLC
  5

  6

  7

  8

  9

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                                                    59
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 151 of 262

  1
                                        PROOF OF SERVICE
  2

  3   STATE OF TEXAS, COUNTY OF DALLAS
            I am employed in the County of Dallas, State of Texas. I am over the age of 18
  4   and not a party to the within action; my business address is 2100 Ross Avenue, Suite
      2700, Dallas, Texas 75201.
  5

  6   On January 28, 2021, I caused the document described below as PLAINTIFF’S
      OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST
  7   REQUEST FOR PRODUCTION OF DOCUMENTS to be served on all interested
      parties in this action via email:
  8

  9                              SEE ATTACHED SERVICE LIST

 10   []    (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
      States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of collection
 11
      and processing correspondence or mailing. Under that practice it would be deposited
 12   with the U.S. Postal Service on that same day with postage thereon fully prepaid at
      Dallas, Texas in the ordinary course of business. I am aware that on motion of the party
 13   served, service is presumed invalid if postal cancellation date or postage meter date is
      more than one day after date of deposit for mailing in affidavit.
 14

 15   []    (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
      picked up by U.S. Federal Express Services for overnight delivery to the offices of the
 16   addressees listed on the Service List.
      []    (BY PERSONAL SERVICE) I caused to be delivered such document by hand to
 17
      the above-identified recipient through the use of First Legal Attorney Service whose
 18   address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose telephone
      number is (213) 250-1111.
 19
      []    (BY FACSIMILE) I caused said document(s) to be telephonically transmitted to
 20
      each addressee’s telecopier (Fax) number as noted.
 21
      [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via electronic
 22   transmission to each addressee’s electronic mail address(es) as noted on the attached
      Service List.
 23

 24   I declare under penalty of perjury under the laws of the State of California that the
      above is true and correct.
 25
      Executed on January 28, 2021, at Dallas, Texas.
 26
                                                              /s/ Barira Munshi
 27                                                           Barira Munshi

 28



                                                    60
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 152 of 262

  1
                                      SERVICE LIST
  2
                             United States Bankruptcy Court
  3                  Central District of California, Northern Division
                                Case No. 9:16-BK-11912-DS
  4                              dv. No. 9:18-AP-01058-DS
  5   Howard J. Steinberg                           Jonathan Boustani
  6   steinbergh@gtlaw.com                          jboustani@btlaw.com
      GREENBERG TRAURIG, LLP                        Jonathan Sundheimer
  7   1840 Century Park East, Suite                 Jonathan.sundheimer@btlaw.com
      1900                                          Barnes & Thornburg LLP
  8   Los Angeles, California 90067-2121            2029 Century Park East, Ste. 300
  9                                                 Los Angeles, CA 90067
      Attorneys for Defendants
 10   Blue Wolf Capital Partners,                   Attorney CTG Advanced
      LLC,                                          Materials, LLC and CTS
 11   Blue Wolf Capital Fund II, L.P.,              Corporation
 12   Blue Wolf Capital Advisors
      L.P., and BW Piezo Holdings,
 13   LLC
 14   Cheryl S. Chang
 15   Chang@Blankrome.com
      Craig N. Haring
 16   charing@blankrome.com
      BLANK ROME LLP
 17   2029 Century Park East, Sixth
 18   Floor
      Los Angeles, California 90067
 19
      Attorneys for Gladstone
 20   Investment Corporation
 21

 22

 23

 24

 25

 26

 27
 28



                                                    61
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR PRODUCTION OF
                                                DOCUMENTS
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 153 of 262




                               EXHIBIT C
Case 9:18-ap-01058-DS       Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                            Main Document   Page 154 of 262

  1
      Edward Jason Dennis
  2   Texas State Bar No. 24045776
      jdennis@lynnllp.com
  3   Samuel B. Hardy
      Texas State Bar No. 24074360
  4
      shardy@lynnllp.com
  5   Barira Munshi
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  6   bmunshi@lynnllp.com
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  7
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  8   eness@lynnllp.com
      LYNN HURST & SCHWEGMANN, LLP
  9   2100 Ross Avenue, Suite 2700
 10   Dallas, Texas 75201
      (214) 981-3800 - Telephone
 11   (214) 981-3839 - Facsimile

 12   Special Litigation Counsel for Plaintiff
 13

 14                           UNITED STATES BANKRUPTCY COURT
                 CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
 15

 16                                                 CASE NO:       9:16-bk-11912-DS
      In re:
 17
      CHANNEL TECHNOLOGIES                          Adv. Case No. 9:18-ap-01058-DS
 18   GROUP, LLC
                                                    Chapter 11 Proceeding
 19          Debtor.

 20   CORPORATE RECOVERY                            PLAINTIFF’S OBJECTIONS AND
      ASSOCIATES, LLC, as Liquidating               RESPONSES TO BLUE WOLF
 21   Trustee appointed under the confirmed         CAPITAL PARTNERS, LLC,
      Chapter 11 plan of Channel                    BLUE WOLF CAPITAL FUND II,
 22   Technologies Group, LLC,                      LP, AND BLUE WOLF CAPITAL
 23          Plaintiff,                             ADVISORS, LP’S FIRST SET OF
                                                    REQUESTS FOR ADMISSION TO
 24   v.                                            PLAINTIFF
 25   BLUE WOLF CAPITAL PARTNERS,
      LLC, et al.,
 26
               Defendant.
 27
 28




                                                     1
           PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 155 of 262

  1
            Plaintiff Corporate Recovery Associates, LLC, as Trustee for the liquidating
  2
      Trust of Channel Technologies Group, LLC (the “Trustee”), provides the following
  3
      Objections and Responses to Defendant Blue Wolf Capital Partners, LLC, Blue Wolf
  4
      Capital Fund II, LP, and Blue Wolf Capital Advisors LP’s First Set of Requests for
  5
      Admission, pursuant to Federal Rules of Civil Procedure, Rule 36, and Federal Rules
  6
      of Bankruptcy Procedure, Rule 7036, as follows:
  7
                                      Preliminary Statement
  8
            The Trustee has not completed its investigation relating to this action, has not
  9
      completed discovery in this action, and has not completed preparation for trial. As
 10
      discovery proceeds, facts, information, evidence, and documents may be discovered
 11
      that are not set forth in these responses, but which may have been responsive to
 12
      Defendant’s request. The following objections and responses are based on the Trustee’s
 13
      knowledge, information, and belief at this time and are complete as to the Trustee’s
 14
      best knowledge at this time.        The Trustee assumes no obligation to voluntarily
 15
      supplement or amend these responses to reflect information, evidence, or documents
 16
      discovered following service of these responses. These responses are given without
 17
      prejudice to subsequent revision or supplementation based upon any information,
 18
      evidence, and documentation that may be discovered. The Trustee reserves the right
 19
      to refer to, conduct discovery with reference to, or to offer into evidence at the time of
 20
      trial, any and all facts, evidence, or documents developed during the course of discovery
 21
      and trial preparation notwithstanding the reference to facts, evidence, or documents
 22
      in these responses.
 23
            Moreover, these responses were prepared based on the Trustee’s good-faith
 24
      interpretation and understanding of the individual requests and are subject to
 25
      correction for inadvertent errors or omissions, if any. For instance, the Trustee has
 26
      answered these requests based on the numeration from the Trustee’s Second Amended
 27
      Complaint.
 28




                                                    2
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 156 of 262

  1                   OBJECTIONS AND RESPONSES TO FIRST REQUEST
                                   FOR ADMISSION
  2

  3   REQUEST FOR ADMISSION NO. 1:

  4         Admit that CTG was not insolvent prior to October 2013.
  5
      RESPONSE:
  6
            The Trustee objects to this Request as the term “insolvent” is not defined
  7
      rendering the request vague and ambiguous. The request is also overbroad, beyond the
  8

  9   scope of issues in dispute in this lawsuit, and unduly burdensome in that it makes a

 10   request as to any time prior to “October 2013.” The admission also calls for a legal
 11
      conclusion and is the subject of expert testimony. Subject to and without waiver of the
 12
      foregoing objections, denied.
 13
      REQUEST FOR ADMISSION NO. 2:
 14

 15         Admit that at no point in 2013 was CTG insolvent.

 16   RESPONSE:
 17
            The Trustee objects to this Request as the term “insolvent” is not defined
 18
      rendering the request vague and ambiguous. The admission also calls for a legal
 19
      conclusion and is the subject of expert testimony. Subject to and without waiver of the
 20

 21   foregoing objections, denied.

 22   REQUEST FOR ADMISSION NO. 3:
 23
            Admit that at no point in 2014 was CTG insolvent.
 24
      RESPONSE:
 25
            The Trustee objects to this Request as the term “insolvent” is not defined
 26

 27   rendering the request vague and ambiguous. The admission also calls for a legal

 28




                                                    3
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 157 of 262

  1   conclusion and is the subject of expert testimony. Subject to and without waiver of the
  2
      foregoing objections, denied.
  3
      REQUEST FOR ADMISSION NO. 4:
  4
            Admit that at no point in 2015 was CTG insolvent.
  5

  6   RESPONSE:

  7         The Trustee objects to this Request as the term “insolvent” is not defined
  8
      rendering the request vague and ambiguous. The admission also calls for a legal
  9
      conclusion and is the subject of expert testimony. Subject to and without waiver of the
 10
      foregoing objections, denied.
 11

 12   REQUEST FOR ADMISSION NO. 5:

 13         Admit that CTG did borrow funds from the CIT BANK, N.A. line of credit.
 14
      RESPONSE:
 15
            Denied.
 16
      REQUEST FOR ADMISSION NO. 6:
 17

 18         Admit that CTG borrowed $1,600,000.00 on 1/6/15 from CIT BANK, N.A.

 19   RESPONSE:
 20
            Denied.
 21
      REQUEST FOR ADMISSION NO. 7:
 22
            Admit that CTG borrowed $1,750,000.00 on 10/1/15 from CIT BANK, N.A.
 23

 24   RESPONSE:

 25         The Trustee objects to this Request as CTG was not the sole borrower on the
 26
      lending agreement with One West Bank. Subject to and without waiver of the foregoing
 27
      objections, denied as stated.
 28
      REQUEST FOR ADMISSION NO. 8:


                                                    4
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 158 of 262

  1         Admit that CTG borrowed $1,300,000.00 on 10/9/15 from CIT BANK, N.A.
  2
      RESPONSE:
  3
            The Trustee objects to this Request as CTG was not the sole borrower on the
  4
      lending agreement with One West Bank. Subject to and without waiver of the foregoing
  5

  6   objections, denied as stated.

  7   REQUEST FOR ADMISSION NO. 9:
  8
            Admit that CTG borrowed $450,000.00 on 10/28/15 from CIT BANK, N.A.
  9
      RESPONSE:
 10
            The Trustee objects to this Request as CTG was not the sole borrower on the
 11

 12   lending agreement with One West Bank. Subject to and without waiver of the foregoing

 13   objections, denied as stated.
 14
      REQUEST FOR ADMISSION NO. 10:
 15
            Admit that CTG borrowed $200,000.00 on 12/23/15 from CIT BANK, N.A.
 16
      RESPONSE:
 17

 18         The Trustee objects to this Request as CTG was not the sole borrower on the

 19   lending agreement with One West Bank. Subject to and without waiver of the foregoing
 20
      objections, denied as stated.
 21
      REQUEST FOR ADMISSION NO. 11:
 22
            Admit that CTG borrowed $1,200,000.00 on 12/30/15 from CIT BANK, N.A.
 23

 24   RESPONSE:

 25         The Trustee objects to this Request as CTG was not the sole borrower on the
 26
      lending agreement with One West Bank. Subject to and without waiver of the foregoing
 27
      objections, denied as stated.
 28
      REQUEST FOR ADMISSION NO. 12:


                                                    5
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 159 of 262

  1         Admit that CTG borrowed $950,000.00 on 1/5/16 from CIT BANK, N.A.
  2
      RESPONSE:
  3
            The Trustee objects to this Request as CTG was not the sole borrower on the
  4
      lending agreement with One West Bank. Subject to and without waiver of the foregoing
  5

  6   objections, denied as stated.

  7   REQUEST FOR ADMISSION NO. 13:
  8
            Admit that CTG borrowed $1,000,000.00 on 1/27/16 from CIT BANK, N.A.
  9
      RESPONSE:
 10
            The Trustee objects to this Request as CTG was not the sole borrower on the
 11

 12   lending agreement with One West Bank. Subject to and without waiver of the foregoing

 13   objections, denied as stated.
 14
      REQUEST FOR ADMISSION NO. 14:
 15
            Admit that on or about the time that the CIT BANK, N.A. loan referenced in
 16
      paragraph 32 of the COMPLAINT was made, that bank line owing by CTG to Gladstone
 17

 18   Investment Corp. in the amount of $16,759,882.64 was paid off using loan proceeds from

 19   CIT BANK, N.A.
 20
      RESPONSE:
 21
            Denied.
 22
      REQUEST FOR ADMISSION NO. 15:
 23

 24         Admit that during the time the CIT BANK, N.A. line was open, CTG made direct

 25   borrowings under that line of $34,060,440.90.
 26
      RESPONSE:
 27
            Denied as stated.
 28
      REQUEST FOR ADMISSION NO. 16:


                                                    6
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 160 of 262

  1          Admit CTG did not make a payment of $89,000 on 1/28/15 to CIT BANK, N.A.
  2
      RESPONSE:
  3
             Admitted as to a payment made by CTG in the amount of $89,000 to OneWest
  4
      Bank. Denied as to the remainder because this payment was made on 9/29/2014.
  5

  6   REQUEST FOR ADMISSION NO. 17:

  7          Admit CTG did not make a payment of $11,853.34 on 10/22/15 to CIT BANK,
  8
      N.A.
  9
      RESPONSE:
 10
             Trustee admits that this payment does not appear on bank statements; however
 11

 12   Trust is examining this payment in its books and records and will supplement its

 13   response to this Request.
 14
      REQUEST FOR ADMISSION NO. 18:
 15
             Admit CTG did not make a payment of $1,580.44 on 10/22/15 to CIT BANK, N.A.
 16
      RESPONSE:
 17

 18          Trustee admits that this payment does not appear on bank statements; however

 19   Trust is examining this payment in its books and records and will supplement its
 20
      response to this Request.
 21
      REQUEST FOR ADMISSION NO. 19:
 22
             Admit CTG did not make a payment of $9,815.49 on 12/9/15 to CIT BANK, N.A.
 23

 24   RESPONSE:

 25          Trustee admits that this payment does not appear on bank statements; however
 26
      Trust is examining this payment in its books and records and will supplement its
 27
      response to this Request.
 28
      REQUEST FOR ADMISSION NO. 20:


                                                   7
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 161 of 262

  1         Admit CTG did not make a payment of $ 11,111.87 on 12/9/15 to CIT BANK, N.A.
  2
      RESPONSE:
  3
            Trustee admits that this payment does not appear on bank statements; however
  4
      Trust is examining this payment in its books and records and will supplement its
  5

  6   response to this Request.

  7   REQUEST FOR ADMISSION NO. 21:
  8
            Admit CTG did not make a payment of $2,190.97 on 12/31/15 to CIT BANK, N.A.
  9
      RESPONSE:
 10
            Trustee admits that this payment does not appear on bank statements; however
 11

 12   Trust is examining this payment in its books and records and will supplement its

 13   response to this Request.
 14
      REQUEST FOR ADMISSION NO. 22:
 15
            Admit CTG did not make a payment of$842.36 on 12/31/15 to CIT BANK, N.A.
 16
      RESPONSE:
 17

 18         Trustee admits that this payment does not appear on bank statements; however

 19   Trust is examining this payment in its books and records and will supplement its
 20
      response to this Request.
 21
      REQUEST FOR ADMISSION NO. 23:
 22
            Admit CTG did not make a payment of$59,031.l 7 on 12/31/15 to CIT BANK, N.A.
 23

 24   RESPONSE:

 25         Trustee admits that this payment does not appear on bank statements; however
 26
      Trust is examining this payment in its books and records and will supplement its
 27
      response to this Request.
 28
      REQUEST FOR ADMISSION NO. 24:


                                                   8
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 162 of 262

  1          Admit CTG did not make a payment of $9,616.43 on 12/31/15 to CIT BANK, N.A.
  2
      RESPONSE:
  3
             Trustee admits that this payment does not appear on bank statements; however
  4
      Trust is examining this payment in its books and records and will supplement its
  5

  6   response to this Request.

  7   REQUEST FOR ADMISSION NO. 25:
  8
             Admit CTG did not make a payment of$44,437.50 on 12/31/15 to CIT BANK, N.A.
  9
      RESPONSE:
 10
             Trustee admits that this payment does not appear on bank statements; however
 11

 12   Trust is examining this payment in its books and records and will supplement its

 13   response to this Request.
 14
      REQUEST FOR ADMISSION NO. 26:
 15
             Admit CTG did not make a payment of $12,679.17 on 12/31/15 to CIT BANK,
 16
      N.A.
 17

 18   RESPONSE:

 19          Trustee admits that this payment does not appear on bank statements; however
 20
      Trust is examining this payment in its books and records and will supplement its
 21
      response to this Request.
 22
      REQUEST FOR ADMISSION NO. 27:
 23

 24          Admit CTG did not make a payment of $825,833.92 on 12/31/15 to CIT BANK,

 25   N.A.
 26
      RESPONSE:
 27
 28




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         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 163 of 262

  1         Trustee admits that this payment does not appear on bank statements; however
  2
      Trust is examining this payment in its books and records and will supplement its
  3
      response to this Request.
  4
      REQUEST FOR ADMISSION NO. 28:
  5

  6         Admit CTG did not make a payment of $ 957.18 on 12/31/15 to CIT BANK, N.A.

  7   RESPONSE:
  8
            Trustee admits that this payment does not appear on bank statements; however
  9
      Trust is examining this payment in its books and records and will supplement its
 10
      response to this Request.
 11

 12   REQUEST FOR ADMISSION NO. 29:

 13         Admit CTG did not make a payment of $1,690.55 on 12/31/15 to CIT BANK, N.A.
 14
      RESPONSE:
 15
            Trustee admits that this payment does not appear on bank statements; however
 16
      Trust is examining this payment in its books and records and will supplement its
 17

 18   response to this Request.

 19   REQUEST FOR ADMISSION NO. 30:
 20
            Admit that CTG did not pay any interest on the monies that CTG borrowed from
 21
      CIT BANK, N.A.
 22
      RESPONSE:
 23

 24         The Trustee objects to this Request as CTG was not the sole borrower on the

 25   lending agreement with One West Bank. The Trustee further objects that the Request
 26
      is overbroad, beyond the scope of issues in dispute in this lawsuit, and unduly
 27
      burdensome in that it is not limited in scope or time. Trustee further objects to this
 28
      Request to the extent it seeks information that is neither relevant, reasonably


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         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 164 of 262

  1   calculated to lead to the discovery of admissible evidence, nor proportional to the needs
  2
      of the case. Subject to and without waiver of the foregoing objections, denied as stated.
  3
      REQUEST FOR ADMISSION NO. 31:
  4
            Admit that all interest on the monies that CTG borrowed from CIT BANK, N.A.
  5

  6   were paid by Blue Wolf Piezo Holdings, LLC and/or ADVANCED MATERIALS.

  7   RESPONSE:
  8
            The Trustee objects to this Request as CTG was not the sole borrower on the
  9
      lending agreement with One West Bank. The Trustee further objects that the Request
 10
      is overbroad, beyond the scope of issues in dispute in this lawsuit, and unduly
 11

 12   burdensome in that it is not limited in scope or time. Trustee further objects to this

 13   Request to the extent it seeks information that is neither relevant, reasonably
 14
      calculated to lead to the discovery of admissible evidence, nor proportional to the needs
 15
      of the case. Subject to and without waiver of the foregoing objections, denied as stated.
 16
      REQUEST FOR ADMISSION NO. 32:
 17

 18         Admit that as of the close of the sale of ADVANCED MATERIALS, the CIT

 19   BANK, N.A. line was repaid in full using monies directly provided by CTS Corporation.
 20
      RESPONSE:
 21
            The Trustee objects to this Request as CTG was not the sole borrower on the
 22
      lending agreement with One West Bank. Trustee further objects to this Request to the
 23

 24   extent it seeks information that is neither relevant, reasonably calculated to lead to the

 25   discovery of admissible evidence, nor proportional to the needs of the case. Subject to
 26
      and without waiver of the foregoing objections, admitted.
 27
      REQUEST FOR ADMISSION NO. 33:
 28




                                                    11
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 165 of 262

  1         Admit that as of the close of the ADVANCED MATERIALS sale, all loan
  2
      obligating owing by CTG were paid off in full using proceeds from the sale of
  3
      ADVANCED MATERIALS.
  4
      RESPONSE:
  5

  6         The Trustee objects to this Request as CTG was not the sole borrower on the

  7   lending agreement with One West Bank. Trustee further objects to this Request to the
  8
      extent it seeks information that is neither relevant, reasonably calculated to lead to the
  9
      discovery of admissible evidence, nor proportional to the needs of the case. Trustee
 10
      further objects that the Request is the subject of expert testimony. Subject to and
 11

 12   without waiver of the foregoing objections, denied as stated.

 13   REQUEST FOR ADMISSION NO. 34:
 14
            Admit that from the time of the formation of ADVANCED MATERIALS through
 15
      the time of the sale of ADVANCED MATERIALS, over $12,000,000.00 of profits from
 16
      ADVANCED MATERIALS were used to pay off CTG obligations.
 17

 18   RESPONSE:

 19         The Trustee objects to this Request as the terms “profits” and “obligations” are
 20
      not defined rendering the request vague and ambiguous. The request is also overbroad,
 21
      beyond the scope of issues in dispute in this lawsuit, and unduly burdensome in that it
 22
      makes a request as to any time “from the time of the formation of ADVANCED
 23

 24   MATERIALS through the time of the sale of ADVANCED MATERIALS.”                                The

 25   admission also is the subject of expert testimony as to “profits” and “obligations” of CTG.
 26
      Subject to and without waiver of the foregoing objections, denied.
 27
      REQUEST FOR ADMISSION NO. 35:
 28




                                                    12
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 166 of 262

  1         Admit that CTG used $376,000 of proceeds from the sale of ADVANCED
  2
      MATERIALS to make its rent payments.
  3
      RESPONSE:
  4
            Denied as stated upon information and belief. Notwithstanding this denial,
  5

  6   Trustee has requested closing documents to confirm if rent payments were made from

  7   proceeds of the sale.
  8
      REQUEST FOR ADMISSION NO. 36:
  9
            Admit that a capital contribution of $1,000,000.00 was made to CTG on 3/11/16.
 10
      RESPONSE:
 11

 12         The Trustee does not have sufficient information to admit or deny at this time.

 13   Because discovery is ongoing, Trustee reserves the right to amend and/or supplement
 14
      this response.
 15
      REQUEST FOR ADMISSION NO. 37:
 16
            Admit that CTG and ADVANCED MATERIALS filed consolidated tax returns.
 17

 18   RESPONSE:

 19         Denied as stated.
 20
      REQUEST FOR ADMISSION NO. 38:
 21
            Admit that Grant Thornton LLP provided accounting and financial services to
 22
      Blue Wolf Piezo Holdings, LLC, CTG, and ADVANCED MATERIALS.
 23

 24   RESPONSE:

 25         Trustee admits that Grant Thornton provided services to Blue Wolf Piezo and
 26
      Advanced Materials. Plaintiff believes that none of these services provided any benefit
 27
      to CTG, which did not have to file a tax return. CTG, however, has requested a copy of
 28
      Grant Thornton’s files related to this work and reserves the right to review that work


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          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 167 of 262

  1   and confirm its belief. Because discovery is ongoing, Trustee reserves the right to
  2
      amend and/or supplement this response.
  3
      REQUEST FOR ADMISSION NO. 39:
  4
            Admit that Holland & Knight LLP provided legal services to CTG.
  5

  6   RESPONSE:

  7         Trustee admits that Holland & Knight LLP provided some legal services to CTG.
  8
      Trustee denies this Request to the extent the Request relies upon bills to CTG to identify
  9
      which legal services were provided to CTG. Trustee believes that the majority of the
 10
      services billed to CTG were for services provided to Blue Wolf Piezo or Advanced
 11

 12   Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or

 13   supplement this response.
 14
      REQUEST FOR ADMISSION NO. 40:
 15
            Admit that $6,901,369.25 of payments of CTG's loan from Gladstone Investment
 16
      Corp. were made before ADVANCED MATERIALS was acquired.
 17

 18   RESPONSE:

 19         Trustee objects to this Request as vague and ambiguous as to the time period this
 20
      Request covers. Subject to and without waiver of the foregoing objection, Trustee invites
 21
      the Blue Wolf Entities to discuss the parameters of this Request and may amend or
 22
      supplement its response accordingly.
 23

 24   REQUEST FOR ADMISSION NO. 41:

 25         Admit that at the time payments were made to Gladstone Investment Corp. in
 26
      2012, CTG was not insolvent.
 27
      RESPONSE:
 28




                                                    14
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 168 of 262

  1         The Trustee objects to this Request as the term “insolvent” is not defined
  2
      rendering the request vague and ambiguous. The admission also calls for a legal
  3
      conclusion and is the subject of expert testimony. Subject to and without waiver of the
  4
      foregoing objections, denied.
  5

  6   REQUEST FOR ADMISSION NO. 42:

  7         Admit that McDermott & Emery LLP provided legal services to CTG.
  8
      RESPONSE:
  9
            Trustee denies this Request to the extent the Request relies upon bills to CTG to
 10
      identify which legal services were provided to CTG. Trustee believes that the majority
 11

 12   of the services billed to CTG were for services provided to Blue Wolf Piezo or Advanced

 13   Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
 14
      supplement this response.
 15
      REQUEST FOR ADMISSION NO. 43:
 16
            Admit that Dorsey & Whitney LLP provided legal services to CTG.
 17

 18   RESPONSE:

 19         Trustee denies this Request to the extent the Request relies upon bills to CTG to
 20
      identify which legal services were provided to CTG. Trustee believes that the majority
 21
      of the services billed to CTG were for services provided to Blue Wolf Piezo or Advanced
 22
      Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
 23

 24   supplement this response.

 25   REQUEST FOR ADMISSION NO. 44:
 26
            Admit that none of "CTG's cash" was used to pay for the acquisition of
 27
      ADVANCED MATERIALS, as alleged in paragraph 35 of the COMPLAINT.
 28
      RESPONSE:


                                                    15
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 169 of 262

  1         Denied as stated.
  2
      REQUEST FOR ADMISSION NO. 45:
  3
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
  4
      YOU included duplicate transfers totaling $5,834,527.96.
  5

  6   RESPONSE:

  7         Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  8
      amend and/or supplement this response.
  9
      REQUEST FOR ADMISSION NO. 46:
 10
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 11

 12   YOU included a duplicate transfer of $105,877.54 on 8/28/14.

 13   RESPONSE:
 14
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 15
      amend and/or supplement this response.
 16
      REQUEST FOR ADMISSION NO. 47:
 17

 18         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,

 19   YOU included a duplicate transfer of $111,684.22 on 10/31/14.
 20
      RESPONSE:
 21
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 22
      amend and/or supplement this response.
 23

 24   REQUEST FOR ADMISSION NO. 48:

 25         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 26
      YOU included a duplicate transfer of $100,876.07 on 11/25/14.
 27
      RESPONSE:
 28




                                                   16
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 170 of 262

  1         Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  2
      amend and/or supplement this response.
  3
      REQUEST FOR ADMISSION NO. 49:
  4
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
  5

  6   YOU included a duplicate transfer of $700,200.39 on 12/31/14.

  7   RESPONSE:
  8
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  9
      amend and/or supplement this response.
 10
      REQUEST FOR ADMISSION NO. 50:
 11

 12         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,

 13   YOU included a duplicate transfer of $700,000.00 on 12/31/14.
 14
      RESPONSE:
 15
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 16
      amend and/or supplement this response.
 17

 18   REQUEST FOR ADMISSION NO. 51:

 19         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 20
      YOU included a duplicate transfer of $97,911.92 on 4/30/15.
 21
      RESPONSE:
 22
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 23

 24   amend and/or supplement this response.

 25   REQUEST FOR ADMISSION NO. 52:
 26
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 27
      YOU included a duplicate transfer of $94,859.23 on 5/28/15.
 28
      RESPONSE:


                                                   17
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 171 of 262

  1         Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  2
      amend and/or supplement this response.
  3
      REQUEST FOR ADMISSION NO. 53:
  4
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
  5

  6   YOU included a duplicate transfer of $650,371.04 on 6/30/15.

  7   RESPONSE:
  8
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  9
      amend and/or supplement this response.
 10
      REQUEST FOR ADMISSION NO. 54:
 11

 12         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,

 13   YOU included a duplicate transfer of $99,370.29 on 7/30/15.
 14
      RESPONSE:
 15
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 16
      amend and/or supplement this response.
 17

 18   REQUEST FOR ADMISSION NO. 55:

 19         Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 20
      YOU included a duplicate transfer of $545,672.82 on 9/30/15.
 21
      RESPONSE:
 22
            Denied as stated. Because discovery is ongoing, Trustee reserves the right to
 23

 24   amend and/or supplement this response.

 25   REQUEST FOR ADMISSION NO. 56:
 26
            Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
 27
      YOU included a duplicate transfer of $94,295.90 on 10/30/15.
 28
      RESPONSE:


                                                   18
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 172 of 262

  1          Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  2
      amend and/or supplement this response.
  3
      REQUEST FOR ADMISSION NO. 57:
  4
             Admit that in computing the transfers listed in Schedule B of the COMPLAINT,
  5

  6   YOU included a duplicate transfer of $97,322.88 on 11/30/15.

  7   RESPONSE:
  8
             Denied as stated. Because discovery is ongoing, Trustee reserves the right to
  9
      amend and/or supplement this response.
 10
      REQUEST FOR ADMISSION NO. 58:
 11

 12          Admit that ADVANCED MATERIALS' business office was located in Bowling

 13   Brook, Illinois.
 14
      RESPONSE:
 15
             Trustee objects that this Request is vague and ambiguous as to the term
 16
      “business office.” Trustee further objects to this Request as vague and ambiguous as to
 17

 18   the location “Bowling Brook, Illinois.” Subject to and without waiver of the foregoing

 19   objections, denied as stated.
 20
      REQUEST FOR ADMISSION NO. 59:
 21
             Admit that CTG's business office was located in Santa Barbara, California.
 22
      RESPONSE:
 23

 24          Admitted.

 25   REQUEST FOR ADMISSION NO. 60:
 26
             Admit that the products sold by ADVANCED MATERIALS were different than
 27
      the products sold by CTG.
 28
      RESPONSE:


                                                    19
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 173 of 262

  1         Trustee objects to this Request as overbroad, vague, beyond the scope of issues in
  2
      dispute in this lawsuit, and irrelevant. Subject to and without waiver of the foregoing
  3
      objections, the Trustee is without sufficient information to admit or deny that the
  4
      products sold by CTG were different than products sold by Advanced Materials to the
  5

  6   extent it requires Trustee to understand each and every product sold by CTG and

  7   Advanced Materials.
  8
      REQUEST FOR ADMISSION NO. 61:
  9
            Admit that invoices sent to ADVANCED MATERIALS' customers referenced
 10
      ADVANCED MATERIALS and did not reference CTG.
 11

 12   RESPONSE:

 13         Plaintiff is without sufficient information to respond at this time to answer this
 14
      request because it does not have access to a list of all of the customers of CTG-Advanced
 15
      Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
 16
      supplement this response.
 17

 18   REQUEST FOR ADMISSION NO. 62:

 19         Admit that invoices sent to CTG's customers referenced CTG and did not
 20
      reference ADVANCED MATERIALS.
 21
      RESPONSE:
 22
            Plaintiff is without sufficient information to respond at this time to answer this
 23

 24   request because it does not have access to a list of all of the customers of CTG-Advanced

 25   Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
 26
      supplement this response.
 27
      REQUEST FOR ADMISSION NO. 63:
 28




                                                    20
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 174 of 262

  1         Admit that no customer of ADVANCED MATERIALS has claimed that it
  2
      understood it was conducting business with CTG.
  3
      RESPONSE:
  4
            Plaintiff is without sufficient information to respond at this time to answer this
  5

  6   request because it does not have access to a list of all of the customers of CTG-Advanced

  7   Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
  8
      supplement this response.
  9
      REQUEST FOR ADMISSION NO. 64:
 10
            Admit that no customer of CTG has claimed that it understood it was conducting
 11

 12   business with ADVANCED MATERIALS.

 13   RESPONSE:
 14
            Trustee objects to this Request as the term “customer” is not defined rendering
 15
      the request vague and ambiguous. The Request is also overbroad, vague, beyond the
 16
      scope of issues in dispute in this lawsuit, and unduly burdensome in that it makes a
 17

 18   request as to any or “no” “customer.” Subject to and without waiver of the foregoing

 19   objections, the Trustee is without sufficient information to admit or deny facts not
 20
      within its knowledge.
 21
      REQUEST FOR ADMISSION NO. 65:
 22
            Admit that CTG and ADVANCED MATERIALS had separate phone numbers
 23

 24   and phone systems.

 25   RESPONSE:
 26
            The Trustee is without sufficient information to admit or deny.
 27
      REQUEST FOR ADMISSION NO. 66:
 28
            Admit that CTG and ADVANCED MATERIALS had separate customers.


                                                    21
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 175 of 262

  1   RESPONSE:
  2
            Plaintiff is without sufficient information to respond at this time to answer this
  3
      request because it does not have access to a list of all of the customers of CTG-Advanced
  4
      Materials. Because discovery is ongoing, Trustee reserves the right to amend and/or
  5

  6   supplement this response.

  7   REQUEST FOR ADMISSION NO. 67:
  8
            Admit that CTG and ADVANCED MATERIALS had separate bank accounts.
  9
      RESPONSE:
 10
            Admitted to the extent that each entity had some accounts in its own name, but
 11

 12   denied that the entities maintained separate accounts because money was transferred

 13   back and forth between the various accounts of the entities.
 14
      REQUEST FOR ADMISSION NO. 68:
 15
            Admit that CTG and ADVANCED MATERIALS had separate books and records.
 16
      RESPONSE:
 17

 18         Trustee objects that this Request is vague and ambiguous as to the term “books

 19   and record.” Subject to and without waiver of the foregoing objections, denied as stated.
 20
      REQUEST FOR ADMISSION NO. 69:
 21
            Admit that CTG and ADVANCED MATERIALS had separate presidents.
 22
      RESPONSE:
 23

 24         Denied.

 25   REQUEST FOR ADMISSION NO. 70:
 26
            Admit that CTG and ADVANCED MATERIALS had separate controllers.
 27
      RESPONSE:
 28
            Admitted as to separate controllers that both reported to the CFO of CTG.


                                                    22
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 176 of 262

  1
                                              Respectfully submitted,
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                                              (214) 981-3800 - Telephone
 12                                           (214) 981-3839 - Facsimile
 13                                           Special Litigation Counsel for
                                              Corporate Recovery Associates, LLC,
 14                                           Trustee for the Liquidating Trust of
                                              Debtor Channel Technologies Group, LLC
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         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                         Main Document   Page 177 of 262

  1                                     PROOF OF SERVICE
  2
      STATE OF TEXAS, COUNTY OF DALLAS
  3         I am employed in the County of Dallas, State of Texas. I am over the age of 18
      and not a party to the within action; my business address is 2100 Ross Avenue, Suite
  4   2700, Dallas, Texas 75201.
  5
      On January 28, 2021, I caused the document described below as PLAINTIFF’S
  6   OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST SET OF
      REQUEST FOR ADMISSIONS to be served on all interested parties in this action via
  7   email:
  8
                                 SEE ATTACHED SERVICE LIST
  9
      []    (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
 10   States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of collection
      and processing correspondence or mailing. Under that practice it would be deposited
 11
      with the U.S. Postal Service on that same day with postage thereon fully prepaid at
 12   Dallas, Texas in the ordinary course of business. I am aware that on motion of the party
      served, service is presumed invalid if postal cancellation date or postage meter date is
 13   more than one day after date of deposit for mailing in affidavit.
 14
      []    (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
 15   picked up by U.S. Federal Express Services for overnight delivery to the offices of the
      addressees listed on the Service List.
 16   []    (BY PERSONAL SERVICE) I caused to be delivered such document by hand to
      the above-identified recipient through the use of First Legal Attorney Service whose
 17
      address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose telephone
 18   number is (213) 250-1111.

 19   []    (BY FACSIMILE) I caused said document(s) to be telephonically transmitted to
      each addressee’s telecopier (Fax) number as noted.
 20

 21   [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via electronic
      transmission to each addressee’s electronic mail address(es) as noted on the attached
 22   Service List.
 23
      I declare under penalty of perjury under the laws of the State of California that the
 24   above is true and correct.

 25   Executed on January 28, 2021, at Dallas, Texas.
                                                              /s/ Barira Munshi
 26
                                                              Barira Munshi
 27
 28




                                                    24
          PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48             Desc
                        Main Document   Page 178 of 262

  1
                                     SERVICE LIST
  2
                            United States Bankruptcy Court
  3                 Central District of California, Northern Division
                               Case No. 9:16-BK-11912-DS
  4                            Adv. No. 9:18-AP-01058-DS
  5

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 10   Attorneys for Defendants
      Blue Wolf Capital Partners,                 Attorney CTG Advanced
 11   LLC,                                        Materials, LLC and CTS
 12   Blue Wolf Capital Fund II, L.P.,            Corporation
      Blue Wolf Capital Advisors
 13   L.P., and BW Piezo Holdings,
      LLC
 14

 15   Cheryl S. Chang
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 17   BLANK ROME LLP
 18   2029 Century Park East, Sixth
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 19   Los Angeles, California 90067
 20   Attorneys for Gladstone
 21   Investment Corporation

 22

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                                                   25
         PLAINTIFF’S OBJECTIONS AND RESPONSES TO BLUE WOLF ENTITIES’ FIRST REQUEST FOR ADMISSION
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 179 of 262




                               EXHIBIT D
Case 9:18-ap-01058-DS       Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                            Main Document   Page 180 of 262

  1
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 11   (214) 981-3839 - Facsimile

 12   Special Litigation Counsel for Plaintiff
 13

 14                           UNITED STATES BANKRUPTCY COURT
                 CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
 15

 16                                                CASE NO:       9:16-bk-11912-DS
      In re:
 17
      CHANNEL TECHNOLOGIES                         Adv. Case No. 9:18-ap-01058-DS
 18   GROUP, LLC
                                                   Chapter 11 Proceeding
 19         Debtor.

 20   CORPORATE RECOVERY
      ASSOCIATES, LLC, as Liquidating
 21   Trustee appointed under the                  PLAINTIFF’S FIRST AMENDED
      confirmed Chapter 11 plan of Channel         OBJECTIONS AND ANSWERS TO
 22   Technologies Group, LLC,                     DEFENDANTS BLUE WOLF CAPITAL
 23         Plaintiff,                             PARTNERS, LLC, BLUE WOLF
                                                   CAPITAL FUND II, LP, AND BLUE
 24   v.                                           WOLF CAPITAL ADVISORS LP’S
                                                   FIRST SET OF INTERROGATORIES
 25   BLUE WOLF CAPITAL PARTNERS,                  TO PLAINTIFF
      LLC, et al.,
 26
               Defendant.
 27
 28



                                                    1
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 181 of 262

  1

  2         Plaintiff Corporate Recovery Associates, LLC, as Trustee for the liquidating

  3   Trust of Channel Technologies Group, LLC (the “Trustee”), provides the following First

  4   Amended Objections and Answers to Defendant Blue Wolf Capital Partners, LLC, Blue

  5   Wolf Capital Fund II, LP, and Blue Wolf Capital Advisors LP’s First Set of

  6   Interrogatories to Plaintiff, pursuant to Federal Rules of Civil Procedure, Rule 33, and

  7   Federal Rules of Bankruptcy Procedure, Rule 7033, as follows:

  8                                   Preliminary Statement

  9         The Trustee has not completed its investigation relating to this action, has not

 10   completed discovery in this action, and has not completed preparation for trial. As

 11   discovery proceeds, facts, information, evidence, and documents may be discovered

 12   that are not set forth in these responses, but which may have been responsive to

 13   Defendant’s request. The following objections and responses are based on the Trustee’s

 14   knowledge, information, and belief at this time and are complete as to the Trustee’s

 15   best knowledge at this time.       The Trustee assumes no obligation to voluntarily

 16   supplement or amend these responses to reflect information, evidence, or documents

 17   discovered following service of these responses. These responses are given without

 18   prejudice to subsequent revision or supplementation based upon any information,

 19   evidence, and documentation that may be discovered. The Trustee reserves the right

 20   to refer to, conduct discovery with reference to, or to offer into evidence at the time of

 21   trial, any and all facts, evidence, or documents developed during the course of discovery

 22   and trial preparation notwithstanding the reference to facts, evidence, or documents

 23   in these responses.

 24         Moreover, these responses were prepared based on the Trustee’s good-faith

 25   interpretation and understanding of the individual requests and are subject to

 26   correction for inadvertent errors or omissions, if any. For instance, the Trustee has

 27   answered these requests based on the numeration from the Trustee’s “Second
 28   Amended Complaint.”



                                                    2
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 182 of 262

  1                                  GENERAL OBJECTIONS
  2
            1.     Possession, Custody, and Control of Documents and Information: Trustee
  3
      objects to each Request, including each instruction and/or definition contained in the
  4
      Requests, that seeks information not in the possession, custody, or control of Trustee.
  5
      Trustee further objects to each Request, including each instruction and/or definition
  6
      contained in the Requests, that seeks information that are (1) publicly available, (2)
  7
      equally available to the Blue Wolf Entities and/or within the Blue Wolf Entities’
  8
      possession, custody, or control, and/or (3) within the possession, custody, or control of
  9
      third parties to whom the Blue Wolf Entities may direct discovery.
 10
            2.     Consistency with Federal Rules, Local Rules and Court Orders: Trustee
 11
      will respond to the Requests in accordance with the Federal Rules, the Local Rules and
 12
      any relevant Court order that has been entered in this action. To the extent the
 13
      Requests, including the definitions and instructions therein, seek to increase or
 14
      otherwise modify Trustee’s obligations under the Federal Rules, the Federal Rules of
 15
      Evidence, the Local Rules, any relevant Court order, or any applicable law, Trustee
 16
      objects on the grounds that those Requests, definitions and/or instructions are
 17
      overbroad or unduly burdensome.
 18
            3.     Reasonable Diligence: Whenever, in response to a Request, Trustee agrees
 19
      to provide information and/or produce documents, that agreement does not represent
 20
      that such information or documents exist, but only that such information or documents
 21
      will be provided if they exist, can be located with reasonable diligence, are within the
 22
      possession, custody or control of Trustee, are relevant and proportional to the needs of
 23
      the case, and are not otherwise protected from disclosure.
 24
            4.     Electronically Stored Information (ESI): Pursuant to Federal Rule of Civil
 25
      Procedure 34(d), Trustee may answer any interrogatory by exercising the option to
 26
      produce business records, including ESI. Trustee responds to each interrogatory by
 27
      having produced to Defendants all electronically stored information in its possession,
 28
      custody, and control. Defendants are able to locate and identify the ESI as readily as

                                                    3
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 183 of 262

  1
      Trustee, may search such ESI via their direct access, and have been given a reasonable
  2
      opportunity to examine, audit, or inspect the information. To the extent Defendants
  3
      require technical support, information on application software, or other assistance,
  4
      Trustee is ready to provide the same. See Fed. R. Civ. P. 33(d) Advisory Committee
  5
      Notes (2006 Amendment).
  6
            5.     Incorporation of Objections: All responses to the Requests are expressly
  7
      subject to these General Objections, and such General Objections are incorporated into
  8
      each individual Request response.
  9

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      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 184 of 262

  1           FIRST AMENDED OBJECTIONS AND ANSWERS TO FIRST SET OF
                             INTERROGATORIES
  2

  3   INTERROGATORY NO. 1:
             State all facts supporting YOUR contention that "BW Piezo, CTG, and CTG
  4
      Advanced Materials operated as alter egos of each other," as alleged in paragraph 39
  5   of the COMPLAINT.

  6   ANSWER:

  7          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
      extent it seeks “all facts” that “BW Piezo, CTG, and CTG Advanced Materials operated
  8   as alter egos of each other. Subject to and without waiver of the foregoing general and
  9   specific objections, Trustee responds that the facts alleged in paragraph 39 of the SAC
      support Trustee’s contention that BW Piezo, CTG, and CTG Advanced Materials
 10   operated as alter egos of each other. Trustee further responds that the following facts
      support Trustee’s contention in paragraph 39:
 11

 12      1. The Blue Wolf Entities sent a “Confidential Information Memorandum” to
            proposed lenders, referring to CTG and HC Materials as the “Combined
 13         Company.” The Blue Wolf Entities further represented that CTG would acquire
            AM or be consolidated into AM.
 14

 15      2. CTG funds were used to pay for the liabilities and debts of CTG Advanced
            Materials and BW Piezo, including payroll. See Second Amended Complaint
 16         (“SAC”), Ex. 19 (1/26/16 email from L. Chen to C. Hanna); SAC, Ex. 20 (1/5/16
            email from L. Chen to C. Hanna); SAC, Ex. 14 (2/17/16 email from C. Hanna to
 17         J. Hager).
 18
         3. CTG Advanced Materials funds were used to pay for the liabilities and debts of
 19         CTG, including accounts receivable. See SAC, Ex. 21 (12/2/15 email from L. Chen
            to C. Hanna).
 20

 21      4. Accounting between the two companies was commingled. For example, CTG
            Advanced Materials’ revenues were accounted for as part of CTG’s overall
 22         revenues. See SAC Ex. 22 (1/21/16 email from L. Chen to S. Hoyos).
 23      5. CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials
 24         bonuses and legal expenses.

 25      6. The liabilities of all BW Piezo subsidiaries were paid through CTG’s operating
            account, and BW Piezo did not have its own separate bank account. See SAC Ex.
 26         23 (1/21/16 email from L. Chen to A. Ortega).
 27
         7. CTG expenses were accrued between CTG and BW Piezo. See SAC Ex. 24 (1/15/16
 28         email from L. Chen to C. Hanna).



                                                    5
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 185 of 262

  1      8. Legal expenses incurred in relation to CTG matters were charged to BW Piezo’s
            general liabilities. See SAC Ex. 27 (1/12/16 email from L. Chen to C. Hanna).
  2

  3      9. BW Piezo would pay for certain CTG-related expenses directly and then seek
            reimbursement from CTG. See SAC Ex. 25 (2/2/16 email from L. Chen to D.
  4         Oldham).

  5      10. CTG’s “cash flow” position was forecasted to include the “cash flow” position of
             CTG Advanced Materials.
  6

  7      11. CTG incurred BW Piezo’s legal, tax, and other service expenses. See Ex. SAC 26
             (3/8/16 email from C. Hanna to A. Ortega)
  8
         12. BW Piezo owned all of the equity of CTG and AM.
  9
         13. BW Piezo did not have its own physical location and held board meeting at the
 10          offices of CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to K.
 11          Carrington).

 12      14. AM’s CEO and CFO were located in CTG’s officers, and AM’s officers reported
             to CTG’s officers.
 13
         15. The Blue Wolf Entities and CTG represented to third party entities that AM was
 14          a subsidiary of CTG. See SAC, Ex. 17 (Presentation structuring AM as subsidiary
 15          of CTG).

 16      16. The Blue Wolf Entities, Mr. Blumenthal, and Mr. Narulla issued press releases
             and represented to the public that CTG had acquired H.C. Materials. See SAC,
 17          Ex. 8 (October 15, 2013 Press Release).
 18      17. CTG’s corporate documents and communications with auditors represented CTG
 19          Advanced Materials as a “division” of CTG. See Ex. SAC 28 (pdf attachment to
             12/26/15 email rom L. Chen to D. Ligon); Ex. 29 (attachment to 1/19/16 email
 20          from L. Chen to J. Cherry).
 21      18. CTG Advanced Materials was represented in government submissions as being a
             subsidiary of CTG. See SAC Ex. 9 (Dorsey Whitney letter).
 22

 23   INTERROGATORY NO. 2:
           State all facts supporting YOUR contention that "Throughout 2014 and 2015,
 24
      CTG struggled to balance its finances," as alleged in paragraph 40 of the COMPLAINT.
 25

 26   ANSWER:

 27          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
 28   the extent it seeks “all facts” relating to paragraph 40 of the SAC. Subject to and
      without waiver of the foregoing general and specific objections, Trustee responds as
      follows:

                                                    6
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 186 of 262

  1
            1. After acquiring the Debtor, the Debtor’s management, under BW Partners’
  2
               control, decided to acquire H.C. Materials, Inc.
  3
            2. Instead of having CTG purchase H.C. Materials’ assets directly, BW
  4            Partners, acting through BW Piezo, decided to create a new entity to hold the
               assets: CTG Advanced Materials.
  5

  6         3. In October of 2013, BW Partners, acting through BW Piezo, forced the Debtor
               and its subsidiary to join BW Piezo and AM as borrowers.
  7
            4. BW Partners, acting through BW Piezo forced the Debtor to enter into
  8
               separate loan and investment agreements (the “Loan and Investment
  9            Agreements”) with Fidus Investment Corporation, Fidus Mezzanine Capital
               II, L.P., Avante Mezzanine Partners SBIC, LP, and Avante Mezzanine
 10            Partners II, Inc. (collectively, the “Mezzanine Lenders”)
 11         5. The terms of the Loan and Investment Agreements were onerous to the
 12            Debtor.

 13         6. In exchange for (1) a security interest in all of the Debtor’s and Electro-
               Optical Industries, LLC’s assets( a subsidiary of the Debtor), and (2) equity
 14            in BW Partners’s shell company and the Debtor’s “owner”—BW Piezo—, the
               Mezzanine Lenders lent BW Partners, BW Piezo, and the Debtor $14,000,000
 15
               to purchase H.C. Materials’s assets.
 16
            7. BW Partners, acting through its executive management team and BW Piezo
 17            forced the Debtor to use its assets to make payments to the Mezzanine
               Lenders and to CIT Bank, N.A. pursuant to the loan agreements, for the
 18            benefit of AM—which Debtor did not own.
 19
            8. BW Piezo, the Debtor, and AM operated as alter egos of each other, and the
 20            three entities regularly comingled funds and assets.

 21         9. Blue Wolf Capital Partners, acting through its executive management team
               and BW Piezo, indiscriminately directed CTG to transfer funds to pay for BW
 22            Piezo’s and CTG Advanced Materials’s liabilities, including payroll,
 23            professional services, and legal bills, and vice versa benefitting those entities,
               as well as BW Partners and its shell companies and the Mezzanine Lenders
 24            by virtue of their equity interest in BW Piezo.
 25         10. From December 20, 2013 to December 31, 2015, CTG made regular payments
 26             to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.
                totaling $1,959,987.31.
 27
            11. From December 19, 2013 to February 18, 2016, CTG made regular payments
 28             to Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,
                Inc. totaling $1,957,300.44.

                                                    7
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 187 of 262

  1
            12. CTG was unable to pay debts as they became due to the onerous loan
  2
                payments and loan conditions placed upon CTG, coupled with CTG
  3             supporting BW Piezo and CTG Advanced Materials.

  4         13. By October of 2015, BW Piezo board minutes indicate that CTG was in poor
                financial shape and was walking a “tightrope.” See SAC Ex. 10 (attachment
  5             to 2/5/16 email from L. Chen to K. Carrington). In fact, by this same time,
  6             BW Piezo was already contemplating the sale of CTG Advanced Materials
                and noting that it needed to focus on “how to improve cash flow to . . . direct
  7             capital to [Advanced Materials] . . . to improve the value before exit” at the
                expense of CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to
  8             K. Carrington).
  9
            14. By January 2016, CTG was instructing CTG Advanced Materials that: “we
 10            do need you to stretch your payments out to suppliers as much as possible . .
               . [a]s you know we [i.e., CTG] are managing our cash very tightly and will need
 11            [Advanced Materials] to slow down the outflows as well.” See SAC Ex. 11
 12            (1/27/16 email from L. Chen to S. Hoyos). Because CTG Advanced Materials
               was dependent on CTG’s support, Blue Wolf Capital Partners made this
 13            request to delay CTG from running out of funds and being forced to file for
               bankruptcy prior to the sale of CTG Advanced Materials.
 14

 15         15. Unsurprisingly, then, by January 2016, CTG was insolvent and not making
                timely payments to its vendors. Vendors were complaining to CTG of its late
 16             payments on invoiced billings and failure to honor extended payment plans.
                See SAC Ex. 12 (1/22/16 mail from L. Chen to J. Rumsey).
 17

 18         16. By February 2016, CTG was lamenting its cash flow and insolvency, noting
                that forecasts “do [] not look good.” See SAC Ex. 13 (2/9/16 email from S. Hoyos
 19             to L. Chen).
 20         17. Also, by February 2016, CTG Advanced Materials could not even make its
 21            payroll without borrowing funds from CTG. See SAC Ex. 14 (2/17/16 email
               from C. Hanna to J. Hager).
 22
            18. CTG’s assumption of CTG Advanced Material’s and other affiliates and
 23             subsidiaries’ liabilities and use of CTG’s capital and assets to maintain CTG
 24             Advanced Material’s and other affiliates and subsidiaries’ businesses. See Ex.
                17 (Presentation Structuring CTG Advanced Materials as Subsidiary of CTG).
 25
            19. The sale of Electro-Optical Industries to “a foreign interest,” which CTG
 26             reported left the Department of State “appalled” and jeopardized CTG’s
 27             security accreditation. See SAC Ex. 15 (6/24/16 email from C. Holmes to V.
                Caruso); SAC Ex. 16 (6/20/16 email from C. Holmes to V. Caruso).
 28



                                                    8
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 188 of 262

  1         20. On or about March 2016, Blue Wolf Capital Partners, through its executive
                management team and BW Piezo, sold CTG Advanced Materials for
  2
                approximately $73 million to CTS Corporation. Instead of returning to CTG
  3             the proceeds from the sale of assets of CTG Advanced Materials, Blue Wolf
                Capital Partners, acting through BW Piezo, structured the transaction to have
  4             CTS Corporation transfer the proceeds to Blue Wolf Capital Partners and its
                shell companies, CIT Bank, N.A., the Mezzanine Lenders, Pengdi Han, and to
  5
                Blue Wolf Capital Partners insiders as bonus payments. BW Piezo did not
  6             even have its own bank account and Blue Wolf Capital Partners directed CTS
                Corporation to transfer the proceeds from the sale of CTG Advanced Materials
  7             to Blue Wolf Capital Fund.
  8
      INTERROGATORY NO. 3:
  9          State all facts supporting YOUR contention that "Blue Wolf Capital Partners
 10   directed CTG to file for bankruptcy in late 2016 to leave the other creditors of CTG
      'holding the bag' while Defendants enjoyed the millions in distributions from the sale
 11   of CTG Advanced Materials," as alleged in paragraph 48 of the COMPLAINT.

 12
      ANSWER:
 13

 14          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks “all facts” relating to paragraph 48 of the SAC. Subject to and
 15   without waiver of the foregoing general and specific objections, Trustee responds as
      follows:
 16

 17         1. After acquiring the Debtor, the Debtor’s management, under BW Partners’
               control, decided to acquire H.C. Materials, Inc.
 18
            2. Instead of having CTG purchase H.C. Materials’ assets directly, BW
 19
               Partners, acting through BW Piezo, decided to create a new entity to hold the
 20            assets: CTG Advanced Materials.

 21         3. In October of 2013, BW Partners, acting through BW Piezo, forced the Debtor
               and its subsidiary to join BW Piezo and AM as borrowers.
 22

 23         4. BW Partners, acting through BW Piezo forced the Debtor to enter into
               separate loan and investment agreements (the “Loan and Investment
 24            Agreements”) with Fidus Investment Corporation, Fidus Mezzanine Capital
               II, L.P., Avante Mezzanine Partners SBIC, LP, and Avante Mezzanine
 25
               Partners II, Inc. (collectively, the “Mezzanine Lenders”)
 26
            5. The terms of the Loan and Investment Agreements were onerous to the
 27            Debtor.

 28         6. In exchange for (1) a security interest in all of the Debtor’s and Electro-
               Optical Industries, LLC’s assets( a subsidiary of the Debtor), and (2) equity

                                                    9
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 189 of 262

  1             in BW Partners’s shell company and the Debtor’s “owner”—BW Piezo—, the
                Mezzanine Lenders lent BW Partners, BW Piezo, and the Debtor $14,000,000
  2
                to purchase H.C. Materials’s assets.
  3
            7. BW Partners, acting through its executive management team and BW Piezo
  4            forced the Debtor to use its assets to make payments to the Mezzanine
               Lenders and to CIT Bank, N.A. pursuant to the loan agreements, for the
  5            benefit of AM—which Debtor did not own.
  6
            8. BW Piezo, the Debtor, and AM operated as alter egos of each other, and the
  7            three entities regularly comingled funds and assets.

  8         9. Blue Wolf Capital Partners, acting through its executive management team
               and BW Piezo, indiscriminately directed CTG to transfer funds to pay for BW
  9            Piezo’s and CTG Advanced Materials’s liabilities, including payroll,
 10            professional services, and legal bills, and vice versa benefitting those entities,
               as well as BW Partners and its shell companies and the Mezzanine Lenders
 11            by virtue of their equity interest in BW Piezo.
 12         10. From December 20, 2013 to December 31, 2015, CTG made regular payments
 13             to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.
                totaling $1,959,987.31.
 14
            11. From December 19, 2013 to February 18, 2016, CTG made regular payments
 15             to Avante Mezzanine Partners SBIC, LP and Avante Mezzanine Partners II,
 16             Inc. totaling $1,957,300.44.

 17         12. CTG was unable to pay debts as they became due to the onerous loan
                payments and loan conditions placed upon CTG, coupled with CTG
 18             supporting BW Piezo and CTG Advanced Materials.
 19
            13. By October of 2015, BW Piezo board minutes indicate that CTG was in poor
 20             financial shape and was walking a “tightrope.” See SAC Ex. 10 (attachment
                to 2/5/16 email from L. Chen to K. Carrington). In fact, by this same time,
 21             BW Piezo was already contemplating the sale of CTG Advanced Materials
                and noting that it needed to focus on “how to improve cash flow to . . . direct
 22
                capital to [Advanced Materials] . . . to improve the value before exit” at the
 23             expense of CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen to
                K. Carrington).
 24
            14. By January 2016, CTG was instructing CTG Advanced Materials that: “we
 25
               do need you to stretch your payments out to suppliers as much as possible . .
 26            . [a]s you know we [i.e., CTG] are managing our cash very tightly and will need
               [Advanced Materials] to slow down the outflows as well.” See SAC Ex. 11
 27            (1/27/16 email from L. Chen to S. Hoyos). Because CTG Advanced Materials
               was dependent on CTG’s support, Blue Wolf Capital Partners made this
 28
               request to delay CTG from running out of funds and being forced to file for
               bankruptcy prior to the sale of CTG Advanced Materials.

                                                   10
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 190 of 262

  1
            15. Unsurprisingly, then, by January 2016, CTG was insolvent and not making
  2
                timely payments to its vendors. Vendors were complaining to CTG of its late
  3             payments on invoiced billings and failure to honor extended payment plans.
                See SAC Ex. 12 (1/22/16 mail from L. Chen to J. Rumsey).
  4
            16. By February 2016, CTG was lamenting its cash flow and insolvency, noting
  5
                that forecasts “do [] not look good.” See SAC Ex. 13 (2/9/16 email from S. Hoyos
  6             to L. Chen).

  7         17. Also, by February 2016, CTG Advanced Materials could not even make its
               payroll without borrowing funds from CTG. See SAC Ex. 14 (2/17/16 email
  8
               from C. Hanna to J. Hager).
  9
            18. CTG’s assumption of CTG Advanced Material’s and other affiliates and
 10             subsidiaries’ liabilities and use of CTG’s capital and assets to maintain CTG
                Advanced Material’s and other affiliates and subsidiaries’ businesses. See Ex.
 11
                17 (Presentation Structuring CTG Advanced Materials as Subsidiary of CTG).
 12
            19. The sale of Electro-Optical Industries to “a foreign interest,” which CTG
 13             reported left the Department of State “appalled” and jeopardized CTG’s
                security accreditation. See SAC Ex. 15 (6/24/16 email from C. Holmes to V.
 14
                Caruso); SAC Ex. 16 (6/20/16 email from C. Holmes to V. Caruso).
 15
            20. On or about March 2016, Blue Wolf Capital Partners, through its executive
 16             management team and BW Piezo, sold CTG Advanced Materials for
                approximately $73 million to CTS Corporation. Instead of returning to CTG
 17             the proceeds from the sale of assets of CTG Advanced Materials, Blue Wolf
 18             Capital Partners, acting through BW Piezo, structured the transaction to have
                CTS Corporation transfer the proceeds to Blue Wolf Capital Partners and its
 19             shell companies, CIT Bank, N.A., the Mezzanine Lenders, Pengdi Han, and to
                Blue Wolf Capital Partners insiders as bonus payments. BW Piezo did not
 20             even have its own bank account and Blue Wolf Capital Partners directed CTS
 21             Corporation to transfer the proceeds from the sale of CTG Advanced Materials
                to Blue Wolf Capital Fund.
 22
            21. Subsequently, and with CTG Advanced Materials’s assets liquidated and
 23            distributed amongst Blue Wolf Capital Partners, its insiders, and its lenders,
               Blue Wolf Capital Partners and Mr. Holmes began to position CTG to declare
 24
               for bankruptcy. Blue Wolf was desperate to delay CTG’s filing for bankruptcy
 25            protection for as long as possible to avoid the bankruptcy preference period
               and protect the validity of the transfers related to the CTG Advanced
 26            Materials sale. To accomplish this, Blue Wolf Capital Partners and Mr.
               Holmes directed CTG, in April 2016, to enter a prepetition lending agreement
 27
               with Blue Wolf Capital Fund II, L.P., to provide a cash infusion in exchange
 28            for a security interest in CTG’s assets. Next, in June 2016, Blue Wolf sealed
               CTG’s fate by selling one of its most valuable subsidiaries, Electro-Optical


                                                   11
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 191 of 262

  1             Industries, at a cut-rate price in June 2016 to keep CTG from being forced to
                file bankruptcy for a couple more months.
  2

  3   INTERROGATORY NO. 4:
            State all facts supporting YOUR contention that "there was no corporate
  4
      separateness between [CTG and CTG Advanced Materials] (or BW Piezo)," as alleged
  5   in paragraph 54 of the COMPLAINT.

  6
      ANSWER:
  7
             Trustee objects to this Interrogatory as overbroad and unduly burdensome to
  8   the extent it seeks “all facts” relating to paragraph 54 of the SAC. Subject to and
  9   without waiver of the foregoing general and specific objections, Trustee responds as
      follows:
 10
            1. At all relevant times, Blue Wolf Capital Partners was operated by its
 11            Founder, Managing Partner, and Managing Principal, Adam Blumenthal, and
 12            its partners, including Blue Wolf Capital Partners owns, dominates, and
               controls Blue Wolf Capital Fund II, L.P. The two entities shared the same
 13            managing partner: Adam Blumenthal. In addition, Blue Wolf Capital
               Partners insiders, including Blumenthal, Miller, Narulla, and Ranson serve
 14            as directors for Blue Wolf Capital Fund. Blue Wolf Capital Partners uses Blue
 15            Wolf Capital Fund as a mere liability shield for the operations of Blue Wolf
               Capital Partners, and all funds from it and its subsidiaries are siphoned up to
 16            Blue Wolf Capital Partners and its insiders. Blue Wolf Capital Fund does not
               have an independent office or independent employees.
 17

 18         2. Blue Wolf Capital Partners uses another shell company to manage Blue Wolf
               Capital Fund: Blue Wolf Capital Advisors. Blue Wolf Capital Advisors is
 19            owned and operated by the same group of Blue Wolf Capital Partners insiders,
               including Blumenthal, Miller, Narulla, and Ranson. Blue Wolf Capital
 20            Partners structured Blue Wolf Capital Advisors, LP as the general partner of
 21            Blue Wolf Capital Fund II, LP. Blue Wolf Capital Partners uses Blue Wolf
               Capital Advisors as a mere liability shield to manage Blue Wolf Capital Fund,
 22            and all funds from it and its subsidiaries are siphoned up to Blue Wolf Capital
               Partners and its insiders. Blue Wolf Capital Advisors does not have an
 23            independent office or independent employees.
 24
            3. Blue Wolf Capital Partners used Blue Wolf Capital Advisors to direct Blue
 25            Wolf Fund to establish BW Piezo to acquire CTG. BW Piezo is not an
               independent entity and is made up and controlled by the same Blue Wolf
 26            Capital Partners insiders, including its Founder and Managing Partner,
               Adam Blumenthal, and Charles P. Miller, Haranjeet Narulla, and Michael
 27
               Ranson. BW Piezo is merely a façade for the operations of Blue Wolf Capital
 28            Partners and all funds from it and its subsidiaries are siphoned up to Blue
               Wolf Capital Partners and its insiders. Further, Blue Wolf Capital Partners,


                                                   12
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 192 of 262

  1             and its agents, operate BW Piezo as a mere division of Blue Wolf Capital
                Partners and do not respect its distinct corporate form. BW Piezo does not
  2
                have an independent office or independent employees.
  3
            4. BW Piezo, CTG, and CTG Advanced Materials were organized and operated
  4            as alter egos of each other. Although Blue Wolf identified CTG and CTG
               Advanced Materials as separate entities in organizational charts, in practice,
  5            there was no corporate separateness between the two (or BW Piezo). Blue Wolf
  6            Capital Partners—utilizing its “shell company” BW Piezo— routinely
               commingled funds and assets between the two to cover company liabilities.
  7
            5. CTG funds were used to pay for the liabilities and debts of CTG Advanced
  8            Materials and BW Piezo, including payroll. See Second Amended Complaint
  9            (“SAC”), Ex. 19 (1/26/16 email from L. Chen to C. Hanna); SAC, Ex. 20 (1/5/16
               email from L. Chen to C. Hanna); SAC, Ex. 14 (2/17/16 email from C. Hanna
 10            to J. Hager).
 11         6. CTG Advanced Materials funds were used to pay for the liabilities and debts
 12            of CTG, including accounts receivable. See SAC, Ex. 21 (12/2/15 email from L.
               Chen to C. Hanna).
 13
            7. Accounting between the two companies was commingled. For example, CTG
 14            Advanced Materials’ revenues were accounted for as part of CTG’s overall
 15            revenues. See SAC Ex. 22 (1/21/16 email from L. Chen to S. Hoyos).

 16         8. CTG funds were transferred to BW Piezo to pay out CTG Advanced Materials
               bonuses and legal expenses.
 17
            9. The liabilities of all BW Piezo subsidiaries were paid through CTG’s operating
 18
               account, and BW Piezo did not have its own separate bank account. See SAC
 19            Ex. 23 (1/21/16 email from L. Chen to A. Ortega).

 20         10. CTG expenses were accrued between CTG and BW Piezo. See SAC Ex. 24
                (1/15/16 email from L. Chen to C. Hanna).
 21

 22         11. Legal expenses incurred in relation to CTG matters were charged to BW
                Piezo’s general liabilities. See SAC Ex. 27 (1/12/16 email from L. Chen to C.
 23             Hanna).
 24         12. BW Piezo would pay for certain CTG-related expenses directly and then seek
                reimbursement from CTG. See SAC Ex. 25 (2/2/16 email from L. Chen to D.
 25
                Oldham).
 26
            13. CTG’s “cash flow” position was forecasted to include the “cash flow” position
 27             of CTG Advanced Materials.
 28         14. CTG incurred BW Piezo’s legal, tax, and other service expenses. See Ex. SAC
                26 (3/8/16 email from C. Hanna to A. Ortega)

                                                   13
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 193 of 262

  1
            15. BW Piezo owned all of the equity of CTG and AM.
  2
            16. BW Piezo did not have its own physical location and held board meeting at
  3
                the offices of CTG. See SAC Ex. 10 (attachment to 2/5/16 email from L. Chen
  4             to K. Carrington).

  5         17. AM’s CEO and CFO were located in CTG’s officers, and AM’s officers reported
                to CTG’s officers.
  6
            18. The Blue Wolf Entities and CTG represented to third party entities that AM
  7
                was a subsidiary of CTG. See SAC, Ex. 17 (Presentation structuring AM as
  8             subsidiary of CTG).

  9         19. The Blue Wolf Entities, Mr. Blumenthal, and Mr. Narulla issued press
                releases and represented to the public that CTG had acquired H.C. Materials.
 10             See SAC, Ex. 8 (October 15, 2013 Press Release).
 11
            20. CTG’s corporate documents and communications with auditors represented
 12             CTG Advanced Materials as a “division” of CTG. See Ex. SAC 28 (pdf
                attachment to 12/26/15 email rom L. Chen to D. Ligon); Ex. 29 (attachment to
 13             1/19/16 email from L. Chen to J. Cherry).
 14         21. CTG Advanced Materials was represented in government submissions as
 15             being a subsidiary of CTG. See SAC Ex. 9 (Dorsey Whitney letter).

 16   INTERROGATORY NO. 5:
 17         State all facts supporting YOUR contention that "Blue Wolf Capital Partners,
      through its shell companies and executive management team, formed, organized, and
 18   operated BW Piezo, CTG, and CTG Advanced Materials to evade government
      regulation, legal obligations, and debt obligations, including national security related
 19
      regulations and bankruptcy laws," as alleged in paragraph 55 of the COMPLAINT.
 20

 21   ANSWER:

 22          Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
 23   extent it seeks “all facts” relating to paragraph 54 of the SAC. Subject to and without
      waiver of the foregoing general and specific objections, Trustee identifies the same facts
 24   as in its response to Interrogatory No. 4.

 25   INTERROGATORY NO. 6:
 26          State all facts supporting YOUR contention that "Blue Wolf Entities allowed the
      entities to operate with inadequate capital for the type of business they were
 27   conducting, siphoning CTG' s assets and capital to repay Blue Wolf Capital Partners
 28   and make distributions to themselves," as alleged in paragraph 56 of the COMPLAINT.



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      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 194 of 262

  1
      ANSWER:
  2          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks “all facts” supporting the allegation in paragraph 56 of the
  3
      Complaint. The Trustee also objects to this Interrogatory to the extent it calls for or is
  4   based on information in the Blue Wolf Entities’ possession, custody or control, which
      Defendants have not produced yet to Trustee. Subject to and without waiver of the
  5   foregoing general and specific objections, Trustee identifies the same facts as in its
      response to Interrogatory Nos. 1, 2, and 4.
  6

  7   INTERROGATORY NO. 7:
            State all facts supporting YOUR contention that "Blue Wolf Capital Partners
  8
      operated BW Piezo, CTG, and CTG Advanced Materials as part of a single business
  9   enterprise," as alleged in paragraph 57 of the COMPLAINT.

 10
      ANSWER:
 11
            Trustee objects to this Interrogatory as overbroad and unduly burdensome to
 12   the extent it seeks “all facts” supporting the allegation in paragraph 57 of the
      Complaint. The Trustee also objects to this Interrogatory to the extent it calls for or is
 13   based on information in the Blue Wolf Entities’ possession, custody or control. Trustee
      further objects to this Interrogatory as duplicative of Interrogatory No.1. Subject to
 14
      and without waiver of the foregoing general and specific objections, Trustee identifies
 15   the same facts as in its response to Interrogatory No. 1.

 16   INTERROGATORY NO. 8:
 17          State all facts supporting YOUR contention that "Blue Wolf Capital Partners
      dominated and controlled CTG and CTG Advanced Materials," as alleged in paragraph
 18   59 of the COMPLAINT.
 19

 20   ANSWER:
             Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
 21   extent it seeks “all facts” supporting the allegation in paragraph 59 of the Complaint.
      The Trustee also objects to this Interrogatory to the extent it calls for or is based on
 22   information in the Blue Wolf Entities’ possession, custody or control, which Defendants
 23   have not produced yet to Trustee. Trustee further objects to this Interrogatory as
      duplicative in substance as Interrogatory No.1. Subject to and without waiver of the
 24   foregoing general and specific objections, Trustee identifies the same facts as in its
      response to Interrogatory Nos. 1 and 4.
 25

 26   INTERROGATORY NO. 9:
             State all facts supporting YOUR contention that "Blue Wolf Capital Partners
 27
      forced CTG to enter into and secure oppressive loan agreements for the sole benefit of
 28   BW Piezo and itself, forced CTG to make payments on these loans that did not benefit
      CTG, forced CTG to pass on corporate opportunities, such as the acquisition of HC


                                                   15
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 195 of 262

  1   Materials' assets directly, and forced CTG to pay for CTG Advanced Materials' and BW
      Piezo's liabilities and debts-all without CTG receiving any reasonably equivalent
  2
      value," as alleged in paragraph 61 of the COMPLAINT.
  3

  4   ANSWER:
             Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
  5   extent it seeks “all facts” supporting the allegation in paragraph 161 of the Complaint.
  6   The Trustee also objects to this Interrogatory to the extent it calls for or is based on
      information in the Blue Wolf Entities’ possession, custody or control, which Defendants
  7   have not produced yet to Trustee. Trustee further objects to this Interrogatory as
      duplicative in substance as Interrogatory No. 2. Subject to and without waiver of the
  8   foregoing general and specific objections, Trustee identifies the same facts as in its
  9   response to Interrogatory Nos. 2.

 10   INTERROGATORY NO. 10:
 11          State all facts supporting YOUR contention that CTG did not receive reasonably
      equivalent value for funds transferred to Grant Thornton, LLP, as alleged in paragraph
 12   161 of the COMPLAINT.
 13

 14   ANSWER:
             Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
 15   extent it seeks “all facts” supporting the allegation in paragraph 161 of the Complaint.
      Subject to and without waiver of the foregoing general and specific objections, Trustee
 16   responds that CTG transferred $1,054,753.85 to Grant Thornton, LLP from January
 17   2013 to March 2017. The transfers were made to pay for accounting and financial
      services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
 18   reasonably equivalent value for making these transfers. Blue Wolf Capital Partners
      forced CTG to pay these expenses to maximize CTG Advanced Materials’s assets and
 19   value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf
 20   Capital Partners knew that paying these expenses would deprive CTG of assets
      available to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners
 21   forced CTG into bankruptcy.

 22   INTERROGATORY NO. 11:
 23         State all facts supporting YOUR contention that CTG did not receive reasonably
      equivalent value for the funds transferred to Holland & Knight, as alleged in
 24   paragraph 162 of the COMPLAINT.
 25

 26   ANSWER:
             Trustee objects to this Interrogatory as overbroad and unduly burdensome to
 27   the extent it seeks “all facts” supporting the allegation in paragraph 162 of the
      Complaint. Subject to and without waiver of the foregoing general and specific
 28
      objections, Trustee responds that CTG transferred $789,579.14 to Holland & Knight
      from December 2012 to September 2016. The transfers were made to pay for legal

                                                   16
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 196 of 262

  1   services rendered to BW Piezo and CTG Advanced Materials, and CTG did not receive
      reasonably equivalent value for making these transfers. Blue Wolf Capital Partners
  2
      forced CTG to pay these expenses to maximize CTG Advanced Materials’s assets and
  3   value, and thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue
      Wolf Capital Partners knew that paying these expenses would deprive CTG of assets
  4   available to CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners
      forced CTG into bankruptcy.
  5

  6   INTERROGATORY NO. 12:
            State all facts supporting YOUR contention that CTG did not receive reasonably
  7
      equivalent value for funds transferred to Fidus Investment Corporation and Fidus
  8   Mezzanine Capital II, L.P, as alleged in paragraph 163 of the COMPLAINT.

  9
      ANSWER:
 10
            Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
 11   extent it seeks “all facts” supporting the allegation in paragraph 163 of the Complaint.
      Subject to and without waiver of the foregoing general and specific objections, Trustee
 12   responds that CTG transferred $1,959,987.31 to Fidus Investment Corporation and
      Fidus Mezzanine Capital II, L.P. from December 2013 to December 2015. The transfers
 13
      were loan payments pursuant to the Loan and Investment Agreement entered into by
 14   BW Piezo, CTG Advanced Materials, CTG, and Electro Optical Industries for the
      purchase of HC Materials. If BW Piezo and CTG Advanced Materials are not CTG’s
 15   alter egos, then CTG received no reasonably equivalent value for making these
      transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize
 16
      CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale
 17   of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these
      transfers would deprive CTG of assets available to CTG’s creditors for satisfying their
 18   debts when Blue Wolf Capital Partners forced CTG into bankruptcy.
 19
      INTERROGATORY NO. 13:
 20         State all facts supporting YOUR contention that CTG did not receive reasonably
      equivalent value for the $1,957,300.44 transferred to Avante Mezzanine Partners
 21
      SBIC, LP and Avante Mezzanine Partners II, Inc., as alleged in paragraph 164 of the
 22   COMPLAINT.

 23
      ANSWER:
 24          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
 25   the extent it seeks “all facts” supporting the allegation in paragraph 164 of the
      Complaint. Subject to and without waiver of the foregoing general and specific
 26   objections, Trustee responds that CTG transferred $1,957,300.44 to Avante Mezzanine
      Partners SBIC, LP and Avante Mezzanine Partners II, Inc. from December 2013 to
 27   February 2016. The transfers were loan payments pursuant to the Loan and
 28   Investment Agreement entered into by BW Piezo, CTG Advanced Materials, CTG, and
      Electro Optical Industries for the purchase of HC Materials. If BW Piezo and CTG


                                                   17
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 197 of 262

  1   Advanced Materials are not CTG’s alter egos, then CTG received no reasonably
      equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG
  2
      to make these transfers to maximize CTG Advanced Materials’s assets and value, and
  3   thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital
      Partners knew that making these transfers would deprive CTG of assets available to
  4   CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG
      into bankruptcy.
  5

  6   INTERROGATORY NO. 14:
  7          State all facts supporting YOUR contention that CTG did not receive reasonably
      equivalent value for funds transferred to CIT BANK, N.A., as alleged in paragraph 165
  8   of the COMPLAINT.
  9
      ANSWER:
 10
            Trustee objects to this Interrogatory as overbroad and unduly burdensome to the
 11   extent it seeks “all facts” supporting the allegation in paragraph 165 of the Complaint.
      Subject to and without waiver of the foregoing general and specific objections, Trustee
 12   responds CTG transferred $ 33,248,711.36 to CIT Bank, N.A. from May 2013 to April
      2016. The transfers were loan payments pursuant to a loan agreement entered into by
 13
      BW Piezo, CTG Advanced Materials, CTG, and Electro Optical Industries for the
 14   purchase of HC Materials. If BW Piezo and CTG Advanced Materials are not CTG’s
      alter egos, then CTG received no reasonably equivalent value for making these
 15   transfers. Blue Wolf Capital Partners forced CTG to make these transfers to maximize
      CTG Advanced Materials’s assets and value, and thus BW Piezo’s assets, upon the sale
 16
      of CTG Advanced Materials. Blue Wolf Capital Partners knew that making these
 17   transfers would deprive CTG of assets available to CTG’s creditors for satisfying their
      debts when Blue Wolf Capital Partners forced CTG into bankruptcy.
 18
      INTERROGATORY NO. 15:
 19
            State all facts supporting YOUR contention that CTG did not receive reasonably
 20   equivalent value for funds transferred to Gladstone Investment Corporation, as alleged
      in paragraph 166 of the COMPLAINT.
 21

 22
      ANSWER:
 23          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks “all facts” supporting the allegation in paragraph 166 of the
 24   Complaint. Subject to and without waiver of the foregoing general and specific
 25   objections, Trustee responds CTG transferred $7,576,027.49 to Gladstone Investment
      Corporation from February 2012 to June 2016. The transfers were distributions made
 26   to BW Piezo’s and the Blue Wolf Fund’s equity owners, and CTG received no reasonably
      equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to
 27   make these transfers to maximize CTG Advanced Materials’s assets and value, and
 28   thus BW Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital
      Partners knew that making these transfers would deprive CTG of assets available to


                                                   18
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 198 of 262

  1   CTG’s creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG
      into bankruptcy.
  2

  3
      INTERROGATORY NO. 16:
  4
            State all facts supporting YOUR contention that CTG did not receive reasonably
  5   equivalent value for the $1,984,330.21 transferred to Blue Wolf Capital Partners, as
      alleged in paragraph 168 of the COMPLAINT.
  6

  7   ANSWER:
  8          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks “all facts” supporting the allegation in paragraph 168 of the
  9   Complaint. Subject to and without waiver of the foregoing general and specific
      objections, responds CTG transferred $1,984,330.21 to Blue Wolf Capital Partners from
 10
      January 2013 to May 2016. The transfers were distributions made to BW Piezo’s and
 11   the Blue Wolf Fund’s equity owners, and CTG received no reasonably equivalent value
      for making these transfers. Blue Wolf Capital Partners forced CTG to make these
 12   transfers to maximize CTG Advanced Materials’s assets and value, and thus BW
      Piezo’s assets, upon the sale of CTG Advanced Materials. Blue Wolf Capital Partners
 13
      knew that making these transfers would deprive CTG of assets available to CTG’s
 14   creditors for satisfying their debts when Blue Wolf Capital Partners forced CTG into
      bankruptcy.
 15
      INTERROGATORY NO. 17:
 16
            State all facts supporting YOUR contention that CTG did not receive reasonably
 17   equivalent value for the $165,365.86 transferred to McDermott Will & Emery, LLP, as
      alleged in paragraph 170 of the COMPLAINT.
 18

 19
      ANSWER:
 20          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks “all facts” supporting the allegation in paragraph 170 of the
 21   Complaint. Subject to and without waiver of the foregoing general and specific
 22   objections, Trustee responds that CTG transferred $165,365.86 to McDermott Will &
      Emery, LLP from March 2015 to May 2016. The transfers were made to pay for legal
 23   services rendered to CTG Advanced Materials, and CTG did not receive reasonably
      equivalent value for making these transfers. Blue Wolf Capital Partners forced CTG to
 24   pay these expenses
 25
      INTERROGATORY NO. 18:
 26
              IDENTIFY all transfers for which YOU allege Blue Wolf Capital Partners, LLC
 27   is liable and set forth specific facts and PERSONS with knowledge to support the basis
      for YOUR contention.
 28



                                                   19
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 199 of 262

  1   ANSWER:
  2
              Trustee objects to this Interrogatory as overbroad and unduly burdensome to
  3   the extent it seeks the identity of “all transfers”. The Trustee also objects to this
      Interrogatory to the extent it calls for or is based on information in the Blue Wolf
  4   Entities’ possession, custody, or control. Subject to and without waiver of the foregoing
      general and specific objections, Trustee responds that Blue Wolf Capital Partners, LLC
  5
      is liable for every transfer in Schedule B identified as having been made for the benefit
  6   of BW Piezo, CTG Advanced Materials, Blue Wolf Capital Partners. The Trustee
      further identifies the following persons with knowledge to support the basis of its
  7   contentions:
  8
            1. Adam Blumenthal
  9         2. Pierre Chao
            3. Christopher Holmes
 10         4. David Oldham
            5. John Mei
 11
            6. Charles Miller
 12         7. Lynn Chen
            8. Mark Shaw
 13         9. Kevin Ruelas
            10. Arturo Ortega
 14
            11. Ralph Phillips
 15         12. Pengdi Han
            13. Cheryl Hanna
 16         14. Haranjeet Narullah
            15. Richard Feferman
 17
            16. David Tiffany
 18

 19   INTERROGATORY NO. 19:

 20           IDENTIFY all transfers for which YOU allege Blue Wolf Capital Advisors, L.P.
      is liable and set forth specific facts and PERSONS with knowledge to support the basis
 21   for YOUR contention.

 22
      ANSWER:
 23

 24          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks the identity of “all transfers”. The Trustee also objects to this
 25   Interrogatory to the extent it calls for or is based on information in the Blue Wolf
      Entities’ possession, custody, or control. Trustee has requested or will request
 26
      discovery and documents regarding transfers made between Blue Wolf Capital Fund
 27   II, L.P., and Blue Wolf Capital Advisors, L.P. Subject to and without waiver of the
      foregoing general and specific objections, Trustee responds that Blue Wolf Capital
 28   Advisors, L.P. is liable for every transfer in Schedule B identified as having been made
      for the benefit of BW Piezo, CTG Advanced Materials, Blue Wolf Capital Partners. The

                                                   20
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 200 of 262

  1   Trustee further identifies the following persons with knowledge to support the basis of
      its contentions:
  2

  3         1. Adam Blumenthal
            2. Pierre Chao
  4         3. Christopher Holmes
            4. David Oldham
  5
            5. John Mei
  6         6. Charles Miller
            7. Lynn Chen
  7         8. Mark Shaw
            9. Kevin Ruelas
  8
            10. Arturo Ortega
  9         11. Ralph Phillips
            12. Pengdi Han
 10         13. Cheryl Hanna
            14. Haranjeet Narullah
 11
            15. Richard Feferman
 12         16. David Tiffany

 13
      INTERROGATORY NO. 20:
 14
              IDENTIFY all transfers for which YOU allege Blue Wolf Capital Fund II, L.P.
 15   is liable and set forth specific facts and PERSONS with knowledge to support the basis
 16   for YOUR contention.

 17
      ANSWER:
 18          Trustee objects to this Interrogatory as overbroad and unduly burdensome to
      the extent it seeks the identity of “all transfers”. The Trustee also objects to this
 19
      Interrogatory to the extent it calls for or is based on information in the Blue Wolf
 20   Entities’ possession, custody, or control. Trustee has requested or will request
      discovery and documents regarding transfers made by Blue Wolf Capital Fund II, L.P..
 21   Upon information and believe, and subject to and without waiver of the foregoing
      general and specific objections, Trustee responds that Blue Wolf Fund II, L.P. received
 22
      $5,669,848.62 from the proceeds of the sale of Advanced Materials. Trustee further
 23   responds that Blue Wolf Capital Fund II, L.P. is liable for every transfer in Schedule
      B identified as having been made for the benefit of BW Piezo, CTG Advanced Materials,
 24   Blue Wolf Capital Partners. The Trustee further identifies the following persons with
      knowledge to support the basis of its contentions:
 25

 26         1.   Adam Blumenthal
            2.   Pierre Chao
 27         3.   Christopher Holmes
            4.   David Oldham
 28
            5.   John Mei
            6.   Charles Miller

                                                   21
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 201 of 262

  1         7. Lynn Chen
            8. Mark Shaw
  2
            9. Kevin Ruelas
  3         10. Arturo Ortega
            11. Ralph Phillips
  4         12. Pengdi Han
            13. Cheryl Hanna
  5
            14. Haranjeet Narullah
  6         15. Richard Feferman
            16. David Tiffany
  7

  8
                                               Respectfully submitted,
  9

 10                                            /s/Edward Jason Dennis__
                                               Edward Jason Dennis
 11                                            Texas State Bar No. 24045776
                                               jdennis@lynnllp.com
 12                                            Samuel B. Hardy
                                               Texas State Bar No. 24074360
 13                                            shardy@lynnllp.com
                                               Barira Munshi
 14                                            Texas State Bar No. 24095924
 15                                            bmunshi@lynnllp.com
                                               Eliyahu Ness
 16                                            California State Bar No. 311054
                                               eness@lynnllp.com
 17                                            Lynn Pinker Hurst & Schwegmann, LLP
                                               2100 Ross Avenue, Suite 2700
 18                                            Dallas, Texas 75201
                                               (214) 981-3800 - Telephone
 19                                            (214) 981-3839 - Facsimile
 20                                            Special Litigation Counsel for
                                               Corporate Recovery Associates, LLC,
 21                                            Trustee for the Liquidating Trust of
                                               Debtor Channel Technologies Group, LLC
 22

 23

 24

 25

 26

 27
 28



                                                   22
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 202 of 262

  1                                    PROOF OF SERVICE
  2
      STATE OF TEXAS, COUNTY OF DALLAS
  3         I am employed in the County of Dallas, State of Texas. I am over the age of 18
      and not a party to the within action; my business address is 2100 Ross Avenue, Suite
  4   2700, Dallas, Texas 75201.
  5
      On March 4, 2021, I caused the document described below as PLAINTIFF’S FIRST
  6   AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF
      ENTITIES’ FIRST SET OF INTERROGATORIES to be served on all interested
  7   parties in this action via email:
  8
                                SEE ATTACHED SERVICE LIST
  9
      []     (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
 10   States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of
      collection and processing correspondence or mailing. Under that practice it would be
 11
      deposited with the U.S. Postal Service on that same day with postage thereon fully
 12   prepaid at Dallas, Texas in the ordinary course of business. I am aware that on motion
      of the party served, service is presumed invalid if postal cancellation date or postage
 13   meter date is more than one day after date of deposit for mailing in affidavit.
 14
      []     (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
 15   picked up by U.S. Federal Express Services for overnight delivery to the offices of the
      addressees listed on the Service List.
 16   []     (BY PERSONAL SERVICE) I caused to be delivered such document by hand
      to the above-identified recipient through the use of First Legal Attorney Service whose
 17
      address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose
 18   telephone number is (213) 250-1111.

 19   []     (BY FACSIMILE) I caused said document(s) to be telephonically transmitted
      to each addressee’s telecopier (Fax) number as noted.
 20

 21   [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via
      electronic transmission to each addressee’s electronic mail address(es) as noted on the
 22   attached Service List.
 23
      I declare under penalty of perjury under the laws of the State of California that the
 24   above is true and correct.

 25   Executed on March 4, 2021, at Dallas, Texas.
                                                              /s/ Barira Munshi
 26
                                                              Barira Munshi
 27
 28



                                                   23
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 203 of 262

  1
                                      SERVICE LIST
  2
                             United States Bankruptcy Court
  3                  Central District of California, Northern Division
                                Case No. 9:16-BK-11912-DS
  4                              dv. No. 9:18-AP-01058-DS
  5   Howard J. Steinberg                          Jonathan Boustani
  6   steinbergh@gtlaw.com                         jboustani@btlaw.com
      GREENBERG TRAURIG, LLP                       Jonathan Sundheimer
  7   1840 Century Park East, Suite                Jonathan.sundheimer@btlaw.com
      1900                                         Barnes & Thornburg LLP
  8   Los Angeles, California 90067-2121           2029 Century Park East, Ste. 300
  9                                                Los Angeles, CA 90067
      Attorneys for Defendants
 10   Blue Wolf Capital Partners,                  Attorney CTG Advanced
      LLC,                                         Materials, LLC and CTS
 11   Blue Wolf Capital Fund II, L.P.,             Corporation
 12   Blue Wolf Capital Advisors
      L.P., and BW Piezo Holdings,
 13   LLC
 14   Cheryl S. Chang
 15   Chang@Blankrome.com
      Craig N. Haring
 16   charing@blankrome.com
      BLANK ROME LLP
 17   2029 Century Park East, Sixth
 18   Floor
      Los Angeles, California 90067
 19
      Attorneys for Gladstone
 20   Investment Corporation
 21

 22

 23

 24

 25

 26

 27
 28



                                                   24
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48            Desc
                         Main Document   Page 204 of 262

  1                                          VERIFICATION
  2   STATE OF CALIFORNIA                §
                                         §
  3   COUNTY OF SAN DIEGO                §
  4
            I, Richard Feferman, make this Declaration under oath pursuant to 28 U.S.C.
  5

  6   Section 1746. CORPORATE RECOVERY ASSOCIATES, LLC, (“CRA”) as appointed

  7   under the confirmed Chapter 11 plan of Channel Technologies Group, LLC (“CTG”) is
  8
      the Liquidating Trustee for CTG. I am the Senior Managing Director for CRA. I have
  9
      read the foregoing document, Plaintiff’s First Amended Objections and Answers to
 10
      Defendant Blue Wolf Entities’ First Set of Interrogatories. I declare under penalty of
 11

 12   perjury that the contents of the foregoing are true and correct.

 13

 14   Executed on this 4th day of March, 2021.
                                                                     ________________________
 15                                                                  Richard Feferman

 16

 17

 18

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                                                   25
      PLAINTIFF’S FIRST AMENDED OBJECTIONS AND ANSWERS TO DEFENDANT BLUE WOLF ENTITIES’ FIRST SET OF
                                             INTERROGATORIES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 205 of 262




                               EXHIBIT E
Case 9:18-ap-01058-DS       Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48      Desc
                            Main Document   Page 206 of 262

  1
      Edward Jason Dennis
  2   jdennis@lynnllp.com
      Samuel B. Hardy
  3   shardy@lynnllp.com
      Barira Munshi
  4
      bmunshi@lynnllp.com
  5   Eliyahu Ness
      California State Bar No. 311054
  6   eness@lynnllp.com
  7   LYNN PINKER HURST & SCHWEGMANN, LLP
      2100 Ross Avenue, Suite 2700
  8   Dallas, Texas 75201
      (214) 981-3800 - Telephone
  9   (214) 981-3839 - Facsimile
 10
      Special Litigation Counsel for Plaintiff
 11
                             UNITED STATES BANKRUPTCY COURT
 12                           CENTRAL DISTRICT OF CALIFORNIA
                                    NORTHERN DIVISION
 13

 14    In re                                                   § CASE NO. 9:16-BK-11912-DS
                                                               §
 15    CHANNEL TECHNOLOGIES GROUP, LLC,                        §
          Debtor.                                              §
 16                                                            §
                                                               § Chapter 11
       CORPORATE RECOVERY ASSOCIATES,                          §
 17    LLC, as Trustee for the Liquidating Trust of            §
       Channel Technologies Group, LLC,                        §
 18
                                                               § ADV NO. 9:18-AP-01058-DS
               Plaintiff,                                      §
 19
                                                               §
 20                                                            §   PLAINTIFF’S SECOND
       v.                                                      §     AMENDED INITIAL
 21                                                            §       DISCLOSURES
                                                               §
       BLUE WOLF CAPITAL PARTNERS, LLC, et                     §
 22    al.,                                                    §
            Defendants.                                        §
 23

 24

 25                                  Preliminary Statement

 26            As required by Rule 26(a)(1) of the Federal Rules of Civil Procedure and the

 27   Court’s Order, Plaintiff Corporate Recovery Associates, LLC, as Trustee for The

 28   Liquidating Trust of Channel Technologies Group, LLC (the “Trustee” or “Plaintiff”)




                                                  1
                               PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                        Main Document   Page 207 of 262

  1
      hereby makes the following amended disclosures, based on the information
  2
      currently and reasonably available. The Trustee does not represent that it is
  3
      identifying every document, tangible thing, or witness possibly relevant to this
  4
      lawsuit. Rather, the Trustee’s disclosures represent a good faith effort to identify
  5
      information that the Trustee, at this time, reasonably believes may be used to
  6
      support its claims or defenses, as required by Rule 26(a)(1). Accordingly, these
  7
      disclosures are made without prejudice to the Trustee’s right to change or
  8
      supplement these disclosures in the future, and without prejudice to the Trustee’s
  9
      right to introduce at trial additional evidence, documents, and witnesses as
 10
      warranted by the development of facts underlying this lawsuit.
 11
            The Trustee also makes these disclosures subject to the Agreed Protective
 12
      Order and its terms, as well as without waiving its right to withhold documents
 13
      based on claims of privilege, including the attorney-client and work product
 14
      privileges, the party communication privilege, the consulting expert privilege, or
 15
      any other applicable privilege or immunity existing under law. The Trustee intends
 16
      to assert all applicable privileges and immunities to discovery and is not waiving
 17
      and does not intend to waive any such privileges or immunities.
 18

 19         1.     The name and, if known, the address and telephone number
                   of each individual likely to have discoverable information—
 20                along with the subjects of that information—that the Trustee
                   may use to support its claims or defenses, unless the use
 21                would be solely for impeachment.

 22
                   Name                                             Subject
 23

 24    Richard Feferman                           Feferman is the Senior Manager
       c/o Jason Dennis                           Director of the Trustee.
 25    Sam Hardy
       Lynn Pinker Cox & Hurst                    Feferman has knowledge of the
 26    LLP                                        following subjects:
       2100 Ross Avenue, Suite 2700                 Documents received from CTG’s
 27    Dallas, Texas 75201                             Chief Restructuring Officer David
       Phone: (214) 981-3800
 28                                                    Tiffany (the “CRO”)
                                                    The condition of the books and



                                                2
                             PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                        Main Document   Page 208 of 262

  1                                                 records received from the CRO
       Adam Blumenthal                          Blumenthal is a manager of at least one
  2    c/o Howard Steinberg                     of the Blue Wolf Entities.
        steinbergh@gtlaw.com
  3                                             Blumenthal may have knowledge of the
        GREENBERG TAURIG, LLP
                                                following subjects:
  4     1840 Century Park East, Suite
                                                  the services provided by CTG;
        1900
  5                                               The relationship between CTG and
        Los Angeles, CA 90067
                                                     the Blue Wolf Entities;
        T: 310.586.7702
  6                                               The decision-making process of
        F: 310.586.7800
                                                     CTG;
  7
                                                  Payments made by CTG for the
  8                                                  benefit of BW Piezo Holdings and
                                                     CTGAM;
  9                                               CTG’s dealings with vendors; and
                                                  CTG’s debts and liabilities.
 10    Pierre Chao                              Chao was a former manager of CTG.
       c/o Howard Steinberg
 11    steinbergh@gtlaw.com                     Chao may have knowledge of the
       Greenberg Taurig, LLP                    following subjects:
 12    1840 Century Park East,                    the services provided by CTG;
       Suite 1900                                 The relationship between CTG and
 13    Los Angeles, CA 90067
       T: 310.586.7702                               the Blue Wolf Entities;
 14    F: 310.586.7800                            The decision-making process of
 15                                                  CTG;
                                                  Payments made by CTG for the
 16                                                  benefit of BW Piezo Holdings and
                                                     CTGAM;
 17                                               CTG’s dealings with vendors; and
 18                                               CTG’s debts and liabilities.
       Christopher Holmes                       Holmes was a former manager of CTG.
 19    c/o Howard Steinberg
       steinbergh@gtlaw.com                     Holmes may have knowledge of the
 20    Greenberg Taurig, LLP                    following subjects:
       1840 Century Park East,                       the services provided by CTG;
 21    Suite 1900                                    The relationship between CTG
       Los Angeles, CA 90067                           and the Blue Wolf Entities;
 22    T: 310.586.7702                               The decision-making process of
       F: 310.586.7800                                 CTG;
 23                                                  Payments made by CTG for the
                                                       benefit of BW Piezo Holdings
 24                                                    and CTGAM;
                                                     CTG’s dealings with vendors;
 25                                                    and
                                                     CTG’s debts and liabilities.
 26    David Oldham                             Oldham was a former manager of CTG.
       c/o Howard Steinberg
 27    steinbergh@gtlaw.com                     Oldham may have knowledge of the
       Greenberg Taurig, LLP                    following subjects:
 28    1840 Century Park East,                       the services provided by CTG;
       Suite 1900                                    The relationship between CTG
       Los Angeles, CA 90067                           and the Blue Wolf Entities;


                                              3
                           PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48      Desc
                         Main Document   Page 209 of 262

  1    T: 310.586.7702                               The decision-making process of
       F: 310.586.7800                                CTG;
  2                                                 Payments made by CTG for the
                                                      benefit of BW Piezo Holdings
  3                                                   and CTGAM;
                                                    CTG’s dealings with vendors;
  4                                                   and
                                                    CTG’s debts and liabilities.
  5    John Mei                                  Mei was a former manager of CTG.
       c/o Howard Steinberg
  6    steinbergh@gtlaw.com                      Mei may have knowledge of the
       Greenberg Taurig, LLP                     following subjects:
  7    1840 Century Park East,                        the services provided by CTG;
       Suite 1900                                     The relationship between CTG
  8    Los Angeles, CA 90067                            and the Blue Wolf Entities;
       T: 310.586.7702                                The decision-making process of
  9    F: 310.586.7800                                  CTG;
                                                      Payments made by CTG for the
 10                                                     benefit of BW Piezo Holdings
                                                        and CTGAM;
 11                                                   CTG’s dealings with vendors;
                                                        and
 12                                                   CTG’s debts and liabilities.
       Charles Miller                            Miller was a former manager of CTG.
 13    c/o Howard Steinberg
       steinbergh@gtlaw.com                      Miller may have knowledge of the
 14    Greenberg Taurig, LLP                     following subjects:
       1840 Century Park East,                        the services provided by CTG;
 15    Suite 1900                                     The relationship between CTG
       Los Angeles, CA 90067                            and the Blue Wolf Entities;
 16    T: 310.586.7702                                The decision-making process of
       F: 310.586.7800                                  CTG;
 17                                                   Payments made by CTG for the
                                                        benefit of BW Piezo Holdings
 18                                                     and CTGAM;
                                                      CTG’s dealings with vendors;
 19                                                     and
                                                      CTG’s debts and liabilities.
 20    Lynn Chen                                 Chen was a former manager of CTG.
       c/o Steve McAndrew
 21                                              Chen may have knowledge of the
       steve@kmcllp.com
                                                 following subjects:
 22    KAUFMAN MCANDREW LLP                           the services provided by CTG;
       16633 Ventura Boulevard, Suite                 The relationship between CTG
 23    500                                              and the Blue Wolf Entities;
       Encino, CA 91436                               The decision-making process of
 24                                                     CTG;
       T: 818.788.5767
                                                      Payments made by CTG for the
 25    F: 818.788.2992                                  benefit of BW Piezo Holdings
                                                        and CTGAM;
 26                                                   CTG’s dealings with vendors;
                                                        and
 27                                                   CTG’s debts and liabilities.
       Mark Shaw                                 Shaw was a former manager of CTG.
 28    c/o Timothy Trager
       ttrager@rppmh.com                         Shaw may have knowledge of the


                                               4
                            PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                        Main Document   Page 210 of 262

  1    REICKER, PFAU, PYLE & MCROY LLP          following subjects:
       1421 State Street, Suite B                    the services provided by CTG;
  2                                                  The relationship between CTG
       Santa Barbara, CA 93101                         and the Blue Wolf Entities;
  3    T: 805.966.2440                               The decision-making process of
       F: 805.966.3320                                 CTG;
  4                                                  Payments made by CTG for the
                                                       benefit of BW Piezo Holdings
  5                                                    and CTGAM;
                                                     CTG’s dealings with vendors;
  6                                                    and
                                                     CTG’s debts and liabilities.
  7    Kevin Ruelas                             Ruelas was a former manager of CTG.
       c/o Zubin Farinpour
  8    eje@manningllp.com                       Ruelas may have knowledge of the
                                                following subjects:
  9    MANNING & KASS ELLROD RAMIREZ                 the services provided by CTG;
       Trester LLP                                   The relationship between CTG
 10    801 S. Figueroa St., 16th Floor                 and the Blue Wolf Entities;
       Los Angeles, CA 90017                         The decision-making process of
 11    T: 213.624.6900                                 CTG;
                                                     Payments made by CTG for the
 12    F: 213.624.6999                                 benefit of BW Piezo Holdings
                                                       and CTGAM;
 13                                                  CTG’s dealings with vendors;
                                                       and
 14                                                  CTG’s debts and liabilities.
       Arturo Ortega                            Ortega was a former officer of CTG.
 15    875 Weaver St.
       Simi Valley, CA 93065                    Ortega may have knowledge of the
 16    T: 818-274-8008                          following subjects:
                                                     the services provided by CTG;
 17                                                  The relationship between CTG
                                                       and the Blue Wolf Entities;
 18                                                  The decision-making process of
                                                       CTG;
 19                                                  Payments made by CTG for the
                                                       benefit of BW Piezo Holdings
 20                                                    and CTGAM;
                                                     CTG’s dealings with vendors;
 21                                                    and
                                                     CTG’s debts and liabilities.
 22    Ralph L. Phillips                        Phillips was a former manager of CTG.
       01603 S.W. Greenwood Rd.
 23    Portland, OR 97219                       Phillips may have knowledge of the
       T:818.438.3770                           following subjects:
 24    Email:                                        the services provided by CTG;
       Rlphillips4141@gmail.com                      The relationship between CTG
 25                                                    and the Blue Wolf Entities;
                                                     The decision-making process of
 26                                                    CTG;
                                                     Payments made by CTG for the
 27                                                    benefit of BW Piezo Holdings
                                                       and CTGAM;
 28                                                  CTG’s dealings with vendors;
                                                       and


                                              5
                           PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                        Main Document   Page 211 of 262

  1                                                CTG’s debts and liabilities.
       Pendgi Han                               Han was a former manager of CTG.
  2    14304 SE 88th Place
       Newcastle, WA 98059                      Han may have knowledge of the
  3                                             following subjects:
                                                     the services provided by CTG;
  4                                                  The relationship between CTG
                                                       and the Blue Wolf Entities;
  5                                                  The decision-making process of
                                                       CTG;
  6                                                  Payments made by CTG for the
                                                       benefit of BW Piezo Holdings
  7                                                    and CTGAM;
                                                     CTG’s dealings with vendors;
  8                                                    and
                                                     CTG’s debts and liabilities.
  9    Cheryl Hanna                             Hanna was a former officer of CTG.
       Unknown Contact
 10    Information                              Hanna may have knowledge of the
                                                following subjects:
 11                                                  the services provided by CTG;
                                                     The relationship between CTG
 12                                                    and the Blue Wolf Entities;
                                                     The decision-making process of
 13                                                    CTG;
                                                     Payments made by CTG for the
 14                                                    benefit of BW Piezo Holdings
                                                       and CTGAM;
 15                                                  CTG’s dealings with vendors;
                                                       and
 16                                                  CTG’s debts and liabilities.
       Haranjeet Narulla                        Narulla is a manager of at least one of
 17    c/o Howard Steinberg                     the Blue Wolf Entities.
       steinbergh@gtlaw.com
 18    Greenberg Taurig, LLP                    Narulla may have knowledge of the
       1840 Century Park East,                  following subjects:
 19    Suite 1900                                    the services provided by CTG;
       Los Angeles, CA 90067                         The relationship between CTG
 20    T: 310.586.7702                                 and the Blue Wolf Entities;
       F: 310.586.7800                               The decision-making process of
 21                                                    CTG;
                                                     Payments made by CTG for the
 22                                                    benefit of BW Piezo Holdings
                                                       and CTGAM;
 23                                                  CTG’s dealings with vendors;
                                                       and
 24                                                  CTG’s debts and liabilities.
       David Tiffany                            Tiffany is CTG’s Chief Restructuring
 25    CR3 Partners, LLC                        Officer.
       6171 W. Century Blvd., Suite
 26    350                                      Tiffany may have knowledge of the
       Los Angeles, CA 90045                    following subjects:
 27    T: (602) 799-7397                             the services provided by CTG;
       david.tiffany@cr3partners.com                   and
 28                                                  the maintenance of the business
                                                       records of CTG.


                                              6
                           PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                          Main Document   Page 212 of 262

  1

  2         2.       A copy—or a description by category and location—of all
                     documents, electronically stored information, and tangible
  3                  things that the Trustee has in its possession, custody, or
                     control and may use to support its claims or defenses, unless
  4                  the use would be solely for impeachment.

  5         The Trustee identifies by BATES Numbers CTG000001-000385 documents
  6
      previously produced in the State Court Lawsuit that the Trustee may use to
  7
      support its claims or defenses in this case.               The Trustee has electronically
  8
      produced these documents to each Defendant, subject to the protective order.
  9

 10         In addition to the produced documents, the Trustee further identifies the

 11   following categories of documents in Trustee’s possession, custody or control that
 12
      it may use to support its claims or defenses:
 13
                    Email communications by CTG employees;
 14
                    CTG’s Operating Agreement;
 15

 16                 Documents relating to CTG’s organization and structure;

 17                 Accounting and/or financial documents, including but not limited to
 18
                     accounts receivables, accounts payable, bank instructions, bank
 19
                     statements, credit card statements, credit agreements, loan
 20

 21                  agreements, security agreements, revenue planning, capital

 22                  expenditures, GDP, month-end close files, bank statements, payroll

 23                  reports, Grant Thornton audits, yearly budgets, account balances,
 24
                     annual reports, fiscal year plans, WIP reports, 401Ks, and PLEX
 25
                     SQL data;
 26

 27                 Tax files;

 28




                                                     7
                                  PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                        Main Document   Page 213 of 262

  1              Credit agreements, investment agreements, loan agreements and/or
  2
                  security agreements entered into solely or jointly by CTG;
  3
                 EOI AP Invoices, MSI AP Invoices, CTG/EOI AP Invoices;
  4
                 Documents relating to Blue Wolf Entities’ capital loan to BW Piezo;
  5

  6              Documents relating to Blue Wolf Entities’ stock information;

  7              Documents relating to the Blue Wolf Entities’ equity interest;
  8
                 Documents relating to Gladstone Investment Corporation’s equity
  9
                  interest;
 10

 11              Documents relating to Board of Directors meetings, presentations,

 12               and/or minutes;

 13              Documents relating to customers, clients, and government affiliates;
 14
                 Documents relating to business plans, marketing plans, and/or
 15
                  administrative plans;
 16

 17              Documents relating to CTG acquisitions;

 18              Documents relating to the sale of Advanced Materials;
 19              Documents relating to the sale of EOI;
 20
                 Marketing documents;
 21
                 Company presentations;
 22

 23              Press releases and news articles;

 24              Correspondences to and/or from government entities submitted by
 25
                  or on behalf of CTG and/or the Blue Wolf Entities;
 26
                 Documents relating to government surveys prepared or submitted
 27
                  by or on behalf of CTG;
 28




                                                 8
                              PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                         Main Document   Page 214 of 262

  1               Documents relating to sales, purchases, and contracts with
  2
                   customers;
  3
                  Documents relating to Project Seawolf;
  4
                  Documents relating to CTG’s business development;
  5

  6               Human Resources documents relating to payroll, recruitment,

  7                workers’ compensation claims, benefits and insurance, timecards;
  8
                   and
  9
                  Documents related to the bankruptcy of CTG.
 10

 11         In addition to the above categories, the Trustee may use any documents or

 12   pleadings filed, produced, or otherwise exchanged in this matter to support its

 13   defenses. Other documents and information in the Trustee’s possession, custody,
 14
      or control and which support the Trustee’s claims may be identified as discovery
 15
      is conducted in this matter, in which case, if appropriate and necessary, the
 16

 17   Trustee’s disclosures may be supplemented accordingly pursuant to Rule 26(e).

 18                             *               *               *

 19         To further aid and facilitate discovery in this case, the Trustee would like
 20
      to provide some additional background on the universe of CTG documents
 21
      received by the Trustee upon his appointment. Upon assuming his role as
 22

 23   Trustee, the Trustee obtained 166 banker’s boxes (“Storage Documents”) from the

 24   CRO, David Tiffany. These Storage Documents were organized with an Index

 25   and reflect CTG’s physical copies of books and records. The Index provides a box
 26
      number, a date range, and a description. Each box also has a clearly marked
 27
      label that corresponds with the Index. These Storage Documents are currently
 28
      located in a storage unit in San Diego. The Blue Wolf Defendants have previously


                                               9
                            PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                        Main Document   Page 215 of 262

  1   inspected and copied the Storage Documents in connection with the State Court
  2
      Lawsuit. It is Plaintiff’s understanding that Defendants are not requesting to
  3
      inspect the Storage Documents again. Attached as Exhibit A is an inventory
  4
      report identifying by category and box number the hard copy documents in the
  5

  6   Trustee’s possession.

  7         Upon assuming its role as Trustee, the Trustee received CTG’s electronic
  8
      data from the CRO, David Tiffany. This electronic data includes PST email files
  9
      for its employees and CTG’s electronic books and records (including accounting
 10
      and plex data). This data is contained in three hard drives and a thumb drive
 11

 12   (collectively, the “Electronic Documents”).         The Blue Wolf Defendants have

 13   previously received the Electronic Documents in connection with the state court
 14
      lawsuit Corporate Recovery Associates, LLC, as Trustee for the Liquidating Trust
 15
      of Channel Technologies Group, LLC, v. Ruelas, et al., Case No. 18-CV-05060 in
 16
      the Superior Court of California and for the County of Santa Barbara (the “State
 17

 18   Court Lawsuit”). Though Defendants indicated that they do not need a duplicate

 19   copy, the Trustee stands ready to provide another copy of these electronic
 20
      documents now that the Court has entered a protective order upon request by a
 21
      Defendant. In addition, the Trustee has highlighted specific directory and file
 22
      locations as reflected in Exhibit B that the Trustee would point the Defendants
 23

 24   to as containing documents relevant to the issues in dispute in this case.

 25         3.     A computation of each category of damages claimed by the
                   Trustee—who must also make available for inspection and
 26                copying as under Rule 34 the documents or other
                   evidentiary material, unless privileged or protected from
 27                disclosure, on which each computation is based, including
                   materials bearing on the nature and extent of injuries
 28                suffered.



                                                 10
                              PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48               Desc
                          Main Document   Page 216 of 262

  1
               In March 2016, Blue Wolf sold CTG Advanced Materials for approximately
  2
      $73 million. Instead of returning to CTG the proceeds from the sale of assets of
  3
      CTG Advanced Materials, Blue Wolf structured the transaction to have the
  4
      purchaser, CTS Corporation, transfer the proceeds to the Blue Wolf Entities, CIT
  5
      Bank, N.A., the Mezzanine Lenders, Pengdi Han, and to the Blue Wolf Entities’
  6
      insiders as bonus payments. The transfers related to the sale of CTG Advanced
  7
      Materials:
  8

  9    Date             Amount                    Received Transfer/Beneficiary
       On or            $37,134,772.79            CIT Bank, N.A.;
 10    about                                      OneWest Bank N.A.
       March
 11    2016
       On or            $7,264,770.39             Fidus Investment Corporation;
 12    about                                      Fidus Mezzanine Capital II, L.P.
       March
 13    2016
       On or            $7,263,263.90             Avante Mezzanine Partners SBIC, LP
 14    about
       March
 15    2016
       On or            $1,340.39                 Avante Mezzanine Partners II, Inc.
 16    about
       March
 17    2016
       On or            $1,515,005.70             CTG Advanced Materials
 18    about
       March
 19    2016
       On or            $26,000.00                Pengdi Han;
 20    about                                      DHAN, LLC
       March
 21    2016
       On or            $16,612,424.11            Blue Wolf Fund II, L.P.
 22    about
       March
 23    2016
 24
      The subsequent transfers related to the sale of CTG Advanced Materials:
 25
       Date                Amount                      Received
 26                                                    Transfer/Beneficiary
       On or about         $2,303,366.24               Pengdi Han;
 27
       March 2016                                      DHAN, LLC
       On or about         $633,872.00                 Blue Wolf Capital Partners, LLC
 28
       March 2016




                                                  11
                               PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                         Main Document   Page 217 of 262

  1    On or about        $752,245.09                Gladstone Investment
       March 2016                                    Corporation
  2    On or about        $1,340.39                  Avante Mezzanine Partners II,
       March 2016                                    Inc.
  3    On or about        $199,861.70                Fidus Investment Corporation;
       March 2016                                    Fidus Mezzanine Capital II, L.P.
  4    On or about        $199,861.70                Avante Mezzanine Partners
       March 2016                                    SBIC, LP;
  5                                                  Avante Mezzanine Partners II,
                                                     Inc.
  6
              In addition, CTG, through its officers, employees, and agents made the
  7
      following transfers and incurred the following obligations:
  8

  9    Date               Total Amount               Received             Beneficiary
                                                     Transfers
 10    1/25/2013–         $1,177,135.85              Grant                Blue Wolf
       4/30/2017                                     Thornton,            Entities;
 11                                                  LLP                  CTG Advanced
                                                                          Materials,
 12                                                                       LLC
       12/20/2012–        $789,579.14                Holland &            Blue Wolf
 13    9/30/2016                                     Knight               Entities
                                                                          CTG Advanced
 14                                                                       Materials,
                                                                          LLC
 15    12/20/2013–        $1,959,987.31              Fidus                Blue Wolf
       12/31/2015                                    Investmen            Entities;
 16                                                  t                    CTG Advanced
                                                     Corporatio           Materials,
 17                                                  n;                   LLC
                                                     Fidus
 18                                                  Mezzanine
                                                     Capital II,
 19                                                  L.P.
       12/3/2012–         $2,731,668.15              Gladstone            Blue Wolf
 20    6/10/2016                                     Investmen            Entities;
                                                     t                    CTG Advanced
 21
                                                     Corporatio           Materials,
                                                     n                    LLC
 22
       12/11/2015         $50,000.00                 Raymond              Blue Wolf
                                                     James &              Entities;
 23
                                                     Associates,          CTG Advanced
                                                     Inc.                 Materials,
 24
                                                                          LLC
 25    12/19/2013–        $1,957,300.44              Avante               Blue Wolf
       2/18/2016                                     Mezzanine            Entities;
 26                                                  Partners             CTG Advanced
                                                     SBIC, LP;            Materials,
 27                                                  Avante               LLC
                                                     Mezzanine
 28                                                  Partners
                                                     II, Inc.




                                                12
                             PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                Desc
                         Main Document   Page 218 of 262

  1    1/10/2013–         $1,984,330.21              Blue Wolf            Blue Wolf
       5/13/2016                                     Capital              Entities;
  2                                                  Partners,            CTG Advanced
                                                     LLC                  Materials,
  3                                                                       LLC
       7/24/2013–         $18,752,915.42             CIT Bank,            Blue Wolf
  4    10/28/2014                                    N.A.;                Entities;
                                                     OneWest              CTG Advanced
  5                                                  Bank N.A.            Materials,
                                                                          LLC
  6    5/31/2013–         $9,409,002.23              CIT Bank,            Blue Wolf
       2/25/2016                                     N.A.;                Entities
  7                                                  OneWest              CTG Advanced
                                                     Bank N.A.            Materials,
  8                                                                       LLC; Electro
                                                                          Optical
  9                                                                       Industries
       4/3/2015           $36,995.00                 Duff &               Blue Wolf
 10                                                  Phelps,              Entities
                                                     LLC                  CTG Advanced
 11                                                                       Materials,
                                                                          LLC; Electro
 12                                                                       Optical
                                                                          Industries
 13    3/11/2015–         $165,365.86                McDermot             Blue Wolf
       5/26/2016                                     t Will &             Entities;
 14                                                  Emery,               CTG Advanced
                                                     LLP                  Materials,
 15                                                                       LLC

 16          4.     Attach for inspection and copying as under Fed. R. Civ. P. 34
                    any insurance agreement under which an insurance
 17                 business may be liable to satisfy all or part of a possible
                    judgment in the action or to indemnify or reimburse for
 18                 payments made to satisfy the judgment.
 19          The Trustee is not aware of any at this time.
 20

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                             PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48    Desc
                        Main Document   Page 219 of 262

  1
      DATED: January 27, 2021                 Respectfully submitted,
  2
                                             /s/
  3                                          Edward Jason Dennis
  4                                          Texas State Bar No. 24045776
                                             jdennis@lynnllp.com
  5                                          Samuel B. Hardy
                                             Texas State Bar No.
  6                                          shardy@lynnllp.com
                                             Barira Munshi
  7                                          bmunshi@lynnllp.com
                                             Eliyahu Ness
  8                                          California State Bar No. 311054
  9                                          eness@lynnllp.com
                                             LYNN PINKER HURST & SCHWEGMANN, LLP
 10                                          2100 Ross Avenue, Suite 2700
                                             Dallas, Texas 75201
 11                                          (214) 981-3800 - Telephone
 12                                          (214) 981-3839 - Facsimile

 13                                          Special Litigation Counsel for
                                             Corporate Recovery Associates, LLC,
 14                                          Trustee for the Liquidating Trust of
                                             Debtor Channel Technologies Group, LLC
 15

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                           PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                         Main Document   Page 220 of 262

  1                                  PROOF OF SERVICE
  2
      STATE OF TEXAS, COUNTY OF DALLAS
  3         I am employed in the County of Dallas, State of Texas. I am over the age of
      18 and not a party to the within action; my business address is 2100 Ross Avenue,
  4   Suite 2700, Dallas, Texas 75201.
  5
             On January 27, 2021, I caused the document described below as
  6   PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES to be served on
      all interested parties in this action via email:
  7
                              SEE ATTACHED SERVICE LIST
  8
      []     (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
  9   States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of
      collection and processing correspondence or mailing. Under that practice it would
 10   be deposited with the U.S. Postal Service on that same day with postage thereon
      fully prepaid at Dallas, Texas in the ordinary course of business. I am aware that
 11
      on motion of the party served, service is presumed invalid if postal cancellation date
 12   or postage meter date is more than one day after date of deposit for mailing in
      affidavit.
 13
      []    (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
 14
      picked up by U.S. Federal Express Services for overnight delivery to the offices of
 15   the addressees listed on the Service List.

 16   []    (BY PERSONAL SERVICE) I caused to be delivered such document by
      hand to the above-identified recipient through the use of First Legal Attorney
 17
      Service whose address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026,
 18   and whose telephone number is (213) 250-1111.

 19   []    (BY FACSIMILE) I caused said document(s) to be telephonically
      transmitted to each addressee’s telecopier (Fax) number as noted.
 20

 21   [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via
      electronic transmission to each addressee’s electronic mail address(es) as noted on
 22   the attached Service List.
 23
      I declare under penalty of perjury under the laws of the State of California that the
 24   above is true and correct.

 25   Executed on January 27, 2021, at Dallas, Texas.
 26
                                                                 Stephen M. Russo
 27

 28




                                                15
                             PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48      Desc
                        Main Document   Page 221 of 262

  1                                SERVICE LIST
                          United States Bankruptcy Court
  2
                  Central District of California, Northern Division
  3                          Case No. 9:16-BK-11912-DS
                             Adv. No. 9:19-AP-01058-DS
  4
       Howard J. Steinberg                      Jonathan Boustani
  5    steinbergh@gtlaw.com                     jonathan.boustani@btlaw.com
  6    GREENBERG TRAURIG, LLP                   Paul Laurin
       1840 Century Park East, Suite            Paul.laurin@btlaw.com
  7    1900                                     Jonathan Sundheimer
       Los Angeles, California 90067-           Jonathan.sundheimer@btlaw.com
  8    2121                                     Barnes & Thornburg LLP
  9                                             2029 Century Park East, Ste. 300
       Attorneys for Defendants                 Los Angeles, CA 90067
 10    Blue Wolf Capital Partners,
       LLC,                                     Attorney CTG Advanced
 11    Blue Wolf Capital Fund II,               Materials, LLC and CTS
 12    L.P.,                                    Corporation
       Blue Wolf Capital Advisors
 13    L.P., and BW Piezo Holdings,
       LLC
 14

 15    Cheryl S. Chang
       Chang@Blankrome.com
 16    Craig N. Haring
       charing@blankrome.com
 17    Jeffrey Rhodes
 18    jrhodes@blankrome.com
       BLANK ROME LLP
 19    2029 Century Park East, Sixth
       Floor
 20    Los Angeles, California 90067
 21
       Attorneys for Gladstone
 22    Investment Corporation
 23

 24

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                           PLAINTIFF’S SECOND AMENDED INITIAL DISCLOSURES
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 222 of 262




                         EXHIBIT A
                        Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                      Desc
                                                Main Document   Page 223 of 262



DISTRICT NAME                RECORD CODE        CUST BOX #        BOX LOCATION         MAJOR DESCRIPTION                     MINOR DESCRIPTION
SAN FRANCISCO, OAKLAND, CA   A                                1   SSLV02319000620602   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-EOI                           1   LAVA013BB004340303   TIMECARDS
LOS ANGELES, CA              FIN CTG                          1   LAVA022MM000320205   ITC AP INVOICES 2012
SAN FRANCISCO, OAKLAND, CA   B-C                              2   SSLV02319001030201   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           2   LAVA013BB004140605   TIMECARDS
LOS ANGELES, CA              FIN CTG                          2   LAVA022LL000620605   ITC AP INVOICES 2012
SAN FRANCISCO, OAKLAND, CA   D-E                              3   SSLV02319001030105   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           3   LAVA013BB004140205   TIMECARDS
LOS ANGELES, CA              FIN CTG                          3   LAVA022LL000610402   ITC AP INVOICES 2012
SAN FRANCISCO, OAKLAND, CA   E-I                              4   SSLV02319002110402   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           4   LAVA013BB004140204   TIMECARDS
LOS ANGELES, CA              FIN CTG                          4   LAVA022MM001310404   ASSISTANT CONTROLLER OFFICE
SAN FRANCISCO, OAKLAND, CA   J-L                              5   SSLV02319001030306   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           5   LAVA013BB004140305   TIMECARDS
LOS ANGELES, CA              FIN CTG                          5   LAVA022LL002930604   ASSISTANT CONTROLLER OFFICE
SAN FRANCISCO, OAKLAND, CA   M                                6   SSLV02319001030501   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           6   LAVA013BB004140406   TIMECARDS
LOS ANGELES, CA              FIN CTG                          6   LAVA022LL001630106   ASSISTANT CONTROLLER OFFICE
SAN FRANCISCO, OAKLAND, CA   M-N                              7   SSLV02319001130802   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           7   LAVA013BB004140906   TIMECARDS
LOS ANGELES, CA              FIN CTG                          7   LAVA022MM000710709   COST ACCOUNTING MANAGER
SAN FRANCISCO, OAKLAND, CA   O-R                              8   SSLV02319001020703   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           8   LAVA013BB004140206   TIMECARDS
LOS ANGELES, CA              FIN CTG                          8   LAVA022LL003020601   COST ACCOUNTING MANAGER
SAN FRANCISCO, OAKLAND, CA   S-T                              9   SSLV02213002410602   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                           9   LAVA013BB004140904   TIMECARDS
LOS ANGELES, CA              FIN CTG                          9   LAVA022MM001110205   COST ACCOUNTING MANAGER
SAN FRANCISCO, OAKLAND, CA   T-Z                             10   SSLV02319001020708   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                          10   LAVA013BB004340203   TIMECARDS
LOS ANGELES, CA              FIN CTG                         10   LAVA022MM000520606   CORP MINUTES
SAN FRANCISCO, OAKLAND, CA   MISC A-Z                        11   SSLV02319002020306   INCOMING INSPECTION QA CERTS
LOS ANGELES, CA              HR-CTG                          11   LAVA013BB004340105   TIMECARDS
LOS ANGELES, CA              FIN CTG                         11   LAVA022LL000620206   CORP MINUTES
LOS ANGELES, CA              HR-CTG                          12   LAVA013BB004340504   TIMECARDS
LOS ANGELES, CA              FIN CTG                         12   LAVA022MM000530802   ASSISTANT CONTROLLER FILE
LOS ANGELES, CA              HR-CTG                          13   LAVA013BB004340204   TERMS A-DE
LOS ANGELES, CA              FIN CTG                         13   LAVA022LL002910502   CONTROLLER FILES
LOS ANGELES, CA              HR-CTG                          14   LAVA013BB004340306   TERMS DO-GT
LOS ANGELES, CA              FIN CTG                         14   LAVA022LL000610501   CONTROLLER FILES
                  Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                                            Main Document   Page 224 of 262

LOS ANGELES, CA        HR-CTG                       15   LAVA013BB004340406   TERMS GO-J
LOS ANGELES, CA        PO 2012                      15   LAVA013BB004140506   CTG POS
LOS ANGELES, CA        FIN CTG                      15   LAVA022LL001620706   CONTROLLER FILES
LOS ANGELES, CA        PO 2012                      16   LAVA013BB004140803   CTG POS
LOS ANGELES, CA        HR-CTG                       16   LAVA013BB004240805   TERMS K-O
LOS ANGELES, CA        FIN CTG                      16   LAVA022LL000610306   CONTROLLER FILES
LOS ANGELES, CA        PO 2012                      17   LAVA013BB004140801   CTG POS
LOS ANGELES, CA        HR-CTG                       17   LAVA013BB004340305   TERM BENEFITS T-Z
LOS ANGELES, CA        FIN CTG                      17   LAVA022LL000610504   CONTROLLER FILES
LOS ANGELES, CA        HR-CTG                       18   LAVA013BB004240804   TERMS PACHCO-RAMIREZ
LOS ANGELES, CA        PO 2012                      18   LAVA013BB004140704   CTG POS
LOS ANGELES, CA        HR-CTG                       19   LAVA013BB004340501   TERMS RATIOS-SEC
LOS ANGELES, CA        PO 2012                      19   LAVA013BB004040906   CTG POS
LOS ANGELES, CA        PO 2012                      20   LAVA013BB004140306   CTG POS
LOS ANGELES, CA        HR-CTG                       20   LAVA013BB004340104   TERMS S11 E-Z
LOS ANGELES, CA        HR-CTG                       21   LAVA013BB004340205   PAYROLL REPORTS
LOS ANGELES, CA        PO 2014                      21   LAVA013BB004140405   CTG POS
LOS ANGELES, CA        HR-CTG                       22   LAVA013BB004240704   PAYROLL REPORTS
LOS ANGELES, CA        PO 2014                      22   LAVA013BB004040904   CTG POS
LOS ANGELES, CA        PO 2014                      23   LAVA013BB004140104   CTG POS
LOS ANGELES, CA        HR-CTG                       23   LAVA013BB004340402   PAYROLL REPORTS
LOS ANGELES, CA        PO 2014                      24   LAVA013BB004040805   CTG POS
LOS ANGELES, CA        HR-CTG                       24   LAVA013BB004340301   PAYROLL REPORTS
LOS ANGELES, CA        HR-CTG                       25   LAVA013BB004340106   LEAD RESULTS
LOS ANGELES, CA        PO 2014                      25   LAVA013BB004040806   CTG POS
LOS ANGELES, CA        HR-CTG                       26   LAVA013BB004340404   PAYROLL REPORTS
LOS ANGELES, CA        PO 2015                      26   LAVA013BB004140604   CTG POS
LOS ANGELES, CA        HR-CTG                       27   LAVA013BB004240901   PAYROLL REPORTS
LOS ANGELES, CA        PO 2015                      27   LAVA013BB004140106   CTG POS
LOS ANGELES, CA        HR-CTG                       28   LAVA013BB004140905   401K
LOS ANGELES, CA        PO 2015                      28   LAVA013BB004040804   CTG POS
LOS ANGELES, CA        PO 2015                      29   LAVA013BB004140105   CTG POS
LOS ANGELES, CA        HR-CTG                       29   LAVA013BB004240806   PAYROLL REPORTS
LOS ANGELES, CA        PO 2015                      30   LAVA013BB004140606   CTG POS
LOS ANGELES, CA        HR-CTG                       30   LAVA013BB004340405   PAYROLL REPORTS
LOS ANGELES, CA        PO 2016                      31   LAVA013BB004140504   CTG POS
LOS ANGELES, CA        HR-CTG                       31   LAVA013BB004340302   PAYROLL REPORTS
LOS ANGELES, CA        CTG CO 2012 RYOL             32   LAVA013BB004240905   PAYROLL
LOS ANGELES, CA        PO 2016                      32   LAVA013BB004140505   CTG POS
LOS ANGELES, CA        CTG WOCKER COMP CL           33   LAVA013BB004140806   WORKER COMP CLAIMS
LOS ANGELES, CA        PO 2016                      33   LAVA013BB004140804   CTG POS
LOS ANGELES, CA        PO OTHER                     34   LAVA013BB004140705   CTG OTHER POS
                  Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                            Main Document   Page 225 of 262

LOS ANGELES, CA        CTG RECRUITEMENT            34   LAVA013BB004140805   RECRUITEMENT
LOS ANGELES, CA        PO OTHER                    35   LAVA013BB004140706   CTG OTHER POS
LOS ANGELES, CA        CTG BENEFITS AND I          35   LAVA013BB004340101   BENEFITS & INSURANCE
LOS ANGELES, CA        PO OTHER                    36   LAVA013BB004040905   CTG OTHER POS
LOS ANGELES, CA        CTG TERMS 2013              36   LAVA013BB004340206   TERMS
LOS ANGELES, CA        CTG TERMS 2014              37   LAVA013BB004140304   TERMS
LOS ANGELES, CA        PO OTHER                    37   LAVA013BB004140903   CTG OTHER POS
LOS ANGELES, CA        PO OTHER                    38   LAVA013BB004140404   LTG OTHER POS
LOS ANGELES, CA        CTG TERMS 2015 A-L          38   LAVA013BB004240906   TERMS A-L
LOS ANGELES, CA        PO OTHER                    39   LAVA013BB004140703   LTG OTHER POS
LOS ANGELES, CA        CTG TERMS 2015 M-           39   LAVA013BB004240904   TERMS M-Z
LOS ANGELES, CA        HR-EOI EOI TERMS            40   LAVA013BB004340202   EOI TERMS
LOS ANGELES, CA        MSI TERM5                   41   LAVA013BB004240705   TERMS
LOS ANGELES, CA        LTG TERM5 2012              42   LAVA013BB004240706   TERMS
LOS ANGELES, CA                 #NAME?             43   LAVA013BB004340201   TERMS
LOS ANGELES, CA        HR-CTG                      44   LAVA022MM000710406   CTG TERMS 2017 + FLAG LEAD TES          WORKERS COMP 2017
LOS ANGELES, CA        HR-CTG                      45   LAVA022LL001630405   401K 2016-2017 PLAN DOC'S
LOS ANGELES, CA        HR-CTG                      46   LAVA022MM000710801   CTG+CO'S 2016 PAYROLL REPORTS                           2017
LOS ANGELES, CA        HR-CTG                      47   LAVA022LL000610802   CTG TERMS 2017
LOS ANGELES, CA        HR-CTG                      48   LAVA022MM000530907   CTG TERMS 2017
LOS ANGELES, CA        EOI ACCTG                   11   LAVA013BB004040505   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   12   LAVA013BB003940706   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        CTG ACCTG                   13   LAVA013BB004240306   EOI AP INVOICES
LOS ANGELES, CA        EOI ACCTG                   21   LAVA013BB003940806   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   22   LAVA013BB004040206   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   23   LAVA013BB003940705   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   24   LAVA013BB003940804   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   25   LAVA013BB004040204   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   31   LAVA013BB004040404   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   32   LAVA013BB004040306   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   33   LAVA013BB004040303   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   34   LAVA013BB004040105   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   35   LAVA013BB004040205   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   41   LAVA013BB004040305   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   42   LAVA013BB004010308   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   43   LAVA013BB003940904   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   44   LAVA013BB004040605   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   51   LAVA013BB004040406   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   52   LAVA013BB004040405   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   61   LAVA013BB004040106   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   62   LAVA013BB003940805   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                   63   LAVA013BB004040705   AP INVOICES, WIP REPORTS, CK R
                  Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                    Desc
                                          Main Document   Page 226 of 262

LOS ANGELES, CA        EOI ACCTG                  64    LAVA013BB004040104   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                  65    LAVA013BB004040506   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                  71    LAVA013BB004240701   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  72    LAVA013BB004040503   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  73    LAVA013BB003940906   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  74    LAVA013BB003940905   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  75    LAVA013BB004040304   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  81    LAVA013BB004240703   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  82    LAVA013BB004240702   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  83    LAVA013BB004240301   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  84    LAVA013BB004240302   ASST CONTROLLER
LOS ANGELES, CA        EOI ACCTG                  85    LAVA013BB004240304   ASST CONTROLLER
LOS ANGELES, CA        CTG ACCTG                  91    LAVA013BB004240604   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                  92    LAVA013BB004240403   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                  93    LAVA013BB004240605   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                  94    LAVA013BB004240206   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                  95    LAVA013BB004240205   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 10 1   LAVA013BB004240204   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 10 2   LAVA013BB004240606   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 10 3   LAVA013BB004240602   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 10 4   LAVA013BB004240601   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 10 5   LAVA013BB004240502   AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 11 1   LAVA013BB004240203   EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 11 2   LAVA013BB004240603   EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 12 1   LAVA013BB004340304   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 12 2   LAVA013BB004240506   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 12 3   LAVA013BB004240504   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 12 4   LAVA013BB004240305   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 12 5   LAVA013BB004240104   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 13 1   LAVA013BB004240105   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 13 2   LAVA013BB004240106   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 13 3   LAVA013BB004240201   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 13 4   LAVA013BB004240202   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 13 5   LAVA013BB004240406   CTG/EOI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 14 1   LAVA013BB004240505   MSI AP INVOICES
LOS ANGELES, CA        CTG ACCTG                 14 2   LAVA013BB004240405   MSI AP INVOICES
LOS ANGELES, CA        EOI ACCTG                 6A 1   LAVA013BB004040604   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                 6A 2   LAVA013BB004040606   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                 6A 3   LAVA013BB004040706   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                 6A 4   LAVA013BB004040704   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                 6A 5   LAVA013BB004040504   AP INVOICES, WIP REPORTS, CK R
LOS ANGELES, CA        EOI ACCTG                 6A 6   LAVA013BB004240404   AP INVOICES, WIP REPORTS, CK R
                  Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                  Desc
                                          Main Document   Page 227 of 262

LOS ANGELES, CA        EOI ACCTG                 6A 7 LAVA013BB004240503   AP INVOICES, WIP REPORTS, CK R
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 228 of 262




                         EXHIBIT B
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 229 of 262




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                    Ceramics
                    CTG
                    Dir_Lists
                    Doc_Control
                    Email_Exports
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                    Shared Data
                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 230 of 262




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                    Ceramics
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                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
  Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                                Main Document   Page 231 of 262




                  > DataCopy (D:) > CTG

Name                                       Date modified         Type          Size

  CTl_Marketing                            3n/2017 3:06 PM       File folder
  EHS                                      7/1 5/ 2019 6:14 PM   File folder
  Facilities                               3n/2017 1:06 PM       File folder
  Program_Management                       3n/2017 3:31 PM       File folder
    Case 9:18-ap-01058-DS                  Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48      Desc
                                           Main Document   Page 232 of 262




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    Cll                                                   3/7/20171:06 PM       File folder
    (:11-PowerPoints                                       12/30/2020 2:06 PM   File folder
    CTG                                                   3/7/20171:31 PM       File folder
    ITC                                                   3/7/20171:32 PM       File folder
    STI                                                    1/6/2021 6:40 PM     File folder
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                        Main Document        Page 233 of 262
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           Advertising
           Blue Wolf Logo
           BOD Docs
           Branding
           Brochures & Data Sheets
           Communications Meetings
           ( :ompany_Presentations
           Competition
           Conferences & Trade Shows
           Customers
           Due Diligence
           ISO 9001
           Josh Work
           Marketing-PR Firm Search
           other co graphics
           Papers
           Pre-Proposals
           Press Releases
           Promotional_ltems
           SBIR_STTR
           Strategic_Plan
        li1J 87 Hemi Mold
        O!j Barium Titanate
        ~ CTG     2011 Print Advertising and Marketing Proposal-Rev4A
        ~ CTG 2011 Print Advertising Proposal-Revs
        8!) Energy_Harvesting_Phase-l_Proposal
        Ci!J Facilities
        .!J G Douville
        _J Haun_Michael_photo
        ~ History 06- 11_SummarySTl_Fina1_2
        Ci!J marcomrfpvl_JM
        Ci!J marcomrfpv2_rc_JM_2
        ti!J new bois for ctg ELT
        Ci!J Notes from 3-18-2011 Conv w-Danielle Murray
        ~ Organizations to Join-Discuss
        .!J Rear Adm Carr
        .!J Rear Adm Ellis
        .!J Vice Adm Donnelly
        8!) Viking Notes - Rockwood




       39 items
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 234 of 262




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                    Ceramics
                    CTG
                    Dir_Lists
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                    HR
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                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




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                       Case 9:18-ap-01058-DS              Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                                                          Main Document   Page 235 of 262


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 Name                                                               Date modified          Type                 Size

     Brad_Hinnrichs_Export                                          3/15/ 2017 4:06 PM     File folder
     Bruce_Johnson_Export                                           3/ 15/ 2017 4:07 PM    File folder
     Carla_McCann_Export                                            3/15/ 2017 4:07 PM     File folder
     CGrelier_Export                                                3/15/ 2017 4:09 PM     File folder
     Chase_Henderson_Export                                         3/ 15/ 2017 4:09 PM    File folder
     Cheryl_Hanna_Export                                            3/ 15/ 2017 4:09 PM    File folder
     Chris_Holmes_Export                                            7/19/ 20191:46 PM      File folder
     Dan_Freedland_Export                                           3/ 15/ 2017 4:11 PM    File folder
     Denise_Cohen_Export                                            3/15/ 20174:11 PM      File folder
     DForseth_Export                                                3/15/ 2017 4:11 PM     File folder
     DHughes_Export                                                 3/15/ 2017 4:12 PM     File folder
     Don_Blackston_Export                                           3/15/ 2017 4:14 PM     File folder
     GTurner_Export                                                 3/ 15/ 2017 4:14 PM    File folder
     JAlvarez_Export                                                3/ 15/ 2017 4:15 PM    File folder
     Jill_Erskine_Export                                            3/15/ 2017 4:16 PM     File folder
     Jlain_Export                                                   3/ 15/ 2017 4:16 PM    File folder
     Jlongyear_Export                                               3/15/ 2017 4:16 PM     File folder
     JPrizler_Export                                                3/ 15/ 2017 4:17 PM    File folder
     Mlara_Export                                                   3/15/ 2017 4:17 PM     File folder
     SMonroy_Export                                                 3/15/ 2017 4:1 7 PM    File folder
     TAdams_Export                                                  3/ 15/ 2017 4:17 PM    File folder




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Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 236 of 262




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                    Ceramics
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                    Dir_Lists
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                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




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                               Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48        Desc
                                                       Main Document   Page 237 of 262




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Name                                                           Date modified                Type                                Size

   Ol_Recruitment                                              3/14/201711:14 AM            File folder
   02 Orientation                                              3/ 14/201711:14 AM           File folder
   03 Compensation                                             3/14/201711:1SAM             File folder
   04 Benefit;                                                 3/14/201711:18AM             File folder
   OS Attendance                                               3/14/201711:19AM             File folder
   06 Training_&_Development                                   3/ 14/201711:19 AM           File folder
   07 Health_&_Safety                                          3/14/201711:19AM             File folder
   08 Security                                                 3/ 14/201711:19AM            File folder
   09 Employee_Relation;                                       3/14/201711:2SAM             File folder
   lO_Performance_Management                                   3/ 14/20171 l:OSAM           File folder
   11_Termination                                              3/14/201711:09 AM            File folder
   12_Compliance                                               3/14/201711:09 AM            File folder
   13_HR_Dept                                                  3/14/201711:11 AM            File folder
   Linda's_stuff                                               3/ 14/201711:11 AM           File folder
i!'I Channel Technologies company histories                    8/14/2009 5:09 PM            Microsoft Word Document                    17 KB
~ Plex Pay Grade Code;                                         2/26/201511:57 AM            Microsoft Word 97 - 2003 Docu ...          SOKB
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 238 of 262




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                    Ceramics
                    CTG
                    Dir_Lists
                    Doc_Control
                    Email_Exports
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                    Shared Data
                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
     Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48        Desc
                                   Main Document   Page 239 of 262




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Name                                           v    Date modified         Type          Size

     Accounting                                     7/15/ 2019 6:14 PM    File folder
     BC_DR                                          3/ 10/2017 4:04 PM    File folder
     busdev                                         3/ 10/2017 4:04 PM    File folder
     data                                           3/ 10/2017 6:40 PM    File folder
     Document_Control                               3/10/2017 7:16 PM     File folder
     ERP_Project                                    3/10/2017 7:1 7 PM    File folder
     Export_Documents                               3/ 10/2017 7:1 8 PM   File folder
     IFS_lmplementation                             3/ 10/20177:23 PM     File folder
     PIEZO_ARCHIVE                                  3/10/20177:25 PM      File folder
     piezo_data                                     3/ 10/20177:31 PM     File folder
     Prop_Dev                                       3/10/20177:32 PM      File folder
     SYS                                            3/ 10/2017 7:32 PM    File folder
     webcontent                                     3/10/2017 7:35 PM     File folder
                     Case 9:18-ap-01058-DS            Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48              Desc
                                                      Main Document   Page 240 of 262




                       > DataCopy (D:) > SRV-03_CTI > Accounting

    2014 Month End Close Files                     Internal Reporting
    2015 Grant Thorton Audit                       lronMTQACerts
    2015 Month End Close Files                     Management
    2016 and 2017 CASH                             MSI ASSET SALE CLOSED XX-XX-XX
    20 16 M onth End Close Files                   officeclient.microsoft.com
    2016 TAX FILES                                 Payroll
    2016 Vear Budget                               Pension
    2017 MONTH END FILES                           PLEX DB Testing
   Advance Material Sale - Close date 3 11 16      Procedures
   Analysis                                        Ref Material (acctg, other)
   A-R                                             Santa Barbara County
    Backlog                                        SOAL SOFA MOR
    BANK STATEMENTS                                SONATECH
    BANKRUPTCYCHAPTER# 11 - 10 14 16            ~ Bank
    BLUE WOLF CAPITAL LOAN TO BWP               !UC Finance (channel.SRV-STl_VOL1.STl.CTSTIGroups) (J) - Shortcut
    BLUEWOLF STOCK INFORMATION                  ~ Sales Tax Q3 2016
   CAPEX
   CHERVLS FILES
   Corporate
   Cost Accounting
    Daily Bookings
    EOI SALE INFORMATION
   General
    ICE files

40 items
                               Case 9:18-ap-01058-DS          Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48    Desc
                                                              Main Document   Page 241 of 262




          • 1'         > DataCopy (D:) > SRV-03_CTI > BC_DR                                                                    Search BC_DR

Name                                                                   Date modified               Type                     Size

    Archived                                                           1/ 6/ 2021 6:51 PM          File folder
    background info                                                    3/ 10/2017 4:04 PM          File folder
    BIA Interviews                                                     3/ 10/ 2017 4:04 PM         File folder
    Draft Plan 6-8-2012                                                3/ 10/ 2017 4:04 PM         File folder
"'! Federal Register                                                   10/ 5/ 2012 6:20 PM         Adobe Acrobat Document               285 KB
"'! marking-booklet                                                    10/ 5/ 2012 5:18 PM         Adobe Acrobat Document              3,520 KB




6 items   1 item selected
Case 9:18-ap-01058-DS            Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                                 Main Document   Page 242 of 262




                        > DataCopy (D:) > SRV-03_CTI > ERP_Project

    Archived
     Data_ltems
     M igration Docs
     Phase 1 and 2 Dropbox Contents
     Project_Plans
     Reference_Documents
     Training
 ~ Change Request Log
 ii:j Step-by-step-tasklist




 9 items
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 243 of 262




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                    Ceramics
                    CTG
                    Dir_Lists
                    Doc_Control
                    Email_Exports
                    HR
                    Shared Data
                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
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I ~        • I SRV-03_Vol2      Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48    Desc
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          Home     Share        View


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Name                                                             Date modified                Type                 Size

    HP_A rchiv e                                                 3/ 13/2017 11 :37 AM         File folder
    Manufacturing_Engineering                                    3/ 13/ 2017 11 :32 AM        File folder
    SeaWolf                                                      3/ 13/ 2017 11 :32 AM        File folder
                      Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48     Desc
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I   ~       .- I HP_Archive
            Home     Share    View


                     > DataCopy (D:) > SRV-03_Vol2 > HP_Archive

Name                                                               Date modified               Type             Size

    Accounting_IFS                                                 3/13/2017 11 :37 AM         File folder
    Costing                                                        3/ 13/2017 11 :37 AM        File folder
    Purchasing                                                     3/ 13/2017 11 :37 AM        File folder
    Sales                                                          3/ 13/2017 11 :37 AM        File folder
                               Case 9:18-ap-01058-DS         Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48    Desc
                                                             Main Document   Page 246 of 262




I   ~      • I SeaWolf
          Home         Share   View


                       > DataCopy (D:) > SRV-03_Vol2 > SeaWolf

Name                                                                  Date modified                Type                 Size

    CY14 Plan                                                         1/ 5/ 20211 0:26 PM          File folder
    lntegration_Plan                                                  3/ 13/ 2017 11 :32 AM        File folder
    Kickoff Meeting                                                   1/ 5/ 2021 10:28 PM          File folder
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 247 of 262




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                    Ceramics
                    CTG
                    Dir_Lists
                    Doc_Control
                    Email_Exports
                    HR
                    Shared Data
                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
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                                                        Main Document   Page 248 of 262



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I ~          .- I SRV-04_Vol1
          Home        Share     View


                       > DataCopy (D:) > SRV-04_Vol1


Name                                                             Date modified                Type                 Size

    AR_AGINGS                                                    3/ 13/ 2017 12:50 PM         File folder
    copper                                                       3/ 13/2017 1:01 PM           File folder
    CTG_Business_Development                                     3/ 13/2017 1:02 PM           File folder
    CTG_PM                                                       3/ 13/201712:3 1 PM          File folder
    ELT                                                          3/ 13/201712:33 PM           File folder
    ESDocs                                                       3/ 13/2017 12:33 PM          File folder
    Government_Surveys                                           3/ 13/2017 12:33 PM          File folder
    HR                                                           3/ 13/2017 12:33 PM          File folder
    HR_Pics                                                      3/ 13/2017 12:34 PM          File folder
    kr                                                           3/ 13/201712:40 PM           File folder
    OLT                                                          3/ 13/201712:41 PM           File folder
    PLEX_ERP                                                     3/ 13/ 2017 12:48 PM         File folder
    Safety_Committee                                             3/ 13/201712:48 PM           File folder
  I ~         .. I AR_AGINGS

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                                                                         Page 249 of 262
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 Name                                                              Date modified          Type                          Size

    ARAging Templates                                              3/13/2017 12:49 PM     File folder
    AR DATA                                                        3/13/2017 12:49 PM     File folder
     Backlog                                                       3/ 13/201712:49 PM     File folder
     CIT Bank Instructions                                         3/ 13/2017 12:49 PM    File folder
     Collections                                                   3/ 13/201712:50 PM     File folder
     Credit                                                        3/ 13/2017 12:50 PM    File folder
     CTG Archive                                                   3/ 13/2017 12:50 PM    File folder
     Custorrer Contacts                                            3/ 13/201712:50 PM     File folder
     Custorrer Statements                                          3/ 13/2017 12:50 PM    File folder
     DNB                                                           8/22/2016 2:03 PM      File folder
     EASTWEST Bank Instructions                                    3/ 13/201712:50 PM     File folder
     EO Archive                                                    3/ 13/2017 12:50 PM    File folder
     Jenni                                                         3/ 13/201712:50 PM     File folder
     Meeting Notes                                                 9/12/2016 2:04 PM      File folder
     MSIArchive                                                    3/ 13/2017 12:50 PM    File folder
     NSWC                                                          3/ 13/201712:50 PM     File folder
     Short_li;t                                                    3/ 13/2017 12:50 PM    File folder
    xjunk                                                          3/ 13/2017 12:50 PM    File folder
 Dl) AR 1 1617 Post Petition Collections                           1/16/2017 1:35 PM      Microsoft Excel Worksheet            51 KB
 li1J AR 1 23 17 Post Petition Collections                         1/24/201711:15AM       Microsoft Excel Worksheet            43 KB
 Dl) AR 1 30 17 Post Petition Collections                          1/ 31/2017 4:41 PM     Microsoft Excel Worksheet            39KB
 li1J AR 2 6 17 Post Petition Collections                          2/6/20177:04 PM        Microsoft Excel Worksheet            40KB
 Dl) AR 2 1317 Post Petition Collections                           2/13/2017 4:01 PM      Microsoft Excel Worksheet            41 KB
 Dl) AR 2 20 17 Post Petition Collections                          2/20/2017 3:45 PM      Microsoft Excel Worksheet            42 KB
 ~ AR 2 2417 Post Petition Collections                             2/27/201710:11 AM      Microsoft Excel Worksheet            43 KB
 Dl) AR 3 6 17 Post Petition Collections                           3/6/201710:01 AM       Microsoft Excel Worksheet            44 KB
 "'! AR 12 31 16 write off                                         1/11/201712:46 PM      Adobe Acrobat Document               70KB
 Dl) CTG ARAging 1.1 6.17Update                                    1/17/2017 5:43 PM      Microsoft Excel Worksheet            50KB
               • I copper
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Name                                                                   Date modifie~             Type                       Size

      Blue Wolf                                                        3/1 3/2017 12:50 PM       File folder
      capex                                                            3/ 13/ 201712:50 PM       File folder
      capgemini                                                        3/ 13/201712:51 PM        File folder
      channel                                                          3/ 13/ 2017 12:51 PM      File folder
      desktop                                                          3/ 13/201712:51 PM        File folder
      ELT                                                              3/ 13/ 201712:51 PM       File folder
      email                                                            3/ 13/201712:51 PM        File folder
      Energy and Piezo                                                 3/ 13/201712:51 PM        File folder
      fac_EHS                                                          3/ 13/201712:51 PM        File folder
      HR                                                               3/ 13/ 201712:51 PM       File folder
      IT                                                               3/ 13/201712:51 PM        File folder
      keycontacts                                                      3/ 13/ 2017 12:51 PM      File folder
      legal                                                            3/ 13/201712:51 PM        File folder
      New MarrComm                                                     3/ 13/ 2017 12:51 PM      File folder
      oftm3arc                                                         3/ 13/2017 12:59 PM       File folder
      old laptop                                                       3/ 13/20171 :Cl PM        File folder
      PLEX                                                             3/ 13/ 2017 1:Cl PM       File folder
      Safety                                                           3/ 13/ 2017 1:Cl PM       File folder
      strategy session                                                 3/ 13/ 2017 1:Cl PM       File folder
      Support Services                                                 3/ 13/ 2017 1:Cl PM       File folder
      update                                                           3/ 13/ 2017 l:C2 PM       File folder
D!}   Electronic Devices polices                                       2/21/2013 3:30 PM         Microsoft Word Document             37KB
~ Scanners_AcceptedSigned_201303~1_183008                              3/4/2013 11 :C4 AM        Adobe Acrobat Document            1,494 KB
                                   Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                                                              Main Document   Page 251 of 262




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Name                                                                  Date modified                Type                                  Size

   3+ 9 Materials                                                     3/ 13/ 201712:31 PM          File folder
   4+ 8 Materials                                                     3/ 13/ 201712:31 PM          File folder
   BoD presentations                                                  3/ 13/ 201712:31 PM          File folder
   Christmas 2013                                                     3/ 13/ 201712:33 PM          File folder
   Extra                                                              3/ 13/ 201712:33 PM          File folder
   GDP - Eng - Shaw                                                   3/ 13/201712:33 PM           File folder
   GDP ELT                                                            3/ 13/ 2017 12:33 PM         File folder
   GDP-Support-Copperman                                              3/ 13/ 201712:33 PM          File folder
   NUWCVisit 16April2014                                              3/ 13/ 2017 12:33 PM         File folder
   OPS GDP - Douville                                                 3/ 13/2017 12:33 PM          File folder
   Optics GDP - Scopatz                                               3/ 13/ 201712:33 PM          File folder
   Project Seawell                                                    1/5/2021 10:39 PM            File folder
iij Cost Model - CTG -3 - Fixed a                                     2/21/2014 10:59 AM           Microsoft Excel Macro-Enabled ...             269KB
Ci!J CTG Plex Phase 1-2 Benefits                                      1/ 11/2013 4:17 PM           Microsoft Word Document                        18 KB
~ CTG Plex Phase 3 Benefits                                           1/11/ 2013 4:19 PM           Microsoft Word Document                         18 KB
ii:J garysslideshow 2                                                 2/21/2014 10:59 AM           Microsoft PowerPoint Presentati ...          1, 152 KB
c Novocure - Overview                                                 6/7/201711:06AM              EML File                                          1 KB
             .- I OLT
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                                                              Main Document   Page 252 of 262
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Name                                                                 Date modified             Type                                   Size

      CapEx Photos- New                                              3/ 13/ 2017 12:40 PM      File folder
      CapEx Photos- Old                                              3/ 13/ 201712:41 PM       File folder
      Capital Appropriation Requests                                  1/ 5/ 202110:43 PM       File folder
      Ceramics VSM Reviews                                           3/ 13/ 201712:41 PM       File folder
      Company Pres:entations                                         3/ 13/ 201712:41 PM       File folder
      CY14 Revenue Planning                                          3/ 13/ 201712:41 PM       File folder
      CYl 5 Revenue Planning                                         3/ 13/ 201712:41 PM       File folder
      GDP                                                            3/ 13/ 201712:41 PM       File folder
      Hinnrichs                                                      3/ 13/ 201712:41 PM       File folder
      Kaizen Playbook                                                3/ 13/ 201712:41 PM       File folder
      MBOs                                                           3/ 13/ 201712:41 PM       File folder
      Ops Al Tracker                                                 3/ 13/ 201712:41 PM       File folder
      OpsCAPEX                                                       3/ 13/ 201712:41 PM       File folder
      Ops Dashboard                                                  3/ 13/ 201712:41 PM       File folder
      PLEX                                                           3/ 13/ 201712:41 PM       File folder
      Revenue - Business Line Reviews                                3/ 13/ 201712:41 PM       File folder
      Rewards and Recognition                                        3/ 13/ 201712:41 PM       File folder
      SeaWolf 21June13 Meeting                                        1/ 5/ 202110:45 PM       File folder
      Six_Sigma                                                      3/ 13/ 201712:41 PM       File folder
      Staff meeting                                                  3/ 13/ 201712:41 PM       File folder
      Value Stream Reviews - June 2013                               3/ 13/ 201712:41 PM       File folder
Q:j   CTG Proposal Re-design Process_220ct13                         10/ 22/2013 9:52 PM       Microso.ft PowerPoint Presentati ...           76KB
lilJ CTG Safety Gemba Walk - Spreadsheet                             12/16/ 20141:58 PM        Microsoft Excel 97-2003 Worksh ...            331 KB
L   OLT - Shortcut                                                   8/ 20/ 2015 1:04 PM       Shortcut                                        2 KB
~ Ops Surge Tracker OST_26June13                                     6/ 26/ 2013 6:33 PM       Microsoft Excel Worksheet                      16 KB
,J Shortcut to GDP                                                   2/18/ 2013 3:54 PM        Shortcut                                        1 KB
liJ Transformation and Growth Roadmap_CTG_CY13                       6/ 5/ 2013 3:30 PM        Microsoft PowerPoint 97-2003 P.. .            240KB
liJ Ultra visit_15May13_rev3_ULTRA USSl_22July14                     7/ 22/201412:42 PM        Microsoft PowerPoint 97-2003 P.. .            450KB
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                           Main Document   Page 253 of 262




                ~          • 1'     v   > DataCopy (D:)

                    Ceramics
                    CTG
                    Dir_Lists
                    Doc_Control
                    Email_Exports
                    HR
                    Shared Data
                    SolidWorks
                    SolidWorks_Vault
                    SRV-03_CTI
                    SRV-03_Vol2
                    SRV-03_Vol3 - MSI
                    SRV-04_Vol1
                    SRV-04_Vol3 - Ducer
                    Systems
                    Transducers




                16 items
     Case 9:18-ap-01058-DS        Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48        Desc
                                  Main Document   Page 254 of 262




                   > DataCopy (D:) > Systems

Name                                           Date modified       Type            Size

     Apps                                      3/7/20171:17 AM     File folder
     dueer                                     3/2/201710:23 AM    File folder
     Groups                                    3/6/2017 2:21 PM    File folder
     Marketing                                 3/ 1/2017 3:22 PM   File folder
     Projects                                  3/7/201712:47 AM    File folder
     Proposals                                 7/15/2019 6:10 PM   File folder
     WIP                                       3/2/2017 8:22 AM    File folder
.J   Systems_LongNames                         3/7/2017 3:55 PM    Text Document           184 KB
.,.
 I ~        • I Security
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                                 View 9:18-ap-01058-DS


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                                                                       Main Document   Page 255 of 262
                                                                                                                                                                         Desc


   11 -5-13 DSS                              EXPORT Compliance Training 12-2014      REPSHIP FORMS                                       O!J DSS Ltr re Bankruptcy questions_10-25- 16
   2014 CTG Security                         FBI                                     SAFE INFO                                           "! DSS Ltr re Bankruptcy questions_10-25- 16
   2014 EOI Security                         FedEx Approval Letter                   SCGs                                                "! DSS_Cyber_Activity_Bulletin_3Dec1 0
   2015 CTG Security                         Floor Plans                             SCIF                                                ~ Emergency Notification List
   2016 CTG Security Audit                   FngrPrnt Acct                           Secure Rooms                                        B:I Employee Clearance Notification Letter_LA
   2016 EOI Security                         FOREIGN CONTACT                         Security Awareness material                         "! Eqmpt notice-2012-04
   2016 Security - McCann                    Foreign National                        Security Clearance Forms                            Ii) FOREIGN SALES 2014
   2017 CTG Security Audit                   FOREIGN TRAV_CONT                       Security Education                                  lii!j FwdTechnologies2006-2007PhotoReleaseSummaryDocument
   Administrative inquiry                    Foreign Visitor BU                      Security historical backup                          °'! ID Theft f14039 IRS Form
   BAY ALARM                                 Forms                                   Security phone numbers                              °'! IP Safe
   BAY ALARM CERTIFICATES                    FSO Courses                             Surveys                                             D:J ISFD SMO Checks
   BC-DR                                     Halloween 2014                          Susp. Contacts                                      °'! MSSP IS Tracking Form
   BC-EM Plan                                HANDBOOK                                Tampered Trailers                                   ~ NCMS Las Vegas CUI Briefing, 19 June
   BD Intl Sales Slides Rev                  ID Theft                                TECH CTL PLANS                                      °'! NISPOM Change 1
   Board Resolutions_2013                    Iden Trust                              TR-343                                              "! Notice to stakeholders 10_9_13
   BRIEFS                                    Improper Shipmt                         TUNA                                                °'! OPSEC Holidays
   SW Citizens                               Inquiries FP Acct                       VISITS                                              lii!j Photo Release Summary
   BW Equity Docs                            Insider Threat                          Wkly Staff Mtg. Rept                                e!J Plex Online User Security Manual[l)
   CAC Cards MAR Inc                         INVESTIGATIONS_VIOLATIONS               wxp-audit.zip                                       lii!j Prop_Proprietary-Bus_Confidential_Legends
   CAC-ECA Information                       JCP DD 2345 MCTDA                    lii!j 08 Defs and Terms                                "! Room 1 IT User Brief Ack
   Cameras CTG EOI                           KMP Lists                            O!j 10-20-14 Channel Structure Chart                   t'l!J SAFE LOG-Active_l0-2013
   CASE GUARD Co                             Logos                                "! 5200_01v3                                           l1ilJ SCG Class Guide List
   Citizenship Info                          M00045MK48                           °'! 5200_01v4 CUI                                      D:J SCIF Als
   Closed Areas                              Marking guide                        lii!j Avery Person8_Personnel Rept Labels Fldrs        O!j Secure Room Upgrades
   Co Cameras                                Misc Security                        &:J CC1 SELF-INSPECTION ADDENDUM                       lii!j SECURITY ASSIGNMENTS_8-2010
   COM SEC                                   MK48 1R&D                            lii!j Channel Tech Inc UL                              a.1Security paragraph for brian
   Corporate Docs                            MK54                                 "! classifed marking-booklet                           "! Security Seals
   COURIER LEmRS                             Monthly Corp Rd Up                   i!j Company Brochure - Photo Release Information       O!J Security section - CTG 2015 handbook
   CTG Advanced Matis                        MSI                                  D:J Copy of Customer Distribution CTG Wide 07.24.14    J   Self linspectionchecklistfillable[l)
   CTG fax numbers                            NCMS                                lii!j CTG Label_template                               "! sf86_Dec2010
   CTG Picnic Pictures 8- 11 -2012            New Folder                          °'! CTG Map                                            °'! SF328_1 2_2014
   CTI Mens Locker room                       NUWC N66604-15-Q-1658               O!j CTG_LEGAL TIMELINE_9-2013LA                        lii!j Shredder 344 344052815MP
   Cyber                                      NUWC Solicit 15-P-2062              Q:J CUI Briefing, 19 June 15NCMS                       O!J Signers for Classified Mail 7-15-16
   DD 2345 US-Canada Joint Certification     Old Historical                       °'! CUI NIST.SP.800-171                                O.~ Signers for Classified Mail 10-25- 13
   DD254                                     OP SEC                               "! Darkhotel Report_1                                  D:J Subscription - Updates CKP
   Destruction Eqmpt                          pelton pre 2010                     ~ DerivativeClassification                             D:J Sum of Briefings
   Doc. Reg_Certs Xmit Destruct              Pelton Security                      Q!j Designated Insider Threat Officer                  "! SWFT-Access-Acct_4-23-2013
   Document Control                          PROCEDURES                           O!j DISCO labels                                       Q:J Transducer Module 3 edited
   DSS Audits                                Progeny                              "! DoD Direct8582.01                                   ~ UIUCpres2
   DSS IS Systems_Current                    PROJECTS                             lii!j DOD HOTLINE                                      ~ Violation Summary
   DSS RFI Forms 10-14                       Proprietary Policy and Procedure     Ii) DOD Security DOC DATABASE 588 Added to Proof
   DT592                                     Public Release 3-2015                "! DOJ ongoing-export-case-fact-sheet
   Employee Lists                            Receptionist                         ~ Draft CTG Supply Chain Security Program 5
   EOI                                       Recpt Recv Trng                      lii!j Draft CTG Supply Chain Security Program 8-3-15
   EOI Testing                               Renick                               lii!j Draft CTG Supply Chain Security Program
175 items     1 item selected
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 256 of 262
Case 9:18-ap-01058-DS   Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48   Desc
                        Main Document   Page 257 of 262




                               EXHIBIT F
     Case 9:18-ap-01058-DS     Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                               Main Document   Page 258 of 262



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4
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      LYNN PINKER HURST & SCHWEGMANN, LLP
6     2100 Ross Avenue, Suite 2700
      Dallas, Texas 75201
7
      (214) 981-3800 - Telephone
8     (214) 981-3839 - Facsimile

9     Special Litigation Counsel for
      Plaintiff
10

11                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
12                                  NORTHERN DIVISION
13    In re                                   §   CASE NO. 9:16-BK-11912-DS
                                              §
14    CHANNEL TECHNOLOGIES                    §   Chapter 11
15    GROUP, LLC,                             §
          Debtor.                             §   ADV NO. 9:18-AP-01058-DS
16                                            §
                                              §
17    CORPORATE RECOVERY                      §
18    ASSOCIATES, LLC, as Trustee for         §
      the Liquidating Trust of Channel        §
19    Technologies Group, LLC,                §   DECLARATION OF RICHARD FEFERMAN
                                              §   IN SUPPORT OF TRUSTEE’S POSITION
20             Plaintiff,                     §   REGARDING STIPULATION OF DISPUTED
21    v.                                      §   ISSUES
                                              §
22    BLUE WOLF CAPITAL PARTNERS,             §
      LLC, et al.,                            §
23                                            §
24             Defendants.                    §

25
              DECLARATION OF RICHARD FEFERMAN IN SUPPORT OF TRUSTEE’S
26               POSITION REGARDING STIPULATION OF DISPUTED ISSUES
27

28
                                                                                  1
     Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48         Desc
                              Main Document   Page 259 of 262



             I, Richard Feferman, pursuant to 28 U.S.C. § 1746, declare the following:
1

2     1.    My name is Richard Feferman. I am over 18 years of age, of sound mind, and
            capable of making this declaration. My business mailing address is 3830
3           Valley Centre Drive, PMB 705-152, San Diego, CA 92130.

4     2.    The facts stated in this declaration are true and correct and within my
            personal knowledge:
5

6     3.    I am the Senior Managing Director for Corporate Recovery Associates, LLC,
            Liquidating Trustee for the Liquidating Trust of Channel Technologies Group,
7           LLC (“Trustee”).
8     4.    I make this declaration in support of the Trustee’s position as stated in the
            jointly submitted STIPULATION OF DISPUTED ISSUES.
9

10    5.    David Tiffany was appointed as the Chief Restructuring Officer of the Debtor
            by the Court in the related Chapter 11 bankruptcy action, Case No: 9:16-bk-
11          11912-DS. See Docket No. 90.
12    6.    Upon assuming its role as Trustee, the Trustee received certain hard copy
            documents of the Debtor from Tiffany (the “Storage Documents”). On April 23,
13
            2018, Tiffany emailed me an Index for the Storage Documents. The Trustee
14          obtained possession of the Storage Documents, consisting of 166 banker’s
            boxes, in August of 2018. Thereafter, the Trustee placed the Storage
15          Documents into its own warehouse in San Diego, California.
16    7.    The Storage Documents reflect CTG’s non-exhaustive physical copies of books
17          and records that are and have been in the possession of Trustee. The Index
            provides a box number, a date range, and a description of the documents
18          contained in each box. Each box has a clearly marked label that correspond
            with the Index.
19
      8.    Upon assuming its role as Trustee, the Trustee also received certain electronic
20
            data of CTG from Tiffany. This electronic data includes PST email files for its
21          employees and CTG’s electronic books and records (including accounting and
            plex data) (the “Electronic Data”).
22
      9.    The Electronic Data is contained in three hard drives and a thumb drive.
23
      10.   The documents received by the Trustee consist almost exclusively of
24
            Electronically Stored Information (“ESI”), except for the 166 boxes of Storage
25          Documents.

26    11.   The ESI and Storage Documents have been kept and maintained in the
            regular, usual, and ordinary course of business.
27

28
     DECLARATION OF RICHARD FEFERMAN         PAGE 2
     Case 9:18-ap-01058-DS    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48           Desc
                              Main Document   Page 260 of 262



      12.   The ESI was produced to the Blue Wolf Defendants as duplicates of the
1
            Electronic Data as it was received from Tiffany. Upon information and belief,
2           the duplicates were produced without any alterations. Upon information and
            belief, no documents were removed or added to the duplicates or Electronic
3           Data as it was produced to the Blue Wolf Defendants.
4     13.   Upon information and belief, the ESI is organized, sortable, and searchable.
5           The PST files included with the ESI are also sortable and searchable.

6     14.   In Exhibit B of Trustee’s Second Amended Initial Disclosures, the Trustee has
            identified which file paths and folders contain documents responsive to the
7           Blue Wolf Defendants’ written discovery requests.
8     15.   The Trustee represents that the Blue Wolf Defendants have received a copy of
9           the Electronic Documents and have had an opportunity to inspect and copy
            the Storage Documents in connection with the state court lawsuit Corporate
10          Recovery Associates, LLC, as Trustee for the Liquidating Trust of Channel
            Technologies Group, LLC, v. Ruelas, et al., Case No. 18-CV-05060 in the
11          Superior Court of California and for the County of Santa Barbara (the “State
12          Court Lawsuit”).

13          I declare under penalty of perjury that the foregoing is true and correct.

14         Executed in the County of San Diego, State of California, on the 4th day of
      March, 2021.
15

16                                          ___________________________________
                                            RICHARD FEFERMAN
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     DECLARATION OF RICHARD FEFERMAN        PAGE 3
        Case 9:18-ap-01058-DS                    Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48                                       Desc
                                                 Main Document   Page 261 of 262



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Greenberg Traurig, LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

                                                                      NOTICE OF MOTION AND MOTION BY
A true and correct copy of the foregoing document entitled (specify): __________________________________________
  DEFENDANTS BLUE WOLF CAPITAL PARTNERS, LLC, BLUE WOLF CAPITAL FUND II, L.P., AND BLUE WOLF
________________________________________________________________________________________________
 CAPITAL ADVISORS, L.P. TO COMPEL FURTHER RESPONSES FROM PLAINTIFF TRUSTEE TO REQUESTS FOR
________________________________________________________________________________________________
 PRODUCTION OF DOCUMENTS; INTERROGATORIES; AND REQUESTS FOR ADMISSIONS
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
04/22/2021
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Service was completed by Email by sender as Court's ECF system is shutdown for upgrading




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

04/22/2021         Terrine Pearsall                                                             /s/ Terrine Pearsall
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 9:18-ap-01058-DS      Doc 316 Filed 04/26/21 Entered 04/26/21 12:19:48       Desc
                           Main Document   Page 262 of 262



                         PROOF OF SERVICE OF DOCUMENT

                                 ATTACHMENT PAGE

    1.   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


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